EXHIBIT 3
        Deed Number   Sale Yr Sale Type             Buyer Name                Cert Number   Vol         PIN          Class Case Number Deed Name                                Date Issued Date Processed Initials
00001                 2013 ANNUAL                NAR SOLUTIONS INC         130001725        044 16-28-433-017-0000   2-03 18COTD1569 CAMANRO, INC                              12/12/2018 12/20/2018       RAA
00002                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130003597        158 15-08-233-046-0000   2-10 18COTD604    NR DEED LLC                             12/12/2018 12/20/2018       RAA
00003                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130004251        179 31-25-104-016-0000   2-03 18COTD4251 NR DEED LLC                               12/12/2018 12/20/2018       RAA
00004                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130004441        180 31-36-410-015-0000   2-03 18COTD620    NR DEED LLC                             12/12/2018 12/20/2018       RAA
00005                 2013 ANNUAL              NEWLINE FINANCIAL LLC       130001664        042 16-21-427-022-0000   2-11 17COTD3509 MAPLE REAL ESTATE LLC                     12/12/2018 12/20/2018       RAA
00006                 2013 ANNUAL              NEWLINE FINANCIAL LLC       130005343        204 29-11-405-011-0000   2-03 17COTD3486 MAPLE REAL ESTATE LLC                     12/12/2018 12/20/2018       RAA
00007                 2013 ANNUAL              NEWLINE FINANCIAL LLC       130011826        432 20-21-411-039-0000   2-05 17COTD4711 MAPLE REAL ESTATE LLC                     12/13/2018 12/20/2018       RAA
00008                 2013 ANNUAL              NEWLINE FINANCIAL LLC       130011942        434 20-29-124-050-0000   2-02 17COTD4717 MAPLE REAL ESTATE LLC                     12/13/2018 12/20/2018       RAA
00009                 2013 ANNUAL              NEWLINE FINANCIAL LLC       130012494        449 25-05-202-048-0000   2-95 17COTD3936 MAPLE REAL ESTATE LLC                     12/12/2018 12/20/2018       RAA
00012                 2013 ANNUAL                   FNA ELM LLC            130012557        451 25-06-213-039-0000   2-03 18COTD0465 BROWNING BUILDERS INC                     12/10/2018 12/21/2018       JRJ
00013                 2013 ANNUAL               SCRIBE FUNDING LLC         130008421        274 21-30-111-034-0000   2-03 18COTD0259 AXERT LLC 6052 SERIES                     12/10/2018 12/21/2018       JRJ
00014                 2013 ANNUAL         EQUITY ONE INVESTMENT FUND LLC   130009025        288 25-15-113-027-0000   2-03 17COTD4048 SWEET HOME CHICAGO MANAGEMENT LLC         12/10/2018 12/21/2018       JRJ
00015                 2013 ANNUAL              WHEELER FINANCIAL INC       130000660        019 32-30-112-019-0000   2-02 18COTD0089 WHEELER FINANCIAL INC                     12/12/2018 12/21/2018       JRJ
00016                 2013 ANNUAL              WHEELER FINANCIAL INC       130009968        353 13-24-131-042-1018   2-99 18COTD1278 WHEELER FINANCIAL INC                     12/13/2018 12/21/2018       JRJ
00017                 2013 ANNUAL              WHEELER FINANCIAL INC       130014520        511 17-16-238-024-1895   2-99 18COTD0333 WHEELER FINANCIAL INC                     12/12/2018 12/21/2018       JRJ
00018                 2013 ANNUAL                    GAN B LLC             130011546        426 20-18-406-036-0000   2-03 18COTD2073 CAMANRO INC                               12/12/2018 12/21/2018       JRJ
00020                 2013 ANNUAL              OAK PARK INVESTMENTS        130012141        438 20-30-434-023-0000   2-11 17COTD3650 COMMITTED CHRISTIAN HOUSING LLC           12/17/2018 12/26/2018       RAA
00021                 2013 ANNUAL                   FNA ELM LLC            130000615        019 32-29-218-003-0000   2-03 17COTD3893 J & B FLORES PROPERTIES LLC               12/20/2018 12/27/2018       RAA
00022                 2013 ANNUAL                   FNA ELM LLC            130011560        426 20-18-413-029-0000   2-11 18COTD747    MILLAN'S STONE CORP                     12/20/2018 12/27/2018       RAA
00023                 2013 ANNUAL                   FNA ELM LLC            130015268        545 16-04-426-009-0000   2-05 18COTD1260 SWEET HOME CHICAGO MANAGEMENT LLC         12/20/2018 12/27/2018       RAA
00024                 2013 ANNUAL                   FNA ELM LLC            130001198        032 28-24-105-004-0000   2-03 17COTD4132 FERMIN SAUCEDO JR & TERESA MARY SAUCEDO   12/18/2018 12/27/2018       RAA
00025                 2013 ANNUAL                   FNA ELM LLC            130008640        278 21-31-418-044-0000   2-11 17COTD4409 CAMRY INVESTMENTS LLC                     12/19/2018 12/27/2018       RAA
00026                 2013 ANNUAL                 SCRIBE FUNDING           130012172        439 20-31-404-031-0000   2-03 18COTD273    AXERT LLC-2438 SERIES                   12/21/2018 12/28/2018       RAA
00027                 2013 ANNUAL                   FNA ELM LLC            130016241        571 16-23-402-018-0000   2-11 18COTD2031 SWEET HOME CHICAGO MAMANGEMENT LLC        12/21/2018 12/28/2018       RAA
00028                 2013 ANNUAL            INTERSTATE FUNDING CORP       130003508        153 15-02-313-006-0000   2-03 18COTD3508 GALAXY SITES LLC                          11/30/2018 12/28/2018       RAA
00029                 2013 ANNUAL            INTERSTATE FUNDING CORP       130004535        187 07-16-200-056-1208   2-99 18COTD1723 GALAXY SITES LLC                          11/29/2018 12/28/2018       RAA
00030                 2013 ANNUAL             FAIR DEAL OF ILLINOIS INC    130015228        544 16-04-329-016-0000   2-05 18COTD1487 SWEET HOME CHICAGO MANAGEMENT LLC         12/26/2018 12/28/2018       RAA
00031                 2013 ANNUAL             FAIR DEAL OF ILLINOIS INC    130011898        434 20-28-400-031-0000   2-11 18COTD1194 ROM CONSTRUCTION INVESTMENT INC           12/19/2018 01/03/2019       JRJ
00034                 2013 ANNUAL                   FNA ELM LLC            130000521        017 32-25-313-001-0000   2-03 17COTD3811 CAMRY INVESTMENTS LLC                     12/31/2018 01/07/2019       RAA
00035                 2013 ANNUAL              WHEELER FINANCIAL INC       130003119        138 16-05-127-052-0000   2-01 18COTD1033 WHEELER FINANCIAL INC                     12/21/2018 01/08/2019       JRJ
00036                 2013 ANNUAL              WHEELER FINANCIAL INC       130004297        180 31-27-315-002-0000   2-34 18COTD1046 WHEELER FINANCIAL INC                     12/21/2018 01/08/2019       JRJ
00037                 2013 ANNUAL              WHEELER FINANCIAL INC       130008441        274 21-30-114-029-1138   2-99 18COTD1167 WHEELER FINANCIAL INC                     12/24/2018 01/08/2019       JRJ
00038                 2013 ANNUAL                   FNA ELM LLC            130009279        294 26-05-110-034-0000   2-11 18COTD0556 DUNIA CONSULTING GROUP INC                12/21/2018 01/08/2019       JRJ
00039                 2013 ANNUAL                    GAN B LLC             130004028        176 15-34-119-043-0000   2-02 18COTD1567 CAMANRO, INC                              01/07/2019 01/09/2019       RAA
00045                 2013 ANNUAL            INTERSTATE FUNDING CORP       130004308        180 31-28-301-014-0000   2-03 18COTD1722 GALAXY SITES LLC                          12/27/2018 01/11/2019       RAA
00046                 2013 ANNUAL                   FNA ELM LLC            130000757        021 32-36-111-044-0000   2-02 17COTD3914 CAMRY INVESTMENTS LLC                     01/07/2019 01/11/2019       JRJ
00047                 2013 ANNUAL                   FNA ELM LLC            130012681        457 25-09-315-012-0000   2-03 18COTD0239 CAMRY INVESTMENTS LLC                     01/04/2019 01/11/2019       JRJ
00048                 2013 ANNUAL             FAIR DEAL OF ILLINOIS INC    1300000334       014 32-19-416-008-0000   2-05 17COTD3238 SWEET HOME CHICAGO, LLC                   01/02/2019 01/14/2019       RAA
00051                 2013 ANNUAL             FAIR DEAL OF ILLINOIS INC    130007934        263 20-25-304-025-0000   2-05 17COTD3350 BERGER INVESTMENT GROUP LLC               01/10/2019 01/15/2019       JRJ
00054                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130003708        161 15-10-300-002-0000   2-02 18COTD606    NR DEED, LLC                            01/14/2019 01/16/2019       RAA
00055                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130004252        179 31-25-104-025-0000   2-34 18COTD615    NR DEED, LLC                            01/14/2019 01/16/2019       RAA
00056                 2013 ANNUAL           CHRISTIANA TRUST CUSTODIAN     130006701        236 24-01-108-038-0000   2-03 18COTD1456 NR DEED LLC                               01/14/2019 01/17/2019       JRJ
00058                 2013 ANNUAL                   FNA ELM LLC            130000537        017 32-25-409-032-0000   2-03 17COTD4076 CAMRY INVESTMENTS LLC                     01/10/2019 01/17/2019       JRJ
00059                 2013 ANNUAL             FAIR DEAL OF ILLINOIS INC    130008228        270 20-35-104-039-1016   2-99 17COTD3358 YVONNE M TURNBULL                         01/14/2019 01/17/2019       JRJ
00060                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130008278        270 20-35-216-030-0000   2-03 18COTD1524 NR DDED, LLC                              01/10/2019 01/22/2019       RAA
00062                 2013 ANNUAL                    GAN B LLC             130011134        418 20-08-106-018-0000   2-11 18COTD1786 CAMANRO, INC                              01/16/2019 01/22/2019       RAA
00066                 2013 ANNUAL            NEBRASKA ALLIANCE REALTY      130010990        416 20-07-109-027-0000   2-02 18COTD0501 GREYMORR REAL ESTATE LLC                  01/09/2019 01/22/2019       JRJ
00067                 2013 ANNUAL            NEBRASKA ALLIANCE REALTY      130012201        440 20-32-117-019-0000   2-07 18COTD0950 GREYMORR REAL ESTATE LLC                  01/14/2019 01/22/2019       JRJ
00068                 2013 ANNUAL              NEWLINE FINANCIAL LLC       130011411        424 20-17-326-037-0000   2-12 17COTD4683 MAPLE REAL ESTATE LLC                     01/08/2019 01/22/2019       JRJ
00069                 2013 ANNUAL              NEWLINE FINANCIAL LLC       130011708        429 20-20-210-009-0000   2-11 17COTD4701 MAPLE REAL ESTATE LLC                     01/10/2019 01/22/2019       JRJ
00070                 2012 ANNUAL             DMC IRREVOCABLE TRUST        120001773        053 10-13-200-006-0000   2-41 17COTD0090 DMC IRREVOCABLE TRUST                     12/20/2017 01/22/2019       JRJ
00071                 2013 ANNUAL              WHEELER FINANCIAL INC       130006266        223 30-08-409-026-0000   2-11 18COTD272    WHEELER FINANCIAL INC                   01/14/2019 01/23/2019       RAA




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        Deed Number   Sale Yr Sale Type            Buyer Name              Cert Number   Vol         PIN          Class Case Number Deed Name                               Date Issued Date Processed Initials
00072                 2013 ANNUAL           FAIR DEAL OF ILLINOIS INC   130003616        159 15-08-404-035-0000   2-03 17COTD3281 FIRST NATIONAL ACQUISITIONS LLC          01/18/2019 01/23/2019       RAA
00073                 2013 ANNUAL            WHEELER FINANCIAL INC      130004328        180 31-34-404-004-0000   2-02 18COTD1049 WHEELER FINANCIAL INC                    01/17/2019 01/24/2019       JRJ
00074                 2013 ANNUAL          NEBRASKA ALLIANCE REALTY     130003649        160 15-09-300-076-0000   2-02 18COTD474    GREYMORR REAL ESTATE LLC               12/13/2018 01/28/2019       RAA
00075                 2013 ANNUAL            WHEELER FINANCIAL INC      130005981        215 29-25-405-030-1010   2-99 18COTD193    WHEELER FINANCIAL INC                  01/25/2019 01/29/2019       RAA
00076                 2013 ANNUAL            WHEELER FINANCIAL INC      130005984        215 29-25-413-013-1016   2-99 18COTD150    WHEELER FINANCIAL INC                  01/25/2019 01/29/2019       RAA
00077                 2013 ANNUAL          NEBRASKA ALLIANCE REALTY     130003754        162 15-10-439-008-0000   2-07 18COTD476    GREYMORR REAL ESTATE LLC               01/17/2019 01/29/2019       RAA
00081                 2013 ANNUAL            SABRE INVESTMENTS LLC      130001804        048 16-33-321-037-0000   2-02 17COTD1486 JUAN MANZO AND JESUS HERNANDEZ           01/14/2019 01/29/2019       JRJ
00082                 2013 ANNUAL            SABRE INVESTMENTS LLC      130007245        252 20-03-407-062-1005   2-99 17COTD4796 SABRE INVESTMENTS LLC                    01/22/2019 01/29/2019       JRJ
00083                 2013 ANNUAL            SABRE INVESTMENTS LLC      130007438        254 20-11-210-025-1005   2-99 17COTD4799 SABRE INVESTMENTS LLC                    01/22/2019 01/29/2019       JRJ
00084                 2013 ANNUAL            SABRE INVESTMENTS LLC      130014917        531 13-36-401-032-1035   2-99 17COTD4835 SABRE INVESTMENTS LLC                    01/22/2019 01/29/2019       JRJ
00087                 2013 ANNUAL                  FNA ELM LLC          130003765        162 15-11-133-030-0000   2-11 18COTD455    FIRST NATIONAL ACQUISITIONS LLC        01/25/2019 02/04/2019       RAA
00088                 2013 ANNUAL            WHEELER FINANCIAL INC      130006005        216 29-29-306-017-0000   2-02 18COTD154    WHEELER FINANCIAL INC                  01/28/2019 02/04/2016       RAA
00089                 2013 ANNUAL            WHEELER FINANCIAL INC      130006004        216 29-29-301-005-0000   2-02 18COTD152    WHEELER FINANCIAL INC                  01/29/2019 02/04/2016       RAA
00090                 2013 ANNUAL            NEWLINE FINANCIAL LLC      130012007        435 20-29-319-012-0000   2-11 17COTD4722 MAPLE REAL ESTATE LLC                    01/18/2019 02/04/2019       RAA
00092                 2013 ANNUAL           FAIR DEAL OF ILLINOIS INC   130011622        427 20-19-213-030-0000   2-02 18COTD1053 FIRST NATIONAL ACQUISITIONS LLC          02/01/2019 02/06/2019       RAA
00093                 2013 ANNUAL                  FNA ELM LLC          130000699        020 32-32-423-019-0000   2-03 17COTD3912 ZENITH REAL ESTATE                       01/28/2019 02/06/2019       RAA
00094                 2013 ANNUAL          NEBRASKA ALLIANCE REALTY     130004302        180 31-27-405-017-0000   2-02 18COTD483    GREYMORR REAL ESTATE LLC               01/28/2019 02/06/2019       RAA
00095                 2013 ANNUAL            US BANK CUST FOR PFS1      130003614        159 15-08-400-042-0000   2-02 17COTD4186 ET PROPERTY MANAGEMENT LLC SERIES 3      01/15/2019 02/07/2019       JRJ
00096                 2013 ANNUAL         CHRISTIANA TRUST CUSTODIAN    130008952        287 25-12-204-066-0000   2-10 18COTD2251 NR DEED LLC                              02/05/2019 02/07/2019       JRJ
00097                 2013 ANNUAL                  FNA ELM LLC          130015120        541 16-03-227-011-0000   2-11 18COTD0894 ARTHINGTON PROPERTIES LLC                02/05/2019 02/07/2019       JRJ
00098                 2013 ANNUAL         CHRISTIANA TRUST CUSTODIAN    130008723        281 25-02-106-020-0000   2-11 18COTD1529 NR DEED LLC                              02/07/2019 02/13/2019       JRJ
00099                 2013 ANNUAL         CHRISTIANA TRUST CUSTODIAN    130008956        287 25-12-208-054-0000   2-10 18COTD1756 NR DEED LLC                              02/06/2019 02/13/2019       JRJ
00100                 2013 ANNUAL         CHRISTIANA TRUST CUSTODIAN    130009330        296 26-06-216-010-0000   2-11 18COTD1953 NR DEED LLC                              02/06/2019 02/13/2019       JRJ
00101                 2013 ANNUAL                  FNA ELM LLC          130016204        570 16-23-308-028-0000   2-11 18COTD2025 SWEET HOME CHICAGO MANAGEMENT LLC        02/07/2019 02/13/2019       JRJ
00102                 2013 ANNUAL            SABRE INVESTMENTS LLC      130012088        437 20-30-311-012-0000   2-02 17COTD4817 SABRE INVESTMENTS LLC                    02/06/2019 02/14/2018       RAA
00103                 2013 ANNUAL            SABRE INVESTMENTS LLC      130012480        449 25-05-113-034-0000   2-03 17COTD4820 SABRE INVESTMENTS LLC                    02/07/2019 02/14/2019       RAA
00107                 2014 ANNUAL                      ICIB             140000255        013 32-17-312-021-0000   2-03 18COTD3617 MK CONSTRUCTION & BUILDERS INC           02/07/2019 02/14/2019       RAA
00108                 2013 ANNUAL              RDG FUND 5 LNS LLC       130004133        178 31-10-200-116-1098   2-99 17COTD4023 RDG FUND 5 LNS LLC                       01/25/2019 02/15/2019       RAA
00111                 2013 ANNUAL            WHEELER FINANCIAL INC      130015898        562 16-15-211-045-0000   2-11 18COTD2212 WHEELER FINANCIAL INC                    02/05/2019 02/19/2019       JRJ
00112                 2013 ANNUAL              SCRIBE FUNDING LLC       130013326        470 25-28-315-007-0000   2-11 18COTD0285 CAYDEN LTD                               02/11/2019 02/19/2019       JRJ
00113                 2014 ANNUAL                 ROYCE RE LLC          140004537        193 29-02-318-012-0000   2-34 18COTD3633 MK CONSTRUCTION AND BUILDERS INC         01/29/2019 02/19/2019       JRJ
00114                 2014 ANNUAL                 ROYCE RE LLC          140004546        193 29-02-332-004-0000   2-03 18COTD3634 MK CONSTRUCTION AND BUILDERS INC         01/29/2019 02/19/2019       JRJ
00115                 2013 ANNUAL              SUBURBAN TAX LIEN        130004472        185 15-35-202-049-0000   2-05 17COTD3641 SUBURBAN TAX LIEN                        02/13/2019 02/19/2019       JRJ
00116                 2013 ANNUAL              RDG FUND 5 LNS LLC       130014682        513 17-27-123-026-1095   2-99 17COTD4104 RDG FUND 5 LNS LLC                       02/07/2019 02/19/2019       JRJ
00117                 2013 ANNUAL              RDG FUND 5 LNS LLC       130014699        513 17-27-310-093-1452   2-99 17COTD4105 RDG FUND 5 LNS LLC                       02/07/2019 02/19/2019       JRJ
00118                 2013 ANNUAL              RDG FUND 5 LNS LLC       130016624        591 17-17-101-045-1543   2-99 17COTD4119 RDG FUND 5 LNS LLC                       02/07/2019 02/19/2019       JRJ
00120                 2013 ANNUAL           FAIR DEAL OF ILLINOIS INC   130015896        562 16-15-211-002-0000   2-11 18COTD1445 SDS GROUP INC                            02/14/2019 02/20/2019       RAA
00121                 2013 ANNUAL           FAIR DEAL OF ILLINOIS INC   130015496        551 16-10-316-030-0000   2-11 18COTD1434 SDS GROUP INC                            02/14/2019 02/20/2019       RAA
00122                 2013 ANNUAL           FAIR DEAL OF ILLINOIS INC   130015963        563 16-15-407-006-0000   2-11 18COTD1446 SDS GROUP INC                            02/14/2019 02/20/2019       RAA
00123                 2013 ANNUAL            NEWLINE FINANCIAL LLC      130011643        427 20-19-229-037-0000   2-11 17COTD4694 MAPLE REAL ESTATE LLC                    02/01/2019 02/20/2019       RAA
00124                 2013 ANNUAL              RDG FUND 5 LNS LLC       130000752        021 32-36-110-005-0000   2-03 17COTD3828 RDG FUND 5 LNS LLC                       02/01/2019 02/21/2019       JRJ
00125                 2013 ANNUAL                  FNA ELM LLC          130016827        208 29-16-319-028-0000   2-03 18COTD0544 CAMRY INVESTMENTS LLC                    02/13/2019 02/21/2019       JRJ
00126                 2013 ANNUAL           FAIR DEAL OF ILLINOIS INC   130012474        449 25-05-106-027-0000   2-95 18COTD1307 CAMRY INVESTMENTS LLC                    02/14/2019 02/21/2019       JRJ
00137                 2013 ANNUAL              RDG FUND-5 LNS LLC       130013526        477 14-08-315-052-1025   2-99 17COTD4157 RDG FUND-5 LNS LLC                       01/25/2019 02/22/2019       RAA
00138                 2013 ANNUAL                  FNA ELM LLC          130016837        212 29-20-108-068-0000   2-03 17COTD4348 SRGIG LLC                                02/15/2019 02/22/2019       RAA
00139                 2013 ANNUAL                SCRIBE FUNDING         130006179        221 30-07-124-002-0000   2-34 18COTD215    TD GROUP LLC                           02/13/2019 02/22/2019       RAA
00140                 2013 ANNUAL                  FNA ELM LLC          130013145        467 25-21-130-007-0000   2-03 18COTD0625 FIRST NATIONAL ACQUISITIONS LLC          02/15/2019 02/22/2019       JRJ
00141                 2013 ANNUAL                  FNA ELM LLC          130016192        570 16-23-300-026-0000   2-03 18COTD2024 CAMRY INVESTMENTS LLC                    02/15/2019 02/22/2019       JRJ
00142                 2013 ANNUAL          NEBRASKA ALLIANCE REALTY     130004627        188 19-06-119-051-0000   2-03 18COTD478    GREYMORR REAL ESTATE LLC               02/19/2019 02/25/2019       RAA
00146                 2014 ANNUAL                      ICIB             140008296        287 25-12-217-093-0000   2-10 18COTD4047 DELEON PROPERTIES LLC - 9826 S MERRILL   02/13/2019 02/25/2019       JRJ
00147                 2013 ANNUAL              RDG FUND 5 LNS LLC       130000803        022 33-17-304-011-0000   2-39 17COTD3829 RDG FUND 5 LNS LLC                       02/20/2019 02/25/2019       JRJ
00148                 2013 ANNUAL              RDG FUND 5 LNS LLC       130006848        241 24-09-316-011-1011   2-99 17COTD3878 RDG FUND 5 LNS LLC                       02/20/2019 02/252019        JRJ




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        Deed Number   Sale Yr Sale Type              Buyer Name               Cert Number   Vol         PIN          Class Case Number Deed Name                               Date Issued Date Processed Initials
00149                 2013 ANNUAL                RDG FUND 5 LNS LLC        130014669        512 17-22-310-015-1254   2-99 17COTD4103 RDG FUND 5 LNS LLC                       02/15/2019 02/25/2019       JRJ
00150                 2013 ANNUAL             FAIR DEAL OF ILLINOIS INC    130008847        283 25-03-303-017-0000   2-10 18COTD1532 FIRST NATIONAL ACQUISITIONS LLC          02/19/2019 02/26/2019       JRJ
00151                 2013 ANNUAL             FAIR DEAL OF ILLINOIS INC    130011417        424 20-17-329-009-0000   2-11 18COTD1768 CAMRY INVESTMENTS LLC                    02/19/2019 02/26/2019       JRJ
00152                 2013 ANNUAL             FAIR DEAL OF ILLINOIS INC    130012438        448 25-04-314-019-0000   2-07 18COTD1305 CAMRY INVESTMENTS LLC                    02/19/2019 02/26/2019       JRJ
00154                 2014 ANNUAL            REAL TAX ACQUISITIONS LLC     140012951        478 14-08-415-044-1010   2-99 18COTD4220 KATHRYN E RICE                           02/21/2019 02/26/2019       JRJ
00156                 2013 ANNUAL                    FNA ELM LLC           130003974        169 15-20-300-048-1056   2-99 18COTD2433 SUNERA PARTNERS LLC                      01/25/2019 02/27/2019       RAA
00159                 2013 ANNUAL            OAK PARK INVESTMENTS INC      130012760        458 25-16-109-010-0000   2-05 17COTD3730 MARCINA WILLIAMS & LL & PJ INC           02/25/2019 02/28/2019       JRJ
00160                 2014 ANNUAL                    ROYCE RE LLC          140008309        287 25-12-228-011-0000   2-10 18COTD4126 DELEON PROPERTIES LLC - 9635 S MERRION   02/14/2019 02/28/2019       JRJ
00161                 2013 ANNUAL              NEWLINE FINANCIAL INC       130007096        249 24-35-305-037-0000   2-34 17COTD3520 MAPLE REAL ESTATE LLC                    02/19/2019 02/28/2019       JRJ
00162                 2013 ANNUAL             FAIR DEAL OF ILLINOIS INC    130012762        458 25-16-111-053-0000   2-05 18COTD1778 CHICAGOLAND REHAB NETWORK LTD            02/14/2019 02/28/2019       JRJ
00163                 2013 ANNUAL            OAK PARK INVESTMENTS INC      130016153        569 16-23-122-044-0000   2-12 17COTD3755 COOK COUNTY PROPERTIES INC               02/22/2019 02/28/2019       JRJ
00164                 2013 ANNUAL             FAIR DEAL OF ILLINOIS INC    130008840        283 25-03-223-013-0000   2-03 18COTD0922 BROWNING BUILDERS INC                    02/20/2019 02/28/2019       JRJ
00165                 2013 ANNUAL                    FNA ELM LLC           130015364        549 16-09-106-004-0000   2-05 18COTD1264 SWEET HOME CHICAGO MANAGEMENT LLC        02/22/2019 02/28/2019       JRJ
00166                 2013 ANNUAL             FAIR DEAL OF ILLINOIS INC    130011649        428 20-19-309-038-0000   2-02 18COTD1055 IRFAN M SHEIKH                           02/20/2019 03/05/2019       JRJ
00167                 2013 ANNUAL         EQUITY ONE INVESTMENT FUND LLC   130012293        442 20-33-102-018-0000   2-03 17COTD4214 EQUITY ONE INVESTMENT FUND LLC           02/20/2019 03/05/2019       JRJ
00170                 2013 ANNUAL             FAIR DEAL OF ILLINOIS INC    130011409        424 20-17-318-043-0000   2-11 18COTD1767 THE HUB STREET GROUP LLC                 02/27/2019 03/05/2019       JRJ
00171                 2013 ANNUAL              SABRE INVESTMENTS LLC       130007022        247 24-26-102-078-1007   2-99 17COTD4795 SABRE INVESTMENTS LLC                    02/22/2019 03/05/2019       JRJ
00172                 2013 ANNUAL              SABRE INVESTMENTS LLC       130013358        471 25-29-115-021-0000   2-02 17COTD4825 SABRE INVESTMENTS LLC                    02/22/2019 03/05/2019       JRJ
00174                 2013 ANNUAL            NEBRASKA ALLIANCE REALTY      130012529        450 25-05-407-006-0000   2-03 18COTD505    GREYMORR REAL ESTATE LLC               02/26/2019 03/06/2019       RAA
00175                 2013 ANNUAL         EQUITY ONE INVESTMENT FUND LLC   130008405        274 21-30-101-031-1010   2-99 17COTD8405 EQUITY ONE INVESTMENT FUND LLC           02/28/2019 03/06/2019       RAA
00176                 2013 ANNUAL              WHEELER FINANCIAL INC       130000673        019 32-30-213-006-0000   2-02 17COTD988    WHEELER FINANCIAL INC                  02/19/2019 03/06/2019       RAA
00177                 2013 ANNUAL              WHEELER FINANCIAL INC       130004783        194 29-03-103-018-0000   2-02 18COTD84     WHEELER FINANCIAL INC                  02/19/2019 03/06/2019       RAA
00178                 2013 ANNUAL              WHEELER FINANCIAL INC       130008626        278 21-31-404-011-0000   2-03 18COTD1175 WHEELER FINANCIAL INC                    02/19/2019 03/06/2019       RAA
00180                 2013 ANNUAL              WHEELER FINANCIAL INC       130001462        038 25-31-209-002-0000   2-06 18COTD1009 WHEELER FINANCIAL INC                    02/22/2019 03/07/2019       JRJ
00181                 2013 ANNUAL              NEWLINE FINANCIAL LLC       130007655        259 20-22-324-026-0000   2-11 17COTD3535 MAPLE REAL ESTATE LLC                    02/15/2019 03/07/2019       JRJ
00182                 2013 ANNUAL              WHEELER FINANCIAL LLC       130008924        285 25-10-404-001-0000   2-02 18COTD1180 WHEELER FINANCIAL INC                    02/28/2019 03/07/2019       JRJ
00185                 2013 ANNUAL                    FNA ELM LLC           130001488        039 25-32-217-017-0000   2-03 18COTD0368 TOB DEVELOPMENTS LLC                     03/01/2019 03/07/2019       JRJ
00186                 2014 ANNUAL                     GAN C LLC            140008180        284 25-03-411-032-0000   2-12 18COTD3896 BLOSSOM63 ENTERPRISES LLC                02/28/2019 03/07/2019       JRJ
00187                 2014 ANNUAL                     GAN C LLC            140008442        289 25-15-307-005-0000   3-14 18COTD3899 CAMANRO INC                              02/28/2019 03/07/2019       JRJ
00187                 2014 ANNUAL                     GAN C LLC            140008443        289 25-15-307-006-0000   3-14 18COTD3899 CAMANRO INC                              02/28/2019 03/07/2019       JRJ
00188                 2014 ANNUAL               ROYCE REAL ESTATE LLC      140009860        389 19-13-405-029-0000   2-11 18COTD4128 SWEET HOME CHICAGO MANAGEMENT LLC        03/05/2019 03/07/2019       JRJ
00190                 2014 ANNUAL               ROYCE REAL ESTATE LLC      140011496        437 20-30-310-002-0000   2-03 18COTD4129 SWEET HOME CHICAGO MANAGEMENT LLC        02/28/2019 03/07/2019       JRJ
00192                 2013 ANNUAL              WHEELER FINANCIAL INC       130007826        261 20-24-402-023-1006   2-99 18COTD1147 WHEELER FINANCIAL INC                    03/01/2019 03/11/2019       RAA
00193                 2014 ANNUAL              EMPATHY FINANCIAL LLC       140012000        454 25-08-205-051-0000   2-03 18COTD3772 CAYDEN LTD                               02/28/2019 03/12/2019       JRJ
00196                 2013 ANNUAL                    FNA ELM LLC           130008024        265 20-26-311-024-0000   2-02 18COTD409    SHIBAM PROPERTIES LLC                  02/20/2019 03/11/2019       RAA
00197                 2013 ANNUAL              USBANK CUST FOR PFS1        130003782        162 15-11-309-005-0000   2-03 17COTD3782 HIGH 5 GROUP LLC                         02/20/2019 03/11/2019       RAA
00198                 2013 ANNUAL                    FNA ELM LLC           130001242        033 28-25-212-007-0000   2-02 17COTD4079 CAMRY INVESTMENTS LLC                    02/28/2019 03/12/2019       JRJ
00199                 2013 ANNUAL                RDG FUND 5 LNS LLC        130014869        526 17-34-328-020-0000   2-11 17COTD4107 3700 S CORP                              02/28/2019 03/12/2019       JRJ
00205                 2014 ANNUAL                        ICIB              140006625        253 20-10-225-017-1008   2-99 18COTD3788 SWEET HOME CHICAGO MANAGEMENT LLC        03/07/2019 03/13/2019       RAA
00206                 2014 ANNUAL                    ROYCE RE LLC          140007058        261 20-24-410-026-1003   2-99 18COTD4226 SWEET HOME CHICAGO MANAGEMENT LLC        03/06/2019 03/13/2019       RAA
00207                 2014 ANNUAL                    ROYCE RE LLC          140015143        565 16-16-213-109-0000   2-95 18COTD4232 SWEET HOME CHICAGO MANAGEMENT LLC        03/06/2019 03/13/2019       RAA
00208                 2014 ANNUAL                        ICIB              140015152        565 16-16-215-024-0000   2-11 18COTD4324 4835 W JACKSON INC                       02/28/2019 03/14/2019       JRJ
00209                 2013 ANNUAL              WHEELER FINANCIAL INC       130006461        228 30-30-408-057-1008   2-99 18COTD1139 WHEELER FINANCIAL INC                    03/01/2019 03/14/2019       JRJ
00210                 2014 ANNUAL                        ICIB              140000537        019 32-29-432-024-0000   2-03 18COTD3654 JDS ASSET SERVICES LLC                   02/20/2019 03/14/2019       JRJ
00211                 2013 ANNUAL                US BK CUST FOR PFS1       130003707        161 15-10-234-017-0000   2-03 17COTD4188 HIGH 5 GROUP LLC                         03/06/2019 03/14/2019       JRJ
00214                 2014 ANNUAL            REAL TAX ACQUISITIONS LLC     140000832        025 28-09-204-025-0000   2-06 18COTD4359 RTA INVESTMENTS LLC                      03/12/2019 03/15/2019       JRJ
00217                 2013 ANNUAL              NEWLINE FINANCIAL LLC       130009178        291 25-22-306-060-0000   2-02 17COTD3589 MAPLE REAL ESTATE LLC                    03/14//2019 03/18/2019      RAA
00218                 2013 ANNUAL                RDG FUND - 5 LNS LLC      130013525        477 14-08-315-052-1012   2-99 17COTD4156 RDG FUND - 5 LNS LLC                     03/07/2019 03/18/2019       RAA
00219                 2013 ANNUAL                    FNA ELM LLC           130011489        425 20-18-204-016-0000   2-11 18COTD743    OCTAVIA LUNA                           03/18/2019 03/20/2019       RAA
00221                 2013 ANNUAL             FAIR DEAL OF ILLINOIS INC    130012334        442 20-33-301-010-0000   2-03 18COTD1302 8423 GREEN LLC                           03/14/2019 03/20/2019       RAA
00222                 2014 ANNUAL              EMPATHY FINANCIAL LLC       140008208        285 25-10-300-065-0000   2-03 18COTD3767 OLOW GRZEGORZ INC                        03/14/2019 03/20/2019       RAA
00223                 2014 ANNUAL              EMPATHY FINANCIAL LLC       140014375        539 16-02-330-015-0000   2-03 18COTD4349 MT & JD, LTD                             03/14/2019 03/20/2019       RAA




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        Deed Number   Sale Yr Sale Type                      Buyer Name                   Cert Number   Vol         PIN          Class Case Number Deed Name                          Date Issued Date Processed Initials
00224                 2013 ANNUAL                       RDG FUND 5 LNS LLC             130010831        406 19-27-401-038-1266   2-99 17COTD4149 RDG FUND 5 LNS LLC                  03/18/2019 03/21/2019       JRJ
00227                 2013 ANNUAL                    FAIR DEAL OF ILLINOIS INC         130008314        271 20-35-406-002-0000   2-03 18COTD0876 FIRST NATIONAL ACQUISITIONS LLC     03/19/2019 03/21/2019       JRJ
00228                 2013 ANNUAL                    FAIR DEAL OF ILLINOIS INC         130012288        441 20-32-428-017-0000   2-02 18COTD1300 FIRST NATIONAL ACQUISITIONS LLC     03/19/2019 03/21/2019       JRJ
00229                 2013 ANNUAL                    FAIR DEAL OF ILLINOIS INC         130012749        457 25-09-430-013-0000   2-03 18COTD1779 FIRST NATIONAL ACQUISITIONS LLC     03/20/2019 03/21/2019       JRJ
00231                 2014 ANNUAL                     EMPATHY FINANCIAL LLC            140003577        163 15-13-101-035-0000   2-11 18COTD4705 EMPATHY FINANCIAL LLC               03/07/2019 03/22/2019       RAA
00234                 2014 ANNUAL                      ICIB INVESTMENTS INC            140004529        193 29-02-310-006-0000   2-03 18COTD3680 LPL RESIDENTIAL LLC                 03/18/2019 03/26/2019       JRJ
00235                 2014 ANNUAL                           ROYCE RE LLC               140014880        557 16-13-235-036-0000   2-03 18COTD4005 RTI GROUP LLC                       03/14/2019 03/26/2019       JRJ
00237                 2013 ANNUAL                            FNA ELM LLC               130011490        425 20-19-204-029-0000   2-03 17COTD745    LOCKWOOD MANAGEMENT INC           03/22/2019 03/27/2019       RAA
00238                 2014 ANNUAL                WEST TOWN BUYERS GROUP, LLC           140000047        002 16-19-228-053-1007   2-99 18COTD4743 COSMOS, LLC                         03/26/2019 03/27/2019       RAA
00239                 2014 ANNUAL                WEST TOWN BUYERS GROUP, LLC           140006673        254 20-11-160-220-0000   2-10 18COTD4818 COSMOS, LLC                         03/26/2019 03/27/2019       RAA
00240                 2014 ANNUAL                WEST TOWN BUYERS GROUP, LLC           140009049        330 13-10-401-008-0000   2-02 18COTD4821 COSMOS, LLC                         03/26/2019 03/27/2019       RAA
00243                 2013 ANNUAL                     WHEELER FINANCIAL INC            130009084        289 25-15-311-029-0000   2-03 18COTD1186 WHEELER FINANCIAL INC               03/11/2019 03/28/2019       JRJ
00244                 2013 ANNUAL                     WHEELER FINANCIAL INC            130004376        180 31-36-108-018-0000   2-03 18COTD1051 WHEELER FINANCIAL INC               03/11/2019 03/28/2019       JRJ
00245                 2013 ANNUAL                     WHEELER FINANCIAL INC            130006344        224 30-17-314-035-1028   2-99 18COTD1120 WHEELER FINANCIAL INC               03/11/2019 03/28/2019       JRJ
00246                 2013 ANNUAL                     WHEELER FINANCIAL INC            130006491        230 30-32-109-027-0000   2-02 18COTD1140 WHEELER FINANCIAL INC               02/22/2019 03/28/2019       JRJ
00247                 2014 ANNUAL                     EMPATHY FINANCIAL LLC            140012720        470 25-28-408-059-0000   2-03 18COTD3672 SUN RIVER PROPERTIES INC            03/22/2019 04/01/2019       RAA
00248                 2013 ANNUAL                     WHEELER FINANCIAL INC            130002477        080 18-13-307-020-0000   2-02 18COTD1031 WHEELER FINANCIAL INC               03/11/2019 04/01/2019       RAA
00249                 2013 ANNUAL                     WHEELER FINANCIAL INC            130005351        204 29-11-420-035-0000   2-03 18COTD1100 WHEELER FINANCIAL INC               03/11/2019 04/01/2019       RAA
00250                 2013 ANNUAL                     WHEELER FINANCIAL INC            130008519        175 21-31-114-034-0000   2-02 18COTD1171 WHEELER FINANCIAL INC               02/22/2019 04/01/2019       RAA
00251                 2014 ANNUAL                                ICIB                  140014393        540 16-02-424-010-0000   2-03 18COTD4319 MAYRA JUCA                          03/19/2019 04/01/2019       RAA
00253                 2013 ANNUAL                     SABRE INVESTMENTS LLC            130006978        246 24-19-118-002-0000   2-02 17COTD3704 TADEUSZ TOCZEK                      03/28/2019 04/02/2019       JRJ
00254                 2013 ANNUAL                  OAK PARK INVESTMENTS INC            130008586        277 21-31-303-033-0000   2-11 17COTD3418 VALUE SAFE DEED INC                 03/26/2019 04/02/2019       JRJ
00258                 2014 ANNUAL                                ICIB                  140011670        441 20-32-419-032-0000   2-02 18COTD3713 NCG HOLDINGS, INC                   03/21/2019 04/03/2019       RAA
00259                 2014 ANNUAL                     EMPATHY FINANCIAL LLC            140011713        442 20-33-226-014-0000   2-02 18COTD3768 NCG HOLDINGS INC                    03/21/2019 04/03/2019       RAA
00260                 2014 ANNUAL                           ROYCE RE LLC               140015049        562 16-15-218-019-0000   2-11 18COTD4321 1822 DODGE AVE LLC                  03/28/2019 04/03/2019       RAA
00262                 2013 ANNUAL                    FAIR DEAL OF ILLINOIS INC         130015682        556 16-13-116-043-0000   2-11 18COTD1437 CAMRY INVESTMENTS LLC               03/25/2019 04/04/2019       JRJ
00263                 2014 ANNUAL                   REAL TAX ACQUISITIONS LLC          140003402        159 15-08-403-077-0000   2-10 18COTD4395 RTA INVESTMENTS LLC                 04/02/2019 04/04/2019       JRJ
00264                 2013 ANNUAL         CHRISTIANA TRUST CUSTODIAN FOR GSRAN-Z LLC   130004745        193 29-02-303-013-0000   2-03 18COTD1157 NR DEED LLC                         04/01/2019 04/04/2019       JRJ
00265                 2013 ANNUAL         CHRISTIANA TRUST CUSTODIAN FOR GSRAN-Z LLC   130012450        449 25-04-401-002-0000   2-10 18COTD2253 NR DEED LLC                         04/01/2019 04/04/2019       JRJ
00266                 2013 ANNUAL         CHRISTIANA TRUST CUSTODIAN FOR GSRAN-Z LLC   130012534        450 25-05-414-041-0000   2-05 18COTD2255 NR DEED LLC                         04/01/2019 04/04/2019       JRJ
00269                 2013 ANNUAL                            FNA ELM LLC               130000283        013 32-17-420-054-0000   2-07 17COTD3788 SWEET HOME CHICAGO MANAGEMENT LLC   04/04/2019 04/05/2019       RAA
00270                 2014 ANNUAL              EQUITY ONE INVESTMENT FUND, LLC         140011901        420 25-05-323-032-0000   2-03 18COTD4283 TITAN CAPITAL LLC                   03/20/2019 04/05/2019       JRJ
00272                 2014 ANNUAL                 CHRISTIANA CUSTODIAN TRUST           140002185        073 18-02-303-040-0000   2-03 18COTD4208 NR DEED LLC                         04/04/2019 04/08/2019       RAA
00273                 2014 ANNUAL                 CHRISTIANA CUSTODIAN TRUST           140002678        120 10-21-405-074-1073   2-99 18COTD4211 NR DEED LLC                         04/04/2019 04/08/2019       RAA
00274                 2014 ANNUAL                 CHRISTIANA CUSTODIAN TRUST           140004171        180 31-35-415-016-0000   2-07 18COTD4499 NR DEED LLC                         04/04/2019 04/08/2019       RAA
00275                 2014 ANNUAL                 CHRISTIANA CUSTODIAN TRUST           140004184        180 31-36-104-032-0000   2-02 18COTD4501 NR DEED LLC                         04/04/2019 04/08/2019       RAA
00276                 2014 ANNUAL                 CHRISTIANA CUSTODIAN TRUST           140004211        180 31-36-307-002-0000   2-03 17COTD4503 NR DEED LLC                         04/04/2019 04/08/2019       RAA
00277                 2014 ANNUAL                      ICIB INVESTMENTS INC            140007351        267 20-27-400-009-0000   2-11 18COTD3683 4706 W WASHINGTON LLC               03/21/2019 04/09/2019       JRJ
00279                 2014 ANNUAL                     EMPATHY FINANCIAL LLC            140005935        231 03-08-101-017-1004   2-99 18COTD4825 ED INVESTMENTS & CONSTRUCTION INC   04/03/2019 04/09/2019       JRJ
00280                 2013 ANNUAL                     US BANK CUST FOR PFS1            130007033        247 24-26-312-009-1057   2-99 18COTD1353 WH CHICAGO LLC                      04/02/2019 04/09/2019       JRJ
00281                 2014 ANNUAL                      ICIB INVESTMENTS INC            140014712        551 16-10-421-004-0000   2-11 18COTD4322 1822 DODGE AVE LLC                  03/29/2019 04/11/2019       JRJ
00284                 2013 ANNUAL                            FNA ELM LLC               130011500        425 20-18-212-011-0000   2-11 18COTD2104 CAMRY INVESTMENTS LLC               04/09/2019 04/11/2019       JRJ
00286                 2014 ANNUAL                      ICIB INVESTMENTS INC            140015096        563 16-15-411-053-0000   2-11 18COTD4052 GMO PROPERTIES LLC SERIES 4242      04/08/2019 04/11/2019       JRJ
00287                 2014 ANNUAL                                ICIB                  140014619        549 16-09-227-035-0000   2-11 18COTD4763 BSV GENERAL CONSTRUCTION INC        03/28/2019 04/15/2019       RAA
00291                 2014 ANNUAL                 EQUITY ONE INVESTMENT FUND           140003968        179 31-24-206-015-0000   2-78 18COTD4301 TITIAN CAPITAL LLC                  03/20/2019 04/15/2019       RAA
00292                 2014 ANNUAL                     EMPATHY FINANCIAL LLC            140014572        549 16-09-109-008-0000   2-02 18COTD4712 MT & JD LTD                         04/02/2019 04/16/2019       JRJ
00298                 2013 ANNUAL         CHRISTIANA TRUST CUSTODIAN FOR GSRAN-Z LLC   130009730        332 13-11-431-027-1001   2-99 18COTD2284 UNION HILL HOLDINGS LLC             04/12/2019 04/18/2019       JRJ
00299                 2013 ANNUAL         CHRISTIANA TRUST CUSTODIAN FOR GSRAN-Z LLC   130007981        263 20-25-429-020-0000   2-11 18COTD1491 GOTHIC INVESTMENTS LTD              04/11/2019 04/18/2019       JRJ
00300                 2013 ANNUAL         CHRISTIANA TRUST CUSTODIAN FOR GSRAN-Z LLC   130008141        267 20-27-422-015-0000   2-02 18COTD1495 GOTHIC INVESTMENTS LTD              04/11/2019 04/18/2019       JRJ
00301                 2013 ANNUAL                     CLIFTOR PROPERTIES LLC           130009624        321 13-05-114-055-0000   2-11 18COTD0937 CLIFTOR PROPERTIES LLC              04/12/2019 04/18/2019       JRJ
00302                 2014 ANNUAL               EQUITY ONE INVESTMENT FUND LLC         140000181        009 32-04-113-030-0000   2-78 18COTD4305 TITAN CAPITAL LLC                   04/16/2019 04/18/2019       JRJ
00303                 2014 ANNUAL               EQUITY ONE INVESTMENT FUND LLC         140014814        555 16-12-310-046-0000   2-11 18COTD4315 TITAN CAPITAL LLC                   04/16/2019 04/18/2019       JRJ




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                    Deed Number                      Sale Yr Sale Type                     Buyer Name                    Cert Number   Vol         PIN          Class Case Number Deed Name                       Date Issued Date Processed Initials
00304                                                2014 ANNUAL               EQUITY ONE INVESTMENT FUND LLC         140014920        559 16-13-404-009-0000   2-11 18COTD4290 GMO PROPERTIES LLC SERIES 4246   04/17/2019 04/18/2019       JRJ
00307                                                2013 ANNUAL         CHRISTIANA TRUST CUSTODIAN FOR GSRAN-Z LLC   130001315        035 28-31-406-008-1038   2-99 18COTD584    GOTHIC INVESTMENTS LTD         04/15/2019 04/19/2019       RAA
00309 per 18cotd6766 void deed/19B04255 dtd 8-8-19   2014 ANNUAL                WEST TOWN BUYERS GROUP LLC            140013880        511 17-16-407-021-1090   2-99 18COTD6766 BOGO LLC                         04/16/2019 04/19/2019       JRJ
00310                                                2014 ANNUAL                     ICIB INVESTMENTS INC             140015466        575 16-26-220-002-0000   2-03 18COTD4115 ARTHINGTON PROPERTIES LLC        04/16/2019 04/19/2019       JRJ
00311                                                2014 ANNUAL                       TITAN CAPITAL LLC              140012795        472 14-05-204-028-1417   2-99 18COTD4287 TITAN CAPITAL LLC                04/17/2019 04/23/2019       RAA
00312                                                2014 ANNUAL                     ICIB INVESTMENTS INC             140014768        553 16-11-312-025-0000   2-12 18COTD4049 SBS GROUP INC                    04/15/2019 04/23/2019       JRJ
00315                                                2013 ANNUAL                    USBANK CUST FOR PFS1              130003864        165 15-15-115-022-0000   2-03 17COTD4314 AJM BUILDERS LLC                 04/19/2019 04/24/2019       RAA
00316                                                2014 ANNUAL                        GT ALTERNATIVES               140007450        269 20-34-413-053-1003   2-99 18COTD4291 STONEDRY LLC                     04/18/2019 04/24/2019       RAA
00317                                                2014 ANNUAL               EQUITY ONE INVESTMENT FUND LLC         140014383        540 16-02-415-003-0000   2-02 18COTD4289 TULEEN PROPERTIES LLC            04/15/2019 04/25/2019       JRJ
00320                                                2014 ANNUAL                            GAN C LLC                 140014064        521 17-31-426-049-0000   2-12 18COTD1332 CAMANRO INC                      04/25/2019 04/30/2019       JRJ
00322                                                2014 ANNUAL                  REAL TAX ACQUISITIONS LLC           140010148        405 19-26-325-064-0000   2-03 18COTD4295 REAL TAX ACQUISITIONS LLC        04/12/2019 05/01/2019       RAA
00323 per 18cotd4378 void deed/ SIE dtd 2-24-20      2014 ANNUAL                  REAL TAX ACQUISITIONS LLC           140011291        434 20-19-102-009-0000   2-03 18COTD4378 REAL TAX ACQUISITIONS LLC        04/12/2019 05/01/2019       RAA
00389                                                2013 ANNUAL                   FAIR DEAL OF ILLINOIS INC          130013121        466 25-20-423-003-0000   2-95 18COTD1830 PREEMINENT HOUSING SERIES LLC    04/29/2019 05/07/2019       JRJ
00390                                                2014 ANNUAL                     ICIB INVESTMENTS INC             140012241        460 25-17-206-022-0000   2-03 18COTD3793 SEMPER FIDELIS LLC               05/01/2019 05/07/2019       JRJ
00391                                                2013 ANNUAL                      SCRIBE FUNDING LLC              130013278        469 25-28-127-009-0000   2-03 18COTD0885 CHICAGO ASSETS LLC               05/01/2019 05/07/2019       JRJ
00392                                                2014 ANNUAL                  REAL TAX ACQUISITIONS LLC           140010699        423 20-17-222-014-0000   2-11 18COTD4665 REAL TAX ACQUISITIONS LLC        04/29/2019 05/07/2019       JRJ
00393                                                2014 ANNUAL                  REAL TAX ACQUISITIONS LLC           140012441        466 25-20-405-004-0000   2-34 18COTD4735 REAL TAX ACQUISITIONS LLC        04/29/2019 05/07/2019       JRJ
00394                                                2014 ANNUAL                  REAL TAX ACQUISITIONS LLC           140012644        469 25-28-121-008-0000   2-34 18COTD4740 REAL TAX ACQUISITIONS LLC        04/29/2019 05/07/2019       JRJ
VOID                                                 2014 ANNUAL                  REAL TAX ACQUISITIONS LLC           140015086        563 16-15-401-003-0000   2-11 18COTD4733 REAL TAX ACQUISITIONS LLC        04/29/2019 05/07/2019       JRJ
00396                                                2013 ANNUAL                           FNA ELM LLC                130003882        165 15-15-217-012-0000   2-02 18COTD475    ARTHINGTON PROPERTIES LLC      05/03/2019 05/08/2019       RAA
00397                                                2014 ANNUAL                    WHEELER FINANCIAL INC             140001277        036 25-29-320-060-0000   2-03 18COTD4492 WHEELER FINANCIAL INC            04/29/2019 05/08/2019       RAA
00398                                                2014 ANNUAL                    WHEELER FINANCIAL INC             140001280        036 25-29-325-043-0000   2-03 18COTD4490 WHEELER FINANCIAL INC            04/29/2019 05/08/2019       RAA
00399                                                2014 ANNUAL                    WHEELER FINANCIAL INC             140003090        148 02-09-402-100-1583   2-99 18COTD4541 WHEELER FINANCIAL INC            04/30/2019 05/08/2019       RAA
00400                                                2014 ANNUAL                    WHEELER FINANCIAL INC             140003323        155 15-04-114-053-0000   2-02 18COTD4543 WHEELER FINANCIAL INC            04/29/2019 05/08/2019       RAA
00401                                                2014 ANNUAL                    WHEELER FINANCIAL INC             140003820        178 31-03-314-020-0000   2-03 18COTD4557 WHEELER FINANCIAL INC            04/29/2019 05/08/2019       RAA
00403                                                2014 ANNUAL                    WHEELER FINANCIAL INC             140000338        014 32-20-321-014-0000   2-03 18COTD4413 WHEELER FINANCIAL INC            04/29/2019 05/08/2019       RAA
00404                                                2014 ANNUAL                    WHEELER FINANCIAL INC             140000612        021 32-33-305-055-0000   2-03 18COTD4444 WHEELER FINANCIAL INC            04/29/2019 05/08/2019       RAA
00405                                                2014 ANNUAL                    WHEELER FINANCIAL INC             140000619        021 32-33-319-006-0000   2-02 18COTD4475 WHEELER FINANCIAL INC            04/29/2019 05/08/2019       RAA
00406                                                2014 ANNUAL                    WHEELER FINANCIAL INC             140000687        022 33-07-316-012-1024   2-99 18COTD4484 WHEELER FINANCIAL INC            04/29/2019 05/08/2019       RAA
00407                                                2014 ANNUAL                    WHEELER FINANCIAL INC             140003479        161 15-10-306-038-0000   2-06 18COTD4547 WHEELER FINANCIAL INC            04/29/2019 05/08/2019       RAA
00408                                                2014 ANNUAL                EQUITY ONE INVESTMENTS FUND           140008240        285 25-10-409-003-0000   2-05 18COTD4280 ALIZ, LLC                        04/15/2019 05/09/2019       RAA
00412                                                2014 ANNUAL                    WHEELER FINANCIAL INC             140000711        022 33-30-307-011-0000   2-02 18COTD4485 WHEELER FINANCIAL INC            05/06/2019 05/13/2019       RAA
00413                                                2014 ANNUAL                    WHEELER FINANCIAL INC             140001246        035 28-36-101-013-0000   2-99 18COTD4469 WHEELER FINANCIAL INC            05/06/2019 05/13/2019       RAA
00495                                                2013 ANNUAL                 CHRISTIANA CUSTODIAN TRUST           130008612        277 21-31-326-011-0000   2-02 18COTD1526 NR DEED LLC                      05/10/2019 05/20/2019       RAA
00496                                                2012 ANNUAL                  USBANK C/F TOWER DBW IV             120006543        251 20-03-210-009-0000   2-11 17COTD277    MAPLEWOOD REVOVATIONS INC      05/14/2019 05/20/2019       RAA
00500                                                2013 ANNUAL                    WHEELER FINANCIAL INC             130001452        038 25-31-105-033-0000   2-02 18COTD996    WHEELER FINANCIAL INC          05/13/2019 05/21/2019       RAA
00505                                                2014 ANNUAL                    WHEELER FINANCIAL INC             140002434        088 09-15-403-083-1014   2-99 18COTD4530 WHEELER FINANCIAL INC            05/01/2019 05/23/2019       RAA
00506                                                2013 ANNUAL                 CHRISTIANA CUSTODIAN TRUST           130008850        283 25-03-311-048-0000   2-10 18COTD1705 NR DEED LLC                      05/17/2019 05/23/2019       RAA
00507                                                2013 ANNUAL                 CHRISTIANA CUSTODIAN TRUST           130012552        451 25-06-207-107-0000   2-03 18COTD2258 NR DEED LLC                      05/16/2019 05/23/2019       RAA
00508                                                2014 ANNUAL                 CHRISTIANA CUSTODIAN TRUST           140000857        026 28-10-412-033-0000   2-02 18COTD4200 NR DEED LLC                      05/15/2019 05/23/2019       RAA
00509                                                2014 ANNUAL                 CHRISTIANA CUSTODIAN TRUST           140004234        180 31-26-411-018-0000   2-02 18COTD4695 NR DEED LLC                      05/17/2019 05/23/2019       RAA
00510 per 18cotd4697 void deed bkrptcy filed         2014 ANNUAL                 CHRISTIANA CUSTODIAN TRUST           140004541        193 29-02-324-042-0000   2-34 18COTD4697 NR DEED LLC                      05/17/2019 05/23/2019       RAA
00511                                                2014 ANNUAL                 CHRISTIANA CUSTODIAN TRUST           140005065        205 29-12-208-040-0000   2-11 18COTD4840 NR DEED LLC                      05/16/2019 05/23/2019       RAA
00512                                                2013 ANNUAL                           FNA ELM LLC                130005003        197 29-07-113-027-0000   2-02 17COTD4288 KEITH ADAMS                      05/17/2019 05/23/2019       RAA
00512                                                2013 ANNUAL                           FNA ELM LLC                130005004        197 29-07-113-028-0000   2-02 17COTD4288 KEITH ADAMS                      05/17/2019 05/23/2019       RAA
00513                                                2013 ANNUAL                        SCRIBE FUNDING                130014868        526 17-34-328-006-0000   2-10 18COTD312    YVONNE TURNBULL                05/13/2019 05/23/2019       RAA
00514                                                2014 ANNUAL                               ICIB                   140008072        282 25-02-400-040-0000   2-05 18COTD3684 CAMRY INVESTMENTS LLC            05/20/2019 05/24/2019       RAA
00515                                                2014 ANNUAL                    WHEELER FINANCIAL INC             140013564        504 10-36-424-034-1024   2-99 18COTD7066 WHEELER FINANCIAL INC            05/16/2019 05/24/2019       RAA
00516                                                2014 ANNUAL                    EMPATHY FINANCIAL LLC             140014540        548 16-08-409-018-0000   2-06 18COTD4711 GREENS 400 LLC                   05/13/2019 05/24/2019       RAA
00518                                                2014 ANNUAL                    WHEELER FINANCIAL INC             140015498        577 16-26-417-018-0000   2-02 18COTD7085 WHEELER FINANCIAL INC            05/17/2019 05/24/2019       RAA
00519                                                2013 ANNUAL                   SABRE INVESTMENTS, LLC             130012515        450 25-05-313-032-0000   2-05 17COTD4821 SABRE INVESTMENTS, LLC           05/20/2019 05/24/2019       RAA
00520                                                2013 ANNUAL                   SABRE INVESTMENTS, LLC             130015393        549 16-09-119-033-0000   2-11 17COTD4842 JOESKI CONSTRUCTION INC          05/20/2019 05/28/2019       RAA




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                     Deed Number                   Sale Yr Sale Type                Buyer Name              Cert Number   Vol         PIN          Class Case Number Deed Name                                           Date Issued Date Processed Initials
00521                                              2014 ANNUAL            CHRISTIANA CUSTODIAN TRUST     140004562        194 29-02-429-026-0000   2-03 18COTD4700 NEER DEVELOPERS INC                                  05/10/2019 05/28/2019       RAA
00522                                              2014 ANNUAL             REAL TAX ACQUISITIONS LLC     140014564        549 16-09-102-036-0000   2-05 18COTD4800 REAL TAX ACQUISITIONS LLC                            05/17/2019 05/28/2019       RAA
00523                                              2014 ANNUAL            CHRISTIANA CUSTODIAN TRUST     140004625        194 29-03-419-070-0000   2-34 18COTD4790 NR DEED LLC                                          05/18/2019 05/28/2019       RAA
00524                                              2014 ANNUAL            CHRISTIANA CUSTODIAN TRUST     140004630        194 29-03-427-065-0000   2-34 18COTD4792 NR DEED LLC                                          05/16/2019 05/28/2019       RAA
00525                                              2014 ANNUAL            CHRISTIANA CUSTODIAN TRUST     140004934        202 29-10-209-027-1032   2-99 18COTD4794 NR DEED LLC                                          05/16/2019 05/28/2019       RAA
00526                                              2014 ANNUAL            CHRISTIANA CUSTODIAN TRUST     140005004        203 29-11-213-011-0000   2-03 18COTD4836 NR DEED LLC                                          05/16/2019 05/28/2019       RAA
00527Per 18cotd3421 void deed                      2014 ANNUAL NEWLINE HOLDINGS LLC                      140003421        159 15-09-209-021-0000   2-11 18COTD3421 MAPLE REAL ESTATE LLC                                05/21/2019 05/28/2019       RAA
00528                                              2014 ANNUAL               NEWLINE HOLDINGS LLC        140006397        248 24-33-204-041-1004   2-99 18COTD6217 MAPLE REAL ESTATE LLC                                05/21/2019 05/28/2019       RAA
00529                                              2014 ANNUAL             CORONA INVESTMENTS LLC        140010061        402 19-24-205-032-0000   2-11 18COTD4157 CORONA INVESTMENTS LLC                               03/26/2019 05/28/2019       RAA
00566                                              2014 ANNUAL               NEWLINE HOLDINGS LLC        140004683        195 29-04-300-018-0000   2-03 18COTD6243 MAPLE REAL ESTATE LLC                                05/23/2019 06/03/2019       JRJ
00567                                              2014 ANNUAL               NEWLINE HOLDINGS LLC        140005017        204 29-11-409-056-0000   2-02 18COTD6265 MAPLE REAL ESTATE LLC                                05/21/2019 06/03/2019       JRJ
00568                                              2014 ANNUAL           WEST TOWN BUYERS GROUP LLC      140009528        369 13-33-422-001-0000   2-02 18COTD6763 DISCOVERY INVESTMENTS & ACQUISITIONS LLC             05/22/2019 06/03/2019       JRJ
00569                                              2013 ANNUAL            CHRISTIANA TRUST CUSTODIAN     130004120        178 31-10-200-089-1101   2-99 18COTD0609 GOTHIC INVESTMENTS LTD                               05/23/2019 06/04/2019       JRJ
00570                                              2013 ANNUAL            CHRISTIANA TRUST CUSTODIAN     130004124        178 31-10-200-089-1178   2-99 18COTD0610 GOTHIC INVESTMENTS LTD                               05/23/2019 06/04/2019       JRJ
00572 per 18cotd4416 void deed/ sie dtd 07-23-19   2014 ANNUAL               WHEELER FINANCIAL INC       140000341        014 32-20-325-014-0000   2-11 18COTD4416 WHEELER FINANCIAL INC                                05/21/2019 06/04/2019       JRJ
00573                                              2014 ANNUAL               WHEELER FINANCIAL INC       140001106        033 28-25-327-010-0000   2-03 18COTD4465 WHEELER FINANCIAL INC                                05/21/2019 06/04/2019       JRJ
00574                                              2014 ANNUAL               WHEELER FINANCIAL INC       140001361        038 25-31-364-006-0000   2-02 18COTD4504 WHEELER FINANCIAL INC                                05/21/2019 06/04/2019       JRJ
00575                                              2013 ANNUAL                      FNA ELM LLC          130013936        498 17-04-221-063-1322   2-02 18COTD0638 FIRST NATIONAL ACQUISITIONS LLC                      05/24/2019 06/04/2019       JRJ
00576                                              2014 ANNUAL                ICIB INVESTMENTS INC       140001544        044 16-28-415-006-0000   2-11 18COTD4328 ELEAZAR CABRALES RAMOS                               05/17/2019 06/04/2019       JRJ
00579                                              2014 ANNUAL                     ROYCE RE LLC          140007475        270 20-35-115-023-1020   2-99 18COTD4124 COUNTY OF COOK DBA COOK COUNTY LAND BANK AUTHORITY   05/20/2019 06/05/2019       JRJ
00580                                              2013 ANNUAL               SABRE INVESTMENTS LLC       130012435        448 25-04-308-012-0000   2-34 17COTD4819 SABRE INVESTMENTS LLC                                05/28/2019 06/05/2019       JRJ
00581                                              2012 ANNUAL             WEST TOWN BUYERS GROUP        120006544        251 20-03-210-010-0000   2-41 16COTD5286 BOGO LLC                                             05/31/2019 06/06/2019       JRJ
00582                                              2014 ANNUAL               NEWLINE HOLDINGS LLC        140000650        021 32-36-111-045-0000   2-03 18COTD6103 MAPLE REAL ESTATE LLC                                05/21/2019 06/06/2019       JRJ
00594                                              2014 ANNUAL               NEWLINE HOLDINGS LLC        140000894        028 28-12-220-021-0000   2-03 18COTD6105 ARTHINGTON PROPERTIES LLC                            06/03/2019 06/10/2019       RAA
00595                                              2014 ANNUAL               NEWLINE HOLDINGS LLC        140000904        028 28-12-400-048-0000   2-03 18COTD6106 V3 REALTY LLC                                        06/03/2019 06/10/2019       RAA
00597                                              2013 ANNUAL               SABRE INVESTMENTS LLC       130007540        257 20-15-122-013-0000   2-11 17COTD3712 SABRE INVESTMENTS LLC                                05/30/2019 06/10/2019       RAA
00598                                              2014 ANNUAL               EMPATHY FINANCIAL LLC       140015020        561 16-15-124-023-0000   2-11 18COTD4713 1822 DODGE AVE LLC                                   05/06/2019 06/10/2019       RAA
00599                                              2014 ANNUAL               NEWLINE HOLDINGS LLC        140004694        195 29-04-316-030-0000   2-03 18COTD6246 MAPLE REAL ESTATE LLC                                06/03/2019 06/10/2019       RAA
00600                                              2014 ANNUAL               NEWLINE HOLDINGS LLC        140004986        203 29-11-113-040-0000   2-02 18COTD6263 MAPLE REAL ESTATE LLC                                06/03/2019 06/10/2019       RAA
00601                                              2013 ANNUAL               SABRE INVESTMENTS LLC       130007865        261 20-24-421-021-1001   2-99 17COTD4804 MRC HOLDINGS LLC                                     06/04/2019 06/10/2019       RAA
00605                                              2014 ANNUAL           EQUITY ONE INVESTMENT FUND      140009658        376 19-01-215-039-0000   2-02 18COTD7202 TITAN CAPITAL LLC                                    06/04/2019 06/10/2019       RAA
00606                                              2014 ANNUAL               WHEELER FINANCIAL INC       140001057        032 28-24-103-048-0000   2-03 18COTD4459 WHEELER FINANCIAL INC                                05/24/2019 06/10/2019       RAA
00607                                              2014 ANNUAL               WHEELER FINANCIAL INC       140001373        039 25-32-115-042-0000   2-03 18COTD4506 WHEELER FINANCIAL INC                                06/03/2019 06/10/2019       RAA
00608                                              2013 ANNUAL              FAIR DEAL OF ILLINOIS INC    130016113        567 16-22-228-009-0000   2-03 18COTD1507 KOHLI PROPERTIES INC                                 05/17/2019 06/102019        RAA
00635                                              2014 ANNUAL                 NEWLINE HOLDINGS          140003537        162 15-11-134-025-0000   2-05 18COTD6223 MAPLE REAL ESTATE LLC                                06/03/2019 06/12/2019       RAA
00636                                              2014 ANNUAL                 NEWLINE HOLDINGS          140000221        011 32-08-306-018-0000   2-03 18COTD6082 PRISHPREED LLC                                       05/31/2019 06/12/2019       RAA
00637                                              2014 ANNUAL                     ROYCE RE LLC          140012285        461 25-17-334-050-0000   2-03 18COTD3639 SYLVA LLC                                            06/07/2019 06/12/2019       RAA
00638                                              2014 ANNUAL                 NEWLINE HOLDINGS          140004894        201 29-09-218-013-0000   2-03 18COTD6257 MAPLE REAL ESTATE LLC                                06/07/2019 06/12/2019       RAA
00641                                              2014 ANNUAL               NEWLINE HOLDINGS LLC        140000573        020 32-31-122-002-1032   2-99 18COTD6098 MAPLE REAL ESTATE LLC                                05/22/2019 06/13/2019       JRJ
00642                                              2014 ANNUAL               WHEELER FINANCIAL INC       140013902        512 17-22-101-043-1318   2-99 18COTD7053 WHEELER FINANCIAL INC                                06/05/2019 06/14/2019       JRJ
00643                                              2014 ANNUAL               WHEELER FINANCIAL INC       140014582        549 16-09-115-023-0000   2-05 18COTD7074 WHEELER FINANCIAL INC                                06/05/2019 06/14/2019       JRJ
00644                                              2014 ANNUAL               WHEELER FINANCIAL INC       140015508        578 16-27-200-025-0000   2-02 18COTD7088 WHEELER FINANCIAL INC                                06/05/2019 06/14/2019       JRJ
00645                                              2014 ANNUAL               WHEELER FINANCIAL INC       140015637        588 17-07-322-045-1034   2-99 18COTD7090 WHEELER FINANCIAL INC                                06/05/2019 06/14/2019       JRJ
00646                                              2014 ANNUAL              UMB BANK CUST FOR FRHL       140015788        595 17-19-319-035-0000   2-11 18COTD7560 WHEELER FINANCIAL INC                                06/10/2019 06/14/2019       JRJ
00647                                              2014 ANNUAL               NEWLINE HOLDINGS LLC        140004663        195 29-04-209-058-0000   2-95 18COTD6241 MAPLE REAL ESTATE LLC                                06/12/2019 06/17/2019       JRJ
00648                                              2013 ANNUAL                    SUBSCRIBE LLC          130005370        204 29-12-112-022-0000   2-03 18COTD0655 SUBSCRIBE LLC                                        05/21/2019 06/17/2019       JRJ
00649                                              2014 ANNUAL          EQUITY ONE INVESTMENT FUND LLC   140002936        142 16-08-314-043-1001   2-99 18COTD7103 TITAN CAPITAL LLC                                    06/12/2019 06/17/2019       JRJ
00650                                              2014 ANNUAL          EQUITY ONE INVESTMENT FUND LLC   140007057        261 20-24-410-026-1001   2-99 18COTD7112 TITAN CAPITAL LLC                                    06/11/2019 06/17/2019       JRJ
00652                                              2013 ANNUAL             MADISON C/O STONEFIELD IV     130006437        227 30-29-207-023-0000   2-03 18COTD0976 614 HOCKEY LLC                                       06/12/2019 06/18/2019       JRJ
00653                                              2013 ANNUAL             MADISON C/O STONEFIELD IV     130006999        246 24-23-306-014-0000   2-02 18COTD1398 613 HOCKEY LLC                                       06/12/2019 06/18/2019       JRJ
00654                                              2013 ANNUAL             MADISON C/O STONEFIELD IV     130007437        254 20-11-205-039-1009   2-99 18COTD1400 613 HOCKEY LLC                                       06/12/2019 06/18/2019       JRJ
00709                                              2014 ANNUAL               NEWLINE HOLDINGS INC        140004145        180 31-35-208-040-0000   2-03 18COTD6233 MAPLE REAL ESTATE LLC                                05/23/2019 06/21/2019       JRJ




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        Deed Number   Sale Yr Sale Type             Buyer Name                Cert Number   Vol         PIN          Class Case Number Deed Name                       Date Issued Date Processed Initials
00710                 2014 ANNUAL            REAL TAX ACQUISITIONS LLC     140008658        296 26-06-312-024-0000   2-02 18COTD4298 COOK COUNTY PROPERTIES INC       06/18/2019 06/21/2019       JRJ
00715                 2014 ANNUAL              NEWLINE HOLDINGS LLC        140001314        037 25-30-408-061-0000   2-02 18COTD6122 MAPLE REAL ESTATE LLC            05/24/2019 06/21/2019       RAA
00716                 2014 ANNUAL              NEWLINE HOLDINGS LLC        140001352        038 25-31-303-008-0000   2-11 18COTD6125 MAPLE REAL ESTATE LLC            05/24/2019 06/21/2019       RAA
00717                 2014 ANNUAL              NEWLINE HOLDINGS LLC        140001625        048 16-33-207-023-0000   2-11 18COTD6129 MAPLE REAL ESTATE LLC            05/24/2019 06/21/2019       RAA
00718                 2014 ANNUAL              NEWLINE HOLDINGS LLC        140005847        229 30-31-307-012-0000   2-02 18COTD6214 MAPLE REAL ESTATE LLC            05/24/2019 06/21/2019       RAA
00719                 2014 ANNUAL                   ROYCE RE LLC           140012718        470 25-28-403-033-0000   2-03 18COTD4002 KOTOVA HOMES INC                 06/10/2019 06/21/2019       RAA
00720                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130007393        253 20-10-304-030-0000   3-15 18COTD1461 MOGUL PROPERTIES INC             06/12/2019 06/21/2019       RAA
00721                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130005331        203 29-11-302-029-0000   2-02 18COTD1165 THORNWOOD PARTNERS LTD           06/19/2019 06/21/2019       RAA
00722                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130007528        257 20-15-118-022-1008   2-99 18COTD1463 THORNWOOD PARTNERS LTD           06/18/2019 06/21/2019       RAA
00723                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130007860        261 20-24-418-018-1018   2-99 18COTD1465 THORNWOOD PARTNERS LTD           06/18/2019 06/21/2019       RAA
00724                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130008264        270 20-35-201-043-0000   2-95 18COTD1523 GOTHIC INVESTMENTS LTD           06/19/2019 06/21/2019       RAA
00725                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130008959        287 25-12-217-040-0000   2-10 18COTD1757 THORNWOOD PARTNERS LTD           06/18/2019 06/21/2019       RAA
00726                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130009466        303 26-31-207-035-0000   2-02 18COTD1957 WICKER-ASHLAND LLC               06/19/2019 06/21/2019       RAA
00727                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130010826        406 19-27-401-038-1080   2-99 18COTD2015 THORNWOOD PARTNERS LTD           06/19/2019 06/21/2019       RAA
00728                 2014 ANNUAL            UMB BANK CUST FOR FRHL        140006557        252 20-03-407-062-1006   2-99 18COTD7505 WHEELER FINANCIAL INC            06/17/2019 06/24/2019       RAA
00729                 2014 ANNUAL              WHEELER FINANCIAL INC       140012919        477 14-08-209-022-1274   2-99 18COTD7044 WHEELER FINANCIAL INC            06/13/2019 06/24/2019       RAA
00730                 2014 ANNUAL              WHEELER FINANCIAL INC       140015514        578 16-27-201-050-0000   2-02 18COTD7089 WHEELER FINANCIAL INC            06/13/2019 06/24/2019       RAA
00731                 2014 ANNUAL              EMPATHY FINANCIAL LLC       140007511        271 20-35-304-044-0000   2-02 18COTD4706 CAMRY INVESTMENTS LLC            06/12/2019 06/26/2019       RAA
00732                 2014 ANNUAL                       ICIB               140008184        284 25-03-415-021-0000   2-03 18COTD3710 CAMRY INVESTMENTS LLC            06/12/2019 06/26/2019       RAA
00733                 2014 ANNUAL                   ROYCE RE LLC           140011797        448 25-04-120-036-0000   2-02 18COTD3999 KOTOVA HOMES INC                 06/19/2019 06/26/2019       RAA
00736                 2013 ANNUAL            NEBRASKA ALLIANCE REALTY      130011189        419 20-08-318-036-0000   2-11 18COTD0502 UNION HILL HOLDINGS LLC          06/17/2019 06/26/2019       JRJ
00779                 2013 ANNUAL            NEBRASKA ALLIANCE REALTY      130003736        162 15-10-405-028-0000   2-05 18COTD475    MICHAL MORAVIK                 06/17/2019 06/28/2019       RAA
00780                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130006968        245 24-18-216-093-1065   2-99 18COTD1458 GOTHIC INVESTMENTS LTD           06/20/2019 06/28/2019       RAA
00781                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130012437        448 25-04-314-007-0000   2-03 18COTD2252 GOTHIC INVESTMENTS LTD           06/20/2019 06/28/2019       RAA
00782                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130012466        449 25-05-100-025-0000   2-03 18COTD2254 GOTHIC INVESTMENTS LTD           06/20/2019 06/28/2019       RAA
00783                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130012539        450 25-05-420-015-0000   2-02 18COTD2256 GOTHIC INVESTMENTS LTD           06/19/2019 06/28/2019       RAA
00784                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130012662        456 25-09-216-003-0000   2-34 18COTD2260 THORNWOOD PARTNERS LTD           06/19/2019 06/28/2019       RAA
00785                 2013 ANNUAL           MADISON C/O STONEFIELD IV      130001444        037 25-30-413-014-0000   2-05 18COTD0784 614 HOCKEY LLC                   06/17/2019 07/01/2019       JRJ
00786                 2013 ANNUAL           MADISON C/O STONEFIELD IV      130003768        162 15-11-137-021-1011   2-99 18COTD1376 614 HOCKEY LLC                   06/18/2019 07/01/2019       JRJ
00787                 2013 ANNUAL           MADISON C/O STONEFIELD IV      130003790        162 15-11-338-010-0000   2-05 18COTD0792 614 HOCKEY LLC                   06/17/2019 07/01/2019       JRJ
00788                 2013 ANNUAL           MADISON C/O STONEFIELD IV      130004086        178 31-03-203-125-0000   2-95 18COTD0957 614 HOCKEY LLC                   06/17/2019 07/01/2019       JRJ
00789                 2013 ANNUAL           MADISON C/O STONEFIELD IV      13004237         179 31-24-317-021-0000   2-34 18COTD0958 614 HOCKEY LLC                   06/17/2019 07/01/2019       JRJ
00790                 2013 ANNUAL           MADISON C/O STONEFIELD IV      130004358        180 31-35-414-032-0000   2-02 18COTD0800 614 HOCKEY LLC                   06/17/2019 07/01/2019       JRJ
00791                 2013 ANNUAL           MADISON C/O STONEFIELD IV      130007085        249 24-34-409-018-0000   2-03 18COTD0818 614 HOCKEY LLC                   06/17/2019 07/01/2019       JRJ
00792                 2013 ANNUAL           MADISON C/O STONEFIELD IV      130008867        284 25-03-414-005-0000   2-02 18COTD0820 613 HOCKEY LLC                   06/17/2019 07/01/2019       JRJ
00793                 2014 ANNUAL           MADISON C/O STONEFIELD IV      140008475        289 25-15-412-084-0000   2-03 18COTD4309 ATLANTIC MUNICIPAL CORPORATION   06/20/2019 07/01/2019       JRJ
00794                 2014 ANNUAL              EMPATHY FINANCIAL LLC       140010099        403 19-24-411-025-0000   2-03 18COTD4252 KOTOVA HOMES INC                 06/20/2019 07/01/2019       JRJ
00795                 2013 ANNUAL           MADISON C/O STONEFIELD IV      130004438        180 31-36-409-019-0000   2-02 18COTD0973 613 HOCKEY LLC                   06/20/2019 07/01/2019       JRJ
VOID                  2014 ANNUAL              NEWLINE HOLDINGS LLC        140000459        017 32-25-318-012-0000   2-03 18COTD6095 MAPLE REAL ESTATE LLC            05/24/2019 07/01/2019       RAA
00797                 2014 ANNUAL             FAIR DEAL OF ILLINOIS INC    140000417        017 32-25-109-048-0000   2-95 18COTD6788 JMR2 LLC                         06/19/2019 07/01/2019       RAA
00798                 2014 ANNUAL                   ROYCE RE LLC           140007002        261 20-23-410-030-0000   2-05 18COTD4225 DREAMS REALTY & DESIGN INC       06/19/2019 07/01/2019       RAA
00799                 2014 ANNUAL                       ICIB               140008091        282 25-03-100-038-0000   2-06 18COTD3661 KOTOVA HOMES INC                 06/20/2019 07/01/2019       RAA
00800                 2014 ANNUAL              WHEELER FINANCIAL INC       140003496        161 15-10-330-009-0000   2-05 18COTD4549 WHEELER FINANCIAL INC            06/17/2019 07/01/2019       RAA
00801                 2014 ANNUAL              WHEELER FINANCIAL INC       140005388        216 29-27-312-010-0000   2-03 18COTD4588 WHEELER FINANCIAL INC            06/17/2019 07/01/2019       RAA
00802                 2014 ANNUAL          EQUITY ONE INVESTMENT FUND      140007066        261 20-24-418-018-1002   2-99 18COTD7113 TITAN CAPITAL LLC                06/12/2019 07/01/2019       RAA
00803                 2014 ANNUAL              WHEELER FINANCIAL INC       140006502        251 20-03-117-034-1002   2-99 18COTD6876 WHEELER FINANCIAL INC            06/13/2019 07/01/2019       RAA
00804                 2014 ANNUAL            UMB BANK CUST FOR FRHL        140011540        438 20-31-109-025-0000   2-03 18COTD7540 WHEELER FINANCIAL INC            06/17/2019 07/01/2019       RAA
00806                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130008859        284 25-03-407-016-0000   2-03 18COTD1706 GOTHIC INVESTMENTS LTD           05/28/2019 07//01/2019      RAA
00807                 2013 ANNUAL            CHRISTIANA TR CUSTODIAN       130012396        448 25-04-104-027-0000   2-02 18COTD2286 S & P RESTORATION INC            06/21/2019 07/01/2019       RAA
00808                 2014 ANNUAL                    GAN C LLC             140004067        180 31-33-202-003-1005   2-99 18COTD5836 CAMANRO INC                      06/27/2019 07/01/2019       RAA
00809                 2014 ANNUAL         LONGSTREET CAPITAL FUNDING LLC   140002267        081 18-13-404-027-0000   2-02 18COTD7771 LONGSTREET CAPITAL FUNDING LLC   06/25/2019 07/01/2019       JRJ
00810                 2014 ANNUAL         EQUITY ONE INVESTMENT FUND LLC   140006637        253 20-10-304-054-1002   2-99 18COTD7397 TITAN CAPITAL LLC                06/19/2019 07/02/2019       JRJ




                                                                                                                                                                                                             7
        Deed Number   Sale Yr Sale Type                    Buyer Name                     Cert Number   Vol         PIN          Class Case Number Deed Name                                           Date Issued Date Processed Initials
00811                 2014 ANNUAL               EQUITY ONE INVESTMENT FUND LLC         140007104        262 20-25-120-030-0000   2-95 18COTD7398 TITAN CAPITAL LLC                                    06/20/2019 07/02/2019       JRJ
00812                 2014 ANNUAL               EQUITY ONE INVESTMENT FUND LLC         140012139        458 25-16-106-037-0000   2-02 18COTD7408 TITAN CAPITAL LLC                                    06/19/2019 07/02/2019       JRJ
00813                 2014 ANNUAL                    WHEELER FINANCIAL INC             140003606        164 15-14-146-013-0000   2-11 18COTD4550 WHEELER FINANCIAL INC                                06/19/2019 07/02/2019       JRJ
00814                 2014 ANNUAL                    WHEELER FINANCIAL INC             140004718        196 29-04-410-017-0000   2-02 18COTD4623 WHEELER FINANCIAL INC                                06/20/2019 07/02/2019       JRJ
00815                 2014 ANNUAL                    WHEELER FINANCIAL INC             140004860        200 29-08-311-032-0000   2-03 18COTD4630 WHEELER FINANCIAL INC                                06/20/2019 07/02/2019       JRJ
00816                 2014 ANNUAL                    WHEELER FINANCIAL INC             140005025        204 29-11-420-020-0000   2-03 18COTD4639 WHEELER FINANCIAL INC                                06/20/2019 07/02/2019       JRJ
00817                 2014 ANNUAL                    WHEELER FINANCIAL INC             140005401        217 29-30-111-020-0000   2-03 18COTD4651 WHEELER FINANCIAL INC                                06/20/2019 07/02/2019       JRJ
00818                 2014 ANNUAL                    WHEELER FINANCIAL INC             140010955        427 20-19-223-034-0000   2-12 18COTD4660 WHEELER FINANCIAL INC                                06/20/2019 07/02/2019       JRJ
00819                 2013 ANNUAL                  MADISON C/O STONEFIELD IV           130004375        180 31-36-108-013-0000   2-03 18COTD961    614 HOCKEY LLC                                     06/25/2019 07/08/2019       RAA
00889                 2014 ANNUAL                           GAN C LLC                  140000639        021 32-25-101-008-0000   2-78 18COTD7701 CAMANRO INC                                          07/01/2019 07/10/2019       JRJ
00890                 2014 ANNUAL                           GAN C LLC                  140006360        247 24-26-102-077-1001   2-99 18COTD5843 CAMANRO INC                                          07/02/2019 07/10/2019       JRJ
00891                 2014 ANNUAL                    EMPATHY FINANCIAL LLC             140005678        224 30-17-309-004-0000   2-02 18COTD3666 CAMRY INVESTMENT LLC                                 07/03/2019 07/10/2019       JRJ
00892                 2014 ANNUAL               EQUITY ONE INVESTMENT FUND LLC         140011475        437 20-30-212-032-0000   2-03 18COTD7406 TITAN CAPITAL LLC                                    07/02/2019 07/10/2019       JRJ
00893                 2014 ANNUAL               EQUITY ONE INVESTMENT FUND LLC         140008235        285 25-10-405-012-0000   2-03 18COTD7116 TITAN CAPITAL LLC                                    07/03/2019 07/10/2019       JRJ
00894                 2014 ANNUAL               EQUITY ONE INVESTMENT FUND LLC         140011822        448 25-04-312-069-0000   2-03 18COTD7122 TITAN CAPITAL LLC                                    07/05/2019 07/11/2019       JRJ
00895                 2014 ANNUAL                           GAN C LLC                  140000493        018 32-28-119-007-0000   2-02 18COTD7776 CAMANRO INC                                          07/05/2019 07/11/2019       JRJ
00897                 2014 ANNUAL                 LONGSTREET CAPITAL FUNDING           140012759        471 25-33-105-071-0000   2-02 18COTD7818 LONGSTREET CAPITAL FUNDING                           06/28/2019 07/11/2019       RAA
00898                 2014 ANNUAL                        CAMANRO INC                   140005086        205 29-12-325-017-0000   2-95 18COTD7699 CAMANRO INC                                          07/01/2019 07/11/2019       RAA
00900                 2014 ANNUAL                      NEWLINE HOLDINGS                140003492        161 15-10-313-041-0000   2-03 18COTD6220 ARTHINGTON PROPERTIES LLC                            07/02/2019 07/11/2019       RAA
00901                 2014 ANNUAL                           GAN C LLC                  140000035        002 16-19-205-029-0000   2-02 18COTD8636 CAMANRO INC                                          07/05/2019 07/12/2019       JRJ
00902                 2014 ANNUAL                           GAN C LLC                  140005141        208 29-16-205-069-0000   2-03 18COTD7779 CAMANRO INC                                          07/05/2019 07/12/2019       JRJ
00903                 2014 ANNUAL                           GAN C LLC                  140005852        229 30-31-323-042-1010   2-99 18COTD7705 CAMANRO INC                                          06/28/2019 07/12/2019       JRJ
00904                 2014 ANNUAL                           GAN C LLC                  140006436        249 24-36-401-016-0000   2-03 18COTD6057 CAMANRO INC                                          07/05/2019 07/12/2019       JRJ
00905                 2014 ANNUAL                           GAN C LLC                  140010704        423 20-17-223-010-0000   2-11 18COTD7790 CAMANRO INC                                          07/03/2019 07/12/2019       JRJ
00906                 2014 ANNUAL                           GAN C LLC                  140015538        579 16-27-406-017-0000   2-03 18COTD5853 CAMANRO INC                                          07/03/2019 07/12/2019       JRJ
00907                 2014 ANNUAL                           GAN C LLC                  140001476        042 16-21-403-019-0000   3-15 18COTD7309 INTEGRITY INVESTMENT REO HOLDINGS LLC                06/25/2019 07/12/2019       JRJ
00908                 2013 ANNUAL                           GAN C LLC                  130008862        284 25-03-409-025-0000   2-02 18COTD1707 NR DEED LLC                                          07/10/2019 07/12/2019       JRJ
00909                 2013 ANNUAL                  MADISON C/O STONEFIELD IV           130005880        213 29-21-107-070-0000   2-02 18COTD0880 613 HOCKEY LLC                                       07/09/2019 07/12/2019       JRJ
00910                 2013 ANNUAL                  MADISON C/O STONEFIELD IV           130005887        213 29-21-112-064-0000   2-02 18COTD0810 613 HOCKEY LLC                                       07/09/2019 07/12/2019       JRJ
00945                 2014 ANNUAL                           GAN C LLC                  140011201        432 20-21-400-007-0000   2-11 18COTD7791 CAMANRO INC                                          06/28/2019 07/17/2019       JRJ
00946                 2013 ANNUAL         CHRISTIANA TRUST CUSTODIAN FOR GSRAN-Z LLC   130008946        286 25-12-108-066-0000   2-03 18COTD1755 S & P RESTORATION INC                                07/02/2019 07/17/2019       JRJ
00951                 2014 ANNUAL               EQUITY ONE INVESTMENT FUND LLC         140008256        286 25-11-124-055-0000   2-05 18COTD7117 TITAN CAPITAL LLC                                    07/05/2019 07/17/2019       JRJ
00952                 2013 ANNUAL         CHRISTIANA TRUST CUSTODIAN FOR GSRAN-Z LLC   130012235        440 20-32-219-016-0000   2-03 18COTD2086 NR DEED LLC                                          07/11/2019 07/17/2019       JRJ
00953                 2014 ANNUAL               LONGSTREET CAPITAL FUNDING LLC         140010770        424 20-17-322-031-0000   2-03 18COTD7814 LONGSTREET CAPITAL FUNDING LLC                       07/11/2019 07/17/2019       JRJ
00954                 2014 ANNUAL               LONGSTREET CAPITAL FUNDING LLC         140012914        477 14-08-203-016-1254   2-99 18COTD7819 LONGSTREET CAPITAL FUNDING LLC                       07/11/2019 07/17/2019       JRJ
00955                 2013 ANNUAL                  MADISON C/O STONEFIELD IV           130001102        030 28-15-100-006-0000   2-03 18COTD1366 614 HOCKEY LLC                                       07/11/2019 07/17/2019       JRJ
00956                 2014 ANNUAL                           GAN C LLC                  140003280        153 15-02-331-010-0000   2-11 18COTD6046 CAMANRO INC                                          07/12/2019 07/17/2019       JRJ
00957                 2014 ANNUAL                           GAN C LLC                  140010933        427 20-19-213-009-0000   2-11 18COTD8179 CAMANRO INC                                          07/12/2019 07/17/2019       JRJ
00958                 2014 ANNUAL               LONGSTREET CAPITAL FUNDING LLC         140006916        259 20-22-410-031-0000   2-11 18COTD7154 LAKESHORE 10 LLC                                     07/08/2019 07/17/2019       JRJ
00963                 2014 ANNUAL                    WHEELER FINANCIAL INC             140003631        165 15-15-109-014-0000   2-03 18COTD4552 WHEELER FINANCIAL INC                                07/10/2019 07/18/2019       RAA
00964                 2014 ANNUAL                   UMB BANK CUST FOR FRHL             140011704        442 20-33-208-068-0000   2-95 18COTD7544 WHEELER FINANCIAL INC                                07/05/2019 07/18/2019       RAA
00965                 2014 ANNUAL                    WHEELER FINANCIAL INC             140011311        434 20-29-112-022-0000   2-02 18COTD7533 WHEELER FINANCIAL INC                                07/05/2019 07/18/2019       RAA
00970                 2014 ANNUAL                     GENERAL TAX LIEN LLC             140002301        082 18-24-102-058-0000   2-03 18COTD7157 GENERAL TAX LIEN LLC                                 07/01/2019 07/19/2019       RAA
00971                 2013 ANNUAL                  MADISON C/O STONEFIELD IV           130006475        229 30-31-214-074-0000   2-02 18COTD0811 613 HOCKEY LLC                                       07/09/2019 07/22/2019       JRJ
00973                 2014 ANNUAL                   UMB BANK CUST FOR FRHL             140015142        565 16-16-213-013-0000   2-11 18COTD7558 WHEELER FINANCIAL INC                                07/10/2019 07/22/2016       JRJ
00974                 2014 ANNUAL                   FAIR DEAL OF ILLINOIS INC          140003810        178 31-03-203-063-0000   2-95 18COTD6047 CHGO TTL LND TR CO A/T/U TR 8002381142 DTD 6-20-19   07/12/2019 07/22/2019       JRJ
00975                 2014 ANNUAL                         ROYCE R E LLC                140005685        224 30-17-314-035-1058   2-99 18COTD3878 CHGO TTL LND TR CO A/T/U TR 8002381142 DTD 6-20-19   07/15/2019 07/22/2019       JRJ
00990                 2013 ANNUAL                         FNA ELM LLC                  130015934        563 16-15-316-006-0000   2-11 18COTD2345 SDS GROUP INC                                        07/17/2019 07/24/2019       JRJ
00991                 2013 ANNUAL                    SABRE INVESTMENTS LLC             130007184        251 20-03-116-033-1008   2-99 17COTD3706 AMERICAN REAL ESTATE LLC AND DONALD W WILLIAMS JR    07/03/2019 07/24/2019       JRJ
00992                 2013 ANNUAL                         FNA ELM LLC                  130001445        037 25-30-413-071-0000   2-07 18COTD0367 FIRST NATIONAL ACQUISTIONS LLC                       07/18/2019 07/25/2019       JRJ
00993                 2013 ANNUAL                   FAIR DEAL OF ILLINOIS INC          130001477        039 25-32-112-006-0000   2-02 18COTD0831 FIRST NATIONAL ACQUISTIONS LLC                       07/18/2019 07/25/2019       JRJ
00994                 2014 ANNUAL                       ELM LIMITED LLC                140015531        578 16-27-232-008-0000   2-02 18COTD6600 CHICAGO ASSETS LLC                                   07/19/2019 07/19/2019       RAA




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        Deed Number   Sale Yr Sale Type                      Buyer Name                      Cert Number   Vol         PIN          Class Case Number Deed Name                                          Date Issued Date Processed Initials
00995                 2014 ANNUAL                  US BANK CST PC6 STERLING NAT           140001607        048 16-33-101-008-0000   2-03 18COTD8282 WHEELER FINANCIAL INC                               07/16/2019 07/26/2019       RAA
00996                 2014 ANNUAL                      WHEELER FINANCIAL INC              140004205        180 31-36-210-064-0000   2-07 18COTD4578 WHEELER FINANCIAL INC                               06/19/2019 07/26/2019       RAA
00997                 2014 ANNUAL                    UMB BANK CUST FOR FRHL               140012684        469 25-28-225-026-0000   2-03 18COTD7554 WHEELER FINANCIAL INC                               07/05/2019 07/26/2019       RAA
00999                 2014 ANNUAL                      REAL TAX ACQUISITIONS              140012520        467 25-21-225-026-0000   2-11 18COTD6780 ZENITH REAL ESTATE INVESTMENTS LLC                  07/18/2019 07/29/2019       RAA
01001                 2014 ANNUAL                          ELM LIMITED LLC                140014678        551 16-10-314-002-0000   2-03 18COTD6595 HKK PROPERTIES LLC                                  07/26/2019 07/29/2019       RAA
01002                 2014 ANNUAL                          ELM LIMITED LLC                140015030        562 16-11-204-030-0000   2-11 18COTD6639 1822 DODGE AVE LLC                                  07/26/2019 07/29/2019       RAA
01004                 2014 ANNUAL                             GAN C LLC                   140010850        425 20-18-217-018-0000   2-05 18COTD7282 CAMANRO INC                                         07/17/2019 07/29/2019       JRJ
01005                 2014 ANNUAL                             GAN C LLC                   140015214        568 16-22-410-028-0000   2-95 18COTD8186 CAMANRO INC                                         07/18/2019 07/29/2019       JRJ
01006                 2014 ANNUAL                 INTEGRITY INVESTMENT FUND LLC           140005466        218 29-32-406-043-1009   2-99 18COTD7435 INTEGRITY INVESTMENT REO HOLDINGS LLC               07/13/2019 07/29/2019       JRJ
01007                 2014 ANNUAL                             GAN C LLC                   140003454        160 15-10-119-030-0000   2-11 18COTD8242 CAMANRO INC                                         07/26/2019 07/29/2019       JRJ
01008                 2014 ANNUAL                             GAN C LLC                   140006200        243 24-11-206-021-0000   2-04 18COTD8024 CAMANRO INC                                         07/25/2019 07/29/2019       JRJ
01019                 2014 ANNUAL                             GAN C LLC                   140007445        269 20-34-405-030-0000   2-05 18COTD8244 CAMANRO INC                                         07/26/2019 07/31/2019       JRJ
01020                 2014 ANNUAL                             GAN C LLC                   140010845        425 20-18-215-010-0000   2-11 18COTD8246 CAMANRO INC                                         07/26/2019 07/31/2019       JRJ
01021                 2014 ANNUAL                             GAN C LLC                   140010987        428 20-19-323-046-0000   2-02 18COTD8033 CAMANRO INC                                         07/25/2019 07/31/2019       JRJ
01022                 2014 ANNUAL                             GAN C LLC                   140011667        441 20-32-417-031-0000   2-05 18COTD8026 CAMANRO INC                                         07/25/2019 07/31/2019       JRJ
01023                 2014 ANNUAL                      WHEELER FINANCIAL INC              140003804        178 31-03-201-176-0000   2-95 18COTD4556 WHEELER FINANCIAL INC                               07/22/2019 07/31/2019       JRJ
01024                 2014 ANNUAL                             GAN C LLC                   140004417        188 19-06-310-010-0000   2-02 18COTD8017 CAMANRO INC                                         07/26/2019 07/31/2019       JRJ
01025                 2014 ANNUAL                             GAN C LLC                   140005551        221 30-07-104-094-0000   2-34 18COTD8019 CAMANRO INC                                         07/26/2019 07/31/2019       JRJ
01026                 2014 ANNUAL                             GAN C LLC                   140005737        225 30-19-219-013-0000   2-03 18COTD8021 CAMANRO INC                                         07/26/2019 07/31/2019       JRJ
01027                 2014 ANNUAL                 INTEGRITY INVESTMENT FUND LLC           140013882        511 17-16-419-006-1134   2-99 18COTD7361 INTEGRITY INVESTMENT REO HOLDINGS LLC               07/23/2019 08/01/2019       JRJ
01028                 2013 ANNUAL                     FAIR DEAL OF ILLINOIS INC           130006639        233 03-25-123-027-0000   2-04 18COTD0864 FIRST NATIONAL ACQUISITIONS LLC                     07/24/2019 08/01/2019       JRJ
01029                 2014 ANNUAL                      WHEELER FINANCIAL INC              140002252        080 18-13-222-015-0000   2-11 18COTD4524 WHEELER FINANCIAL INC                               07/22/2019 08/01/2019       JRJ
01030                 2014 ANNUAL                      EMPATHY FINANCIAL LLC              140014028        517 17-29-305-035-0000   2-11 18COTD4710 EMPATHY FINANCIAL LLC                               07/22/2019 08/02/2019       JRJ
01033                 2013 ANNUAL                     FAIR DEAL OF ILLINOIS INC           130011918        434 20-29-105-016-0000   2-11 18COTD1195 BROOKDALE GROUP INC                                 07/25/2019 08/05/2019       JRJ
01034                 2014 ANNUAL                            ELM LTD LLC                  140015056        562 16-15-221-026-0000   2-11 18COTD6714 1822 DODGE AVE LLC                                  07/30/2019 08/05/2019       JRJ
01046                 2014 ANNUAL                            ELM LTD LLC                  140008228        285 25-10-322-007-0000   2-34 18COTD7748 SYLVA LLC                                           08/01/2019 08/08/2019       JRJ
01048                 2014 ANNUAL                             GAN C LLC                   140010487        419 20-08-406-003-0000   2-02 19COTD0058 CAMANRO INC                                         07/26/2019 08/08/2019       JRJ
01049                 2014 ANNUAL                             GAN C LLC                   140010731        424 20-17-310-021-0000   2-11 19COTD0057 CAMANRO INC                                         07/26/2019 08/08/2019       JRJ
01055                 2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC           140005761        226 30-20-110-011-0000   2-03 18COTD6584 BROWNING BUILDERS INC                               08/02/2019 08/09/2019       JRJ
01056                 2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC           140005786        226 30-20-315-038-0000   2-04 18COTD6677 BROWNING BUILDERS INC                               08/02/2019 08/09/2019       JRJ
01057                 2013 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   130008703        280 25-01-413-022-0000   2-02 18COTD1527 NR DEED LLC                                         08/02/2019 08/09/2019       JRJ
01058                 2014 ANNUAL                          ELM LIMITED LLC                140011400        436 20-29-405-004-0000   2-03 18COTD7226 SWEET HOME CHICAGO MANAGEMENT LLC                   08/02/2019 08/09/2019       JRJ
01059                 2014 ANNUAL                       ICIB INVESTMENT INC               140015182        567 16-22-205-012-0000   2-02 18COTD4113 HKK PROPERTIES LLC                                  08/02/2019 08/09/2019       JRJ
01060                 2014 ANNUAL                             GAN C LLC                   140001464        041 16-21-224-013-0000   2-12 18COTD8241 CAMANRO INC                                         07/30/2019 08/09/2019       JRJ
01061                 2014 ANNUAL                             GAN C LLC                   140001480        042 16-21-406-041-1008   2-99 18COTD8169 CAMANRO INC                                         07/26/2019 08/09/2019       JRJ
01062                 2014 ANNUAL                             GAN C LLC                   140005627        223 30-08-330-009-0000   2-02 18COTD7151 CAMANRO INC                                         07/31/2019 08/12/2019       JRJ
01063                 2014 ANNUAL                             GAN C LLC                   140005858        230 30-32-106-035-0000   2-02 18COTD8023 CAMANRO INC                                         07/31/2019 08/12/2019       JRJ
01064                 2014 ANNUAL                             GAN C LLC                   140006659        254 20-11-105-017-0000   2-95 18COTD8176 CAMANRO INC                                         07/26/2019 08/12/2019       JRJ
01065                 2014 ANNUAL                             GAN C LLC                   140006662        254 20-11-105-020-0000   2-95 18COTD5844 CAMANRO INC                                         07/26/2019 08/12/2019       JRJ
01066                 2014 ANNUAL                             GAN C LLC                   140007879        277 21-31-306-029-0000   2-11 18COTD8177 CAMANRO INC                                         07/26/2019 08/12/2019       JRJ
01069                 2014 ANNUAL                 INTEGRITY INVESTMENT FUND LLC           140011809        448 25-04-300-069-0000   2-34 18COTD7425 INTEGRITY INVESTMENT REO HOLDINGD LLC               08/06/2019 08/12/2019       JRJ
01071                 2014 ANNUAL                 INTEGRITY INVESTMENT FUND LLC           140008108        282 25-03-124-004-0000   2-03 18COTD7434 OXFORD BANK & TRUST A/T/U TR #1935 DATED 07-19-19   08/06/2019 08/12/2019       JRJ
01072                 2014 ANNUAL                             GAN C LLC                   140015239        569 16-23-102-015-0000   2-11 18COTD7802 CAMANRO INC                                         07/03/2019 08/12/2019       JRJ
01073                 2014 ANNUAL                             GAN C LLC                   140015259        569 16-23-126-006-0000   2-04 18COTD6060 CAMANRO INC                                         07/05/2019 08/12/2019       JRJ
01074                 2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC           140004904        201 29-09-317-001-0000   2-02 18COTD6659 BROWNING BUILDERS INC                               08/07/2019 08/13/2019       JRJ
01075                 2014 ANNUAL                      EMPATHY FINANCIAL LLC              140015076        563 16-15-315-016-0000   2-11 18COTD4255 BNS PROPERTIES LLC                                  08/07/2019 08/13/2019       JRJ
01076                 2014 ANNUAL                             GAN C LLC                   140007792        275 21-31-117-042-1003   2-99 19COTD0340 CAMANRO INC                                         08/06/2019 08/14/2019       JRJ
01085                 2014 ANNUAL                             GAN C LLC                   140007649        274 21-30-114-029-1146   2-99 18COTD6055 CAMANRO INC                                         08/08/2019 08/16/2019       JRJ
01086                 2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC           140012566        468 25-21-324-011-0000   2-11 18COTD6685 ZENITH REAL ESTATE INVESTMENTS LLC                  07/30/2019 08/16/2019       JRJ
01088                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140006064        236 24-01-205-030-0000   2-02 18COTD7807 NR DEED LLC                                         08/08/2019 08/16/2019       JRJ
01091                 2013 ANNUAL                            FNA ELM LLC                  130014949        533 14-31-312-079-1007   2-99 18COTD2110 FIRST NATIONAL ACQUISITIONS LLC                     08/05/2019 08/19/2019       JRJ
01092                 2014 ANNUAL                      MTAG CUST CAZ CREEK II             140013859        511 17-16-238-026-1960   2-99 19COTD0248 CAZ CREEK IL REO LLC                                08/07/2019 08/19/2019       JRJ




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                     Deed Number           Sale Yr Sale Type                      Buyer Name                      Cert Number   Vol         PIN          Class Case Number Deed Name                        Date Issued Date Processed Initials
01094 AMENDED DEED                         2014 ANNUAL                     SABRE INVESTMENTS LLC               140014980        561 16-14-411-041-1016   2-99 18COTD6808 SABRE INVESTMENTS LLC             08/07/2019 08/20/2019       JRJ
01095                                      2014 ANNUAL                             GAN C LLC                   140002098        070 12-29-400-107-0000   2-02 18COTD8171 CAMANRO INC                       08/07/2019 08/20/2019       JRJ
01096                                      2014 ANNUAL                             GAN C LLC                   140013857        511 17-16-238-026-1943   2-99 18COTD8042 CAMANRO INC                       07/29/2019 08/20/2019       JRJ
01097                                      2013 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   130006473        229 30-31-208-046-0000   2-02 18COTD1325 NR DEED LLC                       08/02/2019 08/21/2019       JRJ
01098                                      2014 ANNUAL                 UMB BANK CUSTODIAN FOR FRHL             140006826        258 20-22-106-044-0000   2-03 18COTD7475 WHEELER FINANCIAL INC             08/02/2019 08/21/2019       JRJ
01099                                      2014 ANNUAL                 UMB BANK CUSTODIAN FOR FRHL             140010418        418 20-08-109-003-0000   2-11 18COTD7495 WHEELER FINANCIAL INC             08/02/2019 08/21/2019       JRJ
01100                                      2014 ANNUAL                 UMB BANK CUSTODIAN FOR FRHL             140010920        427 20-19-202-017-0000   2-02 18COTD7501 WHEELER FINANCIAL INC             08/02/2019 08/21/2019       JRJ
01101                                      2014 ANNUAL                 UMB BANK CUSTODIAN FOR FRHL             140010927        427 20-19-210-009-0000   2-11 18COTD7504 WHEELER FINANCIAL INC             08/02/2019 08/21/2019       JRJ
01102                                      2014 ANNUAL                 UMB BANK CUSTODIAN FOR FRHL             140010984        428 20-19-320-032-0000   2-03 18COTD7507 WHEELER FINANCIAL INC             08/01/2019 08/21/2019       JRJ
01103                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140011044        429 20-20-114-042-0000   2-03 18COTD6965 WHEELER FINANCIAL INC             07/31/2019 08/21/2019       JRJ
01104                                      2014 ANNUAL                 UMB BANK CUSTODIAN FOR FRHL             140011053        429 20-20-209-032-0000   2-11 18COTD7517 WHEELER FINANCIAL INC             08/01/2019 08/22/2019       JRJ
01105                                      2014 ANNUAL                 UMB BANK CUSTODIAN FOR FRHL             140011124        430 20-20-403-010-0000   2-02 18COTD7521 WHEELER FINANCIAL INC             08/01/2019 08/23/2019       JRJ
01106                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140011204        432 20-21-403-003-0000   2-03 18COTD6977 WHEELER FINANCIAL INC             07/31/2019 08/23/2019       JRJ
01107                                      2013 ANNUAL                    FAIR DEAL OF ILLINOIS INC            130014680        513 17-27-123-026-1074   2-99 18COTD1480 FIRST NATIONAL ACQUISITIONS LLC   08/07/2019 08/23/2019       JRJ
01108                                      2014 ANNUAL                         ELM LIMITED LLC                 140010856        425 20-18-220-012-0000   2-02 18COTD7220 FIRST NATIONAL ACQUISITIONS LLC   08/14/2019 08/23/2019       JRJ
01110                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140004054        180 31-27-317-005-0000   2-02 18COTD4568 WHEELER FINANCIAL INC             08/07/2019 08/23/2019       JRJ
01111                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140015912        208 29-16-303-013-0000   2-02 18COTD7094 WHEELER FINANCIAL INC             08/08/2019 08/23/2019       JRJ
01112                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140007588        273 20-36-312-044-0000   2-02 18COTD6885 WHEELER FINANCIAL INC             08/07/2019 08/23/2019       JRJ
01113                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140010635        422 20-16-405-017-0000   2-03 18COTD6955 WHEELER FINANCIAL INC             08/12/2019 08/23/2019       JRJ
01114                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140011087        430 20-20-301-031-0000   2-03 18COTD6969 WHEELER FINANCIAL INC             08/12/2019 08/23/2019       JRJ
01115void per 18cotd7529 sie 09/10/19      2014 ANNUAL                 UMB BANK CUSTODIAN FOR FRHL             140011205        432 20-21-403-019-0000   2-05 18COTD7529 WHEELER FINANCIAL INC             08/07/2019 08/23/2019       JRJ
01116                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140012199        459 25-16-400-052-0000   2-02 18COTD7013 WHEELER FINANCIAL INC             08/08/2019 08/23/2019       JRJ
01117                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140012211        459 25-16-408-001-0000   2-04 18COTD7018 WHEELER FINANCIAL INC             08/08/2019 08/23/2019       JRJ
01118                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140012205        459 25-16-403-025-0000   2-03 18COTD7025 WHEELER FINANCIAL INC             08/08/2019 08/23/2019       JRJ
01120                                      2014 ANNUAL                  EQUITY ONE INVESTMENT FUND             140014574        549 16-09-109-013-0000   2-06 18COTD7134 TITAN CAPITAL, LLC                08/16/2019 08/27/2019       RAA
01121                                      2014 ANNUAL                   NEBRASKA ALLIANCE REALTY              140002218        076 18-04-235-006-0000   2-11 18COTD8535 GREYMORR REAL ESTATE              08/16/2019 08/27/2019       RAA
01122 void per 18cotd7417 dtd 01-06-2020   2014 ANNUAL                             GAN C LLC                   140007757        275 21-31-105-016-0000   2-34 18COTD7417 CAMANRO INC                       08/16/2019 08/27/2019       RAA
01123                                      2014 ANNUAL                             GAN C LLC                   140011469        437 20-30-209-047-0000   2-02 18COTD8247 CAMANRO INC                       08/16/2019 08/27/2019       RAA
01124                                      2013 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   130008991        287 25-12-426-010-0000   2-03 18COTD1752 NR DEED, LLC                      08/16/2019 08/28/2019       RAA
01125                                      2013 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   130012194        440 20-32-110-016-0000   2-03 18COTD2083 NR DEED, LLC                      08/19/2019 08/28/2019       RAA
01126                                      2013 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   130012219        440 20-32-204-022-0000   2-11 18COTD2085 NR DEED, LLC                      08/19/2019 08/28/2019       RAA
01127                                      2014 ANNUAL                     REAL TAX ACQUISITIONS               140003605        164 15-14-134-001-0000   2-05 18COTD4728 RTA INVESTMENTS                   08/19/2019 08/28/2019       RAA
01128                                      2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140005443        218 29-31-110-013-0000   2-02 18COTD6936 V3 REALTY LLC                     08/15/2019 08/28/2019       RAA
01129                                      2014 ANNUAL                      ICIB INVESTMENTS INC               140008087        282 25-02-417-001-0000   2-11 18COTD3789 DAMON STEWART                     08/15/2019 08/28/2019       JRJ
01130                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140015160        566 16-16-407-011-0000   2-03 18COTD7079 WHEELER FINANCIAL INC             08/08/2019 08/28/2019       JRJ
01131                                      2014 ANNUAL                 UMB BANK CUSTODIAN FOR FRHL             140001060        032 28-24-104-040-0000   2-78 18COTD7467 WHEELER FINANCIAL INC             08/12/2019 08/28/2019       JRJ
01132                                      2014 ANNUAL                     NEWLINE HOLDINGS LLC                140004688        195 29-04-303-033-0000   2-03 18COTD6244 MAPLE REAL ESTATE LLC             08/16/2019 08/28/2019       JRJ
01133                                      2013 ANNUAL                    FAIR DEAL OF ILLINOIS INC            130001662        042 16-21-422-021-0000   2-11 18COTD0832 FIRST NATIONAL ACQUISITIONS LLC   08/15/2019 08/29/2019       JRJ
01134                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140008257        286 25-11-125-010-0000   2-02 18COTD6893 WHEELER FINANCIAL INC             08/15/2019 08/30/2019       JRJ
01135                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140008367        288 25-14-101-014-0000   2-11 18COTD6897 WHEELER FINANCIAL INC             08/15/2019 08/30/2019       JRJ
01136                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140010568        421 20-16-101-032-0000   2-03 18COTD6950 WHEELER FINANCIAL INC             08/15/2019 08/30/2019       JRJ
01137                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140005608        223 30-08-302-049-0000   2-02 18COTD6844 WHEELER FINANCIAL INC             08/19/2019 08/30/2019       JRJ
01138                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140008215        285 25-10-309-018-0000   2-02 18COTD6891 WHEELER FINANCIAL INC             08/16/2019 08/30/2019       JRJ
01139                                      2014 ANNUAL                 UMB BANK CUSTODIAN FOR FRHL             140010998        428 20-19-401-033-0000   2-03 18COTD7508 WHEELER FINANCIAL INC             08/19/2019 08/30/2019       JRJ
01140                                      2014 ANNUAL                     SABRE INVESTMENTS LLC               140007617        273 20-36-415-070-0000   2-03 18COTD6800 SABRE INVESTMENTS LLC             08/20/2019 08/30/2019       JRJ
01141                                      2014 ANNUAL                     SABRE INVESTMENTS LLC               140011758        446 24-14-315-045-1001   2-03 18COTD6750 SABRE INVESTMENTS LLC             08/21/2019 08/30/2019       JRJ
01142                                      2014 ANNUAL                  NEBRASKA ALLIANCE REALTY CO            140003470        161 15-10-229-031-0000   2-05 18COTD8539 GREYMORR REAL ESTATE LLC          08/20/2019 08/30/2019       JRJ
01143                                      2014 ANNUAL                  NEBRASKA ALLIANCE REALTY CO            140006896        259 20-22-312-027-0000   2-11 19COTD0336 GREYMORR REAL ESTATE LLC          08/21/2019 08/30/2019       JRJ
01144                                      2014 ANNUAL                  NEBRASKA ALLIANCE REALTY CO            140011674        441 20-32-425-018-0000   2-02 18COTD8683 GREYMORR REAL ESTATE LLC          08/21/2019 08/30/2019       JRJ
01145                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140008648        296 26-06-215-039-0000   2-01 18COTD6905 WHEELER FINANCIAL INC             08/21/2019 09/06/2019       JRJ
01146                                      2014 ANNUAL                     WHEELER FINANCIAL INC               140012132        457 25-09-426-007-0000   2-02 18COTD7010 WHEELER FINANCIAL INC             08/22/2019 09/06/2019       JRJ
01148                                      2013 ANNUAL                    FAIR DEAL OF ILLINOIS INC            130012038        436 20-29-423-003-0000   2-05 18COTD1313 CAMRY INVESTMENTS LLC             08/19/2019 08/30/2019       RAA




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        Deed Number   Sale Yr Sale Type              Buyer Name               Cert Number   Vol         PIN          Class Case Number Deed Name                              Date Issued Date Processed Initials
01149                 2014 ANNUAL              REAL TAX ACQUISITIONS       140015946        571 16-23-409-005-0000   2-11 18COTD4668 BNS PROPERTIES, LLC                     08/20/2019 08/30/2019       RAA
01150                 2014 ANNUAL              REAL TAX ACQUISITIONS       140012550        468 25-21-312-015-0000   2-02 18COTD4672 IMAGINE FLIP LLC                        08/20/2019 08/30/2019       RAA
01151                 2013 ANNUAL              SABRE INVESTMENTS LLC       130005924        214 29-22-212-003-0000   2-03 17COTD4793 DALIA HADDAD                            08/02/2019 08/30/2019       RAA
01152                 2014 ANNUAL              REAL TAX ACQUISITIONS       140007794        275 21-31-122-008-0000   2-03 18COTD6827 AK CONSTRUCTION & DESIGN INC            08/15/2019 09/03/2019       RAA
01155                 2014 ANNUAL              CLIFTOR PROPERTIES LLC      140006074        236 24-01-409-003-0000   2-07 18COTD8188 CLIFTOR PROPERTIES LLC                  08/22/2019 09/03/2019       RAA
01156                 2014 ANNUAL              NEWLINE HOLDINGS LLC        140001320        037 25-30-413-059-0000   2-02 18COTD6123 TOB DEVELOPMENT LLC                     08/23/2019 09/03/2019       RAA
01157                 2014 ANNUAL           PINE VALLEY ONE REAL ESTATE    140006904        259 20-22-319-004-0000   2-11 18COTD8477 DREXEL HARRIS EPSP 401K                 08/23/2019 09/03/2019       RAA
01158                 2014 ANNUAL                     GAN C LLC            140008221        285 25-10-314-020-0000   2-03 19COTD298    CAMANRO INC                           08/22/2019 09/04/2019       RAA
01159                 2014 ANNUAL              WHEELER FINANCIAL INC       140011284        434 20-28-404-029-0000   2-03 18COTD6981 WHEELER FINANCIAL INC                   08/20/2019 09/04/2019       RAA
01160                 2014 ANNUAL              WHEELER FINANCIAL INC       140011464        437 20-30-206-041-0000   2-03 18COTD6986 WHEELER FINANCIAL INC                   08/19/2019 09/04/2019       RAA
01161                 2014 ANNUAL              WHEELER FINANCIAL INC       140011579        437 20-31-420-034-0000   2-02 18COTD6991 WHEELER FINANCIAL INC                   08/19/2019 09/04/2019       RAA
01163                 2014 ANNUAL             MTAG CUST MGD - ILL LLC      140005073        205 29-12-222-026-0000   2-34 19COTD106    CARE PROPERTIES LLC                   08/14/2019 09/05/2019       RAA
01164                 2014 ANNUAL              BELMONT REALTY CORP         140010104        403 19-24-416-007-0000   2-11 19COTD510    BELMONT REALTY CORP                   08/15/2019 09/05/2019       RAA
01165                 2013 ANNUAL              WHEELER FINANCIAL INC.      130006334        224 30-17-302-047-1001   2-99 18COTD1117 WHEELER FINANCIAL INC                   08/16/2019 09/05/2019       AA
01166                 2013 ANNUAL              SABRE INVESTMENTS LLC       130012627        455 25-08-416-041-0000   2-02 17COTD4823 CHICAGO TITLE LAND TRUST COMPANY        08/16/2019 09/05/2019       AA
01167                 2014 ANNUAL         INTEGRITY INVESTMENT FUND LLC    140012124        457 25-09-419-015-0000   2-02 18COTD7356 INTEGRITY INVESTMENT REO HOLDINGS LLC   08/09/2019 09/05/2019       AA
01168                 2014 ANNUAL         INTEGRITY INVESTMENT FUND LLC    140002915        141 16-07-119-025-1007   2-99 18COTD7305 INTEGRITY INVESTMENT REO HOLDINGS LLC   08/19/2019 09/05/2019       AA
01169                 2014 ANNUAL         INTEGRITY INVESTMENT FUND LLC    140000193        010 32-06-100-059-0000   2-07 18COTD7310 INTEGRITY INVESTMENT REO HOLDING LLC    08/19/2019 09/05/2019       AA
01170                 2014 ANNUAL         INTEGRITY INVESTMENT FUND LLC    140011394        435 20-29-316-009-0000   2-03 18COTD7353 INTEGRITY INVESTMENT REO HOLDING LLC    08/19/2019 09/05/2019       AA
01171                 2014 ANNUAL           PINEVALLEY ONE REAL ESTATE     140005251        211 29-19-214-043-0000   2-03 18COTD8513 PVONE REO LLC                           08/22/2019 09/05/2019       AA
01172                 2014 ANNUAL           PINEVALLEY ONE REAL ESTATE     140010990        428 20-19-330-003-0000   2-05 18COTD8495 PVONE REO LLC                           08/22/2019 09/05/2019       AA
01173                 2014 ANNUAL                      GAN LLC             140003900        179 31-17-312-002-0000   2-34 18COTD8172 CAMANRO, INC                            08/22/2019 09/06/2019       AA
01174                 2014 ANNUAL                   REAL TAX ACQ.          140012598        468 25-21-416-017-0000   2-02 18COTD4673 TRU REAL ESTATE INVESTMENTS, LLC        08/13/2019 09/06/2019       AA
01175                 2014 ANNUAL            NEBRASKA ALLIANCE REALTY      140010450        418 20-08-221-021-0000   2-04 18COTD8679 GREYMORR REAL ESTATE, LLC               08/22/2019 09/06/2019       AA
01176                 2014 ANNUAL           PINEVALLEY ONE REAL ESTATE     140015281        569 16-23-222-010-0000   2-11 18COTD8456 1529S. CENTRAL PARK AVE LLC             08/26/2019 09/06/2019       AA
01178                 2013 ANNUAL              WHEELER FINANCIAL INC       130007987        264 20-26-106-010-0000   2-05 18COTD1150 WHEELER FINANCIAL INC                   07/26/2019 09/06/2019       AA
01179                 2014 ANNUAL                  ELM LIMITED LLC         140007575        272 20-66-223-041-0000   2-04 18COTD8598 FIRST NATIONAL ACQ. LLC                 08/29/2019 09/10/2019       AA
01180                 2014 ANNUAL                 FAIR DEAL OF IL IN.      140012071        456 25-09-217-031-0000   2-05 18COTD7589 FIRST NATIONAL ACQ. LLC                 08/30/2019 09/10/2019       AA
01186                 2014 ANNUAL                   REAL TAX ACQ.          140003517        162 15-10-432-007-0000   2-11 18COTD4725 HIGH 5 GROUP, LLC                       08/29/2019 09/11/2019       AA
01188                 2014 ANNUAL         PROPEL FUNDING MULTISTATE LLC.   140002575        110 10-10-407-018-0000   2-78 19COTD0305 CAZ CREEK IL REO LLC.                   09/05/2019 09/11/2019       AA
01189                 2014 ANNUAL              SABRE INVESTMENTS LLC       140006729        256 20-14-222-073-1013   2-99 18COTD6796 AMERICAN REAL ESTATE LLC                08/29/2019 09/11/2019       AA
01190                 2014 ANNUAL                     GAN C LLC.           140011885        449 25-05-229-025-0000   2-07 18COTD8036 CAMANRA, INC.                           08/29/2019 09/11/2019       AA
01191                 2014 ANNUAL                     GAN C LLC.           140012168        458 25-16-212-074-0000   2-02 18COTD8037 CAMANRA, INC                            08/27/2019 09/11/2019       AA
01192                 2014 ANNUAL                  ELM LIMITED LLC.        140014918        558 16-13-331-011-0000   2-11 18COTD7447 HKK PROPERTIES, LLC.                    09/05/2019 09/12/2019       AA
01193                 2014 ANNUAL                   REAL TAX ACQ.          140014446        574 16-26-113-025-0000   2-11 18COTD4669 RTA INVESTMENTS, LLC.                   09/04/2019 09/13/2019       AA
01194                 2014 ANNUAL           PINE VALLEY ONE REAL ESTATE    140014025        516 17-28-426-006-0000   2-11 19COTD195    PVONE REO LLC.                        09/04/2019 09/13/2019       AA
01195                 2013 ANNUAL              NEWLINE FINANCIAL LLC.      130011258        420 20-09-317-012-0000   2-34 17COTD4673 ADAM KLIMA                              08/22/2019 09/13/2019       AA
01196                 2014 ANNUAL                  ELM LIMITED LLC         140012876        474 14-06-226-031-1001   2-99 19COTD5      FIRST NATIONAL ACQUISITIONS LLC       09/05/2019 09/16/2019       AA
01197                 2014 ANNUAL                  ELM LIMITED LLC         140015448        574 16-26-116-020-0000   2-06 18COTD8615 FIRST NATIONAL ACQUISITIONS LLC         09/05/2019 09/16/2019       AA
01198                 2014 ANNUAL                  ELM LIMITED LLC         140000347        015 32-20-400-009-0000   2-11 18COTD5630 ZENITH REAL ESTATE                      09/06/2019 09/16/2019       AA
01199                 2014 ANNUAL              REAL TAX ACQUISITIONS       140000387        015 32-21-320-014-0000   2-11 18COTD4358 ZENITH REAL ESTATE                      08/29/2019 09/16/2019       AA
01200                 2013 ANNUAL                  SCRIBE FUNDING          130013303        469 25-28-215-002-0000   2-03 18COTD283    CHICAGO P.C., LLC                     09/09/2019 09/16/2019       AA
01201                 2014 ANNUAL                    ROYCE RE LLC          140012738        471 25-29-214-065-0000   2-02 18COTD4003 SWEET HOME CHICAGO MANAGEMENT, LLC      09/11/2019 09/16/2019       AA
01202                 2014 ANNUAL              FAIR DEAL OF ILLINOIS IN    140007413        268 20-34-201-013-0000   2-11 18COTD8595 FIRST NATIONAL ACQUISITIONS LLC         08/29/2019 09/17/2019       AA
01203                 2014 ANNUAL              FAIR DEAL OF ILLINOIS IN    140012463        467 25-21-105-034-0000   2-12 18COTD6684 FIRST NATIONAL ACQUISITIONS LLC         08/29/2019 09/17/2019       AA
01204                 2014 ANNUAL                  ELM LIMITED LLC         140013998        513 17-27-310-093-1184   2-99 18COTD6711 FIRST NATIONAL ACQUISITIONS LLC         08/29/2019 09/17/2019       AA
01206                 2014 ANNUAL                FAIR DEAL OF IL INC.      140007518        271 20-35-315-052-0000   2-02 18COTD8373 FIRST NATIONAL ACQUISITIONS LLC         08/30/2019 09/18/2019       AA
01207                 2014 ANNUAL               MTAG CUST ATCF II LLC      140011880        449 25-05-213-001-0000   2-03 19COTD479    SWEET HOME CHICAGO MANAGEMENT, LLC    09/13/2019 09/18/2019       AA
01208                 2014 ANNUAL            CHRISTIANA CUSTODIAN TR.      140006304        245 24-18-408-007-0000   2-02 18COTD7977 SEEM GROUP, LLC                         09/17/2019 09/18/2019       AA
01209                 2014 ANNUAL              REAL TAX ACQUISITIONS       140009808        387 19-12-326-031-0000   2-11 19COTD55     D P CAPITAL INC.                      09/04/2019 09/19/2019       AA
01210                 2014 ANNUAL            NEBRASKA ALLIANCE REALTY      140010132        404 19-25-224-005-0000   2-02 19COTD221    GREYMORR REAL ESTATE, LLC             09/03/2019 09/19/2019       AA
01212                 2014 ANNUAL             FAIR DEAL OF ILLINOIS INC.   140011443        436 20-30-115-019-0000   2-02 18COTD8224 FIRST NATL. ACQUISITIONS LLC            09/04/2019 09/19/2019       AA




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        Deed Number   Sale Yr Sale Type              Buyer Name               Cert Number   Vol         PIN          Class Case Number Deed Name                              Date Issued Date Processed Initials
01213                 2014 ANNUAL             FAIR DAEL OF ILLINOIS INC.   140012234        460 25-17-111-010-0000   2-05 18COTD8226 FIRST NATL. ACQUISITIONS LLC            09/04/2019 09/19/2019       AA
01214                 2014 ANNUAL             FAIR DEAL OF ILLINOIS INC.   140012621        468 25-21-425-002-0000   2-11 18COTD6706 FIRST NATL. ACQUISITIONS LLC            09/04/2019 09/19/2019       AA
01215                 2014 ANNUAL              MTAG CUST ATCF IL LLC       140006993        261 20-23-406-021-0000   2-11 19COTD436    JOSEPH Z. SPANDIARY                   09/17/2019 09/20/2019       AA
01216                 2014 ANNUAL              REAL TAX ACQUISITIONS       140008630        295 26-06-112-029-0000   2-02 18COTD7565 SWEET HOME CHGO. MANAGEMENT, LLC        09/17/2019 09/20/2019       AA
01219                 2014 ANNUAL              NEWLINE HOLDINDS LLC        140001047        032 28-23-425-047-0000   2-02 18COTD6113 MAPLE REAL ESTATE, LLC                  09/09/2019 09/23/2019       AA
01225                 2013 ANNUAL                    FNA ELM LLC           130009276        294 26-05-102-028-0000   2-02 17COTD4495 COOK COUNTY PROPERTY TAX, LLC           08/20/2019 09/25/2019       AA
01226                 2014 ANNUAL                SCRIBE FUNDING LLC        140001411        040 16-20-121-020-0000   2-03 18COTD8331 SUBSCRIBE LLC                           08/21/2019 09/26/2019       JRJ
01227                 2014 ANNUAL             CHRISTIAN CUSTODIAN TR       140012747        471 25-32-209-090-0000   2-03 19COTD0379 OB ELITE DEVELOPMENT LLC                09/18/2019 09/26/2019       JRJ
01230                 2014 ANNUAL             UMB BANK CUST FOR FRHL       140012461        467 25-21-105-023-0000   2-03 18COTD7547 WHEELER FINANCIAL, INC.                 09/11/2019 09/26/2019       AA
01231                 2014 ANNUAL            FAIR DEAL OF ILLINOIS, INC.   140012471        467 25-21-116-017-0000   2-03 18COTD8439 J. PALUCH CONSTRUCTION, INC.            09/18/2019 09/26/2019       AA
01232                 2014 ANNUAL           PINEVALLEY ONE REAL ESTATE     140011328        434 20-29-129-048-0000   2-02 19COTD194    1230 W 74TH ST LLC                    09/04/2019 09/26/2019       AA
01233                 2014 ANNUAL              WHEELER FINANCIAL INC       140015467        575 16-26-220-021-0000   2-01 18COTD7084 WHEELER FINANCIAL INC                   08/22/2019 09/26/2019       RAA
01234                 2014 ANNUAL             FAIR DEAL OF ILLINOIS INC    140015342        571 16-23-415-046-0000   2-03 17COTD8625 LUCA ALVARADO AND EPIFANIA ALVARADO     09/17/2019 09/26/2019       RAA
01235                 2012 ANNUAL              WHEELER FINANCIL,INC        120000820        025 28-04-308-021-0000   2-78 16COTD4994 WHEELER FINANCIL, INC                   09/23/2019 09/27/2019       AA
01236                 2014 ANNUAL            CORONA INVESTMENTS LLC        140015465        575 16-26-220-001-0000   2-11 18COTD8206 CORONA INVESTMENTS LLC                  09/10/2019 09/27/2019       AA
01237                 2015 ANNUAL            CORONA INVESTMENTS LLC        150006646        365 13-32-120-040-0000   2-41 18COTD8199 CORONA INVESTMENTS LLC                  09/10/2019 09/27/2019       AA
01238                 2014 ANNUAL             FAIR DEAL OF ILLINOIS INC.   140009026        327 13-08-412-033-1001   2-99 18COTD8612 FIRST NATIONAL ACQUISITIONS LLC         08/30/2019 09/27/2019       AA
01239                 2014 ANNUAL             FAIR DEAL OF ILLINOIS INC.   140010627        422 20-16-315-051-0000   2-11 18COTD7673 FIRST NATIONAL ACQUISITIONS LLC         09/24/2019 09/27/2019       AA
01240                 2014 ANNUAL              MTAG CUST MGD-ILL LLC       140002085        069 12-28-427-028-0000   2-95 19COTD98     ARTHINGTON PROPERTIES LLC             09/24/2019 09/30/2019       AA
01241                 2014 ANNUAL           PINEVALLEY ONE REAL ESTATE     140007325        266 20-27-228-011-0000   2-11 18COTD8482 PVONE REO LLC                           09/24/2019 09/30/2019       AA
01282                 2014 ANNUAL                WHEELER FINANCIAL         140004581        180 31-36-310-033-0000   2-02 18COTD4581 WHEELER FINANCIAL, INC.                 09/13/2019 09/30/2019       AA
01283                 2014 ANNUAL                WHEELER FINANCIAL         140004195        180 31-36-200-025-1165   2-99 18COTD4575 WHEELER FINANCIAL, INC.                 09/13/2019 09/30/2019       AA
01284                 2014 ANNUAL             UMB BANK CUST FOR FRHL       140011172        431 20-21-120-024-0000   2-11 18COTD7525 WHEELER FINANCIAL, INC.                 09/12/2019 09/30/2019       AA
01285                 2014 ANNUAL               UMB BANK FOR FRHL          140011198        432 20-21-320-009-0000   2-02 18COTD7528 WHEELER FINANCIAL, INC.                 09/12/2019 09/30/2019       AA
01286                 2014 ANNUAL           PINEVALLEY ONE REAL ESTATE     140008647        296 26-06-215-038-0000   2-03 19COTD138    AMERICAN TAX LIEN, LLC                09/17/2019 10/01/2019       AA
01287                 2014 ANNUAL                     TTLBL LLC            140009978        398 19-20-211-017-0000   2-11 19COTD172    ATKIN REAL ESTATE, LLC                09/24/2019 10/01/2019       AA
01357                 2014 ANNUAL           US BNK CST PC6STERLINGNAT      140000671        022 33-07-102-025-1002   2-99 18COTD8279 WHEELER FINANCIAL, INC.                 09/20/2019 10/03/2019       AA
01358                 2014 ANNUAL           US BNK CST PC6STERLINGNAT      140001223        035 28-34-402-022-1109   2-99 18COTD8281 WHEELER FINANCIAL, INC.                 09/20/2019 10/03/2019       AA
01359                 2014 ANNUAL           US BNK CST PC6STERLINGNAT      140005374        215 29-25-405-028-1016   2-99 18COTD8312 WHEELER FINANCIAL, INC.                 09/20/2019 10/03/2019       AA
01360                 2014 ANNUAL           US BNK CST PC6STERLINGNAT      140005446        218 29-31-205-021-0000   2-04 18COTD8313 WHEELER FINANCIAL, INC.                 09/20/2019 10/03/2019       AA
01361                 2014 ANNUAL           US BNK CST PC6STERLINGNAT      140005804        227 30-29-113-049-0000   2-03 18COTD8395 WHEELER FINANCIAL, INC.                 09/18/2019 10/03/2019       AA
01362                 2014 ANNUAL           US BNK CST PC6STERLINGNAT      140007008        261 20-23-416-004-0000   2-03 18COTD8399 WHEELER FINANCIAL, INC.                 09/18/2019 10/03/2019       AA
01364                 2014 ANNUAL            CHRISTIANA CUSTODIAN TR.      140005688        224 30-17-400-007-0000   2-03 18COTD7753 DOUBLE D ENTERPRISES, LLC               09/25/2019 10/03/2019       AA
01386                 2014 ANNUAL              NEWLINE HOLDINGS LLC        140001058        032 28-24-103-059-0000   2-03 18COTD6112 APOM PROPERTIES LLC                     09/30/2019 10/07/2019       RAA
01387                 2014 ANNUAL              REAL TAX ACQUISITIONS       140008245        285 25-10-414-020-0000   2-11 18COTD6839 7007 EAST END INC                       10/01/2019 10/07/2019       RAA
01388                 2014 ANNUAL                     GAN C LLC            140012648        469 25-28-126-012-0000   2-02 18COTD7742 CAMANRO INC                             09/26/2019 10/07/2019       RAA
01389                 2014 ANNUAL            INTERSTATE FUNDING CORP       140008778        299 26-08-405-006-0000   2-34 19COTD78     GALAXY SITES, LLC                     09/13/2019 10/07/2019       AA
01390                 2014 ANNUAL            INTERSTATE FUNDING CORP       140015462        575 16-26-212-016-0000   2-02 19COTD87     GALAXY SITES, LLC                     09/13/2019 10/07/2019       AA
01391                 2014 ANNUAL             FAIR DEAL OF ILLINOIS INC    140005287        212 29-19-423-075-0000   2-03 18COTD6667 ABC TURNKEY PROPERTIES, LLC             09/25/2019 10/07/2019       AA
01413                 2014 ANNUAL                     TTLBL LLC            140004424        189 19-09-121-022-0000   2-02 19COTD159    4902 LOCKWOOD TRUST                   09/27/2019 10/07/2019       AA
01414                 2014 ANNUAL                     GAN C LLC            140012478        467 25-21-126-026-0000   2-03 18COTD7324 CAMANRO, INC.                           09/24/2019 10/08/2019       AA
01417                 2014 ANNUAL             FAIR DEAL OF ILLINOIS INC    140015481        576 16-26-320-007-0000   2-11 18COTD8238 1325 HOLDINGS,LLC                       10/04/2019 10/09/2019       AA
01418                 2014 ANNUAL            NEBRASKA ALLIANCE REALTY      140003442        160 15-09-321-140-0000   2-02 18COTD8538 GREYMORR REAL ESTATE,LLC                10/04/2019 10/09/2019       AA
01419                 2013 ANNUAL                  SCRIBE FUNDING          130013249        469 25-28-101-039-0000   2-11 18COTD282    CHICAGO P.C. LLC                      08/27/2019 10/09/2019       RAA
01423                 2014 ANNUAL             CHRISTIAN CUSTODIAN TR       140007428        269 20-34-300-019-0000   2-02 18COTD8128 IDEAL DESIGN AND RENOVATION,LLC         10/07/2019 10/10/2019       AA
01424                 2014 ANNUAL              NEWLINE HOLDINGS LLC        140010197        407 19-34-215-086-1017   2-99 18COTD7881 SEEM GROUP, LLC                         10/07/2019 10/10/2019       AA
01425                 2014 ANNUAL         INTEGRITY INVESTMENT FUND LLC    140007540        271 20-35-424-058-0000   2-95 18COTD7321 INTEGRITY INVESTMENT REO HOLDINGS LLC   08/29/2019 10/15/2019       JRJ
01426                 2014 ANNUAL                     TTLBL LLC            140009370        358 13-28-227-012-0000   2-11 19COTD0171 GOLIATH CORP                            10/08/2019 10/15/2019       JRJ
01427                 2014 ANNUAL         INTEGRITY INVESTMENT FUND LLC    140008481        290 25-22-103-014-0000   2-11 18COTD7349 INTEGRITY INVESTMENT REO HOLDINGS LLC   10/10/2019 10/15/2019       JRJ
01428                 2014 ANNUAL            CHRISTIANA CUSTODIAN TR.      140007363        267 20-27-413-027-0000   2-03 18COTD8126 CAMRY INVESTMENTS,LLC                   10/09/2019 10/15/2019       AA
01430                 2014 ANNUAL              NEWLINE HOLDINGS LLC        140007997        280 25-01-401-094-0000   2-02 18COTD7860 CAMRY INVESTMENTS,LLC                   10/09/2019 10/15/2019       AA
01431                 2014 ANNUAL           PINEVALLEY ONE REAL ESTATE     140008139        283 25-03-222-015-0000   2-11 18COTD8515 SWEET HOME CHICAGO,LLC                  10/09/2019 10/15/2019       AA




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        Deed Number   Sale Yr Sale Type                       Buyer Name                     Cert Number    Vol         PIN          Class Case Number Deed Name                                           Date Issued Date Processed Initials
01432                 2013 ANNUAL                    CHRISTIANA TR CUSTODIAN              130008893         284 25-10-104-008-0000   2-12 18COTD1708 HERERT WITTER                                        10/08/2019 10/15/2019       AA
01433                 2014 ANNUAL                                ICIB                     140014960         560 16-14-319-003-0000   2-02 18COTD3796 MT & JD,LTD                                          10/07/2019 10/15/2019       AA
01434                 2014 ANNUAL                    REAL TAX ACQUISITIONS LLC            140012524         467 25-21-229-014-0000   2-11 18COTD6814 ALEXIS SOTO DM LLC                                   10/09/2019 10/16/2019       JRJ
01435                 2014 ANNUAL                  NEBRASKA ALLIANCE REALTY CO            140011685         442 20-33-107-026-0000   2-02 18COTD8547 GREYMORR REAL ESTATE LLC                             10/07/2019 10/16/2019       JRJ
01436                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140015640         588 17-07-324-035-0000   2-10 19COTD0497 LECOR HOSPITALITY GROUP LLC                          10/08/2019 10/16/2019       JRJ
01440                 2014 ANNUAL                    CHRISTIANA CUSTODIAN TR.             140000409         017 32-24-400-056-0000   2-03 18COTD6789 MIH PROPERTIES LLC                                   10/11/2019 10/16/2019       RAA
01441                 2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC           140005053         204 29-12-122-048-0000   2-02 18COTD8574 RICHTON HILLS LLC-PARK FOREST SERIES                 10/11/2019 10/16/2019       RAA
01442                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140014972         561 16-14-400-055-1004   2-99 18COTD7958 MARIAM AMEER                                         10/09/2019 10/16/2019       RAA
01443                 2014 ANNUAL                   US BNK CST PC6STERLINGNAT             140007454         269 20-34-415-024-0000   2-10 18COTD8401 WHEELER FINANCIAL, INC.                              10/07/2019 10/17/2019       AA
01444                 2014 ANNUAL                   US BNK CST PC6STERLINGNAT             140007614         273 20-36-411-017-0000   2-03 18COTD8403 WHEELER FINANCIAL, INC.                              10/07/2019 10/17/2019       AA
01445                 2014 ANNUAL                      US BNK PC6STERLINGANT              140008419         289 25-15-218-064-0000   2-34 18COTD8405 WHEELER FINANCIAL, INC.                              10/04/2019 10/17/2019       AA
01446                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140005365         215 29-25-103-011-0000   2-78 18COTD6724 ALTUS IG REAL ESTATE LLC                             10/15/2019 10/21/2019       RAA
01447                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140007215         264 20-26-126-022-0000   2-02 18COTD8124 TACOMA INVESTMENTS LLC                               10/15/2019 10/21/2019       RAA
01448                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140007311         266 20-27-214-039-0000   2-11 18COTD7854 HARI BUTZ LLC                                        10/15/2019 10/21/2019       RAA
01449                 2014 ANNUAL                   PINE VALLEY ONE REAL ESTATE           140010160         406 19-27-401-038-1073   2-99 18COTD8474 SWEET HOME CHICAGO MANAGEMENT LLC                    10/15/2019 10/21/2019       RAA
01452                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140010895         425 20-18-420-038-0000   2-03 18COTD7875 CORKERS INC                                          09/30/2019 10/22/2019       JRJ
01453                 2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC           140001836         058 11-19-301-020-1012   2-99 18COTD8562 FIRST NATIONAL ACQUISITIONS LLC                      10/15/2019 10/22/2019       JRJ
01454                 2014 ANNUAL                          ELM LIMITED LLC                140009975         398 19-20-200-030-0000   2-12 18COTD8432 ALD REALTY & UNVESTMENTS LLC                         10/11/2019 10/22/2019       JRJ
01456                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140001279         036 25-29-322-013-0000   2-02 18COTD6120 MAPLE REAL ESTATE LLC                                10/10/2019 10/22/2019       RAA
01457                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140007199         264 20-26-104-026-0000   2-11 18COTD7948 TACOMA INVESTMENTS LLC                               10/18/2019 10/23/2019       RAA
01458                 2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC           140011553         439 20-31-213-032-0000   2-11 19COTD0002 DISCOVERY INVESTMENTS AND ACQUISITIONS LLC           10/15/2019 10/23/2019       JRJ
01459                 2014 ANNUAL                            ROYCE RE LLC                 140011788         448 25-04-114-002-0000   2-05 18COTD3998 CHGO TTL LAND TR CO A/T/U 8002381651 DTD 8-26-2019   10/17/2019 10/23/2019       AA
01460                 2014 ANNUAL                      SABRE INVESTMENTS,LLC              140015505         578 16-27-102-010-0000   2-01 18COTD6750 SABRE INVESTMENTS, LLC                               10/10/2019 10/23/2019       AA
01461                 2014 ANNUAL                   PINEVALLEY ONE REAL ESTATE            140007907         278 21-31-400-021-0000   2-11 18COTD8481 8320 S. MUSKEGON AVE LLC                             09/17/2019 10/24/2019       AA
01462                 2014 ANNUAL                   PINEVALLEY ONE REAL ESTATE            140010938         427 20-19-215-012-0000   2-03 18COTD8475 6429 S. MARSHFIELD AVE LLC                           09/17/2019 10/24/2019       AA
01463                 2014 ANNUAL                   US BNK CST PC6STERLINGNAT             140007793         275 21-31-120-021-0000   2-11 18COTD8404 WHEELER FINANCIAL, INC                               10/04/2019 10/24/2019       AA
01464                 2014 ANNUAL                          ELM LIMITED LLC                140012636         469 25-28-111-040-0000   2-03 18COTD6634 FIRST NATIONAL ACQUISITIONS LLC                      10/18/2019 10/24/2019       AA
01465                 2014 ANNUAL                              GAN C LLC                  140001609         048 16-33-107-041-0000   2-12 18COTD7995 CAMANRO INC                                          10/23/2019 10/25/2019       RAA
01472                 2014 ANNUAL                      REAL TAX ACQUISITIONS              140011235         438 20-28-120-004-0000   2-11 18COTD6606 KARNAK CONSTRUCTION & DEVELOPMENT LLC                10/11/2019 10/29/2019       RAA
01473                 2014 ANNUAL                                ICIB                     140004327         020 32-32-205-030-0000   2-02 18COTD4327 1507 KILDARE LLC                                     10/25/2019 10/30/2019       RAA
01474                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140011792         448 25-04-116-009-0000   2-02 18COTD7953 MAPLE REAL ESTATE LLC                                10/18/2019 10/30/2019       JRJ
01475                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140015139         565 16-16-210-044-0000   2-95 18COTD7962 MAPLE REAL ESTATE LLC                                10/18/2019 10/30/2019       JRJ
01476                 2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC           140014410 - D1695 541 16-03-226-022-0000   2-02 18COTD8237 FIRST NATIONAL ACQUISITIONS LLC                      10/28/2019 10/31/2019       RAA
01477                 2014 ANNUAL                          ELM LIMITED LLC                140011796         448 25-04-119-030-0000   2-03 18COTD8437 FIRST NATIONAL ACQUISITIONS LLC                      10/18/2019 10/31/2019       RAA
01479                 2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC           140003993         179 31-25-105-021-0000   2-34 18COTD6524 MAPLE REAL ESTATE LLC                                09/27/2019 11/04/2019       JRJ
01480                 2014 ANNUAL                          ELM LIMITED LLC                140008558         293 25-27-121-048-0000   2-95 18COTD7251 LUXURIOUS PROPERTIES SERIES LLC                      10/23/2019 11/04/2019       JRJ
01481                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140000180         009 32-04-109-067-1014   2-99 18COTD6078 MAPLE REAL ESTATE LLC                                10/23/2019 11/04/2019       JRJ
01482                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140015695         590 17-09-301-010-1046   2-99 18COTD7966 MAPLE REAL ESTATE LLC                                10/21/2019 11/04/2019       JRJ
01491                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140006889         259 20-22-311-018-0000   2-11 18COTD7848 FRESH INVESTMENTS LLC                                10/30/2019 11/05/2019       RAA
01492                 2014 ANNUAL                          ELM LIMITED LLC                140002027         066 12-25-223-038-1010   2-99 18COTD8565 FIRST NATIONAL ACQUISITIONS LLC                      10/29/2019 11/05/2019       RAA
01493                 2014 ANNUAL                          ELM LIMITED LLC                140002169         072 12-36-430-041-1117   2-99 18COTD8566 FIRST NATIONAL ACQUISITIONS LLC                      10/30/2019 11/05/2019       RAA
01496                 2014 ANNUAL                       BELMONT REALTY CORP               140012941         478 14-08-403-028-1203   2-99 19COTD0373 BELMONT REALTY CORP                                  10/10/2019 11/05/2019       JRJ
01497                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140013684         510 17-09-424-008-1317   2-99 18COTD7938 MAPLE REAL ESTATE LLC                                10/18/2019 11/05/2019       JRJ
01498                 2013 ANNUAL                   MADISON C/O STONEFIELD IV             130008709         280 25-01-420-011-0000   2-11 18COTD1406 614 HOCKEY LLC                                       10/18/2019 11/05/2019       JRJ
01500                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140005645         224 30-17-105-051-0000   2-03 18COTD7291 ALONDRA'S REPAIRS, CORP.                             10/28/2019 11/06/2019       RAA
01501                 2014 ANNUAL                 PROPEL FUNDING MULTISTATE LLC           140004006         180 31-26-113-035-0000   2-02 19COTD0311 GEORGE WYATT HOMES LLC                               10/29/2019 11/07/2019       JRJ
01502                 2014 ANNUAL                       ICIB INVESTMENTS INC              140003683         167 15-16-216-003-0000   2-02 18COTD4264 ED INVESTMENTS & CONSTRUCTION INC                    10/29/2019 11/07/2019       JRJ
01505                 2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC.          140006644         253 20-10-306-069-1024   2-99 18COTD8592 A S DEVELOPED INC.                                   10/31/2019 11/12/2019       AA
01506                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140007265         265 20-26-401-032-0000   2-95 18COTD7851 EAST WEST HOLDINGS REGIONAL CENTER LLC               11/01/2019 11/07/2019       RAA
01508                 2014 ANNUAL                    REAL TAX ACQUISITIONS, LLC           140007259         265 20-26-320-015-0000   2-02 18COTD6821 CAMRY INVESTMENTS, LLC                               11/01/2019 11/12/2019       AA
01509                 2014 ANNUAL                    REAL TAX ACQUISITIONS, LLC           140007494         270 20-35-209-008-0000   2-02 18COTD6823 CAMRY INVESTMENTS, LLC                               11/01/2019 11/12/2019       AA
01510                 2014 ANNUAL                          ELM LIMITED LLC                140010521         420 20-09-106-047-0000   2-02 18COTD7175 L.A. DEVELOPMENT CORP                                11/01/2019 11/12/2019       AA




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                     Deed Number                     Sale Yr Sale Type                       Buyer Name                      Cert Number    Vol         PIN          Class Case Number Deed Name                                    Date Issued Date Processed Initials
01512                                                2014 ANNUAL                           ELM LIMITED LLC                140007340         267 20-27-314-030-0000   2-34 18COTD7725 OROZCO REMOLDING INC                          11/05/2019 11/13/2019       RAA
01513                                                2014 ANNUAL                      NEWLINE HOLDINGS LLC                140006936         259 20-22-422-015-0000   2-11 18COTD7847 MAPLE REAL ESTATE LLC                         10/22/2019 11/13/2019       JRJ
01514 per 18cotd4597 void tax is a SIE dtd12-10-19   2014 ANNUAL                      WHEELER FINANCIAL, INC              140004415         188 19-06-223-020-0000   2-03 18COTD4597 WHEELER FINANCIAL, INC                        11/01/2019 11/14/2019       RAA
01515                                                2014 ANNUAL                   US BNK CST PC6STERLINGNAT              140014937         560 16-14-301-007-0000   2-12 18COTD8427 WHEELER FINANCIAL, INC                        11/04/2019 11/14/2019       RAA
01517                                                2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC            140015515         578 16-27-201-057-0000   2-11 18COTD7449 CAMRY INVESTMENTS LLC                         10/29/2019 11/14/2019       JRJ
01518                                                2014 ANNUAL                              GAN C LLC                   140006661         254 20-11-105-019-0000   2-95 18COTD8025 CAMANRO INC                                   10/29/2019 11/14/2019       JRJ
01519                                                2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC            140000665         022 33-05-115-032-1034   2-99 18COTD8250 FIRST NATIONAL ACQUISITIONS LLC               11/07/2019 11/18/2019       RAA
01520                                                2014 ANNUAL                           ELM LIMITED LLC                140006272         245 24-17-214-034-1011   2-99 18COTD8579 FIRST NATIONAL ACQUISITIONS LLC               11/07/2019 11/18/2019       RAA
01521                                                2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC            140009672         376 19-01-219-014-0000   2-02 18COTD8388 FIRST NATIONAL ACQUISITIONS LLC               11/07/2019 11/18/2019       RAA
01522                                                2014 ANNUAL                   PINEVALLEY ONE REAL ESTATE             140005789         226 30-20-407-034-0000   2-03 18COTD8499 31 164TH PL LLC                               10/23/2019 11/18/2019       AA
1523                                                 2014 ANNUAL                   PINEVALLEY ONE REAL ESTATE             140010459         419 20-08-304-015-0000   2-11 18COTD8498 5139 S. LOOMIS ST.LLC                         10/23/2019 11/18/2019       AA
01525                                                2014 ANNUAL                    INTERSTATE FUNDING CORP               140003494         161 15-10-328-009-0000   2-03 19COTD0066 GALAXY SITES LLC                              10/18/2019 11/19/2019       JRJ
01528                                                2014 ANNUAL                                 ICIB                     140006943         260 20-23-104-012-0000   2-11 18COTD3682 DREAMS REALTY & DESIGN INC                    11/01/2019 11/19/2019       RAA
01586                                                2014 ANNUAL                      SABRE INVESTMENTS LLC               140008058         281 25-02-309-018-0000   2-11 18COTD6741 SABRE INVESTMENTS LLC                         11/12/2019 11/25/2019       RAA
01588                                                2014 ANNUAL                      SABRE INVESTMENTS LLC               140015940         527 17-34-410-027-0000   2-88 18COTD3556 SABRE INVESTMENTS LLC                         11/19/2019 11/25/2019       AA
01590                                                2014 ANNUAL                   PINE VALLEY ONE REAL ESTATE            140007293         266 20-27-119-013-0000   2-03 18COTD8502 7447 S WABASH AVE LLC                         08/13/2019 11/25/2019       JRJ
01591                                                2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC    140003999         179 31-25-206-003-0000   2-03 18COTD4497 NR DEED LLC                                   11/20/2019 11/25/2019       JRJ
01629                                                2014 ANNUAL                      NEWLINE HOLDINGS LLC                140007653         274 21-30-114-029-1327   2-99 18COTD7858 COOK COUNTY PROPERTY TAX LLC                  11/18/2019 12/02/2019       RAA
01630                                                2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC            140007739         275 21-30-411-021-0000   2-12 18COTD7658 COOK COUNTY PROPERTY TAX LLC                  11/19/2019 12/02/2019       RAA
01651                                                2014 ANNUAL                    INTERSTATE FUNDING CORP               140003671         167 15-16-108-019-0000   2-05 19COTD69     GALAXY SITES LLC                            10/30/2019 12/03/2019       RAA
01652                                                2014 ANNUAL                        SCRIBE FUNDING LLC                140003688         168 15-16-407-064-0000   2-03 18COTD8346 CHICAGO ASSETS LLC                            11/21/2019 12/03/2019       RAA
01653                                                2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC            140001062         032 28-24-105-034-0000   2-03 18COTD8557 V3 REALTY LLC                                 11/25/2019 12/03/2019       RAA
01654                                                2015 ANNUAL                       ICIB INVESTMENTS INC               150010268         554 16-12-110-025-0000   2-11 19COTD860    BNS PROPERTIES LLC                          11/26/2019 12/03/2019       RAA
01657                                                2014 ANNUAL                          SCRIBE FUNDING                  140005948         231 03-10-108-037-0000   2-03 18COTD8356 SUBSCRIBE LLC                                 11/22/2019 12/04/2019       RAA
01710                                                2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC    140008574         293 25-34-106-012-0000   2-02 18COTD8574 RONALD BRANCH                                 11/26/2019 12/06/2019       RAA
01770                                                2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC            1400001376        039 25-32-216-016-0000   2-07 18COTD8583 ALTUS IG REAL ESTATE LLC                      12/04/2019 12/11/2019       RAA
01788 per 18cotd8045 void deed dtd 02-20-2020        2014 ANNUAL                              GAN C LLC                   140014581         549 16-09-114-046-0000   2-95 18COTD8045 CAMANRO INC                                   11/26/2019 12/10/2019       JRJ
01789                                                2014 ANNUAL                      MTAG CUST MGD-ILL LLC               1412420           466 25-20-320-013-0000   2-03 19COTD0126 KOLEDZY LAND TRUST NUMBER 1, AUGUST 1, 2013   12/03/2019 12/10/2019       JRJ
01808                                                2014 ANNUAL                              TTLBL LLC                   140011995         454 25-08-115-023-0000   2-12 19COTD174    FELDMAN CONSTRUCTION GROUP LLC              12/02/2019 12/11/2019       AA
01809                                                2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC            140001040         32 28-23-413-036-0000    2-03 18COTD8556 NJD STRATEGIES, LLC                           11/26/2019 12/11/2019       AA
01828                                                2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC    140001108-D1686   033 28-25-402-021-0000   2-02 18COTD4202 SYLVA LLC                                     10/28/2019 12/12/2019       JRJ
01829                                                2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC            140000933         030 28-14-206-008-0000   2-34 18COTD8253 ARTHINGTON PROPERTIES LLC                     12/06/2019 12/12/2019       RAA
01830                                                2014 ANNUAL                      MTAG CUST MGD-ILL LLC               140005440-D1684   217 29-30-406-003-0000   2-34 19COTD0104 ARTHINGTON PROPERTIES LLC                     12/06/2019 12/12/2019       RAA
01831                                                2015 ANNUAL                       CORONA INVESTMENTS                 150005801         284 25-03-407-007-0000   2-03 19COTD1089 ARTHINGTON PROPERTIES LLC                     12/06/2019 12/12/2019       RAA
01849                                                2014 ANNUAL         CHRISITIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140006830         258 20-22-202-006-0000   2-11 18COTD8004 SOUTHSIDE ASSETS INC                          11/27/2019 12/16/2019       JRJ
01850                                                2014 ANNUAL                      MTAG CUST MGD-ILL LLC               140008498         290 25-22-201-020-0000   2-11 19COTD113    UNION HILL HOLDINGS LLC                     12/10/2019 12/16/2019       RAA
01851                                                2014 ANNUAL                      MTAG CUST MGD-ILL LLC               140015105         563 16-15-424-022-0000   2-11 19COTD134    MGD-IL REO LLC                              12/09/2019 12/16/2019       RAA
01852                                                2014 ANNUAL                              GAN C LLC                   140001259         035 28-36-300-015-0000   2-34 18COTD7777 CAMANRO, INC                                  11/20/2019 12/17/2019       AA
01853                                                2014 ANNUAL                              TTLBL LLC                   140015312         570 16-23-316-017-0000   2-11 19COTD189    RICARDO MUNOZ                               12/09/2019 12/17/2019       AA
01854                                                2014 ANNUAL                        RDG FUND-5 LNS LLC                140010203         408 19-34-327-013-0000   2-02 18COTD8706 RDG FUND-5 LNS LLC                            11/14/2019 12/18/2019       JRJ
01855                                                2014 ANNUAL                        RDG FUND-5 LNS LLC                140011945         451 25-06-207-119-0000   2-06 18COTD8752 RDG FUND-5 LNS LLC                            11/18/2019 12/18/2019       JRJ
01856                                                2014 ANNUAL                        RDG FUND-5 LNS LLC                140014924         559 16-14-100-018-0000   2-11 18COTD8712 RDG FUND-5 LNS LLC                            11/14/2019 12/18/2019       JRJ
01857                                                2014 ANNUAL                        RDG FUND-5 LNS LLC                140015227         568 16-22-417-037-0000   2-02 19COTD0015 RDG FUND-5 LNS LLC                            11/19/2019 12/18/2019       JRJ
01858                                                2014 ANNUAL                          SCRIBE FUNDING                  140004050         180 31-27-307-015-0000   2-02 18COTD8349 TACOMA INVESTMENTS, LLC                       12/12/2019 12/18/2019       AA
01859                                                2015 ANNUAL                       ICIB INVESTMENTS INC.              150003965         224 30-17-411-022-0000   2-02 19COTD762    ARTHINGTON PROPERTIES, LLC                  12/12/2019 12/18/2019       AA
01860                                                2014 ANNUAL                        RDG FUND-5 LNS LLC                140000059         003 16-19-417-039-1013   2-99 18COTD8728 RDG FUND-5 LNS LLC                            11/18/2019 12/18/2019       JRJ
01862                                                2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC    140007627         274 21-30-103-003-1001   2-99 18COTD8132 GOTHIC INVESTMENTS LTD                        12/16/2019 12/19/2019       RAA
01863                                                2014 ANNUAL                   PINE VALLEY ONE REAL ESTATE            140010556         420 20-09-329-012-0000   2-34 18COTD8496 SWEET HOMW CHICAGO MANAGEMENT LLC             12/13/2019 12/19/2019       RAA
01864                                                2014 ANNUAL                   PINE VALLEY ONE REAL ESTATE            140008429-D1694   289 25-15-300-014-0000   2-02 18COTD8517 10739 S STATE ST LLC                          12/10/2019 12/19/2019       JRJ
01865                                                2014 ANNUAL                   PINE VALLEY ONE REAL ESTATE            140011046-D1693   429 20-20-115-039-0000   2-02 18COTD8461 6838 S LOOMIS BLVD LLC                        12/09/2019 12/19/2019       JRJ
01866                                                2015 ANNUAL                       ICIB INVESTMENTS INC               150004021         226 30-20-118-005-0000   2-03 19COTD0764 DHJS LLC-1369                                 12/12/2019 12/19/2019       JRJ
01867                                                2015 ANNUAL                       CORONA INVESTMENTS                 150008184         449 25-04-416-022-0000   2-05 19COTD1094 ISMAIL MITHAIWALA & TASNEEM WASANWALA         12/13/2019 12/19/2019       AA




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        Deed Number   Sale Yr Sale Type                       Buyer Name                     Cert Number   Vol         PIN          Class Case Number Deed Name                                           Date Issued Date Processed Initials
01870                 2014 ANNUAL                     CHRISTIAN CUSTODIAN TR.             140007015        261 20-24-302-023-1009   2-99 18COTD8006 WICKER - ASHLAND, LLC                                12/17/2019 12/20/2019       AA
01871                 2014 ANNUAL                     CHRISTIAN CUSTODIAN TR.             140007641        274 21-30-114-027-1001   2-99 18COTD8133 WICKER - ASHLAND, LLC                                12/16/2019 12/20/2019       AA
01872                 2014 ANNUAL                              GAN C. LLC                 140005760        226 30-20-110-002-0000   2-03 18COTD7703 CAMANRO, INC.                                        12/16/2019 12/20/2019       AA
01874                 2015 ANNUAL                  WEST TOWN BUYERS GROUP LLC             150001103        065 12-21-431-041-0000   2-02 18COTD1282 BOGO LLC                                             12/16/2019 12/23/2019       RAA
01875                 2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC           140006593        253 20-10-122-024-1004   2-99 18COTD6556 AEB INVESTMENTS LLC                                  12/16/2019 12/23/2019       JRJ
01876                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140008720        297 26-07-115-084-0000   2-10 18COTD8725 DELEON PROPERTIES LLC - 9710 HOXIE                   12/16/2019 12/23/2019       JRJ
01877                 2015 ANNUAL                           SMM - TAX INC.                150000483        035 28-36-105-012-0000   2-34 19COTD822    MAPLE REAL ESTATE LLC                              12/19/2019 12/24/2019       RAA
01878                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140004180        180 31-36-104-013-0000   2-03 18COTD4500 MAPLE REAL ESTATE LLC                                12/19/2019 12/24/2019       RAA
01879                 2015 ANNUAL                    CORONA INVESTMENTS LLC               150009079        496 14-33-423-048-1266   2-99 19COTD1805 CORONA INVESTMENTS LLC                               12/18/2019 12/24/2019       JRJ
01880                 2014 ANNUAL                   PINE VALLEY ONE REAL ESTATE           140012120        457 25-09-415-032-0000   2-03 18COTD8465 ARTHINGTON PROPERTIES LLC                            12/12/2019 12/24/2019       JRJ
01881                 2014 ANNUAL                    NEBRASKA ALLIANCE REALTY             140012276        461 25-17-330-022-0000   2-34 18COTD8549 GREYMORR REAL ESTATE LLC                             12/19/2019 12/27/2019       RAA
01882                 2015 ANNUAL                      SABRE INVESTMENTS LLC              150008550        464 25-19-301-013-0000   2-06 19COTD858    MOGUL PROPERTIES, INC.                             12/18/2019 12/27/2019       AA
01883                 2015 ANNUAL                     ROCHA INVESTMENTS , LLC             150004701        253 20-10-306-069-1039   2-99 19COTD1262 PYLOSEB , LLC                                        12/23/2019 12/30/2019       AA
01885                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140015926        265 20-26-312-047-0000   2-02 18COTD7968 MAPLE REAL ESTATE LLC                                12/16/2019 12/30/2019       RAA
01886                 2014 ANNUAL                        RDG FUND- 5 LNS LLC              140012944        478 14-08-409-048-1010   2-99 18COTD8756 RDG FUND- 5 LNS LLC                                  11/18/2019 12/30/2019       RAA
01887                 2015 ANNUAL                     5 HOLE ACQUISITIONS INC             150010295        556 16-13-108-032-0000   2-11 19COTD940    BNS PROPERTIES LLC                                 12/23/2019 12/31/2019       RAA
01888                 2015 ANNUAL                            ROYCE RE LLC                 150010496        562 16-15-219-019-0000   2-11 19COTD932    BNS PROPERTIES LLC                                 12/23/2019 12/31/2019       RAA
01889                 2015 ANNUAL                      ICIB INVESTMENTS, INC.             150001316        082 18-20-201-041-1081   2-99 19COTD1036 BARBARA AND STANISLAW KACOR                          12/18/2019 01/02/2020       AA
1890                  2015 ANNUAL                       CORONA INVESTMENTS                150008220        449 25-05-217-012-0000   2-02 19COTD1095 NEB INVESTMENTS, LLC                                 12/17/2019 01/02/2020       AA
01891                 2015 ANNUAL                     5 HOLE ACQUISITIONS INC             150001669        132 04-11-222-047-0000   2-03 19COTD868    DISCOVERY INVESTMENTS AND ACQUISITIONS LLC         12/13/2019 01/02/2020       RAA
01892                 2014 ANNUAL                          ELM LIMITED LLC                140012480        467 25-21-127-031-0000   2-04 18COTD7444 TACOMA INVESTMENTS LLC                               12/24/2019 01/02/2020       RAA
01893                 2015 ANNUAL                       ICIB INVESTMENTS INC              150004246        236 24-01-110-056-0000   2-03 19COTD1042 DHJS LLC-8829                                        12/24/2019 01/06/2020       RAA
01898                 2014 ANNUAL                          ELM LIMITED LLC                140001243        035 28-35-403-015-0000   2-34 18COTD5649 ABC TURNKEY PROPERTIES LLC                           12/24/2019 01/07/2020       RAA
01899                 2014 ANNUAL                     CHRISTIAN CUSTODIAN TR              1400005482       219 29-33-301-031-1033   2-99 18COTD6934 MAPLE REAL ESTATE, LLC                               12/23/2019 01/07/2020       AA
01902                 2014 ANNUAL                          ELM LIMITED LLC                140012135        457 25-09-430-012-0000   2-03 18COTD6628 TACOMA INVESTMENTS LLC                               01/02/2020 01/08/2020       RAA
01905                 2015 ANNUAL                              GAN C LLC                  150007583        427 20-19-220-038-0000   3-14 19COTD1387 CAMANRO INC                                          12/24/2019 01/09/2020       RAA
01910                 2014 ANNUAL                          SCRIBE FUNDING                 140005815        228 30-30-206-047-0000   2-02 18COTD8354 ARTHINGTON PROPERTIES LLC                            12/30/2019 01/13/2020       AA
01912                 2014 ANNUAL                      BELMONT REALTY CORP                140000844        026 28-10-229-041-1010   2-99 18COTD8623 BELMONT REALTY CORP                                  01/06/2020 01/14/2020       AA
01913                 2014 ANNUAL                          SRCIBE FUNDING                 140005821        228 30-30-214-054-0000   2-02 18COTD8355 ARTHINGTON PROPERTIES LLC                            01/02/2020 01/14/2020       AA
01914                 2015 ANNUAL                       ICIB INVESTMENTS INC              150004870        258 20-22-209-029-0000   2-11 19COTD898    OLOW GRZEZORY, INC.                                01/07/2020 01/14/2020       AA
01918                 2014 ANNUAL                      SABRE INVESTMENTS LLC              140011864        449 25-05-114-010-0000   2-03 18COTD7239 SABRE INVESTMENTS LLC                                01/07/2020 01/16/2020       RAA
01919                 2014 ANNUAL                      SABRE INVESTMENTS LLC              140012418        466 25-20-317-004-0000   2-03 18COTD6811 SABRE INVESTMENTS LLC                                01/07/2020 01/16/2020       RAA
01920                 2014 ANNUAL                        RDG FUND-5 LNS LLC               140003230        152 23-23-200-026-1025   2-99 18COTD8763 RDG FUND-5 LNS LLC                                   12/19/2019 01/16/2020       AA
01921                 2014 ANNUAL                        RDG FUND-5 LNS LLC               140006189        242 24-10-225-035-1010   2-99 18COTD8760 RDG FUND-5 LNS LLC                                   12/19/2019 01/16/2020       AA
01922                 2014 ANNUAL                        RDG FUND-5 LNS LLC               140006267        245 24-17-201-130-1012   2-99 18COTD8692 RDG FUND-5 LNS LLC                                   12/23/2019 01/16/2020       AA
01923                 2014 ANNUAL                        RDG FUND-5 LNS LLC               140007200        264 20-26-104-039-0000   2-11 18COTD8696 RDG FUND-5 LNS LLC                                   12/23/2019 01/16/2020       AA
01924                 2014 ANNUAL                        RDG FUND-5 LNS LLC               140007559        272 20-36-119-027-0000   2-05 18COTD8695 RDG FUND-5 LNS LLC                                   12/23/2019 01/16/2020       AA
01925                 2014 ANNUAL                        RDG FUND-5 LNS LLC               140012647        469 25-28-123-030-0000   2-06 18COTD8757 RDG FUND-5 LNS LLC                                   12/23/2019 01/16/2020       AA
01926                 2015 ANNUAL                       ICIB INVESTMENTS INC              150007665        429 20-20-209-010-0000   2-11 19COTD1049 HOLLAND FINANCIAL INC                                01/13/2020 01/21/2020       RAA
01932                 2014 ANNUAL                        SCRIBE FUNDING LLC               140000908        028 28-12-401-007-0000   2-11 18COTD8327 ARTHINGTON PROPERTIES LLC                            01/07/2020 01/21/2020       JRJ
01933                 2014 ANNUAL                              TTLBL LLC                  140008231        285 25-10-324-023-0000   2-03 19COTD0168 TTLREO 2 LLC                                         01/08/2020 01/21/2020       JRJ
01934                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140013458        501 17-10-127-019-1523   2-99 19COTD0383 CHGO TTL LND TR A/T/ O/T/A DTD 3-6-15 TR8002367436   01/07/2020 01/21/2020       JRJ
01935                 2014 ANNUAL                     CHISTIANA CUSTODIAN TR              140005360        215 29-24-100-022-1017   2-99 18COTD6723 MAPLE REAL ESTATE, LLC                               12/24/2019 01/22/2020       AA
01936                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140010643        423 20-17-104-016-0000   2-11 18COTD7879 MAPLE REAL ESTATE, LLC                               12/24/2019 01/22/2020       AA
01937                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140010823        425 20-18-118-006-0000   2-12 18COTD7873 MAPLE REAL ESTATE, LLC                               12/24/2019 01/22/2020       AA
01938                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140011080        429 20-20-226-043-0000   2-07 18COTD7891 MAPLE REAL ESTATE, LLC                               12/24/2019 01/22/2020       AA
01939                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140011525        438 20-30-417-006-0000   2-11 18COTD7893 MAPLE REAL ESTATE, LLC                               12/24/2019 01/22/2020       AA
01940                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140005056        204 29-12-127-003-0000   2-11 18COTD4839 BOP INVESTMENT CORPORATION                           01/13/2020 01/22/2020       RAA
01941                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140005397        217 29-30-101-037-0000   2-02 18COTD6725 BROWNING BUILDERS INC                                01/14/2020 01/22/2020       RAA
01942                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140005415        217 29-30-123-047-0000   2-03 18COTD5415 BROWNING BUILDERS INC                                01/14/2020 01/22/2020       RAA
01943                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140005421        217 29-30-130-048-0000   2-02 18COTD6727 BROWNING BUILDERS INC                                01/14/2020 01/22/2020       RAA
01944                 2015 ANNUAL                        FNA DZ LLC FBOWSFS               150008280        453 25-07-416-074-1010   2-99 19COTD1714 AMERICAN REAL ESTATE LLC & DONALD WALTER WILLIAMS    01/14/2020 01/22/2020       RAA




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                   Deed Number                  Sale Yr Sale Type                        Buyer Name                    Cert Number   Vol         PIN          Class Case Number Deed Name                              Date Issued Date Processed Initials
01948                                           2015 ANNUAL                        NICHOLAS EUSTATHIOS              150003388        204 29-12-109-052-0000   2-03 19COTD1202 EUSTATHIOS NICHOLAS                     01/14/2020 01/22/2020       JRJ
01949                                           2014 ANNUAL                               GAN C LLC                 140015019        561 16-15-124-017-0000   2-11 18COTD7800 BLAK FACE APPAREL INC                   12/24/2019 01/23/2020       JRJ
01951                                           2014 ANNUAL                           ELM LIMITED LLC               140015336        571 16-23-410-017-0000   2-07 18COTD6646 DE PAZ PROPERTY MANAGEMENT INC          01/17/2020 01/23/2020       JRJ
01952                                           2015 ANNUAL                      5 HOLE ACQUISITIONS INC            150007191        416 20-07-117-025-0000   2-11 19COTD1130 JOSE NEGRETE                            01/21/2020 01/23/2020       JRJ
01953 PER 18COTD4474 VOID DEED DTD 02/10/2020   2014 ANNUAL                       WHEELER FINANCIAL INC             140000615        021 32-33-309-020-0000   2-02 18COTD4474 MAPLE REAL ESTATE LLC                   01/21/2020 01/23/2020       JRJ
01999                                           2014 ANNUAL                   PINE VALLEY ONE REAL ESTATE           140007421        268 20-34-215-039-0000   3-18 18COTD8480 KREATIVE KIDZ ACADEMY III INC           01/09/2020 01/28/2020       JRJ
02001                                           2013 ANNUAL                              FNA ELM LLC                130004880        195 29-04-215-038-0000   2-11 17COTD4250 PROFITABLE INVESTMENTS TRUST            01/24/2020 01/28/2020       JRJ
02002                                           2015 ANNUAL                           WILLIAM J MARK                150002043        159 15-09-105-035-0000   2-02 19COTD1127 WILLIAM J MARK                          01/22/2019 01/28/2020       JRJ
02003                                           2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140011614        440 20-32-202-033-0000   2-03 19COTD0270 TACOMA INVESTMENTS LLC                  01/15/2019 01/28/2020       JRJ
02036                                           2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140010700        423 20-17-222-017-0000   2-11 19COTD95     CAMRY INVESTMENTS LLC                 01/27/2020 01/30/2020       RAA
02037                                           2015 ANNUAL                        ICIB INVESTMENTS INC             150000359        032 28-24-108-012-0000   2-03 19COTD748    V3 REALTY LLC                         01/06/2020 01/30/2020       RAA
02038                                           2015 ANNUAL                    CORONA INVESTMENTS LLC               150007967        438 20-30-431-028-0000   2-03 19COTD1105 TACOMA INVESTMENTS LLC                  01/23/2020 01/30/2020       RAA
02076                                           2014 ANNUAL                           ELM LIMITED LLC               140003554        162 15-11-324-004-0000   2-11 18COTD7171 HIGH 5 GROUP LLC                        01/24/2020 02/04/2020       JRJ
02077                                           2014 ANNUAL                      SABRE INVESTMENTS LLC              140006775        257 20-15-302-011-0000   2-05 18COTD6797 ELITE HOLDINGS LLC                      01/16/2020 02/04/2020       RAA
02099                                           2015 ANNUAL                    CORONA INVESTMENTS LLC               150010249        554 16-11-401-017-0000   2-02 19COTD1108 MONICA HENAO AND MIREYA HURTADO         12/27/2019 02/05/2020       JRJ
02138                                           2014 ANNUAL                           ELM LIMITED LLC               140006352        247 24-25-415-017-1019   2-99 18COTD6553 FIRST NATIONAL ACQUISITIONS LLC         01/29/2020 02/05/2020       RAA
02139                                           2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140006892        259 20-22-311-052-0000   2-10 18COTD8005 GOTHIC INVESTMENTS                      01/24/2020 02/05/2020       RAA
02140                                           2014 ANNUAL                           ELM LIMITED LLC               140012379        465 25-20-132-009-0000   2-34 18COTD6631 FIRST NATIONAL ACQUISITIONS LLC         01/29/2020 02/06/2020       AA
02161                                           2014 ANNUAL                       MTAG CUST MGD-ILL LLC             140007172        263 20-25-406-014-0000   2-05 19COTD0109 MGD-IL REO LLC                          01/31/2020 02/07/2020       JRJ
02162                                           2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC           140008563        293 25-28-415-014-0000   2-03 18COTD7757 FIRST NATIONAL ACQUISITIONS LLC         02/05/2020 02/07/2020       JRJ
02165                                           2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150007368        267 20-27-419-007-0000   2-02 18COTD8127 GOTHIC INVESTMENTS LTD                  01/31/2020 02/07/2020       RAA
02166                                           2014 ANNUAL                      SABRE INVESTMENTS LLC              140008766        299 26-08-310-028-0000   2-04 18COTD6746 SABRE INVESTMENTS LLC                   01/30/2020 02/07/2020       JRJ
02184                                           2015 ANNUAL                      EQUITY ONE INVFUND LLC             150010501        562 16-15-227-029-0000   2-11 19COTD1515 TITAN CAPITAL, LLC                      01/29/2020 02/10/2020       AA
02185                                           2015 ANNUAL                       ICIB INVESTMENTS, INC.            150002957        193 29-02-312-029-0000   2-03 19COTD751    Q&J INVESTMENTS, LLC                  01/30/2020 02/10/2020       AA
02186                                           2015 ANNUAL                       ICIB INVESTMENTS, INC.            150006982        400 19-22-405-025-0000   2-03 19COTD1002 SJL GROUP, INC.                         01/29/2020 02/10/2020       AA
02187                                           2015 ANNUAL                             ROYCE RE LLC                150010111        550 16-09-310-020-0000   2-11 19COTD929    SJL GROUP, INC.                       01/29/2020 02/10/2020       AA
02242                                           2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140010688        423 20-17-215-009-0000   2-11 19COTD94     TACOMA INVESTMENTS LLC                02/03/2020 02/18/2020       RAA
02243                                           2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140011659        441 20-32-412-004-0000   2-03 19COTD271    ARTHINGTON PROPERTIES LLC             02/03/2020 02/18/2020       RAA
02245                                           2015 ANNUAL                    CHRISTIANA TR. CUSTODIAN             150001088        065 12-21-104-070-0000   2-02 19COTD1931 JOHN A. ATKIN, L.C.S.W., INC.           02/10/2020 02/18/2020       AA
02246                                           2015 ANNUAL                    CHRISTIANA TR. CUSTODIAN             150001697        134 04-32-402-061-1013   2-99 19COTD1933 NR DEED, LLC                            02/10/2020 02/18/2020       AA
02247                                           2014 ANNUAL                     CHRISTISNA CUSTODIAN TR             140005637        223 30-08-414-030-0000   2-04 18COTD7289 NR DEED, LLC                            02/10/2020 02/18/2020       AA
02248                                           2014 ANNUAL                     CHRISTISNA CUSTODIAN TR             140005642        224 30-17-102-046-0000   2-11 18COTD7290 NR DEED, LLC                            02/10/2020 02/18/2020       AA
02249                                           2014 ANNUAL                     CHRISTISNA CUSTODIAN TR             140008759        298 26-08-114-007-0000   2-02 18COTD8726 NR DEED, LLC                            02/10/2020 02/18/2020       AA
02250                                           2015 ANNUAL                       NEWLINE HOLDINGS LLC              150002626        180 31-26-207-011-0000   2-03 19COTD1987 MAPLE REAL ESTATE LLC                   02/10/2020 02/19/2020       RAA
02251                                           2015 ANNUAL                       NEWLINE HOLDINGS LLC              150002754        180 31-36-411-046-0000   2-02 19COTD2000 MAPLE REAL ESTATE LLC                   02/10/2020 02/19/2020       RAA
02253                                           2015 ANNUAL                EQUITY OONE INVESTMENT FUND LLC          150006318        318 13-02-433-045-1015   2-99 19COTD1512 TITAN CAPITAL LLC                       02/03/2020 02/19/2020       JRJ
02255                                           2015 ANNUAL                   WARGASKI PROPERTY MGMT.               150009835        534 14-32-306-024-1033   2-99 19COTD619    WARGASKI PROPERTY MGMT. INC.          01/07/2020 02/19/2020       AA
02255                                           2015 ANNUAL                   WARGASKI PROPERTY MGMT.               150009836        534 14-32-306-024-1035   2-99 19COTD619    WARGASKI PROPERTY MGMT. INC.          01/07/2020 02/19/2020       AA
02256                                           2014 ANNUAL                      MTAG CUST MGD -ILL LLC             140012428        466 25-20-328-134-0000   2.34 19COTD127    MTAG -IL REO LLC                      02/10/2020 02/20/2020       RAA
02261                                           2015 ANNUAL                               GAN C LLC                 150001294        081 18-13-411-034-0000   2-02 19COTD2048 CAMANRO INC                             02/18/2020 02/20/2020       JRJ
02262                                           2015 ANNUAL                               GAN C LLC                 150005114        263 20-25-319-004-0000   2-03 19COTD1666 CAMANRO INC                             02/13/2020 02/20/2020       JRJ
02263                                           2015 ANNUAL                               GAN C LLC                 150005364        270 20-35-118-005-0000   2-11 19COTD1667 CAMANRO INC                             02/13/2020 02/20/2020       JRJ
02265                                           2015 ANNUAL                      EQUITY ONE INVFUND LLC             150005908        287 25-12-441-016-0000   2-03 19COTD1588 AIRWA PROPERTIES, LLC                   02/18/2020 02/21/2020       AA
02267                                           2015 ANNUAL                        ICIB INVESTMENTS INC             150007767        433 20-28-101-014-0000   2-11 19COTD1123 ROM CONSTRUCTION INVESTMENT INC         02/13/2020 02/24/2020       RAA
02270                                           2015 ANNUAL                             ROYCE RE LLC                150007557        427 20-19-113-022-0000   2-03 19COTD1331 SYLVA LLC                               02/04/2020 02/24/2020       AA
02271                                           2014 ANNUAL                     CHRISTISNA CUSTODIAN TR             140011829        448 25-04-321-016-0000   2-07 19COTD274    AIRWA PROPRTIES LLC                   02/19/2020 02/25/2020       RAA
02272                                           2015 ANNUAL                             ROYCE RE LLC                150007677        429 20-20-223-016-0000   2-11 19COTD1318 GRAYDJACK LLC                           02/19/2020 02/25/2020       RAA
02274                                           2015 ANNUAL                    CORONA INVESTMENTS LLC               150005379        270 20-35-206-033-0000   2-02 19COTD1072 EVIF REAL ESTATE CONSULTING LLC         02/18/2020 02/25/2020       JRJ
02275                                           2015 ANNUAL                             ROYCE RE LLC                150005957        289 25-15-218-165-0000   2-03 19COTD1370 CHICAGOLAND REHAB NETWORK LTD           02/19/2020 02/25/2020       JRJ
02276                                           2014 ANNUAL                           ELM LIMITED LLC               140011115        430 20-20-325-014-0000   2-03 18COTD7273 WRITE HOME PROPERTIES LLC               02/14/2020 02/25/2020       JRJ
02277                                           2014 ANNUAL                 INTEGRITY INVESTMENT FUND LLC           140001550        044 16-28-429-012-0000   2-03 18COTD7311 INTEGRITY INVESTMENT REO HOLDINGS LLC   02/10/2020 02/26/2020       JRJ
02279                                           2015 ANNUAL                    CORONA INVESTMENTS LLC               150002313        171 15-22-405-028-1116   2-99 19COTD1062 CORONA INVESTMENTS LLC                  01/16/2020 02/26/2020       JRJ




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        Deed Number   Sale Yr Sale Type                       Buyer Name                     Cert Number   Vol         PIN          Class Case Number Deed Name                                           Date Issued Date Processed Initials
02280                 2015 ANNUAL                    CORONA INVESTMENTS LLC               150010622        569 16-23-122-009-0000   2-11 19COTD1098 CORONA INVESTMENTS LLC                               12/20/2019 02/26/2020       JRJ
02282                 2014 ANNUAL                      WHEELER FINANCIAL INC              140001388        039 25-33-318-024-0000   2-03 18COTD4511 WHEELER FINANCIAL INC                                02/19/2020 02/26/2020       RAA
02283                 2014 ANNUAL                    CHRISTISNA CUSTODIAN TR              140010165        406 19-27-401-038-1107   2-99 19COTD499    MANNA ENTERPRISE INC                               02/21/2020 02/26/2020       RAA
02284                 2015 ANNUAL                            SMM-TAX INC                  150010635        569 16-23-223-037-0000   2-11 19COTD1376 HKK PROPERTIES LLC                                   02/21/2020 02/26/2020       RAA
02285                 2014 ANNUAL                         RDG FUND - LNS LLC              140015455        575 16-26-202-020-0000   2-11 18COTD8715 DISCOVERY INVESTMENTS & ACQUISITIONS LLC             02/05/2020 02/26/2020       RAA
02286                 2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC           140008201        284 25-10-111-025-0000   2-03 18COTD8607 ATG TRUST CO A/T/U TR #L013-103 DATED JULY 1, 2013   02/24/2020 02/27/2020       JRJ
02287                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140005373        224 30-17-302-047-1003   2-99 18COTD7294 NR DEED LLC                                          02/24/2020 02/27/2020       JRJ
02288                 2015 ANNUAL                  SSC6 LLC BANK UNITED TRUST             140008035        440 20-32-207-011-0000   2-11 19COTD2176 CAPITAL 28 LLC                                       02/21/2020 02/27/2020       RAA
02306                 2014 ANNUAL                         WHEELER FINANCIAL               140000615        021 32-33-309-020-0000   2-02 18COTD4474 MAPLE REAL ESTATE, LLC                               01/21/2020 03/04/2020       AA
02307                 2014 ANNUAL                              GAN C LLC                  140014581        549 16-09-114-046-0000   2-95 18COTD8045 CAMANRO, INC.                                        11/26/2019 03/04/2020       AA
02308                 2015 ANNUAL                EQUITY ONE INVESTMENT FUND,LLC           150001082        064 12-16-415-005-0000   2-01 19COTD1142 TITAN CAPITAL, LLC                                   02/05/2020 03/05/2020       AA
02309                 2014 ANNUAL                       REAL TAX ACQUISTIONS              140007438        269 20-34-400-055-0000   2-05 18COTD6822 OXFORD BANK & TRUST UTA #1949 DATED 12/11/19         02/24/2020 03/05/2020       AA
02310                 2014 ANNUAL                      MTAG CUST MGD-ILL LLC              140006920        259 20-22-413-004-0000   2-07 19COTD108    FNP INVESTMENTS, LLC                               02/10/2020 03/05/2020       AA
02311                 2015 ANNUAL                EQUITY ONE INVESTMENT FUND LLC           150010445        561 16-14-408-035-0000   2-11 19COTD1786 TITAN CAPITAL, LLC                                      2/24/2020 03/05/2020     AA
02312                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140000447        017 32-25-305-006-0000   2-02 18COTD6094 RED PINE PROPERTIES, LLC                             02/24/2020 03/05/2020       AA
02313                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140007423        268 20-34-223-008-0000   2-11 18COTD7856 RED PINE PROPERTIES, LLC                             02/24/2020 03/05/2020       AA
02314                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140010615        421 20-16-218-014-0000   2-03 18COTD7870 RED PINE PROPERTIES, LLC                             02/24/2020 03/05/2020       AA
02315                 2015 ANNUAL                EQUITY ONE INVESTMENT FUND LLC           150009753        526 17-34-315-013-0000   2-10 19COTD1606 TITAN CAPITAL, LLC                                   02/19/2020 03/05/2020       AA
02316                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140000614        021 32-33-309-019-0000   2-02 18COTD6101 RED PINE PROPERTIES, LLC                             02/25/2020 03/05/2020       AA
02318                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150003047        195 29-04-212-047-0000   3-14 19COTD2004 MAPLE REAL ESTATE LLC                                02/20/2020 03/05/2020       AA
02319                 2014 ANNUAL                    FAIR DEAL OF ILLINOIS INC.           140008330        287 25-12-418-092-0000   2-02 18COTD8609 EAGLE INV. PROPERTIES, INC.                          02/24/2020 03/05/2020       AA
02321                 2015 ANNUAL                     5 HOLE ACQUISITIONS INC             150005872        287 25-12-204-078-0000   2-10 19COTD1016 DELEON PROPERTIES LLC - 9655 S JEFFERY               02/19/2020 03/05/2020       JRJ
02322                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150000254        029 28-14-102-034-0000   2-03 19COTD1927 BROWNING BUILDERS INC                                02/27/2020 03/05/2020       JRJ
02323                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150003901        223 30-08-401-045-0000   2-11 19COTD1717 RTA INVESTMENTS LLC                                  02/26/2020 03/05/2020       JRJ
02335                 2014 ANNUAL                           ELM LIMITED LLC               140010968        427 20-19-231-018-0000   2-03 18COTD7268 TOMASZ DOLINSKI                                      02/24/2020 03/05/2020       AA
02341                 2015 ANNUAL                            SMM-TAX INC                  150003685        215 29-24-100-022-1046   2-99 19COTD0814 MAPLE REAL ESTATE LLC                                02/19/2020 03/09/2020       AA
02343                 2015 ANNUAL                              GAN C LLC                  150003424        206 29-12-415-042-0000   2-34 19COTD1663 CAMANRO, INC                                         02/26/2020 03/09/2020       AA
02345                 2014 ANNUAL                      WHEELER FINANCIAL INC              140006658        254 20-11-103-026-0000   2-06 18COTD6877 WHEELER FINANCIAL INC                                02/24/2020 03/09/2020       JRJ
02346                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140003998        179 31-25-204-004-0000   2-34 18COTD6230 HAZEL PROPERTIES LLC                                 03/04/2020 03/09/2020       RAA
02347                 2014 ANNUAL                      NEWLINE HOLDINGS LLC               140005693        224 30-17-404-004-0000   2-03 18COTD6281 RED PINE PROPERTIES LLC                              03/04/2020 03/09/2020       RAA
02348                 2015 ANNUAL                  SSC6 LLC BANK UNITED TRUST             150004954        259 20-22-421-014-0000   2-11 19COTD2528 GREEN DEVELOPMENT LLC                                03/04/2020 03/10/2020       RAA
02350                 2015 ANNUAL                    TACOMA INVESTMENTS LLC               150007468        424 20-17-321-024-0000   2-34 19COTD1373 TACOMA INVESTMENTS LLC                               03/05/2020 03/10/2020       JRJ
02351                 2015 ANNUAL                EQUITY ONE INVESTMENT FUND LLC           150008091        442 20-33-121-010-0000   2-11 19COTD1597 AIRWA PROPERTIES LLC                                 03/05/2020 03/10/2020       JRJ
02352                 2014 ANNUAL                    FAIR DEAL OF ILLINOIS INC.           140005094        206 29-13-107-018-0000   2-34 18COTD8575 DHJS, LLC-15722                                      02/24/2020 03/10/2020       AA
02353                 2014 ANNUAL                           ELM LIMITED LLC               140010979        428 20-19-316-041-0000   2-02 18COTD7612 WRITE HOME PROPERTIES, LLC                           02/24/2020 03/10/2020       AA
02354                 2015 ANNUAL                       ICIB INVESTMENTS INC              150008056        441 20-32-404-001-0000   2-02 19COTD1114 FRONT ROW SERVICES, LLC                              03/05/2020 03/11/2020       AA
02355                 2015 ANNUAL                     FAIR DEAL OF ILLINOIS INC           150002312        171 15-22-405-028-1108   2-99 19COTD1347 FIRST NATIONAL ACQUISITIONS LLC                      03/04/2020 03/11/2020       JRJ
02356                 2013 ANNUAL                             FNA ELM LLC                 130015918        562 16-15-223-019-0000   2-11 18COTD2344 SDS GROUP INC                                        03/03/2020 03/11/2020       JRJ
02357                 2015 ANNUAL                    CORONA INVESTMENTS LLC               150001862        148 02-12-103-020-0000   2-95 19COTD918    CORONA INVESTMENTS LLC                             01/09/2020 03/11/2020       RAA
02371                 2014 ANNUAL                   CHRISTIANA CUSTODIAN TR.              140011851        449 25-04-416-015-0000   2-05 19COTD349    SYLVA LLC                                          02/24/2020 03/12/2020       AA
02372                 2014 ANNUAL                      SABRE INVESTMENTS,LLC              140008062        281 25-02-312-033-0000   2-03 18COTD6742 SABRE INVESTMENTS, LLC                               03/11/2020 03/12/2020       AA
02373                 2015 ANNUAL                    EQUITY ONE INV. FUND LLC             150010503        563 16-15-307-027-0000   2-11 19COTD1516 TITAN CAPITAL, LLC                                   03/05/2020 03/12/2020       AA
02375                 2014 ANNUAL                      WHEELER FINANCIAL INC              140004887        201 29-09-207-029-0000   2-02 18COTD4633 WHEELER FINANCIAL INC                                02/19/2020 03/16/2020       JRJ
02376                 2017 ANNUAL                        GT ALTERNATIVES LLC              170007368        377 19-01-420-015-0000   2-01 19COTD2558 GT ALTERNATIVES LLC                                  03/10/2020 03/16/2020       JRJ
02378                 2015 ANNUAL                        5 HOLE ACQUISITIONS              150006059        293 25-28-419-008-0000   2-03 19COTD1024 SWEET HOME CHICAGO MANAGEMENT LLC                    03/12/2020 03/16/2020       RAA
02379                 2014 ANNUAL                           ELM LIMITED LLC               140008332        287 25-12-423-032-0000   2-03 18COTD8610 S&P RESTORATION, INC.                                03/05/2020 03/16/2020       AA
02381                 2014 ANNUAL                      WHEELER FINANCIAL INC              140000295        014 32-19-404-014-0000   2-03 18COTD4411 WHEELER FINANCIAL INC                                03/12/2020 03/17/2020       JRJ
02382                 2015 ANNUAL                       ICIB INVESTMENTS INC              150008621        467 25-21-106-025-0000   2-11 19COTD1502 COMMITTED CHRISTIAN HOUSING LLC                      03/16/2020 03/17/2020       JRJ
02383                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150008070        441 20-32-419-028-0000   2-03 19COTD1794 TACOMA INVESTMENTS LLC                               03/12/2020 03/17/2020       JRJ
02384                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150002398        178 31-03-203-128-0000   2-95 19COTD1268 ALTUS IG REAL ESTATE LLC SERIES 7                    03/16/2020 03/18/2020       RAA
02385                 2015 ANNUAL                    CORONA INVESTMENTS LLC               150007961        438 20-30-420-030-0000   2-03 19COTD1106 EAGLE INV PROPERTIES INC                             03/12/2020 03/18/2020       JRJ
02386                 2014 ANNUAL                     WHEELER FINANCIAL, INC.             140001270        036 25-29-306-017-0000   2-41 18COTD4470 WHEELER FINANCIAL, INC.                              03/13/2020 03/18/2020       AA




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02387                 2014 ANNUAL                        TTLBL LLC           140012027        455 25-08-418-008-0000   2-02 19COTD475    S & P RESTORATION , INC                           02/19/2020 07/16/2020       RAA
02389                 2015 ANNUAL             CORONA INVESTMENTS LLC         150004170        232 03-16-202-011-1051   2-99 19COTD919    CORONA INVESTMENTS LLC                            12/24/2019 07/16/2020       RAA
02390                 2015 ANNUAL             CORONA INVESTMENTS LLC         150004705        253 20-10-310-064-1004   2-99 19COTD1006 CORONA INVESTMENTS LLC                              01/16/2020 07/16/2020       RAA
02391                 2015 ANNUAL             CORONA INVESTMENTS LLC         150010196        552 16-11-107-026-0000   2-11 19COTD1092 CORONA INVESTMENTS LLC                              12/19/2019 07/16/2020       RAA
02392                 2015 ANNUAL             CORONA INVESTMENTS LLC         150010745        576 16-26-303-035-0000   2-03 19COTD1100 CORONA INVESTMENTS LLC                              12/27/2019 07/16/2020       RAA
02394                 2015 ANNUAL                           ICIB             150003702        215 29-25-405-026-1011   2-99 19COTD753    KINGS & QUEENS REAL ESTATE & INVESTING            07/16/2020 07/27/2020       RAA
02395                 2014 ANNUAL               WHEELER FINANCIAL INC        150000613        021 32-33-308-043-0000   2-03 18COTD4472 WHEELER FINANCIAL INC                               03/13/2020 07/27/2020       RAA
02400                 2014 ANNUAL              CHRISTIAN CUSTODIAN TR.       20140007751      275 21-31-102-006-0000   2-11 18COTD8197 8559 S. SANGAMON LLC                                03/16/2020 08/05/2020       AA
02401                 2015 ANNUAL                 ICIB INVESTMENT INC        20150007390      423 20-17-107-017-0000   2-03 19COTD1673 MA GUADALUPE HERNANDEZ ROSALES                      03/16/2020 08/05/2020       AA
02402                 2015 ANNUAL              5 HOLE ACQUISTIONS, INC.      20150010672      571 16-23-419-027-0000   2-11 19COTD1136 BNS PROPERTIES LLC                                  07/30/2020 08/06/2020       AA
02403                 2015 ANNUAL                ICIB INVESTMENTS INC.       20150004436      246 24-19-222-003-0000   2-03 19COTD1421 SJL GROUP, INC                                      07/29/2020 08/06/2020       AA
02404                 2015 ANNUAL                ICIB INVESTMENTS INC.       20150002653      180 31-27-309-013-0000   2-03 19COTD1412 D2R LLC                                             07/29/2020 08/06/2020       AA
02405                 2015 ANNUAL                ICIB INVESTMENTS INC.       20150002099      161 15-10-234-010-0000   2-11 19COTD1447 HIGH 5 GROUP LLC                                    07/29/2020 08/06/2020       AA
02406                 2015 ANNUAL                     ROYCE RE LLC.          20150005643      277 21-31-321-014-0000   2-03 19COTD777    CP INVESTMENT ASSOCIATIONS, INC.                  07/28/2020 08/06/2020       AA
02407                 2014 ANNUAL                    ELM LIMITED LLC         20140010368      417 20-07-321-012-0000   2-03 18COTD8435 WRITE HOME PROPERTIES, LLC                          07/28/2020 08/06/2020       AA
02408                 2014 ANNUAL            INTERSTATE FUNDING CORP.        20140003639      165 15-15-212-022-0000   2-03 19COTD68     GALAXY SITES, LLC                                 02/24/2020 08/07/2020       AA
02409                 2014 ANNUAL            INTERSTATE FUNDING CORP.        20140012033      455 25-08-426-003-0000   2-03 19COTD84     GALAXY SITES, LLC                                 03/05/2020 08/07/2020       AA
02412                 2014 ANNAUL              SABRE INVESTMENTS, LLC        140014980        561 17-14-411-041-1016   2-90 18COTD6806 SABRE INVESTMENTS, LLC                              07/20/2020 09/03/2020       AA
02652                 2014 ANNUAL               WHEELER FINANCIAL INC        140001217        035 28-34-313-005-0000   2-03 18COTD4467 WHEELER FINANCIAL INC                               11/06/2020 11/13/2020       JRJ
02653                 2014 ANNUAL               WHEELER FINANCIAL INC        140008771        299 26-08-317-015-0000   2-04 18COTD6909 WHEELER FINANCIAL INC                               11/09/2020 11/13/2020       JRJ
02655                 2015 ANNUAL                      ROYCE RE,LLC          150005682        278 21-32-211-006-0000   2-02 19COTD1310 TRU REAL ESTATE INVESTMENTS, LLC                    10/27/2020 12/03/2020       AA
02656                 2014 ANNUAL                    ELM LIMITED LLC         140010469        419 20-08-312-041-0000   2-03 18COTD7177 WRITE HOME PROPERTIES LLC                           10/28/2020 12/03/2020       RAA
02567                 2015 ANNUAL              MTAG CUST CAZ CREEK IL II     150009830        534 14-31-420-050-0000   2-08 19COTD4556 WHEELER FINANACIAL INC                              11/30/2020 12/03/2020       RAA
02658                 2015 ANNUAL                      SMM TAX INC           150003359        203 29-11-311-050-0000   2-34 19COTD804    MARTIN NAVARRO                                    11/04/2020 12/03/2020       RAA
02659                 2014 ANNUAL              FAIR DEAL OF ILLINOIS INC     140011126        430 20-20-403-025-0000   2-11 18COTD7275 OLOW GRZEGORZ                                       11/05/2020 12/04/2020       AA
02660                 2015 ANNUAL              FAIR DEAL OF ILLINOIS INC     150000202        028 28-11-121-048-0000   2-02 19COTD1469 ETHOS DEVELOPMENT,LLC                               12/02/2020 12/04/2020       AA
02661                 2015 ANNUAL            CHRISTIANA TR. CUSTODIAN        150002057        160 15-09-307-044-0000   2-03 19COTD1934 HIGH 5 GROUP                                        10/29/2020 12/04/2020       AA
02663                 2014 ANNUAL                    SCRIBE FUNDING          140002310        083 18-26-304-013-0000   2-09 18COTD8339 SCRIBE FUNDING LLC                                  03/13/2020 12/08/2020       AA
02664                 2015 ANNUAL                   PINE VALLEY ONE          150007942        437 20-30-215-042-0000   2-12 19COTD2301 CHGO TITLE LAND TRUST CO. AS TR.U/T/A #8002376520   10/26/2020 12/09/2020       AA
02672                 2015 ANNUAL               NEWLINE HOLDINGS LLC         150005800        284 25-03-406-023-0000   2-11 19COTD       LION EYE INVESTMENTS LLC                          12/07/2020 12/10/2020       RAA
02673                 2015 ANNUAL                      ROYCE RE,LLC          150007638        429 20-20-102-018-0000   2-11 19COTD1336 LENA BAILEY                                         11/10/2020 12/11/2020       AA
02674                 2014 ANNUAL              CHRISIAN CUSTODIAN TR.        140012050        456 25-09-117-107-0000   2-02 19COTD355    KAWA SERVICE GROUP, INC.                          11/17/2020 12/11/2020       AA
02676                 2015 ANNUAL               WHEELER FINANCIAL INC        150002756        180 31-36-416-021-0000   2-02 19COTD2914 WHEELER FINANCIAL INC                               12/08/2020 12/15/2020       JRJ
02677                 2015 ANNUAL                        GANC LLC            150000702        044 16-28-206-015-0000   2-11 19COTD3357 BAYSERV INC                                         12/07/2020 12/15/2020       JRJ
02678                 2015 ANNUAL                ICIB INVESTMENTS INC        150005885        287 25-12-222-010-0000   2-10 19COTD1761 BIG MIKES CONSTRUCTION LLC                          11/04/2020 12/17/2020       RAA
02680                 2015 ANNUAL               WHEELER FINANCIAL INC        150011235        017 32-25-112-029-0000   2-34 19COTD4150 WHEELER FINANCIAL INC                               12/10/2020 12/21/2020       JRJ
02685                 2015 ANNUAL                  WHEELER FINANCIAL         150011317        019 32-30-207-002-0000   2-03 19COTD4170 WHEELER FINANCIAL, INC.                             12/08/2020 12/22/2020       AA
02686                 2015 ANNUAL                  WHEELER FINANCIAL         150000342        032 28-23-401-036-0000   2-03 19COTD2854 WHEELER FINANCIAL, INC.                             12/07/2020 12/22/2020       AA
02687                 2015 ANNUAL                  WHEELER FINANCIAL         150002728        180 31-36-105-031-0000   2-03 19COTD2907 WHEELER FINANCIAL, INC.                             12/08/2020 12/22/2020       AA
02688                 2015 ANNUAL                  WHEELER FINANCIAL         150002737        180 31-36-200-028-1041   2-99 19COTD2908 WHEELER FINANCIAL, INC.                             12/08/2020 12/22/2020       AA
02689                 2015 ANNUAL               WHEELER FINANCIAL INC        150000144        024 28-01-422-007-0000   2-95 19COTD2848 WHEELER FINANCIAL INC                               12/08/2020 12/22/2020       RAA
02690                 2015 ANNUAL             INTERSTATE FUNDING CORP        150009829        534 14-31-420-049-0000   2-08 19COTD2421 GALAXY SITES LLC                                    12/07/2020 12/22/2020       RAA
02692                 2015 ANNUAL             INTERSTATE FUNDING CORP        150005079        262 20-25-104-014-0000   2-03 19COTD2193 GALAXY SITES LLC                                    12/07/2020 12/22/2020       RAA
02695                 2014 ANNUAL              FAIR DEAL OF ILLINOIS INC     140000456        017 32-25-316-002-0000   2-03 18COTD7327 JMAC INVESTMENTS LLC                                03/10/2020 12/28/2020       RAA
02698                 2015 ANNUAL         LONGSTREET CAPITAL FUNDING LLC     150005315        268 20-34-222-011-0000   2-11 19COTD2760 LONGSTREET CAPITAL FUNDING LLC                      12/15/2020 12/28/2020       RAA
02699                 2015 ANNUAL         LONGSTREET CAPITAL FUNDING LLC     150010898        590 17-09-300-201-1122   2-99 19COTD2774 LONGSTREET CAPITAL FUNDING LLC                      12/15/2020 12/28/2020       RAA
02700                 2015 ANNUAL                      SMM TAX INC           150008729        469 25-28-121-032-0000   2-02 19COTD1322 SEEM GROUP LLC                                      12/15/2020 12/28/2020       RAA
02701                 2015 ANNUAL               ICIB INVESTMENTS, INC.       150010652        571 16-23-401-036-0000   2-11 19COTD1669 JOESKI CONSTRUCTION INC.                            11/16/2020 12/28/2020       AA
02702                 2015 ANNUAL               NEWLINE HOLHINGS, LLC        150011094        011 32-12-300-030-0000   2-03 19COTD1971 MOOTH LLC                                           11/19/2020 12/28/2020       AA
02703                 2014 ANNUAL         PINE VALLEY ONE REAL ESTATE, LLC   140014534        548 16-08-219-004-0000   2-11 18COTD8453 PINE VALLEY ONE REAL ESTATE, LLC                    12/14/2020 12/28/2020       AA
02711                 2015 ANNUAL                   PINE VALLEY ONE          150003596        211 29-19-222-064-0000   2-03 19COTD4515 SEEM GROUP LLC                                      12/17/2020 12/28/2020       RAA
02712                 2015 ANNUAL                   PINE VALLEY ONE          150005377        270 20-35-204-019-0000   2-05 19COTD0815 PVONE PROPERTIES LLC                                12/17/2020 12/28/2020       RAA




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        Deed Number   Sale Yr Sale Type                       Buyer Name                     Cert Number   Vol         PIN          Class Case Number Deed Name                                    Date Issued Date Processed Initials
02713                 2015 ANNUAL                    INTERCOASTAL EQUITY LLC              150007401        423 20-17-116-042-0000   2-11 19COTD2275 SEEM GROUP LLC                                12/23/2020 12/28/2020       RAA
02714                 2015 ANNUAL                            SMM TAX INC                  150000576        038 25-31-343-005-0000   2-11 19COTD1366 SEEM GROUP LLC                                12/28/2020 12/31/2020       RAA
02715                 2015 ANNUAL                        FNA DZ LLC FBOWSFS               150010167        551 16-10-318-018-0000   2-11 19COTD1746 SEMPER FIDELIS LLC                            11/25/2020 01/04/2021       JRJ
02718                 2015 ANNUAL                      WHEELER FINANCIAL INC              150000581        039 25-32-112-001-0000   2-02 19COTD2857 WHEELER FINANCIAL INC                         12/17/2020 01/04/2021       JRJ
02719                 2015 ANNUAL                     MTAG CUST ATCF II IL LLC            150006002        290 25-22-209-022-0000   2-10 19COTD4797 WHEELER FINANCIAL INC                         12/17/2020 01/04/2021       JRJ
02720                 2015 ANNUAL                      WHEELER FINANCIAL INC              150006100        294 26-05-114-011-0000   2-11 19COTD3281 WHEELER FINANCIAL INC                         12/18/2020 01/04/2021       JRJ
02721                 2015 ANNUAL                      WHEELER FINANCIAL INC              150008223        449 25-05-218-042-0000   2-02 19COTD3734 WHEELER FINANCIAL INC                         12/17/2020 01/04/2021       JRJ
02722                 2015 ANNUAL                     MTAG CUST ATCF II IL LLC            150008624        467 25-21-123-005-0000   2-03 19COTD4803 WHEELER FINANCIAL INC                         12/17/2020 01/04/2021       JRJ
02723                 2015 ANNUAL                      WHEELER FINANCIAL INC              150008661        468 25-21-305-012-0000   2-03 19COTD3744 WHEELER FINANCIAL INC                         12/17/2020 01/04/2021       JRJ
02726                 2015 ANNUAL                      BELMONT REALTY CORP                150009319        507 11-32-326-032-1005   2-99 19COTD4015 BELMONT REALTY CORP                           12/28/2020 01/08/2021       RAA
02727                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150008763        469 25-28-224-020-0000   2-05 19COTD2683 JOSE NEGRETE                                  12/22/2020 01/05/2021       RAA
02728                 2015 ANNUAL                            ROYCE RE LLC                 150003298        202 29-10-218-032-0000   2-02 19COTD0799 BROWNING BUILDERS INC                         12/14/2020 01/08/2021       RAA
02729                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150011372        021 32-36-111-032-0000   2-03 19COTD2796 223 PROPERTIES INC                            12/29/2020 01/05/2021       RAA
02730                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150007494        424 20-17-418-035-0000   2-11 19COTD3120 SEEM GROUP LLC                                12/28/2020 01/05/2021       RAA
02731                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150007165        414 20-04-444-043-0000   2-95 19COTD3538 MAPLE REAL ESTATE LLC                         12/10/2020 01/05/2021       RAA
02733                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150005850        286 25-11-106-020-0000   2-03 19COTD3588 MAPLE LEAF HOUSES LLC                         12/16/2020 01/08/2021       RAA
02734                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150011154        014 32-20-112-006-0000   2-03 19COTD3700 V3 REALTY LLC                                 12/21/2020 01//08/2021      RAA
02736                 2015 ANNUAL                     INTERCOSTAL EQUITY, LLC             150007920        436 20-30-106-036-0000   2-02 19COTD2281 AIRWA PROPERTIES, LLC                         11/19/2020 01/07/2021       AA
02739                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150011093        011 32-11-213-006-1024   2-99 19COTD1970 SREE PACHAMMA PROPERTIES LLC                  12/02/2020 01/11/2021       RAA
02740                 2014 ANNUAL                      REAL TAX ACQUISITIONS              140011228        433 20-28-109-023-0000   2-11 19COTD0091 MLKD LLC                                      12/28/2020 01/11/2021       RAA
02744                 2015 ANNUAL                      WHEELER FINANCIAL INC              150008713        468 25-21-426-016-0000   2-03 19COTD3747 WHEELER FINANCIAL INC                         01/06/2021 01/13/2021       JRJ
02745                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150002440        178 31-11-216-036-0000   2-09 19COTD1271 RTA INVESTMENTS LLC                           12/21/2020 01/13/2021       JRJ
02746                 2014 ANNUAL                   REAL TAX ACQUISITIONS LLC             140015234        568 16-22-422-030-0000   2-11 18COTD4666 SWEET HOME CHICAGO MANAGEMENT LLC             01/07/2021 01/13/2021       JRJ
02749                 2015 ANNUAL                         Wheeler FINANCIAL               150011218        017 32-24-400-057-0000   2-03 19COTD4144 WHEELER FINANCIAL, INC.                       12/18/2020 01/14/2021       AA
02750                 2015 ANNUAL                         Wheeler FINANCIAL               150006019        291 25-22-311-005-0000   2-03 19COTD3277 WHEELER FINANCIAL, INC.                       12/21/2020 01/14/2021       AA
02751                 2015 ANNUAL                     5 HOLE ACQUISITIONS INC             150005983        290 25-22-103-042-0000   2-11 19COTD1021 ICONIC INVESTMENT GROUP LLC                   12/23/2020 01/19/2021       JRJ
02752                 2015 ANNUAL                       ICIB INVESTMENTS INC              150008489        460 25-17-201-043-0000   2-11 19COTD1055 HIGH QUALITY HOME IMPROVEMENTS INC            12/23/2020 01/19/2021       JRJ
02753                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150011305        019 32-29-424-054-0000   2-02 19COTD2789 V3 REALTY LLC                                 01/11/2021 01/19/2021       JRJ
02754                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150005288        267 20-27-431-004-0000   2-11 19COTD2780 OMAR MORENO                                   01/11/2021 01/19/2021       JRJ
02755                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150007421        423 20-17-209-029-0000   2-03 19COTD3118 SOTO HOME INVESTMENTS INC                     01/11/2021 01/19/2021       JRJ
02757                 2015 ANNUAL                            ROYCE RE LLC                 150005577        275 21-31-128-011-0000   2-02 19COTD1302 REMIS A HENRIQUEZ-CRUZ                        01/12/2021 01/20/2021       JRJ
02758                 2015 ANNUAL                      WHEELER FINANCIAL INC              150004317        240 24-08-107-013-0000   2-03 19COTD3231 WHEELER FINANCIAL INC                         01/12/2021 01/20/2021       JRJ
02759                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150007399        423 20-17-115-013-0000   2-11 19COTD3462 JEHM FINANCIAL LLC                            01/06/2021 01/20/2021       JRJ
02760                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150010452        561 16-15-101-019-0000   2-11 19COTD2232 RTI GROUP LLC                                 01/12/2021 01/21/2021       JRJ
02761                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150003301        202 29-10-219-032-0000   2-05 19COTD3353 MANAGEMENT ASSET PRESERVATION SERVICES, LLC   12/22/2020 01/21/2021       AA
02762                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150000517        036 25-29-403-027-0000   2-02 19COTD1264 CAMISHA TANNER                                12/21/2020 01/21/2021       AA
02763                 2015 ANNUAL                  US BNK. CST PC6STERLINGNAT             150002061        160 15-09-310-045-0000   2-05 19COTD2886 WHEELER FINANCIAL, INC.                       12/10/2020 01/21/2021       AA
02764                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150005161        264 20-26-219-027-0000   2-34 19COTD3110 GKO CONSTRUCTION AND DEVELOPMENT INC          12/29/2020 01/22/2021       RAA
02765                 2015 ANNUAL                     5 HOLE ACQUISITIONS INC             150006182        297 26-07-150-048-0000   2-02 19COTD1457 KAWA SERVICE GROUP                            12/30/2020 01/22/2021       RAA
02769                 2015 ANNUAL                     5 HOLE ACQUISITIONS INC             150006190        298 26-08-111-021-0000   2-11 19COTD1025 1 STOP CONSTRUCTION MANAGEMENT LLC            01/05/2021 01/22/2021       RAA
02770                 2014 ANNUAL                      CHRISTIANA CUSTODIAN               140010769        424 20-17-322-014-0000   2-04 19COTD214    SEEM GROUP LLC                              12/14/2020 01/22/2021       RAA
02771                 2015 ANNUAL                     5 HOLE ACQUISITIONS INC             150005989        290 25-22-109-027-0000   2-12 19COTD1253 SECOND BASE PROPERTIES SERIES LLC             12/29/2020 01/22/2021       RAA
02772                 2015 ANNUAL                       ICIB INVESTMENTS INC              150003237        201 29-09-107-045-0000   2-05 19COTD994    MARVIN WALKER                               12/23/2020 01/22/2021       RAA
02773                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150007438        423 20-17-220-031-0000   2-03 19COTD3122 AEB INVESTMENTS LLC                           01/12/2021 01/26/2021       RAA
02776                 2015 ANNUAL                   INTERSTATE FUNDING CORP               150002124        162 15-10-416-009-0000   2-02 19COTD2197 GALAXY SITES LLC                              01/11/2021 01/27/2021       JRJ
02777                 2015 ANNUAL                    FAIR DEAL OF ILLINOIS INC            150008757        469 25-28-213-034-0000   2-03 19COTD1694 KIMBERLY N LANIER                             01/15/2021 02/01/2021       JRJ
02778                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150011375        021 32-36-203-001-0000   2-02 19COTD3723 223 PROPERTIES INC                            01/19/2021 02/01/2021       RAA
02779                 2015 ANNUAL                          PINE VALLEY ONE                150005545        275 21-30-407-007-0000   2-11 19COTD4613 ARTHINGTON PROPERTIES LLC                     01/19/2021 02/01/2021       RAA
02781                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150005718        281 25-02-117-046-0000   2-11 19COTD3584 GREEN DEVELOPMENT LLC - 9035 S GREENWOOD      01/11/2021 02/01/2021       JRJ
02782                 2014 ANNUAL                        RDG FUND 5-LNS LLC               140007060        261 20-24-410-026-1005   2-99 18COTD8705 TITAN CAPITAL LLC                             01/20/2021 02/02/2021       RAA
02783                 2014 ANNUAL                        RDG FUND 5-LNS LLC               140007059        261 20-24-410-026-1004   2-99 18COTD8693 TITAN CAPITAL LLC                             01/20/2021 02/02/2021       RAA
02784                 2017 ANNUAL                           LAQUITA WEST                  170011567        571 16-23-407-012-0000   2-03 19COTD3602 WESTYARD CORPORATION                          12/23/2020 02/02/2021       JRJ




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        Deed Number   Sale Yr Sale Type                        Buyer Name                    Cert Number   Vol         PIN          Class Case Number Deed Name                                           Date Issued Date Processed Initials
02787                 2015 ANNUAL                      5 HOLE ACQUISITIONS INC            150005601        278 21-31-210-013-0000   2-02 19COTD980    KRISAY CONSTRUCTION INC                            01/29/2021 02/03/2021       RAA
02788                 2015 ANNUAL                       CLARK & RANDOLPH LLC              150011251        017 32-25-315-028-0000   2-95 19COTD2585 CHARTIECE WALKER                                     01/25/2021 02/03/2021       JRJ
02789                 2015 ANNUAL                    INTERSTATE FUNDING CORP              150002181        163 15-13-300-026-1083   2-99 19COTD2181 GALAXY SITES LLC                                     01/11/2021 02/04/2021       RAA
02791                 2015 ANNUAL                               GAN C LLC                 150000571        038 25-31-212-022-0000   2-03 19COTD2061 CORTEZZ LLC                                          12/17/2020 02/04/2021       JRJ
02792                 2015 ANNUAL                      SABRE INVESTMENTS LLC              150005862        286 25-11-209-081-0000   2-03 19COTD2452 JOSE NEGRETE                                         01/11/2021 02/04/2021       JRJ
02793                 2015 ANNUAL                        ICIB INVESTMENTS INC             150008711        468 25-21-423-010-0000   2-03 19COTD0915 ADR DEVELOPERS LLC                                   01/22/2021 02/04/2021       JRJ
02795                 2015 ANNUAL                               GAN C LLC                 150000038        002 16-19-205-030-0000   2-41 19COTD3075 CORTEZZ,LLC                                          01/15/2021 02/05/2021       AA
02796                 2014 ANNUAL                    CHRISTIANA CUSTODIAN TR.             140010857        425 20-18-221-011-0000   2-02 19COTD277    ABRAHAMS ROD LLC                                   12/15/2020 02/05/2021       AA
02797                 2015 ANNUAL                       NEWLINE HOLDINGS LLC              150005158        264 20-26-218-042-0000   2-11 19COTD3109 MAPLE REAL ESTATE, LLC                               01/11/2021 02/05/2021       AA
02798                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150005378        270 20-35-205-011-0000   2-02 19COTD2784 BW DEVELOPMENT, LLC                                  01/22/2021 02/05/2021       AA
02799                 2015 ANNUAL                       CLARK & RANDOLPH LLC              150005075        261 20-24-425-008-1006   2-99 19COTD1211 JOHN S. KENDALL                                      11/10/2020 02/08/2021       AA
02801                 2015 ANNUAL                         WHEELER FINANCIAL               150006065        293 25-34-108-012-0000   2-02 19COTD3279 WHEELER FINANCIAL, INC.                              02/02/2021 02/09/2021       AA
02802                 2014 ANNUAL                     US BANK % TOWERDBW VI               140005556        221 30-07-118-008-0000   2-03 19COTD146    US BANK % TOWERDBW VI                              01/25/2021 02/09/2021       AA
02803                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150007214        417 20-07-306-002-0000   2-11 19COTD3376 SEEM GROUP, LLC                                      01/12/2021 02/09/2021       AA
02804                 2015 ANNUAL                        ICIB INVESTMENTS INC             150003885        223 30-08-303-045-0000   2-03 19COTD0760 SCHERINA SEATON                                      01/11/2021 02/09/2021       JRJ
02806                 2015 ANNUAL                       NEWLINE HOLDINGS LLC              150005009        261 20-23-410-029-0000   2-11 19COTD3133 IOS ENTERPRISES LLC                                  01/20/2021 02/09/2021       JRJ
02807                 2015 ANNUAL                       CLARK & RANDOLPH LLC              150005340        270 20-35-104-039-1007   2-99 19COTD1213 ROBBINS CONSULTING & MANAGEMENT LLC                  01/15/2021 02/09/2021       JRJ
02808                 2015 ANNUAL                       NEWLINE HOLDINGS LLC              150005982        290 25-22-101-021-0000   2-12 19COTD3591 LIVINGSTON TAXES INC                                 01/15/2021 02/09/2021       JRJ
02810                 2015 ANNUAL                              RDG LNS LLC                150010487        562 16-15-211-030-0000   2-04 19COTD4214 SEMPER FIDELIS LLC                                   01/25/2021 02/10/2021       RAA
02811                 2015 ANNUAL           CHRISTIANA TR CUSTODIAN FOR GSRAN -Z LLC      150000563        038 25-31-201-020-0000   2-05 19COTD1929 SEEM GROUP LLC                                       12/08/2020 02/10/2021       RAA
02813                 2014 ANNUAL                    INTERSTATE FUNDING CORP              140007990        280 25-01-319-031-0000   2-03 19COTD76     GALAXY SITES LLC                                   12/28/2020 02/10/2021       RAA
02814                 2015 ANNUAL                         WHEELER FINANCIAL               150002814        017 32-25-308-004-0000   2-03 19COTD4154 C RELLA PROPERTIES LLC                               02/03/2021 02/11/2021       RAA
02815                 2015 ANNUAL                       5 HOLE ACQUISIONS INC             150000791        049 08-08-106-024-1205   2-99 19COTD886    JAY PATEL                                          02/04/2021 02/11/2021       RAA
02836                 2014 ANNUAL                       WHEELER FINANCIAL INC             140012652        469 25-28-129-027-0000   2-03 18COTD7037 CHGO TTL LND TR CO U/T/A #8002385213 DTD 1/20/21     02/09/2021 02/22/2021       JRJ
02837                 2014 ANNUAL                   US BNK CST PC6 STERLING NAT           140008810        301 26-18-211-055-0000   2-03 18COTD8407 GEORGE ENTERPRISE GROUP LLC                          02/05/2021 02/22/2021       JRJ
02838                 2015 ANNUAL                      MTAG CUST ATCF II IL LLC           150002712        180 31-35-408-008-0000   2-03 19COTD4784 WHEELER FINANCIAL INC                                02/10/2021 02/22/2021       JRJ
02839                 2015 ANNUAL                       CLARK & RANDOLPH LLC              150011177        015 32-21-100-028-0000   2-03 19COTD2508 RIZ HOLDINGS, LLC                                    02/09/2021 02/23/2021       AA
02840                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150006134        296 26-06-201-019-0000   2-11 19COTD4241 AXERT, LLC-7478 SERIES                               02/09/2021 02/23/2021       AA
02841                 2015 ANNUAL                       ICIB INVESTMENTS INC.             150007461        424 20-17-314-037-0000   2-07 19COTD1198 GOODLAND,INC.                                        02/10/2021 02/23/2021       AA
02842                 2014 ANNUAL           CHRISTIANA TR CUSTODIAN FOR GSRAN -Z LLC      140010732        424 20-17-311-003-0000   2-02 19COTD212    SEEM GROUO LLC                                     01/19/2021 02/23/2021       RAA
02843                 2015 ANNUAL                           PINE VALLEY ONE               150002999        194 29-03-311-002-0000   2-02 19COTD3812 W. F. MAMAGEMENT COMPANT LLC                         02/08/2021 02/23/2021       RAA
02851                 2015 ANNUAL                       CLARK & RANDOLPH LLC              150007800        433 20-28-228-016-0000   2-02 19COTD3965 FNP INVESTMENTS LLC                                  02/09/2021 02/24/2021       JRJ
02852                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150000207        026 28-11-228-018-0000   2-03 19COTD1926 RED PINE PROPERTIES LLC                              02/16/2021 02/24/2021       JRJ
02854                 2015 ANNUAL                               GAN C. LLC                150005148        264 20-26-205-017-0000   2-11 19COTD3096 CORTEZZ, LLC                                         02/09/2021 02/25/2021       AA
02855                 2015 ANNUAL                     INTERCOASTAL EQUITY,LLC             150005628        277 21-31-305-026-0000   2-11 19COTD2265 INTERCOASTAL EQUITY,LLC                              02/08/2021 02/25/2021       AA
02857                 2015 ANNUAL                       NEWLINE HOLDINGS LLC              150003052        195 29-04-219-005-0000   2-03 19COTD2005 RED PINE PROPERTIES LLC                              02/11/2021 02/25/2021       RAA
02858                 2015 ANNUAL                       NEWLINE HOLDINGS LLC              150011260        017 32-25-320-025-0000   2-95 19COTD4376 C RELLA PROPERTIES LLC                               02/10/2021 02/25/2021       RAA
02859                 2015 ANNUAL                       NEWLINE HOLDINGS LLC              150007551        426 20-18-420-002-0000   2-03 19COTD3551 SEEM GROUP LLC                                       02/09/2021 02/25/2021       JRJ
02860                 2015 ANNUAL                           PINE VALLEY ONE               150007441        423 20-17-223-008-0000   2-11 19COTD3809 PV ONE PROPERTIES LLC                                02/11/2021 02/25/2021       JRJ
02861                 2015 ANNUAL                       NEWLINE HOLDINGS LLC              150011402        022 33-07-316-007-1013   2-99 19COTD1973 MICHELLE STRYSZOWSKA                                 02/04/2021 02/25/2021       JRJ
02862                 2015 ANNUAL                             SMM TAX INC                 150008649        467 25-21-220-020-0000   2-03 15COTD8649 BW DEVELOPMENT LLC                                   02/11/2021 03/04/2021       RAA
02863                 2014 ANNUAL                 PINE VALLEY ONE REAL ESTATE LLC         140011103        430 20-20-315-040-0000   3-18 19COTD193    SHELIA MARTIN                                      12/30/2020 03/04/2021       RAA
02865                 2015 ANNUAL                       NEWLINE HOLDINGS LLC              150006041        293 25-27-110-044-0000   2-11 19COTD2696 MAPLE REAL ESTATE, LLC                               02/01/2021 03/04/2021       AA
02866                 2016 ANNUAL                       BELMONT REALTY CORP               160006761        398 19-20-211-018-0000   2-03 20COTD2266 ATKIN REAL ESTATE LLC                                02/24/2021 03/04/2021       JRJ
02867                 2015 ANNUAL                     FAIR DEAL OF ILLINOIS INC           150007909        436 20-29-413-025-0000   2-11 19COTD3996 OLOW GRZEGORZ INC                                    02/23/2021 03/04/2021       JRJ
02818                 2015 ANNUAL                         WHEELER FINANCIAL               150005892        287 25-12-231-038-0000   2-10 19COTD3277 WHEELER FINANCIAL, INC.                              02/08/2021 02/11/2021       RAA
02832                 2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC.          140010098        403 19-24-411-010-0000   2-03 18COTD8220 WRITE HOME PROPERTIES, LLC                           10/26/2020 02/17/2021       AA
02834                 2014 ANNUAL                           ELM LIMITED LLC               140015322        571 16-23-402-029-0000   2-03 18COTD7599 RAFAEL AVILA & GUSTAVO RUIZ                          02/09/2021 02/18/2021       RAA
02835                 2015 ANNUAL                     5 HOLE ACQUISTIONS, INC.            150002948        193 29-01-421-042-0000   2-11 19COTD2948 EQUITY TRUST CO. CUST FBO DALE FRANK KALMAN JR IRA   01/22/2021 02/18/2021       AA
02869                 2015 ANNUAL                             ROYCE RE LLC                160007404        423 20-17-119-007-0000   2-11 19COTD1329 LOVE KEYS LLC                                        02/08/2021 03/04/2021       JRJ
02870                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150008020        440 20-32-111-023-0000   2-03 19COTD3526 INFINITY EQUITY HOLDINGS LLC                         02/24/2021 03/04/2021       JRJ
02871                 2015 ANNUAL                       NEWLINE HOLDINGS LLC              150008426        458 25-16-204-013-0000   2-02 19COTD3620 ANYWEAR                                              02/11/2021 03/04/2021       JRJ




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        Deed Number   Sale Yr Sale Type                       Buyer Name                     Cert Number   Vol         PIN          Class Case Number Deed Name                                         Date Issued Date Processed Initials
02874                 2015 ANNUAL                            ROYCE RE LLC                 150007697        430 20-20-325-011-0000   2-03 19COTD1320 SEEM GROUP LLC                                     02/28/2021 03/09/2021       RAA
02875                 2014 ANNUAL                    UMB BANK CUST FOR FRHL               140011481        437 20-30-217-050-0000   2-03 18COTD7539 LUIS M GARCIA                                      02/25/2021 03/09/2021       RAA
02876                 2015 ANNUAL                        WHEELER FINANCIAL                150005530        274 21-30-322-024-0000   2-05 19COTD3258 WHEELER FINANCIAL INC                              12/21/2020 03/09/2021       AA
02877                 2015 ANNUAL                        WHEELER FINANCIAL                150005631        277 21-31-310-019-0000   2-12 19COTD3266 WHEELER FINANCIAL INC                              12/21/2020 03/09/2021       AA
02877                 2015 ANNUAL                        WHEELER FINANCIAL                150005632        277 21-31-310-020-0000   2-01 19COTD3266 WHEELER FINANCIAL INC                              12/21/2020 03/09/2021       AA
02878                 2015 ANNUAL                        WHEELER FINANCIAL                150005678        278 21-32-204-022-0000   2-11 19COTD3268 WHEELER FINANCIAL INC                              12/21/2020 03/09/2021       AA
02879                 2015 ANNUAL                          PINE VALLEY ONE                150003653        214 29-21-309-011-0000   2-02 19COTD4519 RAMIRO OROZCO                                      03/03/2021 03/09/2021       AA
02880                 2014 ANNUAL                        WHEELER FINANCIAL                140008329        287 25-12-416-092-0000   2-05 18COTD6895 DELEON PROPERTIES, LLC-10157 S LUELLA              02/23/2021 03/09/2021       AA
02886                 2015 ANNUAL                      SABRE INVESTMENTS LLC              150011304        019 32-29-424-052-0000   2-02 19COTD2635 RITCHTON HILLS LLC                                 03/02/2021 03/11/2021       RAA
02896                 2015 ANNUAL                       ICIB INVESTMENTS INC              150003760        217 29-30-200-033-0000   2-02 19COTD0987 LUCKY REAL ESTATE INC                              02/26/2021 03/11/2021       JRJ
02897                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150005333        270 20-35-101-016-0000   2-02 19COTD3125 CORKERS INC                                        03/02/2021 03/11/2021       JRJ
02903                 2017 ANNUAL                          KULIG WOJCIECH                 170004666        233 03-24-100-047-1079   2-99 19COTD4540 KULIG WOJCIECH                                     01/06/2021 03/12/2021       JRJ
02913                 2015 ANNUAL                     5 HOLE ACQUISTIONS, INC             150008720        469 25-28-108-023-0000   2-11 19COTD1259 KATARZYNA OBRIEN                                   03/04/2021 03/15/2021       AA
02914                 2015 ANNUAL                       ICIB INVESTMENTS INC              150007212        416 20-07-229-003-0000   2-11 19COTD910    GKO CONSTRUCTION DEVELOPMENT                     03/03/2021 03/15/2021       AA
02915                 2015 ANNUAL                       ICIB INVESTMENTS INC              150004895        258 20-22-229-044-0000   2-05 19COTD1668 7007 EAST END INC.                                 03/05/2021 03/15/2021       AA
02917                 2015 ANNUAL                        FNA DZ LLC FBOWSFS               150007874        435 20-29-221-030-0000   2-11 19COTD1705 ADAM KLIMA                                         01/13/2021 03/15/2021       AA
02918                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150005070        261 20-24-423-028-1003   2-99 19COTD3003 AIRWA PROPERTIES,LLC                               03/09/2021 03/15/2021       AA
02919                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150008607        466 25-20-404-089-0000   2-95 19COTD3924 AMGUN INVESTMENTS,LLC                              03/10/2021 03/15/2021       AA
02920                 2014 ANNUAL                     MTAG CUST CAZ CREEK 11              140012572        468 25-21-331-025-0000   2-05 19COTD244    AXERT,LLC.-4381 SERIES                           03/09/2021 03/15/2021       AA
02921                 2015 ANNUAL                EQUITY ONE INVESTMENT FUND LLC           150008527        463 25-19-319-036-1028   2-99 19COTD1778 TITAN CAPITAL LLC                                  03/09/2021 03/16/2021       RAA
02922                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150003084        195 29-04-328-051-0000   2-02 19COTD3346 SOUTHSIDE RENTALS & INVESTMENTS LLC                02/25/2021 03/16/2021       RAA
02923                 2015 ANNUAL                              GAN C LLC                  150005205        266 20-27-123-022-0000   2-05 19COTD3098 CORTEZZ LLC                                        03/09/2021 03/16/2021       RAA
02924                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150008057        441 20-32-405-017-0000   2-11 19COTD4438 RED PINE PROPERTIES LLC                            03/03/2021 03/16/2021       RAA
02927                 2015 ANNUAL                        FNA DZ LLC FBOWSFS               150006130        296 26-06-200-001-0000   2-90 19COTD1659 DHM FINANCIAL,LLC                                  03/03/2021 03/16/2021       AA
02927                 2015 ANNUAL                        FNA DZ LLC FBOWSFS               150006131        296 26-06-200-002-0000   2-12 19COTD1659 DHM FINANCIAL,LLC                                  03/03/2021 03/16/2021       AA
02928                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150005984        290 25-22-106-029-0000   2-12 19COTD4367 SITUS CULTIVATION,LLC                              03/09/2021 03/16/2021       AA
02932                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150011229        017 32-25-109-072-0000   2-95 19COTD2578 AMGUN INVESTMENTS,LLC                              03/10/2021 03/17/2021       AA
02934                 2015 ANNUAL                        WHEELER FINANCIAL                150007941        437 20-30-215-030-0000   2-12 19COTD3728 HASHTAG VISION, LLC                                03/11/2021 03/17/2021       AA
02935                 2014 ANNUAL                    FAIR DEAL OF ILLINOIS INC.           140007080        261 20-24-425-008-1016   2-99 18COTD7653 FIRST NATIONAL ACQUISITION LLC                     02/22/2021 03/17/2021       AA
02936                 2014 ANNUAL                    UMB BANK CUST FOR FRHL               140014657        550 16-09-423-020-0000   2-11 18COTD7557 H&H PROPERTY INVESTMENTS, LLC 4948 W. WASHINGTON   03/02/2021 03/17/2021       AA
02937                 2015 ANNUAL                       ICIB INVESTMENTS INC              150007750        432 20-21-309-008-0000   2-11 19COTD1676 COMMITTED CHRISTIAN HOUSING LLC                    03/09/2021 03/17/2021       RAA
02939                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150011169        014 32-20-326-048-0000   2-02 19COTD2991 SOUTHSIDE RENTALS & INVESTMENTS LLC                02/24/2021 03/17/2021       RAA
02942                 2015 ANNUAL                     5 HOLE ACQUISITIONS INC             150007493        424 20-17-418-015-0000   2-11 19COTD0938 COMMITTED CHRISTIAN HOUSING LLC                    01/11/2021 03/18/2021       JRJ
02945                 2015 ANNUAL                       ICIB INVESTMENTS INC              150007425        423 20-17-211-009-0000   2-11 19COTD1498 COMMITTED CHRISTIAN HOUSING LLC                    02/23/2021 03/18/2021       JRJ
02946                 2015 ANNUAL                     FAIR DEAL OF ILLINOIS INC           150005871        287 25-12-204-048-0000   2-10 19COTD1635 FIRST NATIONAL ACQUISITIONS LLC                    03/05/2021 03/19/2021       JRJ
02949                 2015 ANNUAL                             RDG LNS LLC                 150005004        261 20-23-402-006-0000   3-18 19COTD4208 CAMELEO OZB 1 LLC                                  01/05/2021 03/19/2021       JRJ
02950                 2015 ANNUAL                       ICIB INVESTMENTS INC              150005485        274 21-30-114-027-1045   2-99 19COTD1193 DIAMOND VII CUT LLC                                03/15/2021 03/22/2021       RAA
02951                 2014 ANNUAL                    UMB BANK CUST FOR FRHL               140006888        259 20-22-311-003-0000   2-11 18COTD7477 JMARIE PROPERTY MANAGEMENT LLC                     03/15/2021 03/22/2021       RAA
02952                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150007879        435 20-29-223-004-0000   2-11 19COTD3522 TACOMA INVESTMENTS LLC                             03/12/2021 03/22/2021       RAA
02953                 2015 ANNUAL                          SCRIBE FUNDING                 150011244        017 32-25-211-017-0000   2-03 19COTD3465 JEDI HOLDINGS, LLC                                 03/11/2021 03/22/2021       AA
02954                 2015 ANNUAL                              GAN C LLC                  150003925        224 30-17-123-019-0000   2-03 19COTD3084 CORTEZZ,LLC                                        03/11/2021 03/22/2021       AA
02955                 2015 ANNUAL                              GAN C LLC                  150005155        264 20-26-213-018-0000   2-03 19COTD3116 CORTEZZ,LLC                                        03/11/2021 03/22/2021       AA
02958                 2017 ANNUAL                       CORONA INVESTMENTS                170010770        541 16-03-228-031-0000   2-02 19COTD3828 CORONA INVESTMENTS, LLC                            02/18/2021 03/22/2021       AA
02559                 2016 ANNUAL                   MIDWESTERN INVESTORS LLC              160007627        430 20-20-404-021-0000   3-15 20COTD124    SWEET DREAMS PROPERTY MANAGEMENT LLC             03/17/2021 03/23/2021       RAA
02960                 2015 ANNUAL                        FNA DZ LLC FBOWSFS               150005911        287 25-12-449-028-0000   2-02 19COTD1642 FIRST NATIONAL ACQUISTIONS LLC                     03/17/2021 03/23/2021       AA
02961                 2015 ANNUAL                    MTAG CUSTM ATCF II IL LLC            150005595        276 21-31-205-005-0000   2-11 19COTD4848 WHEELER FINANCIAL INC                              03/11/2021 03/23/2021       RAA
02962                 2015 ANNUAL                          PINE VALLEY ONE                150007434        423 20-17-217-008-0000   2-11 19COTD4535 PHOENIX CHICAGO, LLC                               03/17/2021 03/23/2021       AA
02963                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150007872        435 20-29-219-025-0000   2-02 19COTD3521 SITUS CULTIVATION, LLC                             03/19/2021 03/23/2021       AA
02964                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150007888        435 20-29-306-015-0000   2-03 19COTD3525 ADELE HOCHHAUSER                                   03/22/2021 03/23/2021       AA
02965                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150005239        266 20-27-226-012-0000   2-11 19COTD2557 BROWNING BUILDERS, INC.                            03/22/2021 03/24/2021       AA
02966                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150007681        429 20-20-229-003-0000   2-11 19COTD3517 T&J HAYES, LLC                                     03/22/2021 03/24/2021       AA
02967                 2015 ANNUAL                              GAN C LLC                  150000559        038 25-31-104-006-0000   2-11 19COTD3364 X CLEARING INC                                     02/05/2021 03/25/2021       JRJ




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        Deed Number   Sale Yr Sale Type                        Buyer Name                      Cert Number   Vol         PIN          Class Case Number Deed Name                                             Date Issued Date Processed Initials
02968                 2015 ANNUAL                       NEWLINE HOLDINGS LLC                150003317        202 29-10-233-034-0000   2-03 19COTD2019 PV ONE PROPERTIES LLC                                  02/09/2021 03/25/2021       JRJ
02969                 2015 ANNUAL                       NEWLINE HOLDINGS LLC                150003339        203 29-11-202-057-0000   2-03 19COTD2020 PV ONE PROPERTIES LLC                                  02/09/2021 03/25/2021       JRJ
02976                 2015 ANNUAL                       NEWLINE HOLDINGS LLC                150007585        427 20-19-222-013-0000   2-02 19COTD4437 IVETT HURTADO & JUAN FLORES                            03/25/2021 03/29/2021       RAA
02978                 2015 ANNUAL                       NEWLINE HOLDINGS LLC                150007500        425 20-18-104-025-0000   2-02 19COTD4435 MITH REAL ESTATE LLC                                   02/26/2021 04/01/2021       JRJ
02979                 2015 ANNUAL                       NEWLINE HOLDINGS LLC                150007094        406 19-27-401-038-1154   2-99 19COTD3008 SREE PACHAMMA PROPERTIES                               03/30/2021 03/31/2021       AA
02980                 2015 ANNUAL                        ICIB INVESTMENTS INC               150003594        211 29-19-222-042-0000   2-02 19COTD0752 THREE A'S MAINTENANCE LLC                              03/02/2021 04/01/2021       JRJ
02983                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC     150007478        424 20-17-330-017-0000   2-03 19COTD3467 T.I.S.H. MANAGEMENT GROUP INC                          03/12/2021 04/01/2021       JRJ
02986                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC     140011595        440 20-32-106-020-0000   2-11 19COTD269    GOTHIC INVESTMENTS LTD                               03/30/2021 04/05/2021       RAA
02987                 2015 ANNUAL                        ICIB INVESTMENTS INC               150003733        217 29-30-102-012-0000   2-03 19COTD756    EQUITY TRUST COMPANY CUSTODIAN FBO DALE FRANK KALM   03/17/2021 04/05/2021       RAA
02988                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC     150007099        406 19-27-401-038-1244   2-99 19COTD3374 MANNA PROPERTY INVESTMENT LLC                          03/29/2021 04/05/2021       RAA
02989                 2015 ANNUAL                               GAN C LLC                   150007576        427 20-19-210-024-0000   2-11 19COTD3103 CORTEZZ, LLC                                           02/08/2021 04/07/2021       AA
02991                 2016 ANNUAL                       RDIA INVESTMENTS LLC                160007497        427 20-19-226-037-0000   3-15 20COTD0414 FRESH START PROPERTIES LLC, A MINNESOTA LLC            04/02/2021 04/08/2021       JRJ
02992                 2015 ANNUAL                               GAN C LLC                   150000564        038 25-31-206-037-0000   2-02 19COTD2052 CORTEZZ LLC                                            03/31/2021 04/09/2021       RAA
02994                 2016 ANNUAL                           RANDOLPH 18 LLC                 160000345        017 32-25-109-099-0000   2-95 20COTD1876 SHAATA REALTY LLC                                      04/12/2021 04/14/2021       RAA
02995                 2015 ANNUAL                       NEWLINE HOLDINGS LLC                150002838        187 07-27-102-020-1361   2-99 19COTD3560 RED PINE PROPERTIES LLC                                04/09/2021 04/14/2021       RAA
02996                 2015 ANNUAL                       CLARK & RANDOLPH LLC                150011397        022 33-07-104-039-0000   2-34 19COTD4866 SEEM GROUP LLC                                         04/09/2021 04/14/2021       RAA
03000                 2015 ANNUAL                      CLARK & RANDOLPH, LLC                150009696        520 17-31-307-004-0000   2-12 19COTD2231 RTA INVESTMENTS, LLC                                   04/07/2021 04/14/2021       AA
03001                 2014 ANNUAL                    CHRISTIANA CUCTODIAN TR.               140010945        427 20-19-218-023-0000   2-03 19COTD281    GOTHIC INVESTMENTS, LTD                              04/07/2021 04/14/2021       AA
03002                 2015 ANNUAL                       CLARK 7 RANDOLPH, LLC               150005975        289 25-15-318-001-0000   2-12 19COTD4366 RTA INVESTMENTS, LLC                                   04/12/2021 04/14/2012       AA
03005                 2015 ANNUAL                       BELMONT REALTY CORP                 150008298        454 25-08-214-057-0000   2-03 19COTD4394 J PALUCH CONSTRUCTION INC                              04/16/2021 04/14/2012       JRJ
03007                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN - Z LLC   150007525        425 20-18-218-038-0000   2-03 19COTD3595 SEEM GROUP LLC                                         04/13/2021 04/15/2021       RAA
03008                 2016 ANNUAL                     INTERCOASTAL EQUITY LLC               160000379        017 32-25-405-010-0000   2-02 20COTD2078 223 PROPERTIES, INC.                                   03/29/2021 04/16/2021       AA
03012                 2014 ANNUAL                    CHRISTIANA CUCTODIAN TR.               140011145        430 20-20-414-032-0000   2-02 19COTD286    GOTHIC INVESTMENTS, LTD                              04/08/2021 04/19/2021       AA
03023                 2015 ANNUAL                         FNA DZ LLC FBOWSFS                150004930        259 20-22-325-024-0000   2-11 19COTD1561 JEM DEVELOPERS LLC                                     04/09/2021 04/22/2021       RAA
03024                 2015 ANNUAL                        ICIB INVESTMENTS INC               150007850        435 20-29-201-007-0000   2-03 19COTD1110 COMMITTED CHRISTIAN HOUSING LLC                        04/13/2021 04/22/2021       RAA
03025                 2015 ANNUAL                        ICIB INVESTMENTS INC               150003595        211 29-19-222-051-0000   2-03 19COTD1417 BROWNING BUILDERS INC                                  04/15/2021 04/22/2021       RAA
03026                 2014 ANNUAL                     FAIR DEAL OF ILLINOIS INC.            140008155        283 25-03-308-022-0000   2-05 18COTD8606 EAGLE INV. PROPERTIES, INC.                            04/12/2021 04/22/2021       AA
03027                 2015 ANNUAL                      5 HOLE ACQUISITIONS INC              150000260        030 28-14-206-009-0000   2-03 19COTD866    TRUNINA, INC.                                        04/09/2021 04/22/2021       AA
03028                 2015 ANNUAL                        ICIB INVESTMENTS INC               150004029        226 30-20-311-010-0000   2-02 19COTD765    TRUSTED PROPERTY INVESTORS, LLC                      04/12/2021 04/22/2021       AA
03029                 2016 ANNUAL                    EAGLE INV. PROPERTIES, INC.            160003615        214 29-22-406-012-0000   2-03 20COTD1880 EAGLE INV. PROPERTIES, INC.                            04/08/2021 04/22/2021       AA
03030                 2016 ANNUAL                  PHOENIX BOND & INDEMNITY CO              160009412        508 16-36-323-033-0000   2-02 20COTD2267 SEMPER FIDELIS LLC                                     04/19/2021 04/23/2021       JRJ
03031                 2016 ANNUAL                       CORONA INVESTMENTS                  160010761        573 16-25-125-037-0000   2-01 19COTD2515 M&O PARTNER HOLDINGS, LLC                              04/12/2021 04/23/2021       AA
03038                 2015 ANNUAL                       CLARK & RANDOLPH LLC                150011174        015 32-20-427-007-0000   2-03 19COTD2510 COOK COUNTY PROPERTY TAX LLC                           04/21/2021 04/26/2021       RAA
03039                 2015 ANNUAL                       CLARK & RANDOLPH LLC                150005482        274 21-31-111-041-1006   2-99 19COTD1214 REGINALD JOHNSON                                       04/16/2021 04/26/2021       RAA
03040                 2015 ANNUAL                       CLARK & RANDOLPH LLC                150005596        276 21-31-207-013-0000   2-05 19COTD4267 BURNETT GROUP LLC                                      04/19/2021 04/26/2021       RAA
03041                 2015 ANNUAL                       NEWLINE HOLDINGS LLC                150010458        561 16-15-108-031-0000   2-11 19COTD3638 RED PINE PROPERTIES LLC                                04/13/2021 04/26/2021       AA
03044                 2015 ANNUAL                     SSC6 LLC BANK UNITED/ TR              150008560        464 25-19-403-038-0000   2-95 19COTD2841 XAVIER NEVAREZ                                         04/19/2021 04/28/2021       JRJ
03045                 2015 ANNUAL                       CLARK & RANDOLPH LLC                150011249        017 32-25-311-008-0000   2-03 19COTD2584 223 PROPERTIES INC                                     04/23/2021 04/28/2021       JRJ
03046                 2016 ANNUAL                     INTERCOASTAL EQUITY LLC               160007921        437 20-30-210-012-0000   2-03 20COTD2253 SEEM GROUP LLC                                         04/22/2021 04/28/2021       JRJ
03047                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC     150005254        267 20-27-317-019-0000   2-02 19COTD2779 PRK REALTY INVESTMENTS INC                             04/23/2021 04/29/2021       JRJ
03048                 2015 ANNUAL                       NEWLINE HOLDINGS LLC                150000513        036 25-29-331-026-0000   2-03 19COTD2672 RED PINE PROPERTIES LLC                                04/16/2021 04/29/2021       JRJ
03049                 2016 ANNUAL                     INTERCOASTAL EQUITY LLC               160000919        035 28-36-101-017-1063   2-99 20COTD2082 LIVE IT UP PAINT CLUB LLC                              04/15/2021 04/30/2021       JRJ
03050                 2016 ANNUAL                          TITAN CAPITAL LLC                160004077        233 03-26-100-015-1429   2-99 20COTD2305 TITAN CAPITAL LLC                                      04/21/2021 04/30/2021       JRJ
03051                 2016 ANNUAL                          TITAN CAPITAL LLC                160005516        279 25-01-116-011-0000   2-05 20COTD2487 KEXUS CORP                                             04/26/2021 04/30/2021       JRJ
03052                 2016 ANNUAL                     INTERCOASTAL EQUITY LLC               160005842        289 25-15-206-055-0000   2-03 20COTD2164 REMERGENCE LLC                                         03/22/2021 04/30/2021       JRJ
03053                 2016 ANNUAL                          TITAN CAPITAL LLC                160009271        500 17-09-204-025-1035   2-99 20COTD2826 TITAN CAPITAL LLC                                      04/15/2021 04/30/2021       JRJ
03055                 2015 ANNUAL                           PINE VALLEY ONE                 150007346        421 20-16-121-035-0000   2-11 19COTD3813 PV ONE PROPERTIES LLC                                  04/27/2021 05/03/2021       JRJ
03056                 2015 ANNUAL                       CORONA INVESTMENTS                  150010642        570 16-23-312-012-0000   2-11 19COTD4585 PVONE PROPERTIES LLC                                   04/15/2021 05/03/2021       RAA
03063                 2016 ANNUAL                          TITAN CAPITAL LLC                160005471        277 21-31-319-035-0000   2-11 20COTD2483 RIZ HOLDINGS, LLC                                      04/30/2021 05/10/2021       AA
03064                 2016 ANNUAL                       NEWLINE HOLDINGS LLC                160002703        180 31-36-304-016-0000   2-78 20COTD1252 JEDI HOLDINGS LLC                                      05/04/2021 05/12/2021       AA
03065                 2016 ANNUAL                     INTERCOASTAL EQUITY LLC               160005414        275 21-31-118-020-0000   2-11 20COTD3003 HARI BUTZ, LLC                                         05/04/2021 05/12/2021       AA
03066                 2015 ANNUAL                       CLARK & RANDOLPH LLC                150007373        422 20-16-325-011-0000   2-07 19COTD4371 RIZ HOLDINGS, LLC                                      05/04/2021 05/12/2021       AA




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        Deed Number   Sale Yr Sale Type                      Buyer Name                      Cert Number   Vol         PIN          Class Case Number Deed Name                                   Date Issued Date Processed Initials
03067                 2016 ANNUAL                        TITAN CAPITAL LLC                160000951        036 25-29-405-031-0000   2-02 20COTD2296 DIAMOND DYNASTY, LLC                         05/05/2021 05/12/2021       AA
03068                 2016 ANNUAL                        TITAN CAPITAL LLC                160010013        548 16-08-409-014-0000   2-05 20COTD2829 HARI BUTZ, LLC                               05/04/2021 05/12/2021       AA
03069                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150007679        429 20-20-227-012-0000   2-11 19COTD1384 BURNETT GROUP, LLC                           04/12/2021 05/12/2021       AA
03070                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150005370        270 20-35-124-170-0000   2-95 19COTD2782 LUKUMAN AFUWAPE                              04/28/2021 05/12/2021       AA
03071                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150007678        429 20-20-225-028-0000   2-11 19COTD3567 ELITE PROPERTY INVESTORS GROUP CORP          04/15/2021 05/13/2021       RAA
03075                 2015 ANNUAL                      WHEELER FINANCIAL INC              150002092        161 15-10-223-005-0000   2-03 19COTD2888 WHEELER FINANCIAL INC                        04/29/2021 05/13/2021       RAA
03076                 2016 ANNUAL                         LIEN GROUP LLC                  160010408        561 16-15-114-005-0000   2-02 20COTD2806 ADAMS & JACKSON LLC                          05/07/2021 05/13/2021       RAA
03077                 2015 ANNUAL                      NEWLINE HOLDINDS LLC               150006003        290 25-22-217-017-0000   2-11 19COTD3606 RED PINE PROPERTIES LLC                      04/15/2021 05/13/2021       AA
03078                 2015 ANNUAL                    FAIR DEAL OF ILLINOIS INC.           150005386        270 20-25-230-020-0000   2-03 19COTD3951 FIRST NATIONAL ACQUISITIONS LLC              05/06/2021 05/13/2021       AA
03083                 2015 ANNUAL         CHRISTIANATRUST AS CUSTODIAN FOR GSRAN-Z LLC    150057398        282 25-02-400-033-0000   2-11 19COTD3018 GREEN DEVELOPMENT                            05/10/2021 05/14/2021       RAA
03084                 2015 ANNUAL                      NEWLINE HOLDINDS LLC               150003014        194 29-03-416-027-0000   2-02 19COTD2002 V3 REALTY, LLC                               05/13/2021 05/17/2021       AA
03088                 2015 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          150009400        510 17-10-400-033-1339   3-99 19COTD2775 LONGSTREET CAPITAL FUNDING LLC               11/25/2020 05/19/2021       JRJ
03089                 2015 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          150005828        284 25-10-108-043-0000   2-03 19COTD2726 LONGSTREET CAPITAL FUNDING LLC               12/18/2020 05/19/2021       JRJ
03092                 2016 ANNUAL                            BT LIENS LLC                 160005693        284 25-03-409-003-0000   2-03 20COTD1627 ACFC MANAGEMENT LLC                          05/06/2021 05/25/2021       RAA
03094                 2015 ANNUAL         CHRISTIANATRUST AS CUSTODIAN FOR GSRAN-Z LLC    150002610        179 31-25-102-006-0000   2-03 19COTD2037 1ST STOP CONSTRUCTION MANAGEMENT LLC         05/03/2021 05/25/2021       RAA
03095                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150011250        017 32-25-313-024-0000   2-02 19COTD3705 SECOND BASE PROPERTIES SERIES LLC            05/10/2021 05/25/2021       RAA
03096                 2016 ANNUAL                        TITAN CAPITAL LLC                160003647        215 29-25-405-028-1023   2-99 20COTD2017 LEGACY SERVICES GROUP LLC                    04/29/2021 05/24/2021       JRJ
03097                 2015 ANNUAL                     5 HOLE ACQUISITIONS INC             150000259        030 28-14-205-034-0000   2-03 19COTD0865 TRUNINA INC                                  05/03/2021 05/25/2021       JRJ
03098                 2015 ANNUAL                      WHEELER FINANCIAL INC              150008090        442 20-33-120-009-0000   2-03 19COTD3732 LEON BAYLOR                                  04/30/2021 05/25/2021       JRJ
03099                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150008646        467 25-21-219-007-0000   2-03 19COTD4473 WRITE HOME PROPERTIES LLC                    05/03/2021 05/25/2021       JRJ
03107                 2016 ANNUAL                      NEWLINE HOLDINGS LLC               160003072        196 29-04-429-029-0000   2-02 20COTD1281 RIZ HOLDINGS, LLC                            05/20/2021 05/25/2021       AA
03108                 2013 ANNUAL                         LONGSTREET 481                  130003945        167 15-16-117-072-0000   2-95 17COTD3869 AAA INVESTMENTS, LLC                         04/13/2021 05/25/2021       AA
03109                 2016 ANNUAL                      NEWLINE HOLDINDS LLC               160001674        088 09-15-301-030-0000   2-03 20COTD1230 RED PINE PROPERTIES LLC                      05/20/2021 05/26/2021       AA
03123                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150008683        468 25-21-330-016-0000   2-05 19COTD3954 DONLEY REAL ESTATE LLC                       04/28/2021 05/28/2021       JRJ
03124                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               15006095         293 25-34-312-028-0000   2-05 19COTD4433 DISCOVERY INVESTMENTS AND ACQUISITIONS LLC   05/17/2021 05/28/2021       JRJ
03126                 2016 ANNUAL                           SMM-TAX INC                   160007303        423 20-17-222-008-0000   2-11 20COTD2271 DIFFAY ENTERPRISES LLC                       05/25/2021 05/28/2021       JRJ
03128                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150008211        449 25-05-203-035-0000   2-05 19COTD3799 DANIEL SANCHEZ                               05/06/2021 06/01/2021       JRJ
03129                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150002719        180 31-35-419-008-0000   2-03 19COTD2310 RED PINE PROPERTIES LLC                      05/25/2021 06/01/2021       JRJ
03131                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150005518        274 21-30-311-003-0000   2-05 19COTD3021 DANIEL SANCHEZ                               05/05/2021 06/01/2021       AA
03132                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150003291        202 29-10-209-022-1043   2-99 19COTD2167 SECOND BASE PROPERTIES SERIES, LLC           04/13/2021 06/01/2021       AA
03133                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150005672        278 21-32-101-002-0000   2-11 19COTD4268 SENETRA CROSS                                04/12/2021 06/01/2021       AA
03134                 2015 ANNUAL                      NEWLINE HOLDINDS LLC               150007656        429 20-20-117-038-0000   2-11 19COTD3564 DOMINIC ESKRIDGE                             05/14/2021 06/01/2021       AA
03135                 2015 ANNUAL                      BELMONT REALTY CORP                150008141        447 24-24-203-040-1003   2-99 19COTD4392 RED PINE PROPERTIES LLC                      05/05/2021 06/01/2021       AA
03138                 2016 ANNUAL                            BT LIENS LLC                 160005976        295 26-06-102-023-0000   2-11 20COTD2467 KAWA SERVICE GROUP, INC.                     05/20/2021 06/02/2021       AA
03145                 2015 ANNUAL                    MTAG CUSTM ATCF II IL LLC            150008648        467 25-21-220-011-0000   2-03 19COTD4847 CLEARVUE CAPITAL CORPORATION                 04/12/2021 06/04/2021       AA
03147                 2016 ANNUAL                   WEST TOWN BUYERS GRP LLC              160002561        179 31-24-309-009-0000   2-03 20COTD2574 COSMOS, LLC                                  05/25/2021 06/04/2021       AA
03148                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150005673        278 21-32-102-017-0000   2-03 19COTD3015 ELITE PROPERTY INVESTORS GROUP CORP          05/25/2021 06/04/2021       AA
03149                 2016 ANNUAL                          SMM-TAX INC.                   160007651        430 20-20-422-029-0000   2-11 20COTD2275 THE PARFAIT PROJECT LLC                      05/25/2021 06/04/2021       AA
03163                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150007437        423 20-17-220-010-0000   2-11 19COTD3475 AHMED JOHNSON AND HENRY JACKSON III          05/06/2021 06/09/2021       AA
03164                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150008631        467 25-21-205-025-0000   2-11 19COTD3943 CLEARVUE CAPITAL CORP.                       06/07/2021 06/09/2021       AA
03165                 2016 ANNUAL                            BT LIENS LLC                 160005801        287 25-21-428-007-0000   2-02 20COTD1630 CIARRA TORRES                                06/03/2021 06/09/2021       AA
03170                 2016 ANNUAL                           SMM-TAX INC                   160007259        423 20-17-116-020-0000   2-11 20COTD2270 GREEN DEVELOPMENT LLC                        05/24/2021 06/11/2021       RAA
03171                 2015 ANNUAL                         PINE VALLEY ONE                 150005920        288 25-14-102-027-0000   2-11 19COTD3810 PVONE PROPERTIES LLC                         05/20/2021 06/11/2021       JRJ
03174                 2014 ANNUAL                    CHRISTIAN CUSTODIAN TR.              140012347        464 25-19-409-031-0000   2-03 19COTD354    GOTHIC INVESTMENTS, LTD                    05/14/2021 06/14/2021       AA
03175                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150002643        180 31-26-406-037-0000   2-34 19COTD2041 LEGACY DEVELOPMENT PARTNERS LLC              06/07/2021 06/14/2021       AA
03176                 2015 ANNUAL                        WHEELER FINANCIAL                150008686        468 25-21-335-035-0000   2-05 19COTD3746 CLEARVUE CAPITAL CORPORATION                 06/04/2021 06/14/2021       AA
03180                 2015 ANNUAL                       FNA DZ LLC FBOWSFS                150010786        578 16-27-201-024-0000   2-11 19COTD3872 JEM CAP, LLC                                 06/24/2021 07/01/2021       AA
03181                 2016 ANNUAL                        TITAN CAPITAL LLC                160005657        283 25-03-214-014-0000   2-02 20COTD2489 EAGLE INV. PROPERTIES INC.                   06/23/2021 07/01/2021       AA
03196                 2016 ANNUAL                      NEWLINE HOLDINGS LLC               160008203        448 25-04-312-060-0000   2-02 20COTD1446 ATG-DE LLC                                   05/28/2021 06/22/2021       JRJ
03199                 2015 ANNUAL                      WHEELER FINANCIAL INC              150002460        178 31-14-417-008-0000   2-03 19COTD2895 WHEELER FINANCIAL INC                        06/15/2021 06/23/2021       JRJ
03200                 2015 ANNUAL                      WHEELER FINANCIAL INC              150009554        511 17-16-238-028-2207   2-99 19COTD3328 WHEELER FINANCIAL INC                        06/15/2021 06/23/2021       JRJ
03201                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150007571        427 20-19-205-031-0000   2-11 19COTD3786 NIESHA BRANDON                               06/16/2021 06/23/2021       JRJ




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        Deed Number   Sale Yr Sale Type                       Buyer Name                     Cert Number    Vol         PIN          Class Case Number Deed Name                                         Date Issued Date Processed Initials
03202                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150003899         223 30-08-400-038-0000   2-11 19COTD2709 RED PINE PROPERTIES LLC                            06/17/2021 06/23/2021       JRJ
03203                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150008383         457 25-09-410-029-0000   2-02 19COTD3802 TAMABI HOLDINGS LLC                                06/17/2021 06/23/2021       JRJ
03205                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150003626         212 29-20-103-045-0000   2-34 19COTD3569 ANGELA D BOATNER                                   06/16/2021 06/23/2021       JRJ
03206                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150008400         457 25-09-421-027-0000   2-02 19CODT1797 HARI BUTZ LLC                                      06/16/2021 06/23/2021       JRJ
03207                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150007343         421 20-16-112-033-0000   2-11 19COTD3147 GVO PEOPERTIES LLC                                 06/17/2021 06/24/2021       RAA
03208                 2015 ANNUAL                              GAN C LLC                  150002427         178 31-10-200-078-1006   2-99 19COTD3367 X CLEARING, INC                                    05/20/2021 06/24/2021       AA
03209                 2016 ANNUAL                              GAN C LLC                  160000427         019 32-29-220-043-0000   2-05 20COTD2446 CORTEZZ, LLC                                       06/15/2021 06/24/2021       AA
03210                 2016 ANNUAL                              GAN C LLC                  160000594         023 28-01-303-019-0000   2-03 20COTD2218 CORTEZZ, LLC                                       06/15/2021 06/24/2021       AA
03211                 2016 ANNUAL                              GAN C LLC                  160003752         220 30-06-117-001-0000   2-03 20COTD2642 CORTEZZ, LLC                                       06/15/2021 06/24/2021       AA
03212                 2016 ANNUAL                              GAN C LLC                  160005227         271 20-35-303-084-0000   2-10 20COTD2678 CORTEZZ, LLC                                       06/15/2021 06/24/2021       AA
03213                 2016 ANNUAL                              GAN C LLC                  160007156         420 20-09-113-021-0000   2-35 20COTD2435 CORTEZZ, LLC                                       06/15/2021 06/24/2021       AA
03214                 2016 ANNUAL                              GAN C LLC                  160008699         467 25-21-121-022-0000   2-02 20COTD2182 CORTEZZ, LLC                                       06/14/2021 06/24/2021       AA
03216                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150007880         435 20-29-223-008-0000   2-02 19COTD3523 CYNTHIA STAINE                                     06/14/2021 06/25/2021       JRJ
03217                 2014 ANNUAL                    US BANK % TOWER DBW VI               140012977         478 14-16-302-030-1022   2-99 19COTD0149 MAXX INC                                           06/14/2021 06/25/2021       JRJ
03218                 2015 ANNUAL                            ROYCE RE LLC                 150002228         165 15-15-209-058-0000   2-95 19COTD0784 PASHUPATI NATH                                     06/22/2021 06/25/2021       JRJ
03220                 2016 ANNUAL                              GAN C LLC                  160000517         021 32-36-202-018-0000   2-02 20COTD2436 CORTEZZ LLC                                        06/23/2021 06/25/2021       RAA
03221                 2015 ANNUAL                       ICIB INVESTMENTS INC              150007714         430 20-20-405-015-0000   2-03 19COTD1499 ED INVESTMENTS & CONSTRUCTION INC.                 06/23/2021 06/25/2021       RAA
03223                 2015 ANNUAL                   US BNK CST PC6STERLINGANT             150003288         202 29-10-209-022-1001   2-99 19COTD2951 WHEELER FINANCIAL INC                              06/25/2021 06/30/2021       AA
03224                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140010175         416 19-27-401-038-1239   2-99 19COTD25     THORNWOOD PARTNERS LTD                           06/14/2021 07/01/2021       RAA
03225                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150005196         265 20-26-425-030-0000   2-02 19COTD2556 J PALUCH CONSTRUCTION                              06/08/2021 07/01/2021       RAA
03227                 2014 ANNUAL                     SABRE INVESTMENTS, LLC              140001756         053 10-13-117-001-0000   2-11 18COTD7186 BV EQUITIES, LLC                                   06/22/2021 07/01/2021       AA
03229                 2016 ANNUAL                      RDIA INVESTMENTS LLC               160007178         421 20-16-101-021-0000   2-11 20COTD1935 RANGER INVESTMENTS LLC                             06/28/2021 07/02/2021       RAA
03230                 2016 ANNUAL                           LIEN GROUP LLC                160002466         178 31-03-303-006-0000   2-03 20COTD1705 EQUITY TRUST COMPANY CUSTODIAN FBO 200224157 IRA   06/28/2021 07/02/2021       JRJ
03231                 2016 ANNUAL                             BT LIENS LLC                160005569         281 25-02-113-006-0000   2-05 20COTD1626 KALON ESTATE LLC                                   06/30/2021 07/02/2021       JRJ
03232                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150007559         427 20-19-117-019-0000   2-05 19COTD3599 TAMABI HOLDINGS LLC                                06/28/2021 07/02/2021       JRJ
03234                 2016 ANNUAL                      CORONA INVESTMENTS                 160010174         533 16-11-214-005-0000   2-11 20COTD3923 CORONA INVESTMENTS, LLC                            06/10/2021 07/02/2021       AA
03235                 2016 ANNUAL                          RANDOLPH 18 LLC                160002485         178 31-10-200-089-1052   2-99 20COTD2090 SREE PACHAMMA PROPERTIES LLC                       06/24/2021 07/02/2021       JRJ
03237                 2016 ANNUAL                    INTERCOASTAL EQUITY LLC              160005375         275 21-30-409-002-0000   2-03 20COTD2162 VERNON MORGAN                                      06/24/2021 07/06/2021       AA
03238                 2016 ANNUAL                          RANDOLPH 18 LLC                160010531         565 16-16-221-024-0000   2-03 20COTD2667 CLEARVUE CAPITAL CORPORATION                       06/15/2021 07/06/2021       AA
03239                 2016 ANNUAL                      CORONA INVESTMENTS                 160010798         577 16-26-400-019-0000   2-02 20COTD2808 JAMES VOIGT                                        06/24/2021 07/06/2021       AA
03240                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150008445         458 25-16-215-033-0000   2-11 19COTD3621 SHAQUIILE JONES                                    06/30/2021 07/06/2021       RAA
03241                 2016 ANNUAL                   MIDWESTERN INVESTORS LLC              160005648         283 25-03-206-004-0000   2-02 20COTD1673 CLEARVE CAPITAL CORP                               06/30/2021 07/06/2021       RAA
03242                 2016 ANNUAL                      NEWLINE HOLDINGS LLC               160007560         429 20-20-111-031-0000   2-05 20COTD1172 CORKERS INC                                        06/30/2021 07/06/2021       RAA
03243                 2016 ANNUAL                           LIEN GROUP LLC                160007818         435 20-20-210-025-0000   2-05 20COTD1743 TRUE REAL ESTATE INVESTMENTS LLC                   07/01/2021 07/06/2021       RAA
03244                 2015 ANNUAL                        WHEELER FINANCIAL                150004829         257 20-15-308-017-1034   2-99 19COTD3243 WHEELER FINANCIAL INC                              07/01/2021 07/08/2021       AA
03245                 2016 ANNUAL                   MIDWESTERN INVESTORS LLC              160007910         437 20-30-200-042-0000   2-02 20COTD1907 AIRWA PROPERTIES LLC                               07/01/2021 07/09/2021       JRJ
03246                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150006096         294 26-05-102-041-0000   2-11 19COTD3161 CHANGIN LIVES INVESTMENTS INC                      06/28/2021 07/09/2021       RAA
03247                 2016 ANNUAL                    INTERCOASTAL EQUITY LLC              160008135         442 20-33-317-014-0000   2-03 20COTD3018 RIZ HOLDINGS LLC                                   06/28/2021 07/09/2021       RAA
03248                 2016 ANNUAL                     WHEELER FINANCIAL INC               160002207         160 15-09-310-044-0000   2-41 20COTD2353 WHEELER FINANCIAL INC                              06/22/2021 07/12/2021       JRJ
03249                 2016 ANNUAL                             BT LIENS LLC                160005782         287 25-12-227-006-0000   2-10 20COTD1629 DELEON PROPERTIES LLC - 9528 S. MERRION            06/16/2021 06/16/2021       RAA
03250                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150007409-D1771   423 20-17-122-044-0000   2-11 19COTD3115 RED PINE PROPERTIES LLC                            04/23/2021 07/13/2021       JRJ
03251                 2015 ANNUAL                    INTERCOASTAL EQUITY LLC              150005156         264 20-26-213-029-0000   2-07 19COTD2260 MOOTH LLC                                          07/09/2021 07/14/2021       JRJ
03252                 2016 ANNUAL                              GAN C LLC                  160010062         549 16-09-222-016-0000   2-11 20COTD2448 CORTEZZ LLC                                        07/08/2021 07/14/2021       JRJ
03253                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150005652         278 21-31-402-028-0000   2-03 19COTD3128 WRITE HOME PROPERTIES LLC                          07/06/2021 07/14/2021       JRJ
03254                 2015 ANNUAL                          PINE VALLEY ONE                150003058         195 29-04-229-013-0000   2-03 19COTD4493 RAYNARD MCDOWELL                                   07/07/2021 07/15/2021       RAA
03255                 2016 ANNUAL                    INTERCOASTAL EQUITY LLC              160003014         423 20-17-209-021-0000   2-11 20COTD3014 TREASURE SERVICE INC                               06/25/2021 07/15/2021       RAA
03256                 2016 ANNUAL                      CORONA INVESTMENTS                 160005659         283 25-03-218-030-0000   2-11 20COTD4219 BROYALTY LLC                                       07/09/2021 07/15/2021       RAA
03257                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150007931         437 20-30-203-011-0000   2-02 19COTD3612 CHICAGO ASSETS LLC                                 07/13/2021 07/19/2021       RAA
03258                 2016 ANNUAL                          RANDOLPH 18 LLC                160003098         197 29-06-426-042-0000   2-02 20COTD2616 SEEM GROUP LLC                                     07/07/2021 07/16/2021       RAA
03259                 2016 ANNUAL                 PINE VALLEY ONE REAL ESTATE LLC         160002110         152 23-23-100-017-1001   2-99 20COTD4726 TRICOUNTY RESEARCH INC                             07/07/2021 07/16/2021       RAA
03260                 2015 ANNUAL                  LONGSTREET CAPITAL FUNDING             150005310         268 20-34-208-042-1011   2-99 19COTD2758 ROYAN INC                                          07/07/2021 07/16/2021       RAA
03261                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150011258         017 32-25-319-029-0000   2-95 19COTD2590 SITUS CULTIVATION LLC                              07/13/2021 7/16/2021        JRJ




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        Deed Number   Sale Yr Sale Type                       Buyer Name                     Cert Number   Vol         PIN          Class Case Number Deed Name                                           Date Issued Date Processed Initials
03264                 2015 ANNUAL                      WHEELER FINANCIAL INC              150010097        549 16-09-220-014-0000   2-02 19COTD3765 WHEELER FINANCIAL INC                                06/23/2021 7/16/2021        JRJ
03265                 2014 ANNUAL                        RDG FUND-5 LNS LLC               140006931        259 20-22-419-041-0000   2-11 18COTD8686 LAURENTIU PANTELIMON                                 07/08/2021 07/19/2021       AA
03267                 2016 ANNUAL                              GAN C LLC                  160002284        162 15-11-326-005-0000   2-03 20COTD2175 CORTEZZ, LLC                                         07/13/2021 07/20/2021       AA
03268                 2016 ANNUAL                              GAN C LLC                  160005225        271 20-35-302-093-0000   2-10 20COTD2172 CORTEZZ, LLC                                         07/13/2021 07/20/2021       AA
03269                 2016 ANNUAL                              GAN C LLC                  160007720        433 20-28-210-002-0000   2-05 20COTD2180 CORTEZZ, LLC                                         07/13/2021 07/20/2021       AA
03270                 2016 ANNUAL                              GAN C LLC                  160007835        435 20-29-219-006-0000   2-05 20COTD2449 CORTEZZ, LLC                                         07/13/2021 07/20/2021       AA
03273                 2016 ANNUAL                          RANDOLPH 18 LLC                160000392        017 32-25-414-007-0000   2-02 20COTD1877 R AND D'S PROPERTY MANAGEMENT & INVESTMENTS LLC      07/15/2021 07/20/2021       JRJ
03274                 2016 ANNUAL                           LIEN GROUP LLC                160007130        419 20-08-416-005-0000   2-03 20COTD1734 CLEARVUE CAPITAL CORPORATION                         07/15/2021 07/20/2021       JRJ
03276                 2015 ANNUAL                     5 HOLE ACQUISITIONS INC             150005393        271 20-35-311-002-0000   2-02 19COTD1011 HARI BUTZ LLC                                        07/15/2021 07/22/2021       JRJ
03277                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150007504        425 20-18-110-034-0000   2-02 19COTD3596 DIOSELINA HERNANDEZ & RAFAEL ARIAS                   07/19/2021 07/22/2021       JRJ
03278                 2016 ANNUAL                              GAN C LLC                  160002238        161 15-10-301-024-0000   2-03 19COTD3039 CORTEZZ LLC                                          07/19/2021 07/22/2021       RAA
03280                 2015 ANNUAL                      WHEELER FINANCIAL INC              150007809        433 20-28-316-026-0000   2-11 19COTD3320 HERFE RESTORATION CORP                               07/08/2021 07/23/2021       JRJ
03281                 2016 ANNUAL                 INTEGRITY INVESTMENT FUND LLC           160005078        267 20-27-301-013-0000   2-03 20COTD3552 MARGQUETTE BANK AS TRUSTEE U/T/A #30686 06/07/2021   07/02/2021 07/23/2021       JRJ
03282                 2016 ANNUAL                       CORONA INVESTMENTS                160000687        028 28-12-213-034-0000   2-02 20COTD4216 ARTHINGTON PROPERTIES LLC                            07/13/2021 07/23/2021       AA
03284                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150002648        180 31-26-416-005-0000   2-04 19COTD2043 BANDC PROPERTIES LLC                                 07/20/2021 07/26/2021       RAA
03285                 2016 ANNUAL                   MIDWESTERN INVESTORS LLC              160007042        417 20-07-405-014-0000   2-11 20COTD1686 SEEM GROUP LLC                                       07/20/2021 07/26/2021       RAA
03286                 2016 ANNUAL                              GAN C LLC                  160004698        258 20-22-219-001-0000   2-11 20COTD2921 CORTEZZ,LLC                                          06/29/2021 07/28/2021       AA
03287                 2016 ANNUAL                              GAN C LLC                  160007039        417 20-07-401-036-0000   2-11 20COTD3030 CORTEZZ,LLC                                          06/29/2021 07/28/2021       AA
03288                 2016 ANNUAL                         WHEELER FINANCIAL               160003767        220 30-06-303-011-0000   2-04 20COTD4576 TURN KEY CAPITAL INVESTMENTS LLC                     07/27/2021 07/29/2021       RAA
03289                 2016 ANNUAL                     MTAG CUST MGD - ILL LLC             160002302        163 15-12-434-044-1073   2-99 20COTD4883 EQUITY TRUST COMPANY CUSTODIAN FBO200438985          06/28/2021 07/29/2021       RAA
03290                 2016 ANNUAL                              GAN C LLC                  160007922        437 20-30-210-014-0000   2-03 20COTD2924 CORTEZZ LLC                                          06/29/2021 07/29/2021       JRJ
03291                 2016 ANNUAL                              GAN C LLC                  160008835        469 25-28-116-036-0000   2-04 20COTD2447 CORTEZZ LLC                                          07/08/2021 07/30/2021       JRJ
03292                 2016 ANNUAL                        FNA DZ LLC FBO WSFS              160004430        251 20-03-120-022-0000   2-11 20COTD2262 FIRST NATIONAL ACQUISITIONS LLC                      06/24/2021 08/02/2021       AA
03293                 2015 ANNUAL                     FAIR DEAL OF ILLINOIS INC           150009261        503 10-36-215-032-0000   2-02 19COTD4147 EQUITY TR. CO., CUST. FBO BRIAN PASSMORE 200435091   06/25/2021 08/02/2021       AA
03294                 2016 ANNUAL                        FNA DZ LLC FBO WSFS              160010725        572 16-24-222-008-0000   2-11 19COTD4814 FIRST NATIONAL ACQUISITIONS LLC                      07/19/2021 08/02/2021       JRJ
03295                 2016 ANNUAL                      WHEELER FINANCIAL INC              160008893        470 25-28-437-014-0000   2-03 20COTD3743 WHEELER FINANCIAL INC                                07/27/2021 08/02/2021       JRJ
03296                 2016 ANNUAL                      WHEELER FINANCIAL INC              160009804        533 14-31-318-014-1143   2-99 20COTD3783 WHEELER FINANCIAL INC                                07/27/2021 08/02/2021       JRJ
03297                 2016 ANNUAL                         WHEELER FINANCIAL               160002217        160 15-10-126-041-0000   2-05 20COTD4399 WHEELER FINANCIAL INC                                07/20/2021 08/03/2021       AA
03298                 2016 ANNUAL                         WHEELER FINANCIAL               160005415        275 21-31-121-018-0000   2-03 20COTD4550 WHEELER FINANCIAL INC                                07/19/2021 08/03/2021       AA
03301                 2016 ANNUAL                     5 HOLE ACQUISITIONS INC             160002119        152 23-26-400-004-0000   2-03 20COTD2540 KAY PUTNAM PROPERTY LP                               07/27/2021 08/04/2021       JRJ
03302                 2016 ANNUAL                      WHEELER FINANCIAL INC              160000934        036 25-29-314-049-0000   2-03 20COTD4384 WHEELER FINANCIAL INC                                06/25/2021 08/04/2021       JRJ
03303                 2016 ANNUAL                 INTEGRITY INVESTMENT FUND LLC           160005767        287 25-12-203-027-0000   2-03 20COTD3571 MARGQUETTE BANK AS TRUSTEE U/T/A #30686 06/07/2021   07/30/2021 08/04/2021       JRJ
03304                 2016 ANNUAL                 INTEGRITY INVESTMENT FUND LLC           160002563        179 31-24-315-019-0000   2-34 20COTD3568 INTEGRITY INVESTMENT REO HOLDINGS LLC                08/03/2021 08/04/2021       JRJ
03305                 2016 ANNUAL                      WHEELER FINANCIAL INC              160001462        068 12-27-217-026-0000   2-41 20COTD2363 WHEELER FINANCIAL INC                                07/29/2021 08/04/2021       JRJ
03306                 2016 ANNUAL                      WHEELER FINANCIAL INC              160008109        442 20-33-226-021-0000   2-03 20COTD3709 WHEELER FINANCIAL INC                                08/02/2021 08/04/2021       JRJ
03308                 2016 ANNUAL                          TITAN CAPITAL LLC              160010581        567 16-22-216-023-0000   2-11 20COTD2864 BNS PROPERTIES LLC                                   08/02/2021 08/04/2021       AA
03312                 2016 ANNUAL                         WHEELER FINANCIAL               160001214        049 08-15-300-017-1185   2-99 20COTD4394 WHEELER FINANCIAL INC                                07/20/2021 08/05/2021       AA
03314                 2016 ANNUAL                      NEWLINE HOLDINGS LLC               160003527        211 29-18-422-031-0000   2-03 20COTD1234 CHICAGO ASSETS, LLC                                  08/05/2021 08/06/2021       AA
03316                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150000321        032 28-23-117-001-0000   2-03 19COTD1954 V3 REALTY LLC                                        07/28/2021 08/09/2021       RAA
03317                 2015 ANNUAL                    CLARK AND RANDOLPH LLC               150008750        469 25-28-210-018-0000   2-03 19COTD4398 IRA REAL ESTATE GROUP LLC                            07/08/2021 08/09/2021       RAA
03318                 2016 ANNUAL                         NEWLINE HOLDINGS                160006888        406 19-27-401-038-1140   2-99 20COTD2768 RAYMOND ROGOZ                                        07/28/2021 08/09/2021       RAA
03319                 2016 ANNUAL                       RDIA INVESTMENTS LLC              160007367        424 20-17-416-006-0000   2-11 20COTD2582 RIZ HOLDINGS LLC                                     07/27/2021 08/09/2021       RAA
03321                 2014 ANNUAL                         WHEELER FINANCIAL               140012497        467 25-21-210-005-0000   2-03 18COTD7027 CLEARVUE CAPITAL CORPORATION                         07/29/2021 08/09/2021       RAA
03322                 2016 ANNUAL                              GAN C LLC                  160003762        220 30-06-300-031-0000   2-02 20COTD2844 CORTEZZ LLC                                          06/29/2021 08/09/2021       AA
03323                 2015 ANNUAL                      SABRE INVESTMENTS LLC              150010431        560 16-14-325-019-0000   2-11 19COTD2466 UNION HILL HOLDINGS LLC                              07/26/2021 08/11/2021       JRJ
03324                 2015 ANNUAL                   MADISON C/O STONEFIELD IV             150008797        471 25-29-216-065-0000   2-11 19COTD3509 FNP INVESTMENTS LLC                                  07/29/2021 08/11/2021       JRJ
03325                 2016 ANNUAL                          RANDOLPH 18 LLC                160005323        274 21-30-111-041-1005   2-99 20COTD2997 REGINALD JOHNSON                                     08/06/2021 08/11/2021       JRJ
03326                 2016 ANNUAL                        FNA DZ LLC FBO WSFS              160005825        288 25-14-102-006-0000   2-11 20COTD2234 GH & D DEVELOPMENT INC                               08/06/2021 08/11/2021       JRJ
03327                 2016 ANNUAL                        FNA DZ LLC FBO WSFS              160008740        467 25-21-216-016-0000   2-03 20COTD2192 MC & COMPANY LLC                                     08/06/2021 08/11/2021       JRJ
03328                 2016 ANNUAL                     5 HOLE ACQUISITIONS INC             160008674        466 25-20-404-110-0000   2-95 20COTD4770 ED INVESTMENTS & CONSTRUCTION, INC.                  08/06/2021 08/11/2021       AA
03329                 2016 ANNUAL                        FNA DZ LLC FBO WSFS              160008609        464 25-19-401-050-0000   2-03 20COTD2190 GH&D DEVELOPMENT, INC.                               08/09/2021 08/12/2021       AA
03330                 2016 ANNUAL                          RANDOLPH 18 LLC                160007906        436 20-30-116-021-0000   2-11 20COTD2653 ERIC'S RESTORATION INC.                              08/05/2021 08/12/2021       AA




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        Deed Number   Sale Yr Sale Type              Buyer Name            Cert Number   Vol         PIN          Class Case Number Deed Name                                   Date Issued Date Processed Initials
03331                 2016 ANNUAL               WHEELER FINANCIAL       160004668        258 20-22-107-045-0000   2-41 20COTD2707 WHEELER FINANCIAL, INC.                      08/10/2021 08/12/2021       AA
03332                 2016 ANNUAL         INTEGRITYF INVESTMENT FND     160005764        286 25-12-103-049-0000   2-10 20COTD3549 INTEGRITY INVESTMENT REO HOLDINGS,LLC        07/07/2021 08/12/2021       AA
03334                 2016 ANNUAL            NEWLINE HOLDINGS LLC       160002994        195 29-04-214-030-0000   2-02 20COTD1284 RED PINE PROPERTIES LLC                      08/10/2021 08/13/2021       AA
03337                 2016 ANNUAL                RANDOLPH 18 LLC        160000104        009 32-03-407-011-0000   2-02 20COTD2957 SEEM GROUP LLC                               08/10/2021 08/13/2021       JRJ
03338                 2016 ANNUAL         PINE VALLEY ONE REAL ESTATE   160005606        282 25-02-400-036-0000   2-02 20COTD4741 CYNTHIA STAINE                               08/10/2021 08/13/2021       JRJ
03340                 2016 ANNUAL                RANDOLPH 18 LLC        160004820        261 20-23-413-006-0000   2-11 20COTD2857 JOHN WILLIAMS                                07/07/2021 08/17/2021       RAA
03341                 2016 ANNUAL                 LIEN GROUP LLC        160007832        435 20-29-214-053-0000   2-02 20COTD1744 MBK LEGACY LLC                               07/20/2021 08/17/2021       RAA
03342                 2016 ANNUAL               WHEELER FINANCIAL       160000604        023 28-02-102-001-0000   2-03 20COTD4368 DAVID LEACH JR                               08/06/2021 08/17/2021       RAA
03344                 2015 ANNUAL            CLARK & RANDOLPH LLC       150008484        459 25-16-427-028-0000   2-02 19COTD1798 SEEM GROUP LLC                               08/12/2021 08/17/2021       RAA
03345                 2015 ANNUAL         MADISON C/O STONEFIELD IV     150008098        442 20-33-219-010-0000   2-02 19COTD3507 WENTWORTH TRUST #8126 DATED MARCH 16, 2021   08/09/2021 08/17/2021       RAA
03346                 2015 ANNUAL         MADISON C/O STONEFIELD IV     150010033        547 16-05-406-005-0000   2-12 19COTD3515 FLORIAN JIMENEZ                              08/09/2021 08/17/2021       RAA
03366                 2016 ANNUAL              FNA DZ LLC FBO WSFS      160000432        019 32-29-420-037-0000   2-02 20COTD1850 MARIA LEAHU                                  08/16/2021 08/19/2021       RAA
03367                 2016 ANNUAL              FNA DZ LLC FBO WSFS      160002320        164 15-14-127-001-0000   2-05 20COTD1864 GH & D DEVEOLPMENT INC                       08/16/2021 08/19/2021       RAA
03368                 2016 ANNUAL              FNA DZ LLC FBO WSFS      160003579        212 29-19-422-081-0000   2-02 20COTD1938 FAMILY DK LLC                                08/16/2021 08/19/2021       RAA
03370                 2016 ANNUAL            NEWLINE HOLDINGS LLC       160003460        209 29-17-113-027-0000   2-02 20COTD1208 SITUS CULTIVATION LLC                        08/17/2021 08/19/2021       RAA
03371                 2016 ANNUAL              FNA DZ LLC FBO WSFS      160005458        276 21-31-232-039-0000   2-03 20COTD2000 MARIA LEAHU                                  08/18/2021 08/19/2021       RAA
03374                 2016 ANNUAL              FNA DZ LLC FBO WSFS      160005433        276 21-31-212-013-0000   2-11 20COTD1999 FAMILY DK, LLC                               08/12/2021 08/23/2021       AA
03375                 2016 ANNUAL            NEWLINE HOLDINGS LLC       160003100        197 29-06-427-008-0000   2-02 20COTD1287 KISHA E. MCCASKILL INC.                      08/17/2021 08/23/2021       AA
03378                 2016 ANNUAL           SUMMERSEAT CAPITAL LLC      160001720        095 09-29-211-066-0000   2-02 20COTD4028 PENN PACIFIC PROPERTIES LP                   08/19/2021 08/23/2021       JRJ
03379                 2016 ANNUAL           SUMMERSEAT CAPITAL LLC      160002526        179 31-17-215-049-0000   2-04 20COTD4842 PENN PACIFIC PROPERTIES LP                   08/19/2021 08/23/2021       JRJ
03380                 2016 ANNUAL           SUMMERSEAT CAPITAL LLC      160006962        413 20-04-217-069-0000   2-95 20COTD4046 PENN PACIFIC PROPERTIES LP                   08/19/2021 08/23/2021       JRJ
03381                 2016 ANNUAL              FNA DZ LLC FBO WSFS      160003102        197 29-07-129-061-0000   2-02 20COTD1868 GHEORGHE MARCEL BIDIREL                      08/20/2021 08/23/2021       RAA
03382                 2016 ANNUAL                RANDOLPH 18 LLC        160005960        294 26-05-101-020-0000   2-02 20COTD3512 RIZ HOLDINGS LLC                             08/19/2021 08/23/2021       RAA
03383                 2016 ANNUAL            NEWLINE HOLDINGS LLC       160000249        014 32-20-212-012-0000   2-05 20COTD1144 MARCUS SMITH                                 08/11/2021 08/23/2021       RAA
03399                 2016 ANNUAL              FNA DZ LLC FBO WSFS      160008066        441 20-32-418-006-0000   2-02 20COTD2140 FAMILY DK, LLC                               08/20/2021 08/25/2021       AA
03400                 2016 ANNUAL              FNA DZ LLC FBO WSFS      160008076        442 20-33-102-042-0000   2-02 20COTD2143 FAMILY DK, LLC                               08/20/2021 08/25/2021       AA
03401                 2016 ANNUAL           CORONA INVESTMENTS LLC      160010105        551 16-10-322-013-0000   2-11 20COTD3930 HKK PROPERTIES LLC                           08/24/2021 08/25/2021       JRJ
03402                 2016 ANNUAL                 LIEN GROUP LLC        160000926        036 25-29-305-024-0000   2-02 21COTD0194 DAMIEN PARKER                                08/19/2021 08/25/2021       JRJ
03403                 2016 ANNUAL                RANDOLPH 18 LLC        160008814        468 25-21-421-038-0000   2-04 20COTD4204 SITUS CULTIVATION LLC                        08/24/2021 08/26/2021       JRJ
03404                 2016 ANNUAL           INTERCOASTAL EQUITY LLC     160001488        070 12-30-402-054-1001   2-99 20COTD2919 DARIUS BARANAUSKAS                           07/22/2021 08/31/2021       RAA
03405                 2016 ANNUAL             CORONA INVESTMENTS        160006524        373 13-35-236-035-1001   2-99 20COTD4218 JOHN GIAMBARBEREE                            08/12/2021 08/31/2021       AA
03406                 2014 ANNUAL         MADISON C/O STONEFIELD IV     140003956        179 31-23-401-029-0000   2-03 18COTD8647 RED PINE PROPERTIES LLC                      08/19/2021 08/31/2021       JRJ
03407                 2016 ANNUAL             RDIA INVESTMENTS LLC      160005840        289 25-15-201-026-0000   2-03 20COTD1788 RDIA INVESTMENTS LLC                         08/17/2021 08/31/2021       AA
03415                 2016 ANNUAL              ICIB INVESTMENT INC.     160008224        449 25-05-103-010-0000   2-03 20COTD4513 ED INVESTMENTS & CONSTRUCTION, INC.          08/20/2021 09/07/2021       AA
03416                 2016 ANNUAL               PINE VALLEY ONE RE      160008590        463 25-19-114-057-0000   2-11 20COTD4839 IDEAL DESIGN AND RENOVATION, LLC             09/02/2021 09/07/2021       AA
03417                 2016 ANNUAL         MIDWESTERN INVESTORS LLC      160000350        017 32-25-112-011-0000   2-34 20COTD1641 DANIEL SANCHEZ                               08/23/2021 09/07/2021       AA
03423                 2016 ANNUAL         MIDWESTERN INVESTORS LLC      160003945        226 30-20-412-054-0000   2-03 20COTD1664 JEDI HOLDINGS LLC                            09/01/2021 09/07/2021       RAA
03424                 2016 ANNUAL            NEWLINE HOLDINGS LLC       160008010        440 20-32-102-002-0000   2-34 20COTD1226 LOCKWOOD MANAGEMENT INC                      08/24/2021 09/07/2021       JRJ
03425                 2016 ANNUAL              FNA DZ LLC FBO WSFS      160008839        469 25-28-122-021-0000   2-03 20COTD2195 GH & D DEVELOPMENT INC                       08/31/2021 09/07/2021       JRJ
03426                 2016 ANNUAL         PINE VALLEY ONE REAL ESTATE   160008381        456 25-09-129-055-0000   2-34 20COTD4763 CATHEDRAL PROPERTIES INC                     08/27/2021 09/07/2021       JRJ
03427                 2016 ANNUAL            SABRE INVESTMENTS LLC      160010236        555 16-12-327-039-0000   2-10 20COTD5132 CORONA INVESTMENTS LLC                       08/27/2021 09/09/2021       RAA
03428                 2016 ANNUAL             CORONA INVESTMENTS        160001116        043 16-28-104-012-0000   2-11 20COTD4823 CORONA INVESTMENTS LLC                       08/03/2021 09/09/2021       AA
03443                 2015 ANNUAL          COMMUNITY INITIATIVES INC    150005546        275 21-30-407-015-0000   3-14 19COTD4810 COMMUNITY INITIATIVES INC                    03/24/2021 09/10/2021       RAA
03445                 2016 ANNUAL                MUNSON JOHN M          160008833        469 25-28-115-006-0000   2-11 20COTD5028 JEHM FINANCIAL LLC                           09/09/2021 09/13/2021       AA
03446                 2015 ANNUAL                    RDG LNS LLC        150008590        465 25-20-207-020-0000   2-11 19COTD4259 CHARTIECE WALKER                             09/09/2021 09/13/2021       AA
03447                 2016 ANNUAL                 LIEN GROUP, LLC       160005805        287 25-12-442-012-0000   2-02 20COTD1722 8423 GREEN LLC                               07/28/2021 09/13/2021       AA
03448                 2016 ANNUAL               WHEELER FINANCIAL       160005320        274 21-30-111-040-1003   2-99 20COTD4613 WHEELER FINANCIAL INC                        08/16/2021 09/14/2021       RAA
03449                 2016 ANNUAL               WHEELER FINANCIAL       160000927        036 25-29-306-016-0000   2-02 20COTD4383 WHEELER FINANCIAL INC                        08/30/2021 09/14/2021       RAA
03450                 2016 ANNUAL            NEWLINE HOLDINGS LLC       160003519        211 29-18-409-024-0000   2-07 20COTD1233 A LIST HOMES LLC                             08/30/2021 09/14/2021       JRJ
03451                 2016 ANNUAL                     GAN C LLC         160000264        014 32-20-313-025-0000   2-04 20COTD2838 CORTEZZ LLC                                  09/07/2021 09/14/2021       JRJ
03452                 2016 ANNUAL            WHEELER FINANCIAL INC      160000976        037 25-30-407-051-0000   2-02 20COTD4388 WHEELER FINANCIAL INC                        09/10/2021 09/14/2021       JRJ
03453                 2015 ANNUAL            WHEELER FINANCIAL INC      150010149        550 16-09-426-022-0000   2-02 19COTD1912 WHEELER FINANCIAL INC                        09/10/2021 09/14/2021       JRJ




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03458                 2016 ANNUAL                LIEN GROUP LLC        160003087        196 29-05-416-035-0000   2-02 20COTD1711 RIZ HOLDINGS, LLC                                    09/08/2021 09/14/2021       AA
03459                 2016 ANNUAL         MIDWESTERN INVESTORS LLC     160005553        280 25-01-419-008-0000   2-02 20COTD3141 LOCKWOOD MANAGEMENT, INC.                            09/03/2021 09/14/2021       AA
03460                 2016 ANNUAL             FNA DZ LLC FBO WSFS      160007400        425 20-18-209-017-0000   2-03 20COTD2066 F&S PROPERTIES LLC                                   08/30/2021 09/14/2021       AA
03461                 2016 ANNUAL             RDIA INVESTMENTS LL      160007476        427 20-19-205-016-0000   2-02 20COTD1941 RANGER INVESTMENTS, LLC                              09/02/2021 09/14/2021       AA
03467                 2016 ANNUAL         MIDWESTERN INVESTORS LLC     160008425        457 25-09-423-002-0000   2-03 20COTD1912 MAPLE LEAF HOUSES LLC                                07/13/2021 09/15/2021       RAA
03468                 2016 ANNUAL          5 HOLE ACQUISITIONS INC.    160000801        033 28-24-419-003-0000   2-02 20COTD3939 BROWNING BUILDERS INC.                               09/10/2021 09/15/2021       AA
03469                 2016 ANNUAL           NEWLINE HOLDINGS LLC       160002944        194 29-03-302-026-0000   2-03 20COTD1266 BROWNING BUILDERS INC.                               09/10/2021 09/15/2021       AA
03470                 2016 ANNUAL               RANDOLPH 18 LLC        160008454        458 25-16-205-044-0000   2-03 20COTD4076 RANGER INVESTMENTS, LLC                              09/10/2021 09/15/2021       AA
03471                 2016 ANNUAL          SSC6 LLC BANK UNITED/TR     160006676        388 19-13-103-024-0000   2-03 20COTD3084 RED PINE PROPERTIES, LLC                             09/07/2021 09/15/2021       AA
03473                 2016 ANNUAL               MUNSON JOHN M          160008790        468 25-21-401-025-0000   2-11 20COTD5026 JEHM FINANCIAL LLC                                   09/09/2021 09/16/2021       AA
03481                 2016 ANNUAL                  SMM-TAX INC         160003192        201 29-09-115-035-0000   2-34 20COTD1814 AMGUN INVESTMENTS LLC                                09/14/2021 09/16/2021       JRJ
03487                 2016 ANNUAL            RDIA INVESTMENTS LLC      160000781        032 28-24-103-033-0000   2-03 21COTD210    PROPERTY JEDI LLC                                  09/10/2021 09/17/2021       RAA
03492                 2015 ANNUAL           NEWLINE HOLDINGS LLC       150007097        406 19-27-401-038-1206   2-99 19COTD3009 PREREO, LLC                                          09/13/2021 09/21/2021       AA
03520                 2015 ANNUAL           WHEELER FINANCIAL INC      150003161        198 29-07-316-031-0000   2-03 19COTD2940 WHEELER FINANCIAL INC                                09/27/2021 09/30/2021       JRJ
03521                 2016 ANNUAL            RDIA INVESTMENTS LLC      160000950        036 25-29-404-059-0000   2-05 20COTD1770 THEE M.O.O.D. LLC                                    09/27/2021 09/30/2021       JRJ
03529                 2015 ANNUAL              WHEELER FINANCIAL       150001165        069 12-28-427-032-0000   2-95 19COTD2875 WHEELER FINANCIAL INC                                09/27/2021 10/04/2021       RAA
03530                 2016 ANNUAL         MIDWESTERN INVESTORS LLC     160003577        212 29-19-420-065-0000   2-03 20COTD4514 ETD TRUCKING INC                                     09/27/2021 10/04/2021       RAA
03531                 2016 ANNUAL                    GAN C LLC         160000261        014 32-20-307-021-0000   2-06 20COTD2627 CORTEZZ LLC                                          09/27/2021 10/04/2021       RAA
03533                 2016 ANNUAL          5 HOLE ACQUISITIONS INC     160003533        224 30-17-118-015-0000   2-03 20COTD3944 BW DEVELOPMENT LLC                                   09/29/2021 10/05/2021       RAA
03534                 2016 ANNUAL          5 HOLE ACQUISITIONS INC     160002254        162 15-10-433-003-0000   2-05 20COTD4760 RANGER INVESTMENTS LLC                               09/30/2021 10/05/2021       RAA
03535                 2016 ANNUAL               RANDOLPH 18 LLC        160004684        258 20-22-206-034-0000   2-11 20COTD5357 T.I.S.H. MANGEMENT GROUP INC.                        09/29/2021 10/05/2021       RAA
03536                 2016 ANNUAL               TITAN CAPITAL LLC      160005482        277 21-31-330-035-0000   2-11 20COTD2028 AXERT LLC 2468 SERIES                                09/28/2021 10/05/2021       RAA
03537                 2016 ANNUAL            ICIB INVESTMENTS INC      160000267        014 32-20-320-028-0000   2-02 20COTD4479 P & R RENOVATIONS LLC                                09/30/2021 10/05/2021       RAA
03538                 2016 ANNUAL            ICIB INVESTMENTS INC      160005895        291 25-22-300-014-0000   2-03 20COTD4491 DONAVAN ESKRIDGE                                     09/30/2021 10/05/2021       RAA
03539                 2016 ANNUAL               RANDOLPH 18 LLC        160007411        425 20-18-222-015-0000   2-11 20COTD3060 ED INVESTMENTS & CONSTRUCTION INC                    10/01/2021 10/05/2021       RAA
03540                 2016 ANNUAL              WHEELER FINANCIAL       160000550        022 33-07-320-027-0000   2-34 20COTD4367 WHEELER FINANCIAL, INC                               09/29/2021 10/05/2021       AA
03541                 2016 ANNUAL               MUNSON JOHN M          160008700        467 25-21-122-028-0000   2-04 20COTD4930 JEHM FINANCIAL LLC                                   09/29/2021 10/05/2021       AA
03542                 2016 ANNUAL           NEWLINE HOLDINGS LLC       160003463        209 29-17-211-015-0000   3-18 20COTD1225 SITUS CULTIVATION, LLC                               09/27/2021 10/05/2021       AA
03543                 2016 ANNUAL           BELMONT REALTY CORP        160000582        022 33-31-107-023-0000   2-02 20COTD1831 C RELLA PROPERTIES LLC                               09/29/2021 10/07/2021       JRJ
03551                 2016 ANNUAL            ICIB INVESTMENTS INC.     160005853        289 25-15-303-002-0000   2-11 20COTD4490 ITANZO MOSS                                          09/24/2021 10/12/2021       AA
03497                 2016 ANNUAL              ATCF II TAX LIEN, LLC   160006249        332 13-12-205-054-1001   2-99 20COTD4861 AMERICAN TAX LIEN, LLC                               09/15/2021 09/22/2021       AA
03498                 2016 ANNUAL              WHEELEE FINANCIAL       160007827        435 20-29-212-045-0000   2-02 20COTD3703 WHEELER FINANCIAL, INC                               09/15/2021 09/22/2021       AA
03500                 2016 ANNUAL           WHEELER FINANCIAL INC      160009099        485 14-21-106-046-1079   2-99 20COTD3748 WHEELER FINANCIAL INC                                09/15/2021 09/27/2021       JRJ
03501                 2016 ANNUAL           WHEELER FINANCIAL INC      160005010        265 20-26-322-024-0000   2-41 20COTD2718 WHEELER FINANCIAL INC                                09/21/2021 09/27/2021       JRJ
03502                 2015 ANNUAL                PINE VALLEY ONE       150003946        224 30-17-212-033-0000   2-03 19COTD3814 ADR DEVELOPERS LLC                                   09/22/2021 09/27/2021       RAA
03503                 2016 ANNUAL            CORONA INVESTMENTS        160004940        264 20-26-102-006-0000   2-11 20COTD3924 M & O PARTNER HOLDINGS LLC                           09/20/2021 09/27/2021       RAA
03504                 2016 ANNAUL              WHEELER FINANCIAL       160003956        227 30-29-206-028-0000   2-03 20COTD4621 WHEELER FINANCIAL, INC.                              09/22/2021 09/28/2021       AA
03507                 2016 ANNAUL            CORONA INVESTMENTS        160005310        274 21-30-104-042-1006   2-99 20COTD5061 JAMES SPIGUTZ                                        09/10/2021 09/28/2021       AA
03493                 2016 ANNUAL               JOHN M MUNSON          160007296        423 20-17-218-039-0000   2-11 20COTD5003 JEHM FINANCIAL LLC                                   09/21/2021 09/22/2021       JRJ
03496                 2016 ANNUAL              WHEELEE FINANCIAL       160002557        179 31-23-308-014-0000   2-02 20COTD4293 WHEELER FINANCIAL, INC                               09/10/2021 09/22/2021       AA
03557                 2015 ANNUAL           NEWLINE HOLDINGS LLC       150011018        212 29-20-110-054-0000   2-03 19COTD3693 RIZ HOLDINGS,LLC                                     09/07/2021 10/13/2021       AA
03558                 2016 ANNUAL            CORONA INVESTMENTS        160007874        436 20-29-418-011-0000   2-03 20COTD3928 R AND D PROPERTY MANAGEMENT & INVESTMENTS,LLC        09/30/2021 10/13/2021       AA
03560                 2016 ANNUAL               RANDOLPH 18 LLC        160003263        202 29-10-233-035-0000   2-01 20COTD5016 PVONE PROPERTIES, LLC                                09/29/2021 10/13/2021       AA
03561                 2016 ANNUAL              WHEELER FINANCIAL       160009781        531 13-36-401-032-1048   2-99 20COTD3768 WHEELER FINANCIAL, INC                               09/29/2021 10/13/2021       AA
03562                 2016 ANNUAL              WHEELER FINANCIAL       160010037        549 16-09-123-011-0000   2-05 20COTD3770 WHEELER FINANCIAL, INC                               09/29/2021 10/13/2021       AA
03564                 2016 ANNUAL         MIDWESTERN INVESTORS LLC     160003681        217 29-30-128-025-0000   2-05 20COTD1889 BROWNING BUILDERS INC                                10/04/2021 10/14/2021       JRJ
03565                 2016 ANNUAL                   RDG LNS LLC        160006411        363 13-30-310-002-0000   2-03 20COTD5148 SEMPER FIDELIS LLC                                   10/06/2021 10/14/2021       JRJ
03570                 2016 ANNUAL               RANDOLPH 18 LLC        160008841        469 25-28-125-011-0000   2-02 20COTD4880 RIZ HOLDINGS, LLC                                    10/07/2021 10/15/2021       AA
03572                 2016 ANNUAL               RANDOLPH 18 LLC        160007658        430 20-20-427-028-0000   2-11 20COTD5011 DHJS, LLC-7036                                       10/05/2021 10/15/2021       AA
03574                 2016 ANNUAL               TITAN CAPITAL LLC      160008342        454 25-08-228-017-0000   2-02 20COTD2817 AMP BETTER CONSTRUCTION INC.                         10/15/2021 10/18/2021       AA
03575                 2016 ANNUAL           SABRE INVESTMENTS LLC      160008968        473 14-05-411-012-1084   2-99 20COTD3494 CHGO TTL LND TR CO U/T/A 04-19-2021 TR #8002385891   10/05/2021 10/19/2021       JRJ
03576                 2016 ANNUAL               TITAN CAPITAL LLC      160005785        287 25-12-228-043-0000   2-10 20COTD2491 DELEON PROPERTIES LLC - 9676 S LUELLA                10/14/2021 10/19/2021       JRJ




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        Deed Number   Sale Yr Sale Type                       Buyer Name                     Cert Number   Vol         PIN          Class Case Number Deed Name                                         Date Issued Date Processed Initials
03577                 2016 ANNUAL                          RANDOLPH 18 LLC                160008875        470 25-28-317-006-0000   2-02 20COTD4205 RIZ HOLDINGS LLC                                   09/29/2021 10/19/2021       JRJ
03578                 2016 ANNUAL                      NEWLINE HOLDINGS LLC               160002648        180 31-35-208-003-0000   2-02 20COTD1278 THE CUTIE BAR LLC                                  09/27/2021 10/19/2021       JRJ
03579                 2016 ANNUAL                        FNA DZ LLC FBO WSFS              160003288        203 29-11-115-020-0000   2-02 20COTD1932 GHEORGHE MARCEL BIDIREL                            10/12/2021 10/19/2021       JRJ
03580                 2016 ANNUAL                          RANDOLPH 18 LLC                160005791        287 25-12-411-077-0000   2-95 20COTD2906 DELEON PROPERTIES LLC                              10/14/2021 10/19/2021       JRJ
03581                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150002261        167 15-16-215-024-0000   2-03 19COTD2110 V3 REALTY LLC                                      10/12/2021 10/19/2021       JRJ
03582                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150005060        261 20-24-418-018-1009   2-99 19COTD3002 ANYWEAR                                            10/12/2021 10/19/2021       JRJ
03583                 2016 ANNUAL                      MTAG CUST MGD-ILL LLC              160002654        180 31-35-210-011-0000   2-07 20COTD4887 JEDI HOLDINGS LLC                                  10/13/2021 10/20/2021       JRJ
03584                 2016 ANNUAL                        ICIB INVESTMENT INC              160007329        424 20-17-312-009-0000   2-11 20COTD4498 ERNEST LIVING LLC                                  10/14/2021 10/20/2021       JRJ
03585                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150011198        015 32-21-321-039-0000   2-03 19COTD2511 ERICS RESTORATION INC                              10/01/2021 10/20/2021       RAA
03586                 2016 ANNUAL                          RANDOLPH 18 LLC                160003331        204 29-12-106-059-0000   2-34 20COTD2093 EQUITY TRUST COMPANY CUSTODIAN FBO 200224157 IRA   10/08//2021 10/20/2021      RAA
03587                 2016 ANNUAL                          RANDOLPH 18 LLC                160007136        419 20-08-419-021-0000   2-11 20COTD5009 ALA ENTERPRISES COMPANY                            10/04/2021 10/20/2021       RAA
03590                 2016 ANNUAL                   MIDWESTERN INVESTORS LLC              160002624        180 31-33-409-026-0000   2-34 20COTD1888 223 PROPERTIUES INC                                10/14/2021 10/20/2021       RAA
03592                 2016 ANNUAL                       CORONA INVESTMENTS                160008512        459 25-16-410-016-0000   2-11 21COTD41     ASMM1 PROPERTIES LLC                             10/14/2021 10/20/2021       RAA
03593                 2015 ANNUAL                         WHEELER FINANCIAL               150003219        200 29-08-310-042-0000   2-02 19COTD2947 WHEELER FINANCIAL INC                              09/24/2021 10/20/2021       RAA
03594                 2016 ANNUAL                      MTAG CUST MGD-ILL LLC              160002600        180 31-26-410-027-0000   2-03 20COTD4936 JEDI HOLDINGS LLC                                  10/13/2021 10/20/2021       RAA
03597                 2016 ANNUAL                             BT LIENS LLC                160007475        427 20-19-204-008-0000   2-11 20COTD4120 COMMITTED CHRISTIAN HOUSING, LLC                   10/12/2021 10/20/2021       AA
03598                 2016 ANNUAL                         WHEELER FINANCIAL               160008822        468 25-21-425-034-0000   2-05 20COTD3740 WHEELER FINANCIAL, INC                             10/14/2021 10/20/2021       AA
03599                 2016 ANNUAL                             BT LIENS LLC                160007733        433 20-28-226-022-0000   2-11 20COTD4135 DHJS LLC - 7414                                    10/18/2021 10/21/2021       JRJ
03600                 2016 ANNUAL                      WHEELER FINANCIAL INC              160008812        468 25-21-419-023-0000   2-03 20COTD3738 WHEELER FINANCIAL INC                              10/13/2021 10/21/2021       JRJ
03601                 2015 ANNUAL                      WHEELER FINANCIAL INC              150009938        540 16-02-425-015-0000   2-02 19COTD3763 WHEELER FINANCIAL INC                              10/12/2021 10/21/2021       JRJ
03602                 2016 ANNUAL                      MTAG CUST MGD-ILL LLC              160005989        296 26-06-202-008-0000   2-11 20COTD4982 RIZ HOLDINGS LLC                                   10/18/2021 10/22/2021       JRJ
03603                 2016 ANNUAL                     INTERSTATE FUNDING LLC              160000099        009 32-03-302-024-0000   2-03 20COTD3878 GALAXY SITES LLC                                   09/21/2021 10/22/2021       JRJ
03604                 2016 ANNUAL                     INTERSTATE FUNDING LLC              160001358        061 06-35-400-117-1188   2-99 20COTD3882 GALAXY SITES LLC                                   09/21/2021 10/22/2021       JRJ
03605                 2016 ANNUAL                     INTERSTATE FUNDING LLC              160004105        235 03-36-102-014-0000   2-34 20COTD3884 GALAXY SITES LLC                                   09/21/2021 10/22/2021       JRJ
03606                 2016 ANNUAL                     INTERSTATE FUNDING LLC              160010585        567 16-22-222-007-0000   2-11 20COTD4187 GALAXY SITES LLC                                   09/20/2021 10/22/2021       JRJ
03607                 2016 ANNUAL                             BT LIENS LLC                160007370        424 20-17-419-027-0000   2-03 20COTD4100 PARIS CORTEZ                                       10/15/2021 10/25/2021       AA
03608                 2016 ANNUAL                        RDIA INVESTMENTS LL              160005251        272 20-36-103-039-0000   2-12 20COTD3122 VG CONSTRUCTION AND REMODELING LLC                 10/18/2021 10/25/2021       AA
03609                 2016 ANNUAL                            SMM-TAX INC.                 160007674        432 20-21-303-021-0000   2-11 21COTD189    R BARNETT INVESTMENTS, LLC                       10/18/2021 10/25/2021       AA
03610                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150010187        551 16-10-416-012-0000   2-03 19COTD3636 RED PINE PROPERTIES, LLC                           10/12/2021 10/25/2021       AA
03611                 2016 ANNUAL                          RANDOLPH 18 LLC                160007225        422 20-16-313-039-1004   2-99 20COTD3057 RED PINE PROPERTIES, LLC                           10/18/2021 10/26/2021       AA
03612                 2015 ANNUAL                     EQUITY ONE INVFUND LLC              150006099        294 26-05-112-043-1024   2-99 19COTD1589 TITAN CAPITAL, LLC                                 10/12/2021 10/26/2021       AA
03613                 2014 ANNUAL                   MADISONC/O STONEFIELD IV              140000870        027 28-11-310-013-0000   2-02 19COTD40     614 HOCKEY, LLC                                  10/18/2021 10/26/2021       AA
03614                 2014 ANNUAL                           SCRIBE FUNDING                140001003        031 28-19-411-004-0000   2-03 18COTD8328 SUBS3 LLC                                          10/19/2021 10/26/2021       AA
03615                 2016 ANNUAL                    SUMMERSEAT CAPITAL LLC               160005363        274 21-30-320-018-0000   2-11 20COTD4040 PENN PACIFIC PROPERTIES LP                         10/18/2021 10/26/2021       AA
03616                 2016 ANNUAL                          RANDOLPH 18 LLC                160000396        017 32-25-417-026-0000   2-02 20COTD2967 MARTEZ MALONE                                      10/14/2021 10/27/2021       RAA
03619                 2016 ANNUAL                   MIDWESTERN INVESTORS LLC              160002455        178 31-03-104-009-0000   2-03 20COTD3134 KILEY KING                                         10/12/2021 10/27/2021       RAA
03620                 2015 ANNUAL                      CLARK & RANDOLPH LLC               150011019        223 30-08-321-055-0000   2-03 19COTD3970 BROWNING BUILDERS INC                              10/12/2021 10/27/2021       RAA
03621                 2015 ANNUAL                    INTERCOASTAL EQUITY LLC              150005845        285 25-10-409-023-0000   2-05 19COTD2391 RIZ HOLDINGS LLC                                   10/12/2021 10/27/2021       RAA
03622                 2015 ANNUAL                     5 HOLE ACQUISITIONS INC             150006017        291 25-22-308-026-0000   2-11 19COTD1023 BROWNING BUILDERS INC                              10/12/2021 10/27/2021       RAA
03623                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150007467        424 20-17-319-034-0000   2-05 19COTD3469 AIRWA PROPERTIES LLC                               10/08/2021 10/27/2021       RAA
03624                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150007839        434 20-29-116-014-0000   2-02 19COTD3604 A 2ND CHANCE HOMES COMPANY                         10/18/2021 10/27/2021       RAA
03625                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150007867        435 20-29-214-030-0000   2-03 19COTD3697 T.I.S.H. MANAGEMENT GROUP INC                      10/18/2021 10/27/2021       RAA
03626                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150008578        465 25-20-123-030-0000   2-11 19COTD2690 LION EYE INVESTMENTS LLC                           10/12/20211 10/27/2021      RAA
03629                 2016 ANNUAL                      WHEELER FINANCIAL INC              160007670        431 20-21-208-003-0000   2-05 20COTD3693 AIRWA PROPERTIES LLC                               10/20/2021 10/27/2021       JRJ
03630                 2016 ANNUAL                          RANDOLPH 18 LLC                160011017        470 25-28-413-099-0000   2-02 20COTD2677 RIZ HOLDINGS LLC                                   10/12/2021 10/27/2021       JRJ
03631                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150004016        226 30-20-111-052-0000   2-05 19COTD2354 PROPERTY JEDI LLC                                  10/21/2021 10/27/2021       JRJ
03633                 2016 ANNUAL                             BT LIENS LLC                160000899        035 28-34-402-022-1110   2-99 20COTD4089 SREE PACHAMMA PROPERTIES LLC                       10/22/2021 10/27/2021       JRJ
03634                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150007820        434 20-28-405-030-0000   2-03 19COTD3581 RED PINE PROPERTIES LLC                            10/22/2021 10/27/2021       JRJ
03636                 2016 ANNUAL                        ICIB INVESTMENT INC              160000794        032 28-24-210-046-0000   2-03 20COTD3799 V3 REALTY LLC                                      10/22/2021 10/28/2021       RAA
03637                 2016 ANNUAL                      NEWLINE HOLDINGS LLC               160003586        212 29-20-118-038-0000   2-34 20COTD1238 V3 REALTY LLC                                      10/22/2021 10/28/2021       RAA
03638                 2014 ANNUAL                      EMPATHY FINANCIAL LLC              140009427        364 13-31-107-012-0000   2-03 18COTD4708 JDS ASSET SERVICES LLC                             10/20/2021 10/28/2021       RAA
03639                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150010253        554 16-11-405-022-0000   2-11 19COTD4233 RTI GROUP DAMEN LLC                                10/21/2021 10/28/2021       RAA




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        Deed Number   Sale Yr Sale Type            Buyer Name            Cert Number   Vol         PIN          Class Case Number Deed Name                                         Date Issued Date Processed Initials
03640                 2016 ANNUAL            CORONA INVESTMENTS       160011012        391 19-14-307-045-0000   2-90 20COTD5334 ENRIQUE TORRES                                     10/21/2021 10/28/2021       RAA
03641                 2016 ANNUAL               RANDOLPH 18 LLC       160007796        434 20-29-123-025-0000   2-02 20COTD2648 RANDOLPH 18 LLC                                    10/13/2021 10/28/2021       RAA
03642                 2016 ANNUAL               RANDOLPH 18 LLC       160008080        442 20-33-108-043-0000   2-95 20COTD5362 BECKMANN RENOVATIONS INVT LLC                      10/12/2021 10/28/2021       RAA
03643                 2016 ANNUAL         MIDWESTERN INVESTORS LLC    160010561        567 16-22-204-021-0000   2-02 20COTD1927 MYRA JUCA                                          10/20/2021 10/28/2021       RAA
03644                 2016 ANNUAL         CHRISTIANA TRUST AS CUST    160010923        593 17-18-105-029-1005   2-99 20COTD3452 117 S WESTERN LLC                                  10/19/2021 10/28/2021       RAA
03645                 2016 ANNUAL               RANDOLPH 18 LLC       160000300        015 32-21-319-034-0000   2-11 20COTD1874 JESSICA ELIZONDO                                   10/25/2021 10/28/2021       RAA
03646                 2016 ANNUAL                LIEN GROUP LLC       160007252        423 20-17-110-015-0000   2-11 20COTD3117 PILAL M.M. LLC                                     10/25/2021 10/28/2021       RAA
03647                 2016 ANNUAL              WHEELER FINANCIAL      160008788        468 25-21-400-050-0000   2-03 20COTD3735 RIZ HOLDINGS LLC                                   10/26/2021 10/28/2021       RAA
03648                 2016 ANNUAL           MTAG CUST MGD-ILL LLC     160004067        233 03-24-200-120-0000   2-11 20COTD4937 LONGSTREET CAPITAL FUNDING LLC                     10/26/2021 10/29/2021       AA
03649                 2015 ANNUAL           NEWLINE HOLDINGS LLC      150006054        293 25-27-129-034-0000   2-12 19COTD2701 CHGO. TITLE LAND TR. CO. AS TR. U/T/N 8002373310   10/26/2021 10/29/2021       AA
3650                  2016 ANNUAL          SUMMERSEAT CAPITAL LLC     160008631        465 25-20-119-048-0000   2-02 20COTD4054 PENN PACIFIC PROPERTIES LP                         10/19/2021 10/29/2021       AA
03652                 2016 ANNUAL           MTAG CUST MGD-ILL LLC     160002653        180 31-35-209-022-0000   2-03 20COTD4886 JEDI HOLDINGS LLC                                  10/13/2021 10/29/2021       AA
03653                 2016 ANNUAL           NEWLINE HOLDINGS LLC      160002628        180 31-35-100-047-1049   2-99 20COTD2754 BPY ENTERPRISES LLC                                10/25/2021 10/29/2021       AA
03654                 2016 ANNUAL           NEWLINE HOLDINGS LLC      160003057        196 29-04-418-016-0000   2-02 20COTD1272 RED PINE PROPERTIES LLC                            10/26/2021 10/29/2021       AA
03656                 2015 ANNUAL          INTERCOASTAL EQUITY LLC    150006129        295 26-06-129-009-0000   2-99 19COTD2272 CELIA ELIZONDO                                     10/22/2021 11/02/2021       JRJ
03657                 2016 ANNUAL            RDIA INVESTMENTS LLC     160000632        025 28-03-215-065-0000   2-34 20COTD1763 DIAMOND DYNASTY LLC                                10/22/2021 11/02/2021       JRJ
03658                 2016 ANNUAL               TITAN CAPITAL LLC     160003645        215 29-25-405-021-1009   2-99 20COTD2016 R & D'S PROPERTY MANAGEMENT & INVESTMENTS LLC      10/22/2021 11/02/2021       JRJ
03659                 2016 ANNUAL           WHEELER FINANCIAL INC     160008518        459 25-16-420-005-0000   2-02 20COTD3722 WHEELER FINANCIAL INC                              10/13/2021 11/02/2021       JRJ
03660                 2016 ANNUAL          SUMMERSEAT CAPITAL LLC     160004110        236 24-01-108-042-0000   2-03 20COTD4036 PENN PACIFIC PROPERTIES LP                         10/18/2021 11/02/2021       JRJ
03661                 2015 ANNUAL           CLARK & RANDOLPH LLC      150011191        015 32-21-301-030-0000   2-03 19COTD2509 ERIC'S RESTORATION INC                             10/21/2021 11/02/2021       JRJ
03662                 2015 ANNUAL           NEWLINE HOLDINGS LLC      150006191        298 26-08-114-031-0000   2-11 19COTD2692 RED PINE PROPERTIES LLC                            10/25/2021 11/02/2021       JRJ
03663                 2016 ANNUAL         CORONA INVESTMENTS LLC      160005794        287 25-12-419-004-0000   2-02 20COTD4220 LILIANA M GARCIA AND VERONICA GARZA                10/21/2021 11/03/2021       JRJ
03664                 2016 ANNUAL           WHEELER FINANCIAL INC     160000331        017 32-25-102-013-0000   2-03 20COTD4309 WHEELER FINANCIAL INC                              10/19/2021 11/03/2021       JRJ
03665                 2016 ANNUAL           WHEELER FINANCIAL INC     160000948        036 25-29-401-053-0000   2-03 20COTD4385 WHEELER FINANCIAL INC                              10/19/2021 11/03/2021       JRJ
03666                 2014 ANNUAL           WHEELER FINANCIAL INC     140012210        459 25-16-406-022-0000   2-05 18COTD7017 WHEELER FINANCIAL INC                              10/27/2021 11/03/2021       JRJ
03669                 2016 ANNUAL           NEWLINE HOLDINGS LLC      160001050        039 25-33-412-011-0000   2-02 20COTD1268 KASHED OUT PRODUCTIONS LLC                         10/26/2021 11/04/2021       RAA
03670                 2016 ANNUAL             RDIA INVESTMENTS LL     160000472        020 32-32-416-052-0000   2-02 20COTD1765 JEDI HOLDINGS LLC                                  07/22/2021 11/04/2021       RAA
03671                 2014 ANNUAL           MTAG CUST CAZ CREEK II    140004806        199 29-07-417-023-0000   2-03 19COTD254    DNQ REAL ESTATE LLC                              10/28/2021 11/04/2021       RAA
03672                 2015 ANNUAL          INTERCOASTAL EQUITY LLC    150005474        274 21-30-104-042-1026   2-99 19COTD5474 CLO INVESTMENTS LLC                                10/28/2021 11/04/2021       RAA
03673                 2016 ANNUAL              WHEELER FINANCIAL      160008198        448 25-04-306-053-0000   2-05 20COTD3711 WHEELER FINANCIAL INC                              10/28/2021 11/04/2021       RAA
03674                 2016 ANNUAL              WHEELER FINANCIAL      160007645        430 20-20-417-038-0000   2-11 20COTD3692 WHEELER FINANCIAL INC                              10/22/2021 11/04/2021       RAA
03675                 2016 ANNUAL           NEWLINE HOLDINGS LLC      160008728        467 25-21-209-011-0000   2-03 20COTD1216 MAKE IT COUNT INTERPRISES LLC                      10/26/2021 11/08/2021       JRJ
03676                 2015 ANNUAL         INTERSTATE FUNDING CORP     150005222        266 20-27-213-020-0000   2-11 19COTD2191 GALAXY SITES LLC                                   10/22/2021 11/08/2021       JRJ
03677                 2015 ANNUAL           CLARK & RANDOLPH LLC      150008323        455 25-08-426-004-0000   2-03 19COTD4467 GALAXY SITES LLC                                   10/19/2021 11/08/2021       JRJ
03678                 2015 ANNUAL         INTERSTATE FUNDING CORP     150008562        464 25-19-413-033-0000   2-34 19COTD2420 GALAXY SITES LLC                                   10/21/2021 11/08/2021       JRJ
03679                 2015 ANNUAL         INTERSTATE FUNDING CORP     150010725        573 16-25-201-004-0000   2-12 19COTD2423 GALAXY SITES LLC                                   10/22/2021 11/08/2021       JRJ
03680                 2016 ANNUAL         CORONA INVESTMENTS LLC      160004939        264 20-26-101-034-0000   2-03 20COTD5059 WRITE HOME PROPERTIES LLC                          10/28/2021 11/09/2021       JRJ
03681                 2016 ANNUAL              WHEELER FINANCIAL      160009744        526 17-34-315-014-0000   2-10 20COTD3780 YABROOD REAL ESTATE, LLC                           10/08/2021 11/05/2021       AA
03682                 2016 ANNUAL              WHEELER FINANCIAL      160005481        277 21-31-330-034-0000   2-01 20COTD4556 AXERT, LLC-2468 SERIES                             10/08/2021 11/05/2021       AA
03683                 2015 ANNUAL                PINE VALLEY ONE      150003065        195 29-04-234-019-0000   2-05 19COTD4494 V3 REALTY LLC                                      10/28/2021 11/05/2021       AA
03684                 2016 ANNUAL              WHEELER FINANCIAL      160003707        218 29-31-206-015-0000   2-02 20COTD4569 WHEELER FINANCIAL INC                              10/18/2021 11/05/2021       AA
03685                 2016 ANNUAL               RANDOLPH 18 LLC       160008648        465 25-20-215-022-0000   2-02 20COTD4201 GREEN DEVELOPMENT, LLC                             10/29/2021 11/05/2021       AA
03687                 2016 ANNUAL               RANDOLPH 18 LLC       160007578        429 20-20-217-002-0000   2-03 20COTD2650 ODIN HAUS LLC                                      10/29/2021 11/09/2021       JRJ
03688                 2016 ANNUAL             ICIB INVESTMENT INC     160007745        433 20-28-308-033-0000   2-95 20COTD4506 SECOND BASE PROPERTIES SERIES LLC                  10/29/2021 11/09/2021       JRJ
03689                 2016 ANNUAL               RANDOLPH 18 LLC       160008533        460 25-17-211-008-0000   2-02 20COTD4079 WRITE HOME PROPERTIES LLC                          10/07/2021 11/09/2021       JRJ
03690                 2016 ANNUAL          EAGLE INV PROPERTIES INC   160008639        465 25-20-132-008-0000   2-34 20COTD1881 EAGLE INV PROPERTIES INC                           10/29/2021 11/09/2021       JRJ
03691                 2015 ANNUAL           CLARK & RANDOLPH LLC      150011243        017 32-25-210-012-0000   2-02 19COTD2580 R AND D'S PROPERTY MANAGEMENT & INVESTMENTS LLC    10/18/2021 11/09/2021       JRJ
03692                 2015 ANNUAL           WHEELER FINANCIAL INC     150007498        424 20-17-423-002-0000   2-11 19COTD3308 AIRWA PROPERTIES LLC                               10/20/2021 11/09/2021       JRJ
03693                 2016 ANNUAL          INTERCOASTAL EQUITY LLC    160004346        248 24-32-210-026-1005   2-99 20COTD2935 RIZ HOLDINGS LLC                                   10/13/2021 11/09/2021       JRJ
03694                 2016 ANNUAL                LIEN GROUP LLC       160005943        293 25-34-112-020-0000   2-02 20COTD1726 J DELEON PROPERTIES LLC - 13221 S FORRESTVILLE     10/14/2021 11/09/2021       JRJ
03695                 2016 ANNUAL         MIDWESTERN INVESTORS LLC    160006060        297 26-07-167-022-0000   2-10 20COTD1676 DELEON PROPERTIES LLC - 9556 S CALHOUN             10/14/2021 11/09/2021       JRJ
03696                 2016 ANNUAL                LIEN GROUP LLC       160007681        432 20-21-315-022-0000   2-11 20COTD1737 REGINALD JOHNSON                                   10/14/2021 11/09/2021       JRJ




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        Deed Number   Sale Yr Sale Type                         Buyer Name                   Cert Number   Vol         PIN          Class Case Number Deed Name                           Date Issued Date Processed Initials
03697                 2014 ANNUAL                      CHRISTIAN CUSTODIAN TR.            140010169        406 19-27-401-038-1165   2-99 19COTD23     THORNWOOD PARTNERS, LTD            11/02/2021 11/08/2021       AA
03698                 2014 ANNUAL                      CHRISTIAN CUSTODIAN TR.            140010174        406 19-27-401-038-1226   2-99 19COTD24     THORNWOOD PARTNERS, LTD            11/02/2021 11/08/2021       AA
03700                 2016 ANNUAL                           MUNSON JOHN M                 160008778        468 25-21-325-032-0000   2-34 20COTD5025 JEHM FINANCIAL LLC                   11/02/2021 11/08/2021       AA
03701                 2015 ANNUAL                       NEWLINE HOLDINGS LLC              150005280        267 20-27-422-041-0000   2-03 19COTD3124 RED PINE PROPERTIES LLC              10/22/2021 11/09/2021       AA
03702                 2016 ANNUAL                   PINE VALLEY ONE REAL ESTATE           160002310        164 15-13-425-040-1007   2-99 20COTD4841 NEW NETT I LLC                       11/01/2021 11/09/2021       JRJ
03703                 2015 ANNUAL                         FNA DZ LLC FBO WSFS             150010646        570 16-23-314-007-0000   2-11 19COTD1768 SEMPER FIDELIS LLC                   11/04/2021 11/09/2021       JRJ
03704                 2015 ANNUAL                       NEWLINE HOLDINGS LLC              150010140        550 16-09-407-025-0000   2-05 19COTD3634 RED PINE PROPERTIES LLC              10/22/2021 11/09/2021       JRJ
03705                 2015 ANNUAL                       NEWLINE HOLDINGS LLC              150008638        467 25-21-210-007-0000   2-11 19COTD2688 AXERT LLC - 5318 SERIES              10/26/2021 11/10/2021       RAA
03706                 2014 ANNUAL                      CHRISTIAN CUSTODIAN TR.            140010778        424 20-17-328-016-0000   2-11 19COTD215    GOTHIC INVESTMENTS, LTD            11/04/2021 11/10/2021       AA
03707                 2014 ANNUAL                      CHRISTIAN CUSTODIAN TR.            140010757        424 20-17-317-019-0000   2-11 19COTD213    GOTHIC INVESTMENTS, LTD            11/04/2021 11/10/2021       AA
03708                 2015 ANNUAL                       NEWLINE HOLDINGS LLC              150011267        017 32-25-413-010-0000   2-02 19COTD3710 HAYES INVESTMENT CORPORATION, INC.   10/28/2021 11/10/2021       AA
03709                 2014 ANNUAL                      CHRISTIAN CUSTODIAN TR.            140011307        434 20-29-111-001-0000   2-03 19COTD266    THORNWOOD PARTNERS, LTD            11/05/2021 11/10/2021       AA
03710                 2015 ANNUAL                            PINE VALLEY ONE              150003574        211 29-18-422-013-0000   2-03 19COTD3805 IVETT HURTADO                        11/05/2021 11/10/2021       AA
03711                 2016 ANNUAL                          WHEELER FINANCIAL              160008488        459 25-16-307-012-0000   2-03 20COTD3719 CHARTIENE WALKER                     10/29/2021 11/12/2021       RAA
03717                 2016 ANNUAL                        CORONA INVESTMENTS               1600010209       554 16-11-409-005-0000   2-11 20COTD5135 CORONA INVESTMENTS LLC               10/29/2021 11/12/2021       RAA
03718                 2015 ANNUAL                        ICIB INVESTMENTS INC             150000560        038 25-31-109-012-0000   2-02 19COTD750    SEEM GROUP LLC                     11/02/2021 11/12/2021       RAA
03719                 2016 ANNUAL                           RANDOLPH 18 LLC               160000134        011 32-08-303-015-0000   2-03 20COTD2961 PROPERTY JEDI LLC                    11/02/2021 11/12/2021       RAA
03720                 2016 ANNUAL                           RANDOLPH 18 LLC               160008625        465 25-20-106-022-0000   2-03 20COTD4200 CYNTHIA STAINE                       11/02/2021 11/12/2021       RAA
03721                 2016 ANNUAL                      INTERCOASTAL EQUITY LLC            160004942        264 20-26-103-002-0000   2-02 20COTD2941 ARTHINGTON PROPERTIES LLC            11/03/2021 11/16/2021       RAA
03722                 2016 ANNUAL                        CORONA INVESTMENTS               160005652        283 25-03-211-002-0000   2-03 20COTD5351 CORONA INVESTMENTS LLC               10/28/2021 11/16/2021       RAA
03723                 2016 ANNUAL                              SMM TAX INC                160007895        436 20-30-106-002-0000   2-03 20COTD2280 ARTHINGTON PROPERTIES LLC            11/02/2021 11/16/2021       RAA
03725                 2016 ANNUAL                        CORONA INVESTMENTS               160010487        564 16-16-107-030-0000   2-03 20COTD3921 CORONA INVESTMENTS LLC               11/02/2021 11/16/2021       RAA
03726                 2016 ANNUAL                      INTERCOASTAL EQUITY LLC            160000226        014 32-19-407-052-0000   2-03 20COTD2076 CHICAGO ASSETS LLC                   10/29/2021 11/16/2021       RAA
03727                 2016 ANNUAL                           TITAN CAPITAL LLC             160004147        238 24-04-408-011-0000   2-03 20COTD2158 TITAN CAPITAL LLC                    10/22/2021 11/16/2021       RAA
03728                 2016 ANNUAL                           TITAN CAPITAL LLC             160008495        459 25-16-320-010-0000   2-02 20COTD2819 ATKINS REAL ESTATE LLC               10/27/2021 11/16/2021       RAA
03729                 2015 ANNUAL                       NEWLINE HOLDINGS LLC              150005613        276 21-31-225-016-0000   2-03 19COTD3577 RED PINE PROPERTIES LLC              10/26/2021 11/16/2021       JRJ
03731                 2016 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          160001951        146 27-13-409-016-1003   2-99 20COTD4541 LONGSTREET CAPITAL FUNDING LLC       09/02/2021 11/16/2021       JRJ
03732                 2016 ANNUAL                       NEWLINE HOLDINGS LLC              160003511        210 29-18-307-031-0000   2-03 20COTD1223 LAWRENCE INGRAM                      10/25/2021 11/16/2021       JRJ
03733                 2016 ANNUAL                           TITAN CAPITAL LLC             160007626        430 20-20-403-024-0000   2-11 20COTD2813 TREASURE SERVICE INC                 11/03/2021 11/16/2021       JRJ
03734                 2014 ANNUAL                            ELM LIMITED LLC              140008283        287 25-12-209-045-0000   2-95 18COTD7747 FIRST NATIONAL ACQUISITIONS LLC      11/09/2021 11/16/2021       JRJ
03735                 2016 ANNUAL                         FNA DZ LLC FBO WSFS             160006620        383 19-10-225-020-0000   2-90 20COTD2235 FIRST NATIONAL ACQUISITIONS LLC      11/08/2021 11/16/2021       JRJ
03736                 2016 ANNUAL                            LIEN GROUP LLC               160007232        422 20-16-317-027-0000   2-05 20COTD3111 AIRWA PROPERTIES LLC                 10/21/2021 11/16/2021       JRJ
03737                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140010705        423 20-17-224-006-0000   2-03 19COTD0096 GOTHIC INVESTMENTS LTD               11/04/2021 11/16/2021       JRJ
03738                 2016 ANNUAL                         FNA DZ LLC FBO WSFS             160008752        467 25-21-227-008-0000   2-02 20COTD2193 GH & D DEVELOPMENT INC               10/21/2021 11/16/2021       JRJ
03739                 2016 ANNUAL                           RANDOLPH 18 LLC               160002678        180 31-36-200-025-1005   2-99 20cotd2975   V3 RENTALS, LLC                    11/04/2021 11/16/2021       AA
03740                 2016 ANNUAL                       NEWLINE HOLDINGS LLC              160003664        216 29-29-410-010-0000   2-11 20COTD1387 RED PINE PROPERTIES LLC              11/04/2021 11/16/2021       AA
03741                 2017 ANNUAL                         GARCIA OCON JAIME               170010286        508 16-36-314-051-0000   2-41 21COTD361    EVAL IGNOM LLC                     11/05/2021 11/16/2021       AA
03742                 2016 ANNUAL                              SMM TAX INC                160000736        031 28-19-308-022-1002   2-99 20COTD1802 BROWNING BUILDERS INC                11/02/2021 11/16/2021       RAA
03743                 2016 ANNUAL                   MIDWESTERN INVESTORS LLC              160003055        196 29-04-414-024-0000   2-03 20COTD4414 CLEARVUE CAPITAL CORPORATION         11/04/2021 11/16/2021       RAA
03744                 2016 ANNUAL                    INTERCOASTAL EQUUITY LLC             160005478        277 21-31-328-041-0000   2-05 20COTD3004 CLEARVUE CAPITAL CORPORATION         11/04/2021 11/16/2021       RAA
03745                 2016 ANNUAL                            LIEN GROUP LLC               160007751        433 20-28-313-008-0000   2-11 20COTD2585 LIEN GROUP LLC                       11/04/2021 11/16/2021       RAA
03746                 2016 ANNUAL                      INTERCOASTAL EQUITY LLC            160008290        450 25-05-401-009-0000   2-03 20COTD3019 EAGLE INV PROPERTIES INC             11/05/2021 11/16/2021       RAA
03747                 2016 ANNUAL                     INTERSTATE FUNDING CORP             160000912        035 28-35-110-020-0000   2-02 20COTD3880 GALAXY SITES LLC                     10/18/2021 11/17/2021       JRJ
03748                 2016 ANNUAL                     INTERSTATE FUNDING CORP             160004239        244 24-15-217-003-1034   2-99 20COTD3887 GALAXY SITES LLC                     10/25/2021 11/17/2021       JRJ
03750                 2016 ANNUAL                        ATCF II TAX SERV. CUST.          160006047        297 26-07-115-060-0000   2-10 20COTD4858 AMERICAN TAX LIEN, LLC               11/03/2021 11/17/2021       AA
03751                 2016 ANNUAL                        ATCF II TAX SERV. CUST.          160006062        298 26-08-102-026-0000   2-11 20COTD4860 AMERICAN TAX LIEN, LLC               11/03/2021 11/17/2021       AA
03752                 2016 ANNUAL                          WHEELER FINANCIAL              160003316        203 29-11-310-026-1027   2-99 20COTD4675 WHEELER FINANCIAL, INC.              11/03/2021 11/17/2021       AA
03753                 2016 ANNUAL                          WHEELER FINANCIAL              160007121        419 20-08-408-007-0000   2-11 20COTD3661 WHEELER FINANCIAL, INC.              11/08/2021 11/17/2021       AA
03754                 2016 ANNUAL                          WHEELER FINANCIAL              160008718        467 25-21-203-021-0000   2-11 20COTD3733 WHEELER FINANCIAL, INC.              11/02/2021 11/17/2021       AA
03755                 2016 ANNUAL                          WHEELER FINANCIAL              160010707        571 16-23-415-049-0000   2-02 20COTD3776 WHEELER FINANCIAL, INC.              11/03/2021 11/17/2021       AA
03756                 2015 ANNUAL                    INTERSTATE FUNDING CORP.             150006498        345 13-20-124-034-0000   2-03 19COTD2412 GALAXY SITES, LLC                    10/27/2021 11/17/2021       AA
03757                 2015 ANNUAL                          CLARK & RANDOLPH               150002730        180 31-36-108-015-0000   2-03 19COTD1712 RED PINE PROPERTIES LLC              10/20/2021 11/17/2021       AA




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        Deed Number   Sale Yr Sale Type                       Buyer Name                     Cert Number   Vol         PIN          Class Case Number Deed Name                        Date Issued Date Processed Initials
03758                 2015 ANNUAL                   CHRISTIANA TR. CUSTODIAN              150002753        180 31-36-406-030-0000   2-05 19COTD2312 RED PINE PROPERTIES LLC           10/28/2021 11/17/2021       AA
03759                 2016 ANNUAL                      CORONA INVESTMENTS                 160004963        264 20-26-126-025-0000   2-02 20COTD5058 RED PINE PROPERTIES LLC           10/20/2021 11/17/2021       AA
03761                 2015 ANNUAL                    MTAG CUSTM ATCF II IL LLC            150008652        467 25-21-224-004-0000   2-03 19COTD4844 WHEELER FINANCIAL, INC.           10/25/2021 11/18/2021       AA
03762                 2016 ANNUAL                        WHEELER FINANCIAL                160009763        529 13-25-315-074-1007   2-99 20COTD3767 WHEELER FINANCIAL, INC.           10/29/2021 11/18/2021       AA
03763                 2016 ANNUAL                        WHEELER FINANCIAL                160008219        449 25-04-410-029-0000   2-03 20COTD3712 WHEELER FINANCIAL, INC.           11/01/2021 11/18/2021       AA
03764                 2016 ANNUAL                        WHEELER FINANCIAL                160008369        455 25-08-426-007-0000   2-02 20COTD3715 WHEELER FINANCIAL, INC.           11/01/2021 11/18/2021       AA
03768                 2015 ANNUAL                          SCRIBE FUNDING                 150004361        242 24-10-407-057-1004   2-99 19COTD3451 SUBS 3 LLC                        11/10/2021 11/18/2021       AA
03769                 2015 ANNUAL                    CHRISTIANA TR CUSTODIAN              150004514        249 24-34-113-024-1021   2-99 19COTD2359 RED PINE PROPERTIES LLC           10/22/2021 11/18/2021       AA
03771                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140010717        424 20-17-302-007-0000   2-02 19COTD0097 THORNWOOD PARTNERS LTD            11/04/2021 11/22/2021       JRJ
03772                 2016 ANNUAL                      WHEELER FINANCIAL INC              160000084        007 16-31-205-020-1003   2-99 20COTD4287 WHEELER FINANCIAL INC             10/29/2021 11/22/2021       JRJ
03773                 2016 ANNUAL                      WHEELER FINANCIAL INC              160001760        110 10-07-305-015-0000   2-41 20COTD2374 WHEELER FINANCIAL INC             11/08/2021 11/22/2021       JRJ
03773                 2016 ANNUAL                      WHEELER FINANCIAL INC              160001761        110 10-07-305-022-0000   2-41 20COTD2374 WHEELER FINANCIAL INC             11/08/2021 11/22/2021       JRJ
03774                 2016 ANNUAL                      NEWLINE HOLDINGS LLC               160000597        023 28-01-303-036-0000   2-03 20COTD1276 RED PINE PROPERTIES LLC           11/10/2021 11/22/2021       JRJ
03775                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150008133        446 24-14-313-007-0000   2-05 19COTD3703 RED PINE PROPERTIES LLC           11/10/2021 11/22/2021       JRJ
03776                 2015 ANNUAL                   INTERSTATE FUNDING CORP               150005532        274 21-30-323-027-0000   2-11 19COTD2408 GALAXY SITES LLC                  10/29/2021 11/22/2021       JRJ
03777                 2014 ANNUAL                      WHEELER FINANCIAL INC              140015195        567 16-22-223-021-0000   2-11 18COTD7081 WHEELER FINANCIAL INC             10/15/2021 11/22/2021       JRJ
03778                 2016 ANNUAL                      NEWLINE HOLDINGS LLC               160002707        180 31-36-310-005-0000   2-03 20COTD1275 PROPERTY JEDI LLC                 11/15/2021 11/22/2021       JRJ
03779                 2016 ANNUAL                  WEST TOWN BUYERS GROUP LLC             160002568        179 31-24-433-005-0000   2-34 20COTD2575 COSMOS LLC                        10/27/2021 11/22/2021       JRJ
03780                 2016 ANNUAL                  WEST TOWN BUYERS GROUP LLC             160002821        188 19-06-104-018-0000   2-11 20COTD2555 COSMOS LLC                        10/27/2021 11/22/2021       JRJ
03781                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140007821        276 21-31-208-022-0000   2-03 18COTD8585 GOTHIC INVESTMENTS LTD            11/15/2021 11/22/2021       JRJ
03782                 2016 ANNUAL                    INTERCOASTAL EQUITY LLC              160007609        430 20-20-321-011-0000   2-11 20COTD3015 RIZ HOLDINGS LLC                  11/17/2021 11/22/2021       JRJ
03783                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150008592        465 25-20-215-040-0000   2-02 19COTD3921 ARTHINGTON PROPERTIES LLC         11/18/2021 11/22/2021       JRJ
03784                 2015 ANNUAL                       ICIB INVESTMENTS INC              150007747        432 20-21-301-026-0000   2-11 19COTD1052 COMMITTED CHRISTIAN HOUSING LLC   11/18/2021 11/22/2021       JRJ
03785                 2015 ANNUAL                     5 HOLE ACQUISITIONS INC             150008687        468 25-21-400-049-0000   2-02 19COTD1019 YOLANDA NELSON                    11/05/2021 11/23/2021       RAA
03786                 2016 ANNUAL                           LIEN GROUP LLC                160004197        241 24-09-120-003-0000   2-02 20COTD1715 LIEN GROUP LLC                    11/05/2021 11/23/2021       RAA
03786                 2016 ANNUAL                           LIEN GROUP LLC                160004198        241 24-09-120-004-0000   2-02 20COTD1715 LIEN GROUP LLC                    11/05/2021 11/23/2021       RAA
03787                 2016 ANNUAL                          RANDOLPH 18 LLC                160008771        268 25-21-316-014-0000   2-03 20COTD4203 BLESS THE KICKZ LLC               11/08/2021 11/23/2021       RAA
03788                 2016 ANNUAL                           LIEN GROUP LLC                160010298        558 16-13-316-026-0000   2-11 20COTD2588 3107 W ARTHINGTON LLC             11/08/2021 11/23/2021       RAA
03789                 2016 ANNUAL                      CORONA INVESTMENTS                 160010822        578 16-27-205-026-0000   2-11 20COTD3932 HKK PROPERTIES LLC                11/08/2021 11/23/2021       RAA
03790                 2016 ANNUAL                        WHEELER FINANCIAL                160002492        178 31-10-200-116-1044   2-99 20COTD4404 WHEELER FINANCIAL INC             11/09/2021 11/23/2021       RAA
03791                 2016 ANNUAL                        WHEELER FINANCIAL                160006860        404 19-25-214-011-0000   2-03 20COTD3647 WHEELER FINANCIAL INC             11/08/2021 11/23/2021       RAA
03792                 2016 ANNUAL                        WHEELER FINANCIAL                160007510        428 20-19-316-025-0000   2-03 20COTD7510 WHEELER FINANCIAL INC             11/08/2021 11/23/2021       RAA
03793                 2016 ANNUAL                        WHEELER FINANCIAL                160007549        428 20-19-429-021-0000   2-11 20COTD7549 WHEELER FINANCIAL INC             11/08/2021 11/23/2021       RAA
03794                 2015 ANNUAL                        CLARK & RANDOLPH                 150000565        038 25-31-207-011-0000   2-41 19COTD3138 ARTHINGTON PROPERTIES LLC         11/08/2021 11/23/2021       RAA
03795                 2015 ANNUAL                     EQUITY ONE INVFUND LLC              150000566        038 25-31-207-012-0000   2-03 19COTD2382 ARTHINGTON PROPERTIES LLC         11/09/2021 11/23/2021       RAA
03796                 2015 ANNUAL                             ROYCE RE LLC                150003302        202 29-10-220-003-0000   2-05 19COTD776    BROWNING BUILDERS INC           11/12/2021 11/23/2021       RAA
03797                 2015 ANNUAL                        FNA DZ LLC FBOWSFS               150008613        466 25-20-420-020-0000   2-11 19COTD1689 RADU DANIEL ALEXA                 11/12/2021 11/23/2021       RAA
03798                 2016 ANNUAL                      NEWLINE HOLDINGS LLC               160002632        180 31-35-100-047-1109   2-99 20COTD2755 EB RENTALS LLC                    11/16/2021 11/23/2021       JRJ
03799                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150000184        026 28-10-222-037-1038   2-99 19COTD1952 MICHELLE STRYSZOWSKA              11/15/2021 11/23/2021       AA
03800                 2016 ANNUAL                      NEWLINE HOLDINGS LLC               160003624        215 29-24-100-018-1009   2-99 20COTD2758 CYNTHIA STAINE                    11/19/2021 11/23/2021       AA
03802                 2016 ANNUAL                        WHEELER FINANCIAL                160009379        506 11-31-214-057-1018   2-99 20COTD3754 WHEELER FINANCIAL INC             10/13/2021 11/24/2021       AA
03803                 2016 ANNUAL                      CORONA INVESTMENTS                 160007154        420 20-09-111-026-0000   2-03 20COTD5121 CORONA INVESTMENTS, LLC           11/16/2021 11/24/2021       AA
03804                 2016 ANNUAL                        WHEELER FINANCIAL                160002695        180 31-36-200-028-1029   2-99 20COTD4346 WHEELER FINANCIAL INC             11/16/2021 11/24/2021       AA
03805                 2015 ANNUAL                       ICIB INVESTMENTS INC              150007574        427 20-19-208-040-0000   2-03 19COTD1675 AMERICAN TAX LIEN, LLC            11/16/2021 11/24/2021       AA
03806                 2016 ANNUAL                      ATCF II TAX SERV. CUST.            160000664        026 28-10-222-037-1043   2-99 20COTD4848 AMERICAN TAX LIEN, LLC            11/18/2021 11/24/2021       AA
03807                 2015 ANNUAL                        WHEELER FINANCIAL                150003752        217 29-30-119-047-0000   2-05 19COTD3208 WHEELER FINANCIAL INC             10/29/2021 11/24/2021       AA
03808                 2015 ANNUAL                        WHEELER FINANCIAL                150005600        276 21-31-208-031-0000   2-03 19COTD3263 WHEELER FINANCIAL INC             11/17/2021 11/24/2021       AA
03809                 2015 ANNUAL                    MTAG CUST. CAZ CREEK IL.II           150006483        343 13-19-121-044-0000   2-03 19COTD4559 WHEELER FINANCIAL INC             11/16/2021 11/24/2021       AA
03810                 2015 ANNUAL                        WHEELER FINANCIAL                150007061        404 19-25-214-025-0000   2-02 19COTD3294 WHEELER FINANCIAL INC             10/29/2021 11/24/2021       AA
03811                 2015 ANNUAL                            SMM - TAX INC                150003616        212 29-19-422-054-0000   2-02 19COTD806    SEEM GROUP, LLC                 11/15/2021 11/29/2021       AA
03812                 2016 ANNUAL                    DZIECIOLOWSKI KRZYSZTOF              160004503        253 20-10-117-022-1021   2-99 20COTD4692 BOULDER REAL ESTATE GROUP, LLC    11/16/2021 11/29/2021       AA
03813                 2016 ANNUAL                       GENERAL TAX LIEN LLC              160002542        179 31-21-109-001-0000   2-34 20COTD2804 EAGLE INV. PROPERTIES, INC.       11/08/2021 11/29/2021       AA




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                    Deed Number           Sale Yr Sale Type                       Buyer Name                     Cert Number    Vol         PIN          Class Case Number Deed Name                                 Date Issued Date Processed Initials
03814                                     2016 ANNUAL                    MIDWESTERN INVESTORS LLC             160000850         034 28-26-408-046-0000   2-03 20COTD1885 BROWNING BUILDERS, INC.                    10/22/2021 11/29/2021       AA
03815                                     2016 ANNUAL                       CORONA INVESTMENTS                160005944         293 25-34-112-021-0000   2-02 20COTD5349 DELEON PROPERTIES LLC-13217 FORRESTVILLE   11/02/2021 11/29/2021       AA
03816                                     2016 ANNUAL                          RANDOLPH 18 LLC                160001034         039 25-33-316-012-1028   2-99 20COTD4909 GROUND WORK VENTURES CORPORATION           10/27/2021 11/30/2021       JRJ
03817                                     2016 ANNUAL                          RANDOLPH 18 LLC                160000405         018 32-28-215-057-0000   2-03 20COTD1879 CELIA ELIZONDO                             11/17/2021 11/30/2021       JRJ
03822                                     2016 ANNUAL                          RANDOLPH 18 LLC                160005814         288 25-13-202-002-0000   2-03 20COTD3492 CARE PROPERTIES LLC                        11/24/2021 12/01/2021       JRJ
03823                                     2016 ANNUAL                             BT LIENS LLC                160010048         549 16-09-205-007-0000   2-05 20COTD4149 ED INVESTMENTS & CONSTRUCTION INC          11/15/2021 12/01/2021       JRJ
03824                                     2016 ANNUAL                       NEWLINE HOLDINGS LLC              160000280         015 32-20-428-032-0000   2-03 20COTD1149 ARTHINGTON PROPERTIES LLC                  11/16/2021 12/01/2021       JRJ
03826                                     2016 ANNUAL                       CORONA INVESTMENTS                160010720         571 16-24-106-028-0000   2-11 20COTD4222 CORONA INVESTMENTS LLC                     11/03/2021 12/02/2021       RAA
03827                                     2015 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          150004411         245 24-17-209-037-1009   2-99 19COTD2722 LONGSTREET CAPITAL FUNDING LLC             07/20/2021 12/02/2021       RAA
03828                                     2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140010359         417 20-07-305-050-0000   2-11 19COTD92     JO-NA I LLC                              11/18/2021 12/02/2021       RAA
03830                                     2016 ANNUAL                          TITAN CAPITAL LLC              16005326          274 21-30-114-028-1003   2-99 20COTD2478 TARIK S IDEIS                              11/18/2021 12/02/2021       RAA
03837                                     2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140012093         457 25-09-324-017-0000   2-03 19COTD0356 JO-NA I LLC                                11/24/2021 12/03/2021       JRJ
03838                                     2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140013015         480 14-18-205-047-1012   2-99 19COTD0382 WICKER-ASHLAND LLC                         11/24/2021 12/03/2021       JRJ
03839                                     2016 ANNUAL                      CLIFTOR PROPERTIES LLC             160009752         526 17-34-328-036-0000   2-10 20COTD3786 REPUBLIC CAPITAL NETWORK LLC               11/24/2021 12/03/2021       JRJ
03840                                     2016 ANNUAL                          RANDOLPH 18 LLC                160000979         037 25-30-411-058-0000   2-02 20COTD2475 CYNTHIA STAINE                             11/15/2021 12/03/2021       JRJ
03841                                     2016 ANNUAL                       NEWLINE HOLDINGS LLC              160005312         274 21-30-104-042-1024   2-99 20COTD2761 CLO INVESTMENTS LLC                        11/16/2021 12/03/2021       JRJ
03842                                     2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150002412         178 31-03-402-014-0000   2-03 19COTD2115 V3 REALTY LLC                              11/17/2021 12/03/2021       JRJ
03843                                     2015 ANNUAL                          RANDOLPH 18 LLC                160003494         210 29-18-200-014-0000   2-02 20COTD4830 SITUS CULTIVATION LLC                      11/17/2021 12/03/2021       JRJ
03844                                     2016 ANNUAL                 INTEGRITY INVESTMENT FUND LL0C          160000679         027 28-11-325-006-0000   2-03 20COTD3547 INTEGRITY INVESTMENT REO HOLDINGS LLC      11/23/2021 12/03/2021       JRJ
03845                                     2016 ANNUAL                  INTEGRITY INVESTMENT FUND LLC          160000709         030 28-14-206-027-0000   2-03 20COTD3536 INTEGRITY INVESTMENT REO HOLDINGS LLC      11/23/2021 12/03/2021       JRJ
03846                                     2014 ANNUAL                           ELM LIMITED LLC               140011128         430 20-20-404-025-0000   2-11 18COTD7597 FIRST NATIONAL ACQUISITION LLC             11/16/2021 12/01/2021       AA
03847                                     2015 ANNUAL                        FNA DZ LLC FBOWSFS               150002369         178 31-02-105-016-0000   2-78 19COTD1350 FIRST NATIONAL ACQUISITION LLC             11/16/2021 12/01/2021       AA
03848                                     2014 ANNUAL                      FAIR DEAL OF ILLINOIS IN           140003490         161 15-10-311-003-0000   2-03 18COTD8568 FIRST NATIONAL ACQUISITION LLC             11/18/2021 12/01/2021       AA
03849                                     2016 ANNUAL                          RANDOLPH 18 LLC                160003604         213 29-21-119-015-0000   2-03 20COTD2222 CYNTHIA STAINE                             11/22/2021 12/01/2021       AA
03850                                     2015 ANNUAL                         CLARK & RANDOLPH                150010671         571 16-23-419-014-0000   2-02 19COTD2237 ARTHINGTON PROPERTIES, LLC                 11/22/2021 12/01/2021       AA
03829                                     2016 ANNUAL                     NEBRASKA ALLIANCE REALTY            160003493         210 29-18-200-013-0000   2-02 20COTD3412 SITUS CULTIVATION LLC                      11/18/2021 12/02/2021       RAA
03851                                     2016 ANNUAL                         WHEELER FINANCIAL               160006883         406 19-27-401-038-1081   2-99 20COTD3648 WHEELER FINANCIAL, INC.                    11/15/2021 12/01/2021       AA
03852                                     2015 ANNUAL                     MTAG CUSTM ATCF 11 IL LLC           150003321         202 29-10-409-006-0000   2-03 19COTD4795 WHEELER FINANCIAL, INC.                    11/03/2021 12/01/2021       AA
03853                                     2015 ANNUAL                     MTAG CUSTM ATCF 11 IL LLC           150006571         356 13-27-110-036-0000   2-03 19COTD4545 WHEELER FINANCIAL, INC.                    11/09/2021 12/01/2021       AA
03854                                     2015 ANNUAL                         WHEELER FINANCIAL               150007945         437 20-30-221-034-0000   2-02 19COTD3730 WHEELER FINANCIAL, INC.                    10/29/2021 12/01/2021       AA
03861                                     2015 ANNUAL                       ICIB INVESTMENTS INC.             150005071         261 20-24-423-028-1004   2-99 19COTD1670 AIRWA PROPERTIES, LLC                      11/29/2021 12/07/2021       AA
03861                                     2015 ANNUAL                       ICIB INVESTMENTS INC.             150005072         261 20-24-423-028-1007   2-99 19COTD1670 AIRWA PROPERTIES, LLC                      11/29/2021 12/07/2021       AA
03861                                     2015 ANNUAL                       ICIB INVESTMENTS INC.             150005073         261 20-24-423-028-1008   2-99 19COTD1670 AIRWA PROPERTIES, LLC                      11/29/2021 12/07/2021       AA
void                                      2016 ANNUAL                    PHOENIX BOND & INDEMNITY             166220-D1717      327 13-08-331-001-0000   2-03 20COTD4121 PHOENIX BOND & INDEMNITY COMPANY           08/10/2021 12/07/2021       RAA
03863 void per 20cotd4748 wrong address   2016 ANNUAL                         PINE VALLEY ONE RE              160007982         439 20-31-203-038-0000   2-11 20COTD4748 PVONE PROPERTIES LLC                       11/29/2021 12/07/2021       RAA
03864                                     2016 ANNUAL                     NEBRASKA ALLIANCE REALTY            160000119         010 32-05-410-008-0000   2-03 20COTD3346 GREYMORR REAL ESTATE LLC                   10/24/2021 12/07/2021       RAA
03865                                     2016 ANNUAL                     NEBRASKA ALLIANCE REALTY            160005184         270 20-35-115-023-1021   2-99 20COTD3356 GREYMORR REAL ESTATE LLC                   10/24/2021 12/07/2021       RAA
03866                                     2016 ANNUAL                     NEBRASKA ALLIANCE REALTY            160007582         429 20-20-221-024-0000   2-05 20COTD3367 GREYMORR REAL ESTATE LLC                   11/24/2021 12/07/2021       RAA
03667                                     2016 ANNUAL                          RANDOLPH 18 LLC                160002683         180 31-36-200-025-1074   2-99 20COTD2976 AMGUN INVESTMENTS LLC                      11/22/2021 12/08/2021       RAA
03868                                     2016 ANNUAL                          RANDOLPH 18 LLC                160002686         180 31-36-200-025-1138   2-99 20COTD2977 AMGUN INVESTMENTS LLC                      11/22/2021 12/08/2021       RAA
03874                                     2016 ANNUAL                      WHEELER FINANCIAL INC              160008672         466 25-20-400-060-0000   2-95 20COTD3731 WHEELER FINANCIAL INC                      11/04/2021 12/08/2021       JRJ
03875                                     2015 ANNUAL                     MTAG CUSTM ATCF II IL LLC           150008507         461 25-17-323-012-0000   2-95 19COTD4845 WHEELER FINANCIAL INC                      10/18/2021 12/08/2021       JRJ
03876                                     2014 ANNUAL                       NEWLINE HOLDINGS LLC              140007397         268 20-34-106-054-0000   2-34 18COTD7855 RED PINE PROPERTIES LLC                    11/16/2021 12/08/2021       JRJ
03877                                     2016 ANNUAL                          RANDOLPH 18 LLC                160000330         017 32-25-102-008-0000   2-03 20COTD2966 AMERICAS HOPE FOR HUMANITY INC             11/23/2021 12/09/2021       JRJ
03878                                     2016 ANNUAL                       RDIA INVESTMENTS LLC              160005730         285 25-10-311-032-0000   2-05 20COTD1931 ATKIN REAL ESTATE LLC                      11/18/2021 12/09/2021       JRJ
03879                                     2016 ANNUAL                          RANDOLPH 18 LLC                160002987         195 29-04-210-041-0000   2-02 20COTD2609 GALAZ INVESTMENTS INC                      11/23/2021 12/09/2021       JRJ
03880                                     2015 ANNUAL                       CLARK & RANDOLPH LLC              150003935         224 30-17-204-005-0000   2-03 19COTD3899 DIAMOND DYNASTY LLC                        11/23/2021 12/09/2021       JRJ
03885                                     2014 ANNUAL                    PINEVALLEY ONEREAL ESTATE            140011468-D1787   437 20-30-209-033-0000   2-03 18COTD8506 MAHARAJA, LLC SERIES 5                     11/18/2021 12/08/2021       AA
03886                                     2016 ANNUAL                       CORONA INVESTMENTS                160004290         245 24-18-307-081-1046   2-99 20COTD5054 CORONA INVESMTENTS, LLC                    11/24/2021 12/08/2021       AA
03888                                     2016 ANNUAL                         TITAN CAPITAL, LLC              160005501         278 21-32-206-016-0000   2-05 20COTD2486 TITAN CAPITAL, LLC                         11/24/2021 12/08/2021       AA
03889                                     2016 ANNUAL                       ATCF II TAX SERV. CUST.           160002152         154 15-03-412-023-0000   2-03 20COTD4852 AMERICAN TAX LIEN, LLC                     11/24/2021 12/08/2021       AA
03890                                     2016 ANNUAL                       ATCF II TAX SERV. CUST.           160005445         276 21-31-221-006-0000   2-03 20COTD4857 AMERICAN TAX LIEN, LLC                     11/24/2021 12/08/2021       AA




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        Deed Number   Sale Yr Sale Type                         Buyer Name                   Cert Number   Vol         PIN          Class Case Number Deed Name                                        Date Issued Date Processed Initials
03891                 2015 ANNUAL                        CLARK & RANDOLPH LLC             150002242        166 15-15-412-024-0000   2-02 19COTD948    HIGH 5 GROUP, LLC                               12/02/2021 12/08/2021       AA
03892                 2015 ANNUAL                        CLARK & RANDOLPH LLC             150000522        036 25-29-409-049-0000   2-02 19COTD1265 FRESH START REALTY MANAGEMENT LLC                 12/02/2021 12/09/2021       RAA
03893                 2016 ANNUAL                    INTEGRITY F INVESTMENT FND           160000276        014 32-20-331-015-0000   2-11 20COTD3579 INTEGRITY INVESTMENT REO HOLDINGS LLC             11/23/2021 12/09/2021       RAA
03894                 2016 ANNUAL                           PINE VALLEY ONE RE            160005887        290 25-22-119-018-0000   2-02 20COTD4743 PVONE PROPERTIES LLC                              12/06/2021 12/09/2021       RAA
03895                 2016 ANNUAL                             LIEN GROUP LLC              160009400        508 16-35-410-038-0000   2-12 20COTD3129 3800 KEDZIE LLC                                   12/03/2021 12/09/2021       RAA
03880                 2015 ANNUAL                        CLARK & RANDOLPH LLC             150003936        224 30-17-204-006-0000   2-03 19COTD3899 DIAMOND DYNASTY LLC                               11/23/2021 12/09/2021       JRJ
03897                 2015 ANNUAL                        WHEELER FINANCIAL INC            150000639        041 16-21-206-022-0000   2-02 19COTD2868 WHEELER FINANCIAL INC                             10/12/2021 12/10/2021       JRJ
03899                 2015 ANNUAL                          FNA DZ LLC FBO WSFS            150007334        420 20-09-401-017-0000   2-34 19COTD1836 ARTHUR SOBIECH                                    11/15/2021 12/10/2021       JRJ
03900                 2016 ANNUAL                      CORONA INVESTMENTS LLC             160005576        281 25-02-117-023-0000   2-02 20COTD5331 SEB REALTY GROUP LLC                              11/30/2021 12/10/2021       JRJ
03901                 2014 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   140008254        286 25-11-123-036-0000   2-02 18COTD8626 THORNWOOD PARTNERS LTD                            11/15/2021 12/10/2021       JRJ
03902                 2015 ANNUAL                        WHEELER FINANCIAL INC            150007900        436 20-29-401-016-0000   2-11 19COTD3725 RIZ HOLDINGS LLC                                  12/02/2021 12/10/2021       JRJ
03903                 2016 ANNUAL                  PINE VALLEY ONE REAL ESTATE LLC        160003891        225 30-18-131-007-0000   2-02 20COTD4234 RED PINE PROPERTIES LLC                           11/24/2021 12/10/2021       JRJ
03905                 2015 ANNUAL                     LONGSTREET CAPITAL FUNDIN           150004928        259 20-22-323-039-0000   2-11 19COTD2736 LONGSTREET CAPITAL FUNDING LLC                    11/10/2021 12/09/2021       AA
03906                 2015 ANNUAL                     LONGSTREET CAPITAL FUNDIN           150005566        275 21-31-114-017-0000   2-03 19COTD2727 LONGSTREET CAPITAL FUNDING LLC                    11/09/2021 12/10/2021       AA
03912                 2015 ANNUAL                        CLARK & RANDOLPH LLC             1500066548       353 13-24-131-042-1017   2-99 19COTD4484 CORONA INVESTMENTS LLC                            11/04/2021 12/13/2021       RAA
03924                 2015 ANNUAL                          FNA DZ LLC FBOWSFS             1500007540       426 20-18-406-032-0000   2-03 19COTD1844 ZENA CARR                                         11/23/2021 12/14/2021       RAA
03925                 2014 ANNUAL                        FAIR DEAL OF ILLINOIS IN         1400000090       005 16-30-214-032-0000   2-03 18COTD8552 3458 N NOTTINGHAM                                 12/03/2021 12/14/2021       RAA
03926                 2013 ANNUAL                        FAIR DEAL OF ILLINOIS IN         1300009302       295 26-06-117-027-0000   2-02 18COTD928    FIRST NATIONAL ACQUISITIONS LLC                 12/07/2021 12/14/2021       RAA
03927                 2016 ANNUAL                            JOHN M MUNSON                160007261        423 20-17-118-009-0000   2-11 20COTD5024 JEHM FINANCIAL LLC                                12/06/2021 14/14/2021       RAA
03928                 2015 ANNUAL                      CHRISTIANA TR. CUSTODIAN           150008598        466 25-20-302-016-0000   2-07 19COTD3923 AIRWA PROPERTIES, LLC                             12/07/2021 12/14/2021       AA
03929                 2016 ANNUAL                        NEWLINE HOLDINGS LLC             160007434        426 20-18-409-016-0000   2-03 20COTD1184 TEODORA SALGADO TRUJILLO & ABRAHAM MEDINA PONCE   12/07/2021 12/14/2021       AA
03930                 2016 ANNUAL                            TITAN CAPITAL LLC            160006662        387 19-12-329-026-0000   2-02 20COTD2498 CHICAGO TITLE LAND TRUST# 8002363466              12/07/2021 12/14/2021       AA
03931                 2016 ANNUAL                               RDG LNS LLC               160010041        549 16-09-124-019-0000   2-02 20COTD5251 BY THE HAND CLUB FOR KIDS                         11/23/2021 12/14/2021       AA
03932                 2016 ANNUAL                               RDG LNS LLC               160010042        549 16-09-124-028-0000   2-05 20COTD5260 BY THE HAND CLUB FOR KIDS                         11/23/2021 12/14/2021       AA
03933                 2016 ANNUAL                       5 HOLE ACQUISITIONS INC           160000265        014 32-20-315-009-0000   2-03 20COTD4761 CASTILLO RESTORATION LLC                          11/29/2021 12/15/2021       RAA
03934                 2016 ANNUAL                         CORONA INVESTMENTS              160006000        296 26-06-224-020-0000   2-11 20COTD5333 CORONA INVESTMENTS LLC                            12/03/2021 12/15/2021       RAA
03935                 2016 ANNUAL                              SMM-TAX INC                160007325        424 20-17-308-027-0000   2-02 20COTD4186 APNA MAKAAN LLC                                   11/23/2021 12/15/2021       RAA
03937                 2016 ANNUAL                            TITAN CAPITAL LLC            160005654        283 25-03-211-021-0000   2-03 20COTD2488 RIZ HOLDINGS LLC                                  11/24/2021 12/15/2021       RAA
03938                 2016 ANNUAL                           WHEELER FINANCIAL             160007807        435 20-29-201-030-0000   2-02 20COTD3700 AMMAR MITHAIWALA                                  12/02/2021 12/15/2021       RAA
03941                 2015 ANNUAL                      MTAG CUSTM ATCF 11 IL LLC          150005181        265 20-26-311-028-0000   2-03 19COTD4820 WHEELER FINANCIAL, INC                            10/28/2021 12/15/2021       AA
03943                 2015 ANNUAL                     US BNK CST PC6 STERLINGNAT          150004484        247 24-27-206-199-1024   2-99 19COTD3236 WHEELER FINANCIAL, INC                            11/16/2021 12/15/2021       AA
03958                 2016 ANNUAL                            RANDOLPH 18 LLC              160003591        213 29-20-215-049-0000   2-11 20COTD2221 CYNTHIA STAINE                                    12/09/2021 12/17/2021       AA
03959                 2016 ANNUAL                     LONGSTREET CAPITAL FUNDIN           160003746        219 29-36-410-003-1042   2-99 20COTD2846 LONGSTREET CAPITAL FUNDING LLC                    11/14/2021 12/17/2021       AA
03966                 2016 ANNUAL                      INTERSTATE FUNDING CORP            160007126        419 20-08-412-051-0000   2-03 20COTD4178 GALAXY SITES LLC                                  12/08/2021 12/20/2021       RAA
03967                 2016 ANNUAL                      INTERSTATE FUNDING CORP            160009689        520 17-31-307-005-0000   2-12 20COTD9689 GALAXY SITES LLC                                  12/03/2021 12/20/2021       RAA
03973                 2015 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          150003816        219 29-33-305-029-1017   2-99 19COTD2756 LONGSTREET CAPITAL FUNDING LLC                    10/29/2021 12/20/2021       JRJ
03974                 2016 ANNUAL                              SMM-TAX INC                160000928        036 25-29-306-026-0000   2-02 20COTD4162 RED PINE PROPERTIES LLC                           11/29/2021 12/20/2021       JRJ
03975                 2014 ANNUAL                     MADISON C/O STONEFIELD IV           140001322        037 25-30-416-060-0000   2-11 18COTD8639 RED PINE PROPERTIES LLC                           11/24/2021 12/20/2021       JRJ
03976                 2014 ANNUAL                                   ICIB                  140014963        560 16-14-326-011-0000   2-11 18COTD4051 CORKERS INC                                       11/30/2021 12/21/2021       RAA
03977                 2016 ANNUAL                               BT LIENS LLC              160007243        423 20-17-101-004-0000   2-11 20COTD4093 AEB INVESTMENTS LLC                               12/01/2021 12/21/2021       RAA
03978                 2016 ANNUAL                       5 HOLE ACQUISITIONS INC           160007269        423 20-17-120-014-0000   2-02 20COTD4769 ZULKEFAL MITHAIWALA                               12/13/2021 12/21/2021       RAA
03979                 2016 ANNUAL                    INTREGITYF INVESTMENTS FND           160003870        436 20-30-106-001-0000   2-03 20COTD3870 ARTHINGTON PROPRERTIES LLC                        12/08/2021 12/21/2021       RAA
03980                 2016 ANNUAL                           WHEELER FINANCIAL             160006885        406 19-27-401-038-1105   2-99 20COTD3649 BRENT C. WATSON & WENDY WATSON                    12/14/2021 12/21/2021       AA
03981                 2016 ANNUAL                            RANDOLPH 18 LLC              160008476        458 25-16-214-018-0000   2-02 21COTD19     ODIN HAUS LLC                                   11/23/2021 12/21/2021       AA
03982                 2015 ANNUAL                      CHRISTIANA TR. CUSTODIAN           150008429        458 25-16-206-129-0000   2-02 19COTD3803 SBS PROPERTIES, LLC                               11/24/2021 12/21/2021       AA
03983                 2015 ANNUAL                      CHRISTIANA TR. CUSTODIAN           150008481        459 25-16-432-013-0000   2-02 19COTD3918 SBS PROPERTIES, LLC                               11/22/2021 12/21/2021       AA
03984                 2015 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          150000613        040 16-20-111-027-0000   2-03 19COTD2773 LONGSTREET CAPITAL FUNDING LLC                    10/28/2021 12/21/2021       JRJ
03991                 2016 ANNUAL                    INTEGRITY F INVESTMENT FND           160000628        025 28-03-205-026-0000   2-02 20COTD3578 INTEGRITY INVESTMENT REO HOLDINGS LLC             12/14/2021 12/22/2021       RAA
03992                 2016 ANNUAL                    INTEGRITY F INVESTMENT FND           160010603        568 16-22-410-021-0000   2-95 20COTD3875 INTEGRITY INVESTMENT REO HOLDINGS LLC             11/22/2021 12/22/2021       RAA
03993                 2016 ANNUAL                     MIDWESTERN INVESTORS LLC            160003024        195 29-04-304-005-0000   2-03 20COTD3135 MANAGEMENT ASSET PRESERVATION SERVICES LLC        12/15/2021 12/22/2021       RAA
03994                 2015 ANNUAL                               CORTEZZ LLC               150002442        178 31-11-405-027-1017   2-99 19COTD3362 CORTEZZ LLC                                       12/13/2021 12/22/2021       RAA
03995                 2016 ANNUAL                       MTAG CUST MGD - ILL LLC           160007929        437 20-30-216-059-0000   2-03 20COTD4956 LONGSTREET CAPITAL FUNDING LLC                    12/16/2021 12/22/2021       RAA




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        Deed Number   Sale Yr Sale Type             Buyer Name              Cert Number   Vol         PIN          Class Case Number Deed Name                              Date Issued Date Processed Initials
03996                 2016 ANNUAL         LONGSTREET CAPITAL FUNDIN      160008635        465 25-20-124-035-0000   2-34 20COTD4975 LONGSTREET CAPITAL FUNDING LLC          12/03/2021 12/22/2021       RAA
03997                 2016 ANNUAL                 LIEN GROUP LLC         160000935        036 25-29-316-047-0000   2-02 20COTD1987 ALEESHA DUNN                            12/17/2021 12/22/2021       AA
03998                 2015 ANNUAL             BELMONT REALTYCORP         150003691        215 29-24-100-022-1219   2-99 19COTD3150 RED PINE PROPERTIES,LLC                 12/13/2021 12/22/2021       AA
03999                 2015 ANNUAL                  SMM-TAX INC.          150002693        180 31-35-100-047-1082   2-99 19COTD818    RED PINE PROPERTIES,LLC               12/10/2021 12/22/2021       AA
04000                 2015 ANNUAL             BELMONT REALTYCORP         150007092        406 19-27-401-038-1060   2-99 19COTD3879 RED PINE PROPERTIES,LLC                 12/13/2021 12/23/2021       AA
04017                 2016 ANNUAL         INTEGRITY F INVESTMENT FND     160000524        022 33-05-115-032-1002   2-99 20COTD3906 INTEGRITY INVESTMENT REO HOLDINGS LLC   11/23/2021 12/29/2021       AA
04018                 2014 ANNUAL              RDG FUND-5 LNS LLC        140005134        209 29-15-412-041-0000   2-03 19COTD260    AMERICAN TAX LIEN, LLC                11/16/2021 12/29/2021       AA
04019                 2015 ANNUAL               WHEELER FINANCIAL        150006461        339 13-16-115-012-0000   2-78 19COTD3287 WHEELER FINANCIAL, INC                  11/24/2021 12/29/2021       AA
04020                 2016 ANNUAL               WHEELER FINANCIAL        160002896        193 29-02-324-013-0000   2-03 20COTD4355 WHEELER FINANCIAL, INC                  11/24/2021 12/29/2021       AA
04022                 2016 ANNUAL                   BT LIENS LLC         160007528        428 20-19-412-030-0000   2-02 20COTD4125 OLOW GRZEGORZ                           12/15/2021 12/30/2021       AA
04024                 2016 ANNUAL          MIDWESTERN INVESTORS LLC      160010136        551 16-10-419-032-0000   2-11 20COTD1924 MIDWESTERN INVESTORS, LLC               12/15/2021 12/30/2021       AA
04025                 2015 ANNUAL           MTAG CUSTM ATCF II IL LLC    150008479        459 25-16-422-018-0000   2-02 19COTD4829 WHEELER FINANCIAL INC                   12/15/2021 01/04/2022       RAA
04026                 2016 ANNUAL               WHEELER FINANCIAL        160000448        019 32-30-207-054-0000   2-03 20COTD4329 MTAG CUSTM ATCF II IL LLC               12/29/2021 01/04/2022       RAA
04027                 2016 ANNUAL             ICIB INVESTMENTS INC       160004752        259 20-22-404-005-0000   2-11 20COTD3824 AMERICAN TAX LIEN LLC                   12/28/2021 01/04/2022       RAA
04028                 2015 ANNUAL           MTAG CUSTM ATCF II IL LLC    150005188        265 20-26-320-037-0000   2-03 19COTD4822 WHEELER FINANCIAL INC                   12/15/2021 01/04/2022       RAA
04029                 2016 ANNUAL               WHEELER FINANCIAL        160000076        006 16-30-417-039-0000   2-01 20COTD4260 WHEELER FINANCIAL INC                   12/29/2021 01/04/2022       RAA
04030                 2016 ANNUAL               WHEELER FINANCIAL        160002618        180 31-33-202-006-1020   2-99 20COTD4327 WHEELER FINANCIAL INC                   12/29/2021 01/04/2022       RAA
04031                 2016 ANNUAL               WHEELER FINANCIAL        160007357        424 20-17-408-024-0000   2-11 20COTD3690 WHEELER FINANCIAL INC                   12/28/2021 01/04/2022       JRJ
04032                 2016 ANNUAL               WHEELER FINANCIAL        160007811        435 20-29-204-036-0000   2-11 20COTD3701 WHEELER FINANCIAL INC                   12/28/2021 01/04/2022       JRJ
04033                 2016 ANNUAL               WHEELER FINANCIAL        160008060        441 20-32-412-025-0000   2-03 20COTD3707 WHEELER FINANCIAL INC                   12/28/2021 01/04/2022       JRJ
04034                 2016 ANNUAL            NEWLINE HOLDINGS LLC        160003837        223 30-08-410-036-0000   2-05 20COTD1160 RED PINE PROPERTIES LLC                 12/27/2021 01/05/2021       JRJ
04035                 2016 ANNUAL            NEWLINE HOLDINGS LLC        160010831        579 16-27-423-017-0000   2-11 20COTD1476 RED PINE PROPERTIES LLC                 12/28/2021 01/05/2021       JRJ
04037                 2014 ANNUAL            FAIR DEAL OF ILLINOIS IN    140010286        414 20-04-408-009-0000   2-11 18COTD8221 FIRST NATIONAL ACQUISITIONS,LLC         12/29/2021 01/04/2022       AA
04038                 2015 ANNUAL             BELMONT REALTYCORP         150005103        262 20-25-213-026-1001   2-99 19COTD3342 RED PINE PROPERTIES, LLC                12/13/2021 01/04/2022       AA
04039                 2015 ANNUAL           5 HOLE ACQUISITIONS, INC     150006385        332 13-12-226-021-1020   2-99 19COTD874    5301 W. OGDEN LLC                     12/22/2021 01/05/2022       AA
04041                 2016 ANNUAL            NEWLINE HOLDINGS LLC        160008403        457 25-09-320-013-0000   2-02 20COTD1256 ODIN HAUS LLC                           01/03/2022 01/05/2022       AA
04042                 2015 ANNUAL             ICIB INVESTMENTS INC       150008047        441 20-32-304-032-0000   2-03 19COTD1455 DHJS LLC-8344                           12/27/2021 01/05/2022       AA
04044                 2016 ANNUAL              FNA DZ LLC FBO WSFS       160001477        069 12-28-427-031-0000   2-95 20COTD4716 FIRST NATIONAL ACQUISITIONS LLC         01/03/2022 01/05/2022       JRJ
04045                 2016 ANNUAL              FNA DZ LLC FBO WSFS       160004841        261 20-24-402-023-1002   2-99 20COTD4779 FIRST NATIONAL ACQUISITIONS LLC         01/03/2022 01/05/2022       JRJ
04046                 2016 ANNUAL              FNA DZ LLC FBO WSFS       160005559        281 25-02-100-031-0000   2-02 20COTD4790 FIRST NATIONAL ACQUISITIONS LLC         01/04/2022 01/05/2022       JRJ
04047                 2016 ANNUAL              FNA DZ LLC FBO WSFS       160008276        450 25-05-309-062-0000   2-05 20COTD4473 FIRST NATIONAL ACQUISITIONS LLC         01/03/2022 01/05/2022       JRJ
04048                 2016 ANNUAL              FNA DZ LLC FBO WSFS       160008542        460 25-17-228-041-0000   2-05 20COTD4467 FIRST NATIONAL ACQUISITIONS LLC         01/03/2022 01/05/2022       JRJ
04049                 2015 ANNUAL              FNA DZ LLC FBO WSFS       150009553        511 17-16-238-028-2206   2-99 19COTD4178 FIRST NATIONAL ACQUISITIONS LLC         01/03/2022 01/05/2022       JRJ
04050                 2016 ANNUAL               WHEELER FINANCIAL        160002928        194 29-03-106-016-0000   2-03 20COTD4360 WHEELER FINANCIAL INC.                  12/30/2021 01/06/2022       AA
04051                 2016 ANNUAL               WHEELER FINANCIAL        160002649        180 31-35-208-010-0000   2-02 20COTD4336 WHEELER FINANCIAL INC.                  01/03/2022 01/06/2022       AA
04052                 2015 ANNUAL          MTAG CUSTM ATCF 11 IL LLC     150006351        327 13-08-319-018-0000   2-04 19COTD4787 WHEELER FINANCIAL INC.                  12/21/2021 01/06/2022       AA
04053                 2015 ANNUAL          MTAG CUSTM ATCF 11 IL LLC     150003133        197 29-06-425-012-0000   2-02 19COTD4780 WHEELER FINANCIAL, INC.                 11/24/2021 01/06/2022       AA
04054                 2015 ANNUAL               WHEELER FINANCIAL        150011109        012 32-17-220-003-0000   2-03 19COTD4125 WHEELER FINANCIAL, INC.                 12/10/2021 01/06/2022       AA
04055                 2016 ANNUAL           SUMMERSEAT CAPITAL LLC       160006896        406 19-27-401-038-1249   2-99 20COTD4925 PENN PACIFIC PROPERTIES LP              01/03/2022 01/06/2022       AA
04058                 2016 ANNUAL                RANDOLPH 18 LLC         160008516        459 25-16-419-007-0000   2-02 20COTD4078 BRIANNA ROBINSON                        12/28/2021 01/07/2022       RAA
04059                 2016 ANNUAL             ATCF II TAX SERV CUST      160010104        551 16-10-319-030-0000   2-95 20COTD4868 ED INVESTMENTS & CONSTRUCTION INC       12/28/2021 01/07/022        RAA
04060                 2015 ANNUAL           INTERCOASTAL EQUITY LLC      150005970        289 25-15-313-003-0000   2-11 20COTD2270 DMH MANAGEMENT LLC                      12/13/2021 01/07/2022       RAA
04061                 2015 ANNUAL          CHRISTIANA TRUST AS CUST      150007293        419 20-08-411-045-0000   2-03 19COTD3377 SUPERIOR CHOICE LTD                     01/05/2022 01/10/2022       RAA
04063                 2017 ANNUAL         PHOENIX BOND & INDEMNITY       170006667        294 26-05-103-024-0000   2-11 20COTD719    MACKINAW HOLDINGS, LLC                01/05/2022 01/10/2022       AA
04065                 2015 ANNUAL              FNA DZ LLC FBO WSFS       150001015        061 06-36-207-002-0000   2-02 19COTD3846 FIRST NATIONAL ACQUISITIONS,LLC         01/10/2022 01/12/2022       AA
04066                 2015 ANNUAL           FAIR DEAL OF ILLINOIS INC.   150005942        288 25-15-124-005-0000   2-03 19COTD3979 FIRST NATIONAL ACQUISITIONS,LLC         01/04/2022 01/12/2022       AA
04067                 2015 ANNUAL           FAIR DEAL OF ILLINOIS INC.   150010777        577 16-26-420-004-0000   2-02 19COTD3867 FIRST NATIONAL ACQUISITIONS,LLC         01/04/2022 01/12/2022       AA
04068                 2015 ANNUAL           FAIR DEAL OF ILLINOIS INC.   150010855        590 17-08-438-006-1296   2-99 19COTD3869 FIRST NATIONAL ACQUISITIONS,LLC         01/04/2022 01/12/2022       AA
04069                 2016 ANNUAL              FNA DZ LLC FBO WSFS       160005524        279 25-01-211-001-0000   2-03 20COTD4789 FIRST NATIONAL ACQUISITIONS,LLC         01/03/2022 01/12/2022       AA
04070                 2015 ANNUAL            CLARK & RANDOLPH LLC        150011257        017 32-25-319-020-0000   2-95 19COTD2588 THE SOCIAL KONNECTS LLC                 01/06/2022 01/12/2022       JRJ
04071                 2016 ANNUAL           SUMMERSEAT CAPITAL LLC       160006894        406 19-27-401-038-1246   2-99 20COTD6894 PENN PACIFIC PROPERTIES LP              01/03/2022 01/12/2022       RAA
04080                 2016 ANNUAL               WHEELER FINANCIAL        160007272        423 20-17-121-017-0000   2-02 20COTD3675 WHEELER FINANCIAL, INC.                 01/12/2022 01/14/2022       AA




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        Deed Number   Sale Yr Sale Type                        Buyer Name                    Cert Number    Vol         PIN          Class Case Number Deed Name                               Date Issued Date Processed Initials
04081                 2016 ANNUAL                  PINE VALLEY ONE REAL ESTATE LLC        160002761         187 07-15-402-013-0000   2-03 20COTD4532 PINE VALLEY ONE REAL ESTATE LLC          11/18/2021 01/14/2022       JRJ
04082                 2016 ANNUAL                       WHEELER FINANCIAL INC             160004936         263 20-25-429-004-0000   2-41 20COTD2424 WHEELER FINANCIAL INC                    01/12/2022 01/14/2022       JRJ
04083                 2015 ANNUAL                                GAN C LLC                150002090         160 15-10-126-009-0000   2-05 19COTD3358 XCLEARING INC                            12/23/2021 01/14/2022       JRJ
04084                 2016 ANNUAL                       MTAG CUST MGD ILL LLC             160005726         285 25-10-308-023-0000   2-05 20COTD4980 AIRWA PROPERTIES LLC                     01/07/2022 01/14/2022       JRJ
04085                 2016 ANNUAL                            LIEN GROUP LLC               160007740         433 20-28-304-004-0000   2-03 20COTD1740 MOOTH LLC                                12/30/2021 01/18/2022       JRJ
04086                 2016 ANNUAL                                GAN C LLC                150005034         261 20-24-402-023-1017   2-99 19COTD3095 CORTEZZ LLC                              01/11/2022 01/18/2022       JRJ
04087                 2016 ANNUAL                       NEWLINE HOLDINGS LLC              160000344         017 32-25-109-063-0000   2-95 20COTD1153 JEFFREY BROOKS                           11/24/2021 01/18/2022       JRJ
04088                 2016 ANNUAL                              BT LIENS LLC               160007521         428 20-19-403-035-0000   2-11 20COTD4122 FIRST DEAL ENTERPRISE INC                01/07/2022 01/18/2022       JRJ
04089                 2015 ANNUAL                       WHEELER FINANCIAL INC             150005372         270 20-35-200-024-0000   2-02 19COTD3253 WHEELER FINANCIAL INC                    12/27/2021 01/18/2022       JRJ
04090                 2016 ANNUAL                           RANDOLPH 18 LLC               160002169         155 15-04-301-036-0000   2-03 20COTD2482 V3 REALTY LLC                            01/12/2022 01/14/2022       AA
04091                 2015 ANNUAL                     CHRISTIANA TR CUSTODIAN             150004926         259 20-22-321-010-0000   2-02 19COTD2553 APNA MAKAAN LLC                          11/29/2021 01/14/2022       AA
04092                 2016 ANNUAL                    MIDWESTERN INVESTORS LLC             160007540         428 20-19-418-047-0000   2-05 20COTD1900 AM53 PROPERTIES LLC                      12/21/2021 01/14/2022       AA
04093                 2015 ANNUAL                       CORONA INVESTMENTS                150009898         539 16-02-315-031-0000   2-11 19COTD917    CORONA INVESTMENTS, LLC                01/05/2022 01/14/2022       AA
04094                 2016 ANNUAL                        ICIB INVESTMENTS INC             160003352         205 29-12-230-022-0000   2-95 20COTD4483 AMERICAN TAX LIEN LLC                    01/13/2022 01/18/2022       RAA
VOID                  2016 ANNUAL                        ICIB INVESTMENTS INC             160003676         217 29-30-131-036-0000   2-03 20COTD4484 AMERICAN TAX LIEN LLC                    01/13/2022 01/18/2022       RAA
04096                 2015 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          150001391         085 18-36-405-023-0000   2-34 19COTD2776 LONGSTREET CAPITAL FUNDING LLC           10/22/2021 01/20/2022       JRJ
04097                 2015 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          150000379         033 28-25-309-010-0000   2-34 19COTD2759 LONGSTREET CAPITAL FUNDING LLC           11/01/2021 01/20/2022       JRJ
04098                 2015 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          150000487         035 28-36-116-003-0000   2-34 19COTD2755 LONGSTREET CAPITAL FUNDING LLC           11/01/2021 01/20/2022       JRJ
04099                 2015 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          150008532         463 25-18-409-007-0000   2-05 19COTD2745 LONGSTREET CAPITAL FUNDING LLC           11/01/2021 01/20/2022       JRJ
04100                 2016 ANNUAL                       NEWLINE HOLDINGS LLC              160000719         030 28-14-310-035-0000   2-05 20COTD2726 H&E INVESTMENTS LLC                      01/11/2022 01/24/2022       JRJ
04100                 2016 ANNUAL                       NEWLINE HOLDINGS LLC              160000720         030 28-14-310-036-0000   2-05 20COTD2726 H&E INVESTMENTS LLC                      01/11/2022 01/24/2022       JRJ
04101                 2015 ANNUAL                      FAIR DEAL OF ILLINOIS INC          150010615-D1790   569 16-23-102-010-0000   2-11 19COTD1765 FELDMAN CONSTRUCTION GROUP LLC           01/05/2022 01/24/2022       JRJ
04102                 2016 ANNUAL                       WHEELER FINANCIAL INC             160003807         223 30-08-302-047-0000   2-03 20COTD4585 WHEELER FINANCIAL INC                    01/13/2022 01/24/2022       JRJ
04103                 2016 ANNUAL                       WHEELER FINANCIAL INC             160008647         465 25-20-210-025-0000   2-03 20COTD3729 WHEELER FINANCIAL INC                    01/04/2022 01/24/2022       JRJ
04105                 2015 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          150000212         027 28-11-307-003-0000   2-03 19COTD2741 LONGSTREET CAPITAL FUNDING LLC           11/02/2021 01/24/2022       JRJ
04106                 2015 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          150005904         287 25-12-428-003-0000   2-03 19COTD2731 LONGSTREET CAPITAL FUNDING LLC           11/02/2021 01/24/2022       JRJ
04107                 2016 ANNUAL                         FNA DZ LLC FBO WSFS             160004130         237 24-02-420-048-0000   2-02 20COTD4728 FIRST NATIONAL ACQUISITIONS,LLC          12/28/2021 1/20/2022        AA
04110                 2016 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          160006112         303 26-31-220-054-0000   2-03 20COTD4984 LONGSTREET CAPITAL FUNDING LLC           12/03/2021 01/21/2022       RAA
04113                 2016 ANNUAL                            LIEN GROUP LLC               160010821         578 16-27-203-067-0000   2-11 20COTD10821 LIEN GROUP LLC                          01/13/2022 01/25/2022       RAA
04114                 2015 ANNUAL                          NEWLINE HOLDINGS               150007568         427 20-19-202-015-0000   2-03 19COTD3554 ED INVESTMENTS & CONSTRUCTION INC        01/25/2022 01/25/2022       RAA
04115                 2016 ANNUAL                           RANDOLPH 18 LLC               16F056660         019 32-30-111-005-0000   2-03 21COTD330    SOUTHSIDE RENTALS & INVESTMENTS LLC    01/20/2022 01/25/2022       AA
04116                 2016 ANNUAL                          WHEELER FINANCIAL              160000386         017 32-25-411-027-0000   2-02 20COTD4319 WHEELER FINANCIAL, INC.                  01/13/2022 01/25/2022       AA
04117                 2016 ANNUAL                          WHEELER FINANCIAL              160003012         195 29-04-231-016-0000   2-03 20COTD4267 WHEELER FINANCIAL, INC.                  01/13/2022 01/25/2022       AA
04118                 2016 ANNUAL                         ICIB INVESTMENT INC             160004742         259 20-22-400-030-0000   2-05 20COTD3823 AMERICAN TAX LIEN LLC                    01/13/2022 01/25/2022       AA
04119                 2016 ANNUAL                     US BANK CF TOWER DB VIII            160000043         003 16-19-430-001-0000   2-11 21COTD9      US BANK CUSTODIAN FOR TOWER DBW VIII   11/24/2021 01/25/2022       AA
04120                 2015 ANNUAL                                GAN C LLC                150001222         073 18-02-213-054-1002   2-99 19COTD3359 CORTEZZ LLC                              01/20/2022 01/26/2022       AA
04121                 2015 ANNUAL                        BELMONT REALYCORP                150004076         229 30-31-319-049-1013   2-99 19COTD3335 RED PINE PROPERTIES                      12/13/2021 01/26/2022       AA
04122                 2015 ANNUAL                           ICIB INVESTMENTS              150005747         282 25-02-415-023-0000   2-11 19COTD903    IOS ENTERPRISE, LLC                    01/20/2022 01/26/2022       AA
04124                 2016 ANNUAL                       WHEELER FINANCIAL INC             160007794         434 20-29-118-001-0000   2-03 20COTD3698 RORRINKA OWENS AND JULIO ROSADO          01/04/2022 01/26/2022       JRJ
04128                 2015 ANNUAL                            PINE VALLEY ONE              150003235         201 29-09-100-011-0000   2-02 19COTD4495 WILLIAM MANNIE                           01/10/2022 01/27/2022       RAA
04129                 2015 ANNUAL                     MADISON C/O STONEFLD IV             150002578         179 31-23-401-031-0000   2-03 19COTD2578 RED PINE PROPERTIES LLC                  01/21/2022 01/27/2022       RAA
04130                 2016 ANNUAL                      5 HOLE ACQUISITIONS INC            160007188         421 20-16-114-006-0000   2-02 20COTD4768 ERNEST LIVING LLC                        01/19/2022 01/27/2022       RAA
04131                 2016 ANNUAL                            LIEN GROUP LLC               160007447         426 20-18-423-044-0000   2-12 21COTD201    WTL FOUNDATION 1, INC                  01/12/2022 01/28/2022       AA
04132                 2017 ANNUAL                         DAVID M FLEISHMAN               170005435         261 20-23-401-014-0000   2-99 20COTD4081 LANDEX LAND LLC                          01/21/2022 01/28/2022       RAA
04133                 2015 ANNUAL                              ROYCE RE LLC               150002167         162 15-11-361-003-0000   2-11 19COTD0782 OPRADELLIA GROUP LLC                     01/07/2022 01/28/2022       JRJ
04134                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150007462         424 20-17-316-023-0000   2-02 19COTD3472 SBS PROPERTIES LLC                       01/12/2022 01/28/2022       JRJ
04135                 2016 ANNUAL                            LIEN GROUP LLC               160002933         194 29-03-113-015-0000   2-03 20COTD2583 LIEN GROUP LLC                           01/14/2022 01/28/2022       JRJ
04137                 2016 ANNUAL                     INTERCOASTAL EQUITY LLC             160000661         026 28-10-222-037-1003   2-99 20COTD2079 F&S PROPERTIES, LLC                      12/15/2021 01/31/2022       AA
04140                 2016 ANNUAL                           RANDOLPH 18 LLC               160000250         014 32-20-300-012-0000   2-02 20COTD2964 T KAY INVESTMENTS INC                    01/20/2022 01/31/2022       JRJ
04141                 2016 ANNUAL                           RANDOLPH 18 LLC               160007799         434 20-29-129-014-0000   2-02 20COTD4071 AIRWA PROPERTIES LLC                     01/26/2022 01/31/2022       JRJ
04156                 2016 ANNUAL                       NEWLINE HOLDINGS LLC              160003165         200 29-08-303-016-0000   2-03 20COTD1193 ARTHINGTON PROPERTIES LLC                01/24/2022 02/01/2022       AA
04167                 2017 ANNUAL                  INTEGRITY INVESTMENT FUND LLC          170007561         400 19-22-304-054-0000   2-03 21COTD1005 INTEGRITY INVESTMENT REO HOLDINGS LLC    01/26/2022 02/02/2022       JRJ




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        Deed Number   Sale Yr Sale Type                        Buyer Name                    Cert Number   Vol         PIN          Class Case Number Deed Name                                   Date Issued Date Processed Initials
04168                 2015 ANNUAL                        ICIB INVESTMENTS INC             150010464        561 16-15-121-009-0000   2-11 19COTD1679 AMERICAN TAX LIEN LLC                        01/13/2022 02/02/2022       JRJ
04169                 2016 ANNUAL                       WHEELER FINANCIAL INC             160002440        178 31-02-200-026-1075   2-99 20COTD4401 WHEELER FINANCIAL INC                        01/26/2022 02/02/2022       JRJ
04170                 2016 ANNUAL                       WHEELER FINANCIAL INC             160003317        203 29-11-312-073-0000   2-34 20COTD4685 WHEELER FINANCIAL INC                        01/19/2022 02/02/2022       JRJ
04171                 2015 ANNUAL                        ICIB INVESTMENTS INC             150007487        424 20-17-406-014-0000   2-11 19COTD1200 TRANSPIRE LLC -5937 S PEORIA STREET SERIES   01/25/2022 02/03/2022       RAA
04173                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150007301        419 20-08-420-031-0000   2-02 19COTD3378 MITH REAL ESTATE LLC                         01/11/2022 02/04/2022       JRJ
04174                 2015 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          150005179        265 20-26-310-027-0000   2-03 19COTD2757 LONGSTREET CAPITAL FUNDING LLC               01/06/2022 02/07/2022       JRJ
04175                 2015 ANNUAL                        ICIB INVESTMENTS INC             150007352        421 20-16-202-052-0000   2-05 19COTD1454 AMERICAN TAX LIEN LLC                        01/19/2022 02/07/2022       AA
04176                 2016 ANNUAL                              RDG LNS LLC                160002548        179 31-22-102-010-0000   2-02 20COTD5136 CHICAGO ASSETS LLC                           01/28/2022 02/08/2022       RAA
04177                 2016 ANNUAL                          TITAN CAPITAL LLC              160010252        556 16-13-115-016-0000   2-11 20COTD2833 PILAL M.M. LLC                               01/31/2022 02/08/2022       RAA
04178                 2015 ANNUAL                              RDG LNS LLC                150004201        233 03-24-202-027-1111   2-99 19COTD4307 FELDMAN CONSTRUCTION GROUP LLC               02/04/2022 02/09/2022       JRJ
04179                 2015 ANNUAL                    US BNK CST PC6 STERLING NAT          150005435        272 20-36-219-022-0000   2-03 19COTD3343 WHEELER FINANCIAL INC                        12/28/2021 02/09/2022       JRJ
04184                 2017 ANNUAL                       BELMONT REALTY CORP               170004619        231 03-04-400-035-1046   2-99 21COTD568    BELMONT REALTY CORPORATION                 01/21/2022 02/14/2022       RAA
04185                 2016 ANNUAL                    MADISON TR C/O STONEFIELD            160006250        332 13-12-218-050-1011   2-99 20COTD3611 TL6 IL2, LLC                                 01/26/2022 02/18/2022       AA
04186                 2015 ANNUAL                     MADISON C/O STONEFLD IV             1500003480       045 16-29-206-024-0000   2-11 19COTD3480 RED PINE PROPERTIES LLC                      02/07/2022 02/15/2022       RAA
04188                 2015 ANNUAL                               GAN C LLC                 150004853        258 20-22-105-044-0000   2-03 19COTD3092 CORTEZZ LLC                                  01/26/2022 02/16/2022       JRJ
04189                 2015 ANNUAL                               GAN C LLC                 150005334        270 20-35-101-023-0000   2-11 19COTD3100 CORTEZZ LLC                                  01/26/2022 02/18/2022       JRJ
04190                 2015 ANNUAL                               GAN C LLC                 150007898        436 20-29-400-016-0000   2-02 19COTD3106 CORTEZZ LLC                                  02/01/2022 02/18/2022       JRJ
04191                 2015 ANNUAL                               GAN C LLC                 150008510        461 25-17-331-010-0000   2-02 19COTD3112 CORTEZZ LLC                                  02/01/2022 02/18/2022       JRJ
04192                 2015 ANNUAL                    MADISON C/O STONEFIELD IV            150007164        414 20-04-437-055-0000   2-95 19COTD3782 RED PINE PROPERTIES LLC                      01/21/2022 02/18/2022       JRJ
04194                 2016 ANNUAL                    MADISON TR C/O STONEFIELD            160006553        376 19-01-120-015-0000   2-02 20COTD3614 TL6 IL2, LLC                                 01/27/2022 02/18/2022       AA
04195                 2016 ANNUAL                    MADISON TR C/O STONEFIELD            160006766        398 19-20-214-013-0000   2-11 20COTD3913 TL6 IL3, LLC                                 02/01/2022 02/18/2022       AA
04196                 2015 ANNUAL                      US BANK % TOWER DB V11             150006681        367 13-32-407-027-0000   2-11 19COTD4821 TOWER DB V11 TRUST 2017-1                    01/05/2022 02/18/2022       AA
04207                 2015 ANNUAL                               GAN C LLC                 150008152        448 25-04-117-006-0000   2-03 19COTD3108 CORTEZZ LLC                                  01/18/20225 02/24/2022      JRJ
04208                 2017 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          170009768        474 14-06-109-015-1002   2-99 21COTD2114 LONGSTREET CAPITAL FUNDING LLC               02/07/2022 02/24/2022       JRJ
04211                 2017 ANNUAL                       BELMONT REALTY CORP               170004213        215 29-24-100-018-1162   2-99 21COTD0567 BELMONT REALTY CORPORATION                   01/18/2022 02/25/2022       JRJ
04212                 2016 ANNUAL                               GAN C LLC                 160002249        162 15-10-405-024-0000   2-03 20COTD2913 CORTEZZ LLC                                  02/07/2022 02/25/2022       JRJ
04215                 2016 ANNUAL                               GAN C LLC                 160004321        247 24-25-404-013-0000   2-03 20COTD2168 CORTEZZ LLC                                  01/27/2022 02/28/2022       JRJ
04216                 2014 ANNUAL                       NEWLINE HOLDINGS LLC              140001348        038 25-13-218-002-0000   2-03 18COTD6124 RED PINE PROPERTIES,LLC                      02/08/2022 02/24/2022       AA
04217                 2016 ANNUAL                    MADISON TR C/O STONEFIELD            160004375        249 24-36-303-013-0000   2-05 20COTD3607 TL6 IL3,LLC                                  02/08/2022 02/24/2022       AA
04218                 2016 ANNUAL                       CORONA INVESTMENTS                160010094        551 16-10-107-034-0000   2-11 20COTD4828 4628 OHOI LLC                                01/14/2022 02/24/2022       AA
04220                 2015 ANNUAL                               GAN C LLC                 150007993        439 20-31-321-031-0000   2-03 19COTD3107 CORTEZZ LLC                                  02/08/2022 02/28/2022       JRJ
04221                 2015 ANNUAL                       CLARK & RANDOLPH LLC              150005247        267 20-27-303-032-0000   2-03 19COTD1212 CGA RE CAP LLC                               02/15/2022 02/28/2022       JRJ
04222                 2016 ANNUAL                           RANDOLPH 18 LLC               160007481        427 20-19-212-029-0000   2-02 20COTD4005 KLM 1953 REAL ESTATE LLC                     02/04/2022 03/01/2022       RAA
04223                 2016 ANNUAL                       CORONA INVESTMENTS                160008682        466 25-20-424-064-0000   2-95 20COTD4545 UP MANAGEMENT, LLC                           02/14/2022 03/01/2022       AA
04224                 2015 ANNUAL                         FNA DZ LLC FBOWSFS              150007292        419 20-08-411-044-0000   2-03 19COTD1833 SUPERIOR CHOICE LTD                          02/16/2022 03/01/2022       AA
04226                 2016 ANNUAL                       MTAG CUST MGD-ILL LLC             160004697        258 20-22-218-048-0000   2-11 20COTD5080 EBERHART ENTERPRISES, LLC                    02/08/2022 03/01/2022       AA
04227                 2017 ANNUAL                    LONGSTREET CAPITAL FUNDIN            170007037        339 13-15-409-012-0000   2-03 21COTD2094 LONGSTREET CAPITAL FUNDING LLC               02/07/2022 03/01/2022       RAA
04237                 2016 ANNUAL                  INTEGRITY INVESTMENT FUND LLC          160003623        215 29-23-411-004-0000   2-34 20COTD3558 INTEGRITY INVESTMENT REO HOLDINGS LLC        02/01/2022 03/01/2022       JRJ
04238                 2016 ANNUAL                  INTEGRITY INVESTMENT FUND LLC          160000275        014 32-20-327-023-0000   2-02 20COTD3548 INTEGRITY INVESTMENT REO HOLDINGS LLC        02/25/2022 03/01/2022       JRJ
04239                 2016 ANNUAL                       WHEELER FINANCIAL INC             160001476        069 12-28-427-030-0000   2-95 20COTD4395 CHICAGO ASSETS LLC                           02/10/2022 03/01/2022       JRJ
04240                 2015 ANNUAL                       NEWLINE HOLDINGS LLC              150000146        024 28-02-425-018-0000   2-03 19COTD2717 MONIQUE BRIDGEFORTH                          01/14/2022 03/01/2022       JRJ
04241                 2015 ANNUAL                     NEBRASKA ALLIANCE REALTY            150011273        017 32-25-413-066-0000   2-02 19COTD4411 GREYMORR REAL ESTATE LLC                     02/14/2022 03/02/2022       JRJ
04243                 2016 ANNUAL                       RDIA INVESTMENTS LLC              160000189        013 32-17-422-018-0000   2-03 21COTD0209 RDIA INVESTMENTS LLC                         12/08/2021 03/02/2022       JRJ
04244                 2016 ANNUAL                     CORONA INVESTMENTS LLC              160008727        467 25-21-208-022-0000   2-02 21COTD0042 UP MANAGEMENT LLC                            02/14/2022 03/02/2022       JRJ
04245                 2016 ANNUAL                       RDIA INVESTMENTS LLC              160010748        573 16-25-103-037-0000   2-11 20COTD3127 RDIA INVESTMENTS LLC                         11/03/2021 03/02/2022       JRJ
04247                 2016 ANNUAL                         PINE VALLEY ONE RE              160006325        345 13-20-102-023-0000   2-03 20COTD4244 RED PINE PROPERTIES, LLC                     02/18/2022 03/02/2022       AA
04248                 2016 ANNUAL                           RANDOLPH 18 LLC               160003601        213 29-12-102-049-0000   2-05 20COTD4832 PARIS BURNS                                  02/16/2022 03/02/2022       AA
04249                 2015 ANNUAL                       CORONA INVESTMENTS                150010880        589 17-08-246-029-1034   2-99 19COTD4586 CHRYSANTHEMUM LLC                            02/08/2022 03/03/2022       RAA
04251                 2016 ANNUAL                     NEBRASKA ALLIANCE REALTY            160009690        520 17-31-307-006-0000   2-12 20COTD3376 UNION HILL HOLDINGS, LLC                     01/10/2022 03/04/2022       AA
04252                 2016 ANNUAL                       MTAG CUST MGD-ILL LLC             160005453        276 21-31-231-005-0000   2-11 20COTD4943 ANGELA ARMSTEAD & LASHAUNDA BROWN            02/23/2022 03/04/2022       AA
04253                 2015 ANNUAL                     NEBRASKA ALLIANCE REALTY            150011148        014 32-19-418-052-0000   2-03 19COTD4407 GREYMORR REAL ESTATE, LLC                    02/18/2022 03/04/2022       AA
04256                 2016 ANNUAL                       ICIB INVESTMENTS INC.             160008633        465 25-20-123-038-0000   2-11 20COTD4514 KL & SB INVESTMENTS LLC                      02/23/2022 03/04/2022       RAA




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        Deed Number   Sale Yr Sale Type                        Buyer Name                    Cert Number   Vol         PIN          Class Case Number Deed Name                               Date Issued Date Processed Initials
04257                 2016 ANNUAL                    INTEGRITY INVESTMENT FND             160007905        436 20-30-114-012-0000   2-02 20COTD3582 INTEGRITY INVESTMENT REO HOLDINGS LLC    02/22/2022 03/04/2022       RAA
04258                 2016 ANNUAL                    INTEGRITY INVESTMENT FND             160010258        556 16-13-119-039-1003   2-99 20COTD3877 INTEGRITY INVESTMENT REO HOLDINGS LLC    02/22/2022 03/04/2022       RAA
04264                 2016 ANNUAL                       RDIA INVESTMENTS LLC              160007158        420 20-09-201-005-0000   2-02 20COTD1798 RDIA INVESTMENTS LLC                     11/04/2021 03/04/2022       JRJ
04265                 2014 ANNUAL                           ELM LIMITED LLC               140008505        290 25-22-217-001-0000   2-11 18COTD7248 GALA ENTERPRISES LLC                     02/18/2022 03/04/2022       JRJ
04266                 2016 ANNUAL                        FNA DZ LLC FBO WSFS              160004521        253 20-10-303-022-0000   2-11 20COTD1962 JEM CAP LLC                              02/18/2022 03/04/2022       JRJ
04268                 2016 ANNUAL                       RDIA INVESTMENTS LLC              160010574        567 16-22-213-004-0000   2-11 20COTD1967 ALMGS LLC                                02/16/2022 03/08/2022       JRJ
04269                 2015 ANNUAL                      WHEELER FINANCIAL INC              150002750        180 31-36-403-014-0000   2-03 19COTD2913 WHEELER FINANCIAL INC                    02/08/2022 03/08/2022       JRJ
04272                 2017 ANNUAL                  BELMONT REALTY CORPORATION             170005774        267 20-27-416-034-0000   2-03 21COTD0769 BELMONT REALTY CORPORATION               02/24/2022 03/09/2022       JRJ
04274                 2015 ANNUAL                   MADISON C/O STONEFIELD IV             150002572        179 31-23-309-032-0000   2-03 19COTD3485 RED PINE PROPERTIES LLC                  01/31/2022 03/10/2022       JRJ
04276                 2017 ANNUAL                              NICK PIPALA                170009196        455 25-08-431-009-0000   2-03 21COTD832    EAGLE INV PROPERTIES INC               02/23/2022 03/10/2022       RAA
04277                 2016 ANNUAL                                GAN C LLC                160008836        469 25-28-119-031-0000   2-05 20COTD2629 CORTEZZ, LLC                             02/08/2022 03/10/2022       AA
04278                 2017 ANNUAL                          TITAN CAPITAL LLC              170005812        268 20-34-215-016-0000   3-18 21COTD674    CENTER COURT DEVELOPMENT LLC           02/14/2022 03/10/2022       AA
04280                 2016 ANNUAL                        TLI CHICAGO 2014 INC             160006376        355 13-26-323-032-1001   2-99 20COTD1828 TLI CHICAGO 2014 INC                     01/25/2022 03/14/2022       JRJ
04281                 2016 ANNUAL                   PINE VALLEY ONE REAL ESTATE           160007982        439 20-31-203-038-0000   2-11 20COTD4748 PVONE PROPERTIES LLC                     02/23/2022 03/14/2022       JRJ
04282                 2016 ANNUAL                      WHEELER FINANCIAL INC              160002973        195 29-04-109-008-0000   2-11 20COTD4262 PROJECT PREVENTION INC                   02/25/2022 03/14/2022       JRJ
04283                 2016 ANNUAL                              BT LIENS LLC               160005616        282 25-02-410-008-0000   2-05 20COTD4090 DHJS LLC-9210                            02/25/2022 03/14/2022       JRJ
04286                 2016 ANNUAL                           MARK REINBOLD                 160009750        526 17-34-328-005-0000   2-10 20COTD5330 MARK REINBOLD                            08/02/2021 03/15/2021       JRJ
04287                 2017 ANNUAL                       BELMONT REALTY CORP               170004909        247 24-25-415-017-1052   2-99 21COTD770    RED PINE PROPERTIES, LLC               02/24/2022 03/15/2022       AA
04288                 2017 ANNUAL                       BELMONT REALTY CORP               170005196        255 20-12-100-003-1651   2-99 21COTD768    RED PINE PROPERTIES, LLC               02/24/2022 03/15/2022       AA
04289                 2015 ANNUAL                    NEBRASKA ALLIANCE REALTY             150011057        011 32-07-105-026-0000   2-08 19COTD4405 GREYMORR REAL ESTATE, LLC                03/03/2022 03/15/2022       AA
04290                 2017 ANNUAL                       FNA DZ LLC FBO WS FS              170001155        035 28-35-412-014-0000   2-03 21COTD669    BOULEVARD CAPITAL LLC                  02/28/2022 03/16/2022       RAA
04291                 2016 ANNUAL                        RDIH INVESTMENT LL               160000788        032 28-24-107-004-0000   2-03 21COTD211    TRUNINA INC                            02/28/2022 03/16/2022       RAA
04292                 2017 ANNUAL                    INTEGRITY INVESTMENT FND             170005909        270 20-35-226-033-0000   2-02 21COTD1826 INTEGRITY INVESTMENT REO HOLDINGS, LLC   02/28/2022 03/16/2022       AA
04293                 2016 ANNUAL                   MADISON TR C/O STONEFIELD             160004242        244 24-15-308-025-1003   2-99 20COTD3907 TL6 IL3, LLC                             03/08/2022 03/16/2022       AA
04294                 2015 ANNUAL                                GAN C LLC                150005200        266 20-27-110-036-0000   2-11 19COTD3097 CORTEZZ, LLC                             03/11/2022 03/16/2022       AA
04295                 2017 ANNUAL                               INTAXX LLC                170006581        290 25-22-123-006-0000   2-12 21COTD0255 CORTEZZ, LLC                             03/11/2022 03/17/2022       JRJ
04296                 2016 ANNUAL                      WHEELER FINANCIAL INC              160000717        030 28-14-309-067-0000   2-78 20COTD4380 PROPERTY JEDI LLC                        03/04/2022 03/17/2022       JRJ
04297                 2016 ANNUAL                           LIEN GROUP LLC                160007190        421 20-16-121-023-0000   2-78 21COTD0200 PEDRO MARTINEZ                           03/03/2022 03/17/2022       JRJ
04298                 2017 ANNUAL                      NEWLINE HOLDINGS LLC               170000730        022 33-31-111-026-0000   2-02 21COTD1462 223 PROPERTIES LLC                       03/04/2022 03/17/2022       JRJ
04299                 2016 ANNUAL                              RDG LNS LLC                160005857        289 25-15-316-001-0000   2-11 20COTD5143 M&N PREMIER LLC                          03/08/2022 03/17/2022       JRJ
04300                 2016 ANNUAL                       RDIA INVESTMENTS LLC              160008844        469 25-28-127-004-0000   2-11 21COTD0212 12213 S LOWE AVE LLC                     02/08/2022 03/17/2022       JRJ
04301                 2016 ANNUAL                        ICIB INVESTMENT INC              160005005        265 20-26-320-025-0000   2-03 20COTD3829 AMERICAN TAX LIEN LLC                    03/10/2022 03/17/2022       JRJ
04302                 2016 ANNUAL                       RDIA INVESTMENTS LLC              160007822        435 20-29-211-042-0000   2-11 20COTD1944 RDIA INVESTMENTS LLC                     01/05/2022 03/21/2022       JRJ
04304                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150005973        289 25-15-316-007-0000   2-03 19COTD3157 SBS PROPERTIES LLC                       02/23/2022 03/21/2022       RAA
04305                 2016 ANNUAL                     EAGLE INV PROPERTIES INC            160009709        523 17-33-113-013-0000   2-02 20COTD9709 EAGLE INV PROPERTIES INC                 01/31/2022 03/21/2022       RAA
04307                 2016 ANNUAL                             SMM-TAX INC                 160007266        423 20-17-119-003-0000   2-03 20COTD4181 M & J ELECTRIC SERVICE INC               03/08/2022 03/21/2022       RAA
04309                 2017 ANNUAL                    INTEGRITY INVESTMENT FND             170003190        180 31-26-407-023-0000   2-34 21COTD1788 INTEGRITY INVESTMENT REO HOLDINGS LLC    02/23/2022 03/21/2022       RAA
04310                 2017 ANNUAL                  WEST TOWN BUYERS GROUP LLC             170003281        180 31-36-104-030-0000   2-03 21COTD1224 HAMMERHEAD DEVELOPMENT LLC               03/15/2022 03/21/2022       JRJ
04313                 2015 ANNUAL                   LONGSTREET CAPITAL FUNDIN             150005076        261 20-24-425-008-1026   2-99 19COTD2732 LONGSTREET CAPITAL FUNDING LLC           03/14/2022 03/23/2022       AA
04315                 2015 ANNUAL                  NEBRASKA ALLIANCE REALTY CO            150011183        015 32-21-105-030-0000   2-05 19COTD4409 GREYMORR REAL ESTATE LLC                 02/17/2022 03/23/2022       JRJ
04316                 2017 ANNUAL                  WEST TOWN BUYERS GROUP LLC             170001101        034 28-28-409-022-0000   2-05 21COTD1199 HAMMERHEAD DEVELOPMENT LLC               03/15/2022 03/24/2022       JRJ
04317                 2017 ANNUAL                  WEST TOWN BUYERS GROUP LLC             170003004        178 31-10-200-089-1092   2-99 21COTD1230 HAMMERHEAD DEVELOPMENT LLC               03/15/2022 03/24/2022       JRJ
04320                 2015 ANNUAL                        FNA DZ LLC FBO WSFS              150005411        272 20-36-101-012-0000   2-03 19COTD3953 GRAND RETAIL LLC SERIES N                03/15/2022 03/29/2022       JRJ
04321                 2017 ANNUAL                 PINE VALLEY ONE REAL ESTATE LLC         170001646        063 12-10-312-037-1008   2-99 21COTD1256 ARTHINGTON PROPERTIES LLC                03/14/2022 03/29/2022       JRJ
04322                 2017 ANNUAL                         SCRIBE FUNDING LLC              170006855        304 26-32-306-006-0000   2-41 20COTD2681 ANGELICA CALLEROS                        03/15/2022 03/29/2022       JRJ
04325                 2015 ANNUAL                      NEWLINE HOLDINGS LLC               150000358        032 28-24-107-062-0000   2-02 19COTD1958 GALAXY REI INC                           02/22/2022 03/30/2022       RAA
04326                 2017 ANNUAL                         WHEELER FINANCIAL               170006896        315 12-24-409-036-0000   2-41 21COTD516    WHEELER FINANCIAL INC                  03/08/2022 03/30/2022       RAA
04329                 2017 ANNUAL                          TITAN CAPITAL LLC              170004597        230 30-32-210-011-0000   2-02 21COTD1516 RED PINE PROPERTIES LLC                  03/11/2022 03/30/2022       JRJ
04330                 2017 ANNUAL                          TITAN CAPITAL LLC              170005510        261 20-24-420-030-1035   2-99 21COTD1522 RED PINE PROPERTIES LLC                  03/11/2022 03/30/2022       JRJ
04331                 2017 ANNUAL                     INTERCOASTAL EQUITY LLC             170011499        569 16-23-108-031-0000   2-11 21COTD1158 SEMPER FIDELIS LLC                       03/10/2022 03/30/2022       JRJ
04332                 2017 ANNUAL                 INTEGRITY INVESTMENT FUND LLC           170000609        019 32-30-204-018-0000   2-34 21COTD1764 INTEGRITY INVESTMENT REO HOLDINGS LLC    03/08/2022 03/30/2022       JRJ
04334                 2017 ANNUAL                   PINE VALLEY REAL ESTATE LLC           170003837        202 29-10-219-018-0000   2-03 21COTD1547 274 CRANDON AVE LLC                      03/11/2022 03/30/2022       JRJ




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                    Deed Number   Sale Yr Sale Type                         Buyer Name                   Cert Number   Vol         PIN          Class Case Number Deed Name                                         Date Issued Date Processed Initials
04336                             2016 ANNUAL                               RDG LNS LLC               160003350        205 29-12-227-005-0000   2-11 20COTD5113 CHICAGO ASSETS LLC                                 03/17/2022 04/01/2022       JRJ
04338                             2016 ANNUAL                           JOHN M MUNSON                 160007251        423 20-17-107-027-0000   2-11 20COTD5031 JEHM FINANCIAL LLC                                 03/18/2022 04/01/2022       JRJ
04339                             2016 ANNUAL                            LIEN GROUP LLC               160008075        442 20-33-102-033-0000   2-11 21COTD0203 CARLOS I CASTELLANOS MARTINEZ AND ASHELY N SOTO    03/18/2022 04/01/2022       JRJ
04340                             2016 ANNUAL                         ICIB INVESTMENT INC             160007390        425 20-18-201-020-0000   2-11 20COTD4500 COMMITTED CHRISTIAN HOUSING LLC                    10/18/2021 04/01/2022       JRJ
04341                             2017 ANNUAL                  INTEGRITY INVESTMENT FUND LLC          170000688        021 32-36-104-030-0000   2-34 21COTD1765 LETICIA PELAYO                                     03/04/2022 04/01/2022       JRJ
04342                             2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150007489        424 20-17-408-021-0000   2-04 19COTD3598 SBS PROPERTIES LLC                                 03/02/2022 04/04/2022       RAA
04359                             2017 ANNUAL                       CORONA INVESTMENTS                170007400        381 19-08-419-019-0000   2-41 21COTD418    M&O PARTNER HOLDINGS,LLC                         03/22/2022 04/05/2022       AA
04362                             2015 ANNUAL                       CLARK & RANDOLPH LLC              150003136        197 29-06-427-006-0000   2-02 19COTD4261 ERIC'S RESTORATION INC                             03/25/2022 04/06/2022       RAA
04363                             2015 ANNUAL                               RDG LNS LLC               150005416        272 20-36-104-005-0000   2-12 19COTD4203 KX INVESTMENTS LLC DUPLO ONE                       03/29/2022 04/06/2022       RAA
04364                             2015 ANNUAL                     FAIR DEAL OF ILLINOIS INC.          150005489        274 21-30-114-028-1044   2-99 19COTD3980 FIRST NATIONAL ACQUISITIONS LLC                    03/22/2022 04/06/2022       AA
04365                             2016 ANNUAL                           RANDOLPH 18 LLC               160003322        204 29-11-413-059-0000   2-02 20COTD2622 RIZ HOLDINGS LLC                                   03/23/2022 04/07/2022       JRJ
04366                             2016 ANNUAL                              SMM-TAX INC                160005700        284 25-03-416-024-0000   2-11 20COTD4169 CHANGIN LIVES INVESTMENTS INC                      03/23/2022 04/07/2022       JRJ
04367                             2015 ANNUAL                        ICIB INVESTMENTS INC             150005594        276 21-31-204-033-0000   2-02 19COTD1084 BASIENTA GARCIA                                    03/22/2022 04/07/2022       JRJ
04368                             2014 ANNUAL                      FAIR DEAL OF ILLINOIS INC          140011288        434 20-28-412-039-0000   2-95 18COTD7370 FIRST NATIONAL ACQUISITIONS LLC                    03/23/2022 04/07/2022       JRJ
04369                             2016 ANNUAL                         FNA DZ LLC FBO WSFS             160003822        223 30-08-329-015-0000   2-41 20COTD2261 313 153RD PL LLC                                   03/25/2022 04/07/2022       JRJ
04370                             2015 ANNUAL                     INTERCOASTAL EQUITY LLC             150010639        570 16-23-309-014-0000   2-11 19COTD2291 KEMBRO LLC                                         02/09/2022 04/11/2022       JRJ
04371                             2016 ANNUAL                          WHEELER FINANCIAL              160008506        459 25-16-405-009-0000   2-02 20COTD3720 TRANSPIRE LLC                                      03/30/2022 04/07/2022       RAA
04372                             2017 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          170006448        287 25-12-213-049-0000   2-10 21COTD2092 LONGSTREET CAPITAL FUNDING LLC                     03/31/2022 04/07/2022       RAA
04373                             2016 ANNUAL                          WHEELER FINANCIAL              160008837        469 25-28-120-022-0000   2-05 20COTD3739 PARNELL LLC                                        04/01/2022 04/07/2022       RAA
04375                             2017 ANNUAL                          PINE VALLEY ONE RE             170000307        014 32-20-109-008-0000   2-03 21COTD1210 SEEM GROUP, LLC                                    03/29/2022 04/07/2022       AA
04379                             2015 ANNUAL                            PINE VALLEY ONE              150003108        196 29-04-431-003-0000   2-05 19COTD3808 TRU HARD MONEY CHICAGO LLC                         04/01/2022 04/11/2022       RAA
04380                             2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150007673        429 20-20-220-012-0000   2-02 19COTD3792 SBS PROPERTIES LLC                                 03/16/2022 04/11/2022       JRJ
04381                             2017 ANNUAL                  INTEGRITY INVESTMENT FUND LLC          170008906        442 20-33-108-044-0000   2-95 21COTD1574 INTEGRITY INVESTMENT REO HOLDINGS LLC              03/08/2022 04/11/2022       JRJ
04382                             2016 ANNUAL                           RANDOLPH 18 LLC               160000294        015 32-21-301-014-0000   2-05 20COTD2965 BLESS THE KICKZ LLC                                03/18/2022 04/12/2022       AA
04383                             2016 ANNUAL                           RANDOLPH 18 LLC               160002698        180 31-36-200-028-1073   2-99 20COTD2980 ROBERT BURRELL                                     03/16/2022 04/12/2022       AA
04384                             2016 ANNUAL                                GAN C LLC                160000259        014 32-20-307-007-0000   2-02 20COTD2915 CORTEZZ LLC                                        03/30/2022 04/12/2022       RAA
04386                             2017 ANNUAL                      ROC FUNDING GROUP LLC              170005376        259 20-22-325-006-0000   2-05 21COTD2311 ROC FUNDING GROUP LLC                              03/21/2022 04/13/2022       JRJ
04387                             2017 ANNUAL                           TITAN CAPITAL LLC             170008729        438 20-30-401-032-0000   2-03 21COTD2156 RUBINGISA DEVELOPMENT INC                          04/01/2022 04/13/2022       JRJ
04388                             2017 ANNUAL                     INTERCOASTAL EQUITY LLC             170009636        469 25-28-204-030-0000   2-07 21COTD1154 INTERCOASTAL EQUITY LLC                            03/31/2022 04/13/2022       JRJ
04389                             2015 ANNUAL                       CLARK & RANDOLPH LLC              150010427        560 16-14-317-016-0000   2-11 19COTD2229 KEMBRO LLC                                         02/15/2022 04/13/2022       JRJ
04393 per 21cotd1250 void deed    2017 ANNUAL                               BT LIENS LLC              170004674        233 03-25-310-027-0000   2-78 21COTD1250 ROM CONSTRUCTION INVESTMENT INC                    04/05/2022 04/18/2022       JRJ
04394                             2015 ANNUAL                      FAIR DEAL OF ILLINOIS INC          150007890        435 20-29-309-001-0000   2-02 19COTD3995 ED INVESTMENTS AND CONSTRUCTION INC                04/05/2022 04/18/2022       JRJ
04395                             2017 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          170007466        388 19-13-206-014-0000   2-03 21COTD2099 LONGSTREET CAPITAL FUNDING LLC                     03/31/2022 04/19/2022       JRJ
04396                             2017 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          170008072        424 20-17-314-018-0000   2-03 21COTD2102 LONGSTREET CAPITAL FUNDING LLC                     03/31/2022 04/19/2022       JRJ
04397                             2017 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          170008754        438 20-30-435-008-0000   2-11 21COTD2107 LONGSTREET CAPITAL FUNDING LLC                     03/31/2022 04/19/2022       JRJ
04398                             2017 ANNUAL                 LONGSTREET CAPITAL FUNDING LLC          170008943        442 20-33-310-020-0000   2-07 21COTD2109 LONGSTREET CAPITAL FUNDING LLC                     03/31/2022 04/19/2022       JRJ
04399                             2016 ANNUAL                               RDG LNS LLC               160010548        567 16-22-110-042-0000   2-11 20COTD5268 ROC FUNDING GRP LLC /50% & COTTAGE HILL PROP MGT   03/24/2022 04/19/2022       AA
04400                             2017 ANNUAL                           TITAN CAPITAL LLC             170006253        280 25-01-315-017-0000   2-03 21COTD1126 MCCAIN GENERAL CONTRACTORS LLC                     04/03/2022 04/19/2022       AA
04402                             2017 ANNUAL                    WEST TOWN BUYERS GRP LLC             170007601        403 19-24-410-055-0000   2-05 21COTD2533 COSMOS, LLC                                        03/31/2022 04/19/2022       AA
04406                             2016 ANNUAL                                 RE3, LLC                160002100        151 23-14-205-019-0000   2-34 20COTD3998 RE3, LLC                                           04/07/2022 04/20/2022       AA
04409                             2015 ANNUAL                               RDG LNS LLC               150004282        238 24-04-408-023-0000   2-03 19COTD4302 NOWAK HOLDS LLC (1 of 2 SEE LINE #35531)           03/04/2022 04/20/2022       JRJ
04411                             2016 ANNUAL                         FNA DZ LLC FBO WSFS             160005456        276 21-31-232-011-0000   2-11 20COTD4788 ED INVESTMENTS AND CONSTRUCTION INC                03/25/2022 04/20/2022       JRJ
04112                             2015 ANNUAL                               RDG LNS LLC               150010185        551 16-10-409-018-0000   2-11 19COTD4252 A&S PARTNERS GROUP INC                             04/04/2022 04/20/2022       JRJ
04416                             2017 ANNUAL                           TITAN CAPITAL LLC             170008769        439 20-31-221-026-0000   2-03 21COTD1128 FERNANDO MUNOZ                                     04/08/2022 04/22/2022       JRJ
04418                             2017 ANNUAL                       CORONA INVESTMENTS                170003918        203 29-11-214-036-0000   2-03 21COTD2002 SEEM GROUP LLC                                     03/31/2022 04/20/2022       RAA
04419                             2017 ANNUAL                       CORONA INVESTMENTS                170001135        035 28-34-405-015-0000   2-34 21COTD1996 SEEM GROUP LLC                                     03/31/2022 04/20/2022       RAA
04420                             2017 ANNUAL                   INTEGRITY INVESTMENTS FUND            170007757        415 20-06-409-044-0000   2-11 21COTD1870 INTEGRITY INVESTMENT REO HOLDINGS LLC              04/04/2022 04/20/2022       RAA
04421                             2017 ANNUAL                   INTEGRITY INVESTMENTS FUND            170004546        226 30-20-408-047-0000   2-07 21COTD1794 INTEGRITY INVESTMENT REO HOLDINGS LLC              04/04/2022 04/20/2022       RAA
04422                             2017 ANNUAL                          WHEELER FINANCIAL              170000844        025 28-04-301-012-1026   2-99 21COTD1351 WHEELER FINANCIAL INC                              04/04/2022 04/20/2022       RAA
04423                             2017 ANNUAL                          WHEELER FINANCIAL              170001757        071 12-33-122-002-0000   2-02 21COTD1384 WHEELER FINANCIAL INC                              04/04/2022 04/20/2022       RAA
04424                             2017 ANNUAL                       NEWLINE HOLDINGS LLC              170006585        290 25-22-203-027-0000   2-11 21COTD1490 BROWNING BUILDERS INC                              04/07/2022 04/20/2022       RAA
04425                             2017 ANNUAL                        ROC FUNDING GROUP                170000165        011 32-07-303-007-0000   2-78 21COTD2298 ROC FUNDING GROUP LLC                              04/07/2022 04/21/2022       RAA




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        Deed Number   Sale Yr Sale Type             Buyer Name              Cert Number   Vol         PIN          Class Case Number Deed Name                                           Date Issued Date Processed Initials
04426                 2017 ANNUAL               INTERCOAST EQUITY        170005494        261 20-24-410-026-1006   2-99 21COTD1143 INTERCOASTAL EQUITY LLC                              03/31/2022 04/21/2022       RAA
04427                 2017 ANNUAL             CORONA INVESTMENTS         170006179        277 21-31-312-002-0000   2-03 21COTD2011 MANAGED RIGHT & REALTY GROUP LLC                     03/31/2022 04/21/2022       RAA
04428                 2017 ANNUAL                  TITAN CAPITAL         170009481        466 25-20-317-029-0000   2-02 21COTD2191 TITAN CAPITAL LLC                                    03/31/2022 04/21/2022       RAA
04429                 2017 ANNUAL              ROC FINDING GROUP         170010160        501 17-10-214-019-1200   2-90 21COTD2329 ROC FUNDING GROUP LLC                                04/07/2022 04/21/2022       RAA
04430                 2017 ANNUAL                TITAN CAPITAL LLC       170011660        575 16-26-203-021-0000   2-02 21COTD2356 CHICAGO TITLE LAND TRUST CO. #8002388400 DATED 319   04/01/2022 04/21/2022       RAA
04432                 2017 ANNUAL          LONGSTREET CAPITAL FUNDIN     170003148        179 31-24-433-009-0000   2-34 21COTD2045 LONGSTREET CAPITAL FUNDING LLC                       04/12/2022 04/21/2022       AA
04433                 2016 ANNUAL          MIDWESTERN INVESTORS LLC      160007351        424 20-17-403-017-0000   2-02 20COTD1898 ENRIQUE TORRES                                       04/08/2022 04/21/2022       AA
04434                 2017 ANNUAL             CLIFTOR PROPERTIES LLC     170006207        278 21-31-418-028-0000   2-02 21COTD1499 RIZ HOLDINGS, LLC                                    04/12/2022 04/21/2022       AA
04435                 2016 ANNUAL          MIDWESTERN INVESTORS LLC      160007262        423 20-17-118-015-0000   2-11 20COTD1893 KALON ESTATE, LLC                                    04/07/2022 04/21/2021       AA
04409                 2015 ANNUAL                   RDG LNS LLC          150004283        238 24-04-408-024-0000   2-03 19COTD4302 NOWAK HOLDS LLC (2 0F 2 SEE LINE #35504)             03/04/2022 04/20/2022       JRJ
04436                 2017 ANNUAL             BELMONT REALTY CORP        170009901        485 14-21-111-007-1246   2-99 21COTD1479 BELMONT REALTY CORPORATION                           04/14/2022 04/22/2022       AA
04437                 2017 ANNUAL             NEWLINE HOLDINGS LLC       170010940        549 16-09-205-006-0000   2-03 21COTD1492 RED PINE PROPERTIES LLC                              04/07/2022 04/22/2022       AA
04438                 2016 ANNUAL                RANDOLPH 18 LLC         160000615        024 28-02-308-046-0000   2-34 20COTD4908 MUTASIM CHOWDHURY                                    03/14/2022 04/22/2022       AA
04439                 2014 ANNUAL             NEWLINE HOLDINGS LLC       140010341        416 20-07-210-005-0000   2-11 19COTD7868 HAZEL PROPERTIES LLC                                 04/08/2022 04/22/2022       RAA
04440                 2015 ANNUAL                    GAN C LLC           150003962        224 30-17-314-035-1069   2-99 15COTD3085 CORTEZZ LLC                                          04/14/2022 04/22/2022       RAA
04448                 2017 ANNUAL            ROC FUNDING GROUP LLC       170011555        570 16-23-327-019-0000   2-11 21COTD2336 SEMPER FIDELIS LLC                                   04/15/2022 04/25/2022       JRJ
04449                 2017 ANNUAL             NEWLINE HOLDINGS LLC       170003661        196 29-05-406-026-0000   2-04 21COTD1309 RED PINE PROPERTIES LLC                              04/18/2022 04/25/2022       JRJ
04451                 2016 ANNUAL            5 HOLE ACQUISITIONS INC     160000810        033 28-25-117-025-1007   2-99 20COTD3982 SECOND BASE PROPERTIES SERIES LLC                    04/01/2022 04/25/2022       JRJ
04452                 2016 ANNUAL         NEBRASKA ALLIANCE REALTY CO    160008764        468 25-21-307-021-0000   2-02 20COTD3425 GREYMORR REAL ESTATE LLC                             04/11/2022 04/25/2022       JRJ
04453                 2016 ANNUAL                    GAN C LLC           160002281        162 15-11-300-012-0000   2-11 20COTD2181 CORTEZZ, LLC                                         04/12/2022 04/25/2022       AA
04454                 2015 ANNUAL              FNA DZ LLC FBOWSFS        150002757        181 15-01-111-042-0000   2-06 19COTD3853 FIRST NATIONAL ACQUISITIONS LLC                      03/30/2022 04/25/2022       AA
04455                 2015 ANNUAL              FNA DZ LLC FBOWSFS        150008371        457 25-09-324-020-0000   2-03 19COTD4004 FIRST NATIONAL ACQUISITIONS LLC                      03/28/2022 04/25/2022       AA
04456                 2015 ANNUAL              FNA DZ LLC FBOWSFS        150008421        458 25-16-113-023-0000   2-02 19COTD4007 FIRST NATIONAL ACQUISITIONS LLC                      04/11/2022 04/25/2022       AA
04460                 2017 ANNUAL                GT ALTERNATIVES         170005171        254 20-11-113-028-1022   2-99 21COTD0636 STONEDRY LLC                                         04/05/2022 04/25/2022       JRJ
04461                 2015 ANNUAL                    GAN C LLC           150004068        229 30-31-200-011-0000   2-02 19COTD3086 CORTEZZ LLC                                          02/22/2022 04/27/2022       JRJ
04476                 2017 ANNUAL                   BT LIENS LLC         170002747        162 15-10-411-016-0000   2-05 21COTD1246 CORKERS INC.                                         04/20/2022 04/27/2022       AA
04477                 2017 ANNUAL                TITAN CAPITAL LLC       170006519        289 25-15-212-032-0000   2-03 21COTD1938 RUBINGISA DEVELOPMENT INC.                           04/20/2022 04/27/2022       AA
04478                 2017 ANNUAL              ROC FUNDING GROUP         170010512        512 17-22-303-031-1217   2-99 21COTD2337 ROC FUNDING GROUP LLC                                03/16/2022 04/27/2022       AA
04480                 2016 ANNUAL               WHEELER FINANCIAL        160002937        194 29-03-114-017-0000   2-05 20COTD4363 WHEELER FINANCIAL, INC.                              03/11/2022 04/27/2022       AA
04496                 2016 ANNUAL           5 HOLE ACQUISITIONS INC.     160003251        202 29-10-223-037-0000   2-02 20COTD4764 JOHNSON AND LONEY EQUITY LLC                         04/15/2022 04/29/2022       AA
04501                 2016 ANNUAL                    GANC C LLC          160005321        274 21-30-111-040-1005   2-99 20COTD2914 NEXGEN COASTAL INVESTMENTS LLC                       04/04/2022 05/02/2022       JRJ
04504                 2015 ANNUAL             NEWLINE HOLDINGS LLC       150007605        428 20-19-330-001-0000   2-05 19COTD3557 ALL STARS HOLDING LLC                                04/19/2022 05/03/2022       JRJ
04505                 2015 ANNUAL              FNA DZ LLC FBO WSFS       150010462        561 16-15-115-005-0000   2-02 19COTD1755 SKA GROUP LLC                                        04/14/2022 05/03/2022       JRJ
04523                 2015 ANNUAL           FAIR DEAL OF ILLINOIS INC.   150000460        035 28-35-109-002-0000   2-02 19COTD1488 EAGLE INV. PROPERTIES, INC.                          03/28/2022 05/02/2022       AA
04524                 2016 ANNUAL                 FNA DZ LLC WSFS        160008622        465 25-20-103-036-0000   2-02 20COTD2191 BIG DOG PROPERTY MANAGEMENT, INC                     04/14/2022 05/02/2022       AA
04525                 2017 ANNUAL                TITAN CAPITAL LLC       170009121        451 25-06-216-034-0000   2-04 21COTD1131 CATHEDRAL PROPERTIES, INC.                           04/14/2022 05/02/2022       AA
04526                 2016 ANNUAL                 LIEN GROUP LLC         160005915        293 25-27-101-069-0000   2-03 21COTD198    APM BETTER CONSTRUCTION INC.                       04/18/2022 05/04/2022       AA
04532                 2017 ANNUAL              FNA DZ LLC FBO WSFS       170010977        550 16-09-313-078-0000   2-06 21COTD0988 FIRST NATIONAL ACQUISITIONS LLC                      03/03/2022 05/05/2022       JRJ
04533                 2017 ANNUAL                TITAN CAPITAL LLC       170007839        418 20-08-114-042-0000   2-11 21COTD7839 TITAN CAPITAL LLC                                    04/21/2022 05/06/2022       RAA
04540                 2017 ANNUAL                TITAN CAPITAL LLC       170002177        120 10-21-407-025-1027   2-99 21COTD2123 TITAN CAPITAL LLC                                    04/21/2022 05/06/2022       RAA
04541                 2017 ANNUAL                TITAN CAPITAL LLC       170008658        436 20-29-410-014-0000   2-11 21COTD1958 TITAN CAPITAL LLC                                    04/14/2022 05/06/2022       RAA
04542                 2017 ANNUAL                TITAN CAPITAL LLC       170010924        549 16-09-114-052-0000   2-95 21COTD1139 AIRWA PROPERTIES LLC                                 04/19/2022 05/06/2022       RAA
04557                 2015 ANNUAL                   ROYCE RE LLC         150003000        194 29-03-313-011-0000   2-02 19COTD742    GH & D DEVELOPMENT                                 04/26/2022 05/09/2022       RAA
04558                 2016 ANNUAL                RANDOLPH 18 LLC         160008726        467 25-21-207-040-0000   2-02 20COTD5012 CHARTIECE WALKER                                     04/22/2022 05/09/2022       RAA
04559                 2017 ANNUAL               PINE VALLEY ONE RE       170000738        022 33-31-202-038-0000   2-03 21COTD1531 BLOCKMON FAMILY XPRESS                               04/26/2022 05/09/2022       RAA
04566                 2017 ANNUAL               WHEELER FINANCIAL        170007220        362 13-30-225-018-0000   2-02 21COTD1437 WHEELER FINANCIAL, INC.                              04/12/2022 05/09/2022       AA
04574                 2016 ANNUAL                   RDG LNS LLC          160007032        417 20-07-317-015-0000   2-02 20COTD5190 CORONA INVESTMENTS LLC                               04/26/2022 05/11/2022       RAA
04575                 2017 ANNUAL                TITAN CAPITAL LLC       170003100        179 31-20-303-037-0000   2-95 21COTD3111 TITAN CAPITAL LLC                                    04/21/2022 05/11/2022       RAA
04576                 2017 ANNUAL               INTERCOAST EQUITY        170004255        217 29-30-104-028-0000   2-03 21COTD2734 CHICAGO ASSETS LLC                                   04/27/2022 05/11/2022       RAA
04577                 2017 ANNUAL              ROC FUNDING GROUP         170006346        283 25-03-222-038-0000   2-02 21COTD2317 SAMTAL SIENIEWICZ                                    04/21/2022 05/11/2022       RAA
04578                 2017 ANNUAL                TITAN CAPITAL LLC       170009291        458 25-16-205-017-0000   2-03 21COTD1135 RAYMAR INVESTMENTS LLC                               04/26/2022 05/11/2022       RAA
04580                 2015 ANNUAL              FNA DZ LLC FBOWSFS        150010265        554 16-12-106-018-0000   2-11 19COTD1749 FIRST NATIONAL ACQUISITION LLC                       04/27/2022 05/11/2022       AA




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                     Deed Number          Sale Yr Sale Type                      Buyer Name                      Cert Number    Vol         PIN          Class Case Number Deed Name                                           Date Issued Date Processed Initials
04582                                     2017 ANNUAL                     GROSS & DUQUESNE 2019               170005316         258 20-22-205-026-0000   2-11 21COTD2347 RTA INVESTMENTS,LLC                                  04/26/2022 05/11/2022       AA
04583                                     2017 ANNUAL                   WEST TOWN BUYERS GRP LLC              170007749         414 20-05-305-008-0000   2-11 21COTD3050 COSMOS,LLC                                           04/26/2022 05/11/2022       AA
04584                                     2017 ANNUAL                   WEST TOWN BUYERS GRP LLC              170009930         486 14-28-318-064-1037   2-99 21COTD3054 COSMOS,LLC                                           04/26/2022 05/11/2022       AA
04585                                     2017 ANNUAL                   WEST TOWN BUYERS GRP LLC              170010440         511 17-16-238-028-2248   2-99 21COTD3230 COSMOS,LLC                                           04/26/2022 05/11/2022       AA
04587                                     2016 ANNUAL                            RDG LNS LLC                  160004563         254 20-11-114-048-0000   2-95 20COTD5103 CHICAGO ASSETS LLC                                   05/10/2022 05/12/2022       RAA
04588                                     2016 ANNUAL                      CORONA INVESTMENTS                 160008746         467 25-21-224-002-0000   2-03 20COTD3462 ZL INVESTMENTS LLC                                   04/14/2022 05/12/2022       RAA
04590                                     2017 ANNUAL                        TITAN CAPITAL LLC                170001152         035 28-35-403-011-0000   2-34 21COTD3098 BLUE OCEAN 21-1 LLC                                  05/03/2022 05/18/2022       RAA
04591                                     2017 ANNUAL                          TLOA OF IL LLC                 170004193         214 29-22-205-058-0000   2-03 21COTD1982 BLUE OCEAN 21-1 LLC                                  05/02/2022 05/18/2022       RAA
04594                                     2017 ANNUAL                       INTERCOAST EQUITY                 170009489         466 25-20-400-049-0000   2-95 21COTD1153 RIZ HOLDINGS LLC                                     05/03/2022 05/18/2022       AA
04595                                     2016 ANNUAL                 INTEGRITY INVESTMENT FUND LLC           160000394         017 32-25-415-040-0000   2-03 20COTD3531 TAXPERT EQUITY HOLDINGS KICKI LLC                    04/15/2022 05/19/2022       JRJ
04597                                     2017 ANNUAL                    INTERCOASTAL EQUITY LLC              170002449         148 02-10-103-007-0000   2-04 21COTD2730 INTERCOASTAL EQUITY LLC                              05/02/2022 05/19/2022       JRJ
04598                                     2017 ANNUAL                          TLOA OF IL LLC                 170003562         194 29-03-420-054-0000   2-03 21COTD2017 BLUE OCEAN 21-1 LLC                                  04/29/2022 05/19/2022       JRJ
04599                                     2017 ANNUAL                      NEWLINE HOLDINGS LLC               170009479         466 25-20-309-030-0000   2-34 21COTD1488 BLUE OCEAN 21-1 LLC                                  04/28/2022 05/19/2022       JRJ
04600                                     2017 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   170007324         373 13-35-231-027-1005   2-99 21COTD0776 DEVON REALTY INC                                     03/18/2022 05/19/2022       JRJ
04601                                     2016 ANNUAL                           SMM-TAX INC                   160007439         426 20-18-414-036-0000   2-03 20COTD4191 SBS PROPERTIES LLC                                   04/21/2022 05/19/2022       JRJ
04604                                     2015 ANNUAL                      NEWLINE HOLDINGS LLC               150007593         427 20-19-229-019-0000   2-03 19COTD7593 SKA GROUP LLC                                        05/03/2022 05/19/2022       JRJ
04610                                     2017 ANNUAL                            BT LIENS LLC                 170006899         315 12-24-416-033-0000   2-03 21COTD1255 EMG COSULTING LLC                                    05/04/2022 05/19/2022       AA
04612                                     2017 ANNUAL                        TITAN CAPITAL LLC                170005450         261 20-23-424-042-0000   2-95 21COTD1521 SYLVA LLC                                            05/09/2022 05/19/2022       AA
04613                                     2017 ANNUAL                       PINE VALLEY ONE RE                170000480         017 32-25-107-004-0000   2-34 21COTD1214 AMEX PROPERTIES, LLC                                 05/05/2022 05/19/2022       AA
04614                                     2017 ANNUAL                       WHEELER FINANCIAL                 170003380         187 07-17-102-027-0000   2-95 21COTD1394 WHEELER FINANCIAL INC                                04/26/2022 05/20/2022       RAA
04615                                     2016 ANNUAL                       WHEELER FINANCIAL                 160007514         428 20-19-329-004-0000   2-02 20COTD3688 SYLVA LLC                                            05/02/2022 05/20/2022       RAA
04616                                     2016 ANNUAL                       WHEELER FINANCIAL                 160003852         224 30-17-112-032-0000   2-03 20COTD4597 EUSTATHIOS NICHOLAS                                  05/05/2022 05/20/2022       RAA
04617                                     2017 ANNUAL                   PHOENIX BOND & INDEMNITY              170000501         017 32-25-211-004-0000   2-03 21COTD1959 WB CHICAGO INC                                       04/25/2022 05/20/2022       RAA
04619                                     2017 ANNUAL                    CORONA INVESTMENTS LLC               170007923         420 20-09-309-031-0000   2-11 21COTD2015 ANDREA ARAGON AND SERGIO MALDONADO FIGUEROA          05/05/2022 05/24/2022       JRJ
04620                                     2016 ANNUAL                   MIDWESTERN INVESTORS LLC              160001870         133 04-30-210-067-0000   2-11 20COTD3133 MIDWESTERN INVESTORS LLC                             04/26/2022 05/24/2022       JRJ
04621                                     2017 ANNUAL                        TITAN CAPITAL LLC                170008249         428 20-19-333-037-0000   2-02 21COTD1952 RAPID OFFER LLC                                      05/06/2022 05/24/2022       JRJ
04631                                     2016 ANNUAL                   MIDWESTERN INVESTORS LLC              1600009985        546 16-05-210-003-0000   2-04 20COTD1923 MIDWESTERN INVESTORS LLC                             05/09/2022 05/26/2022       RAA
04632                                     2017 ANNUAL                       RYH INVESTMENTS LL                170001281         040 16-20-218-002-0000   2-11 21COTD2259 RYH INVESTMENTS LLC                                  05/03/2022 05/26/2022       RAA
04633                                     2017 ANNUAL                       RYH INVESTMENTS LL                170002521         151 23-01-303-019-1009   2-99 21COTD2248 RYH INVESTMENTS LLC                                  05/03/2022 05/26/2022       RAA
04635                                     2017 ANNUAL                      INTERCOASTAL EQUITY                170011544         570 16-23-315-019-0000   2-11 21COTD3633 INTERCOASTAL EQUITY LLC                              05/09/2022 05/26/2022       AA
04636                                     2017 ANNUAL                        TITAN CAPITAL LLC                170006744         297 26-07-135-041-0000   2-10 21COTD1941 DELEON PROPERTIES - 2535 97TH LLC                    04/28/2022 05/26/2022       AA
04638                                     2017 ANNUAL                       WHEELER FINANCIAL                 170004690         234 03-29-414-003-0000   2-03 21COTD1398 WHEELER FINANCIAL, INC.                              05/10/2022 05/26/2022       AA
04639 per ct. order cotd 3107 void deed   2017 ANNUAL                        TITAN CAPITAL, LLC               170002867         166 15-15-406-026-0000   2-03 21COTD3107 SEEM GROUP, LLC                                      05/12/2022 05/26/2022       AA
04640                                     2017 ANNUAL                      INTERCOASTAL EQUITY                170005298         257 20-15-420-021-0000   2-11 21COTD1146 EAGLE INV. PROPERTIES, INC.                          05/12/2022 05/26/2022       AA
04641                                     2015 ANNUAL                       WHEELER FINANCIAL                 150011241         017 32-25-205-039-0000   2-03 19COTD4153 NICHOLAS R. STARK                                    05/08/2022 05/26/2022       AA
04642                                     2017 ANNUAL                      CORONA INVESTMENTS                 170007516         391 19-14-416-012-0000   2-02 21COTD2016 CORONA INVESTMENTS LLC                               04/26/2022 05/27/2022       RAA
04643                                     2017 ANNUAL                      CORONA INVESTMENTS                 170005108         253 20-10-122-024-1012   2-99 21COTD2005 CORONA INVESTMENTS LLC                               04/20/2022 05/27/2022       RAA
04646                                     2017 ANNUAL                      NEWLINE HOLDINGS LLC               170007862-D1798   418 20-08-215-022-0000   2-12 21COTD0809 RED PINE PROPERTIES LLC                              04/04/2022 06/01/2022       JRJ
04647                                     2017 ANNUAL                 INTEGRITY INVESTMENT FUND LLC           170009724         471 25-33-102-047-0000   2-34 21COTD1568 ITASCA BANK & TRUST CO AS TRUSTEE 12967 DTD 5/5/22   05/09/2022 06/02/2022       JRJ
04649                                     2017 ANNUAL                        TITAN CAPITAL LLC                170003218         180 31-33-202-007-1018   2-99 21COTD3117 BLUE OCEAN 21-1 LLC                                  05/17/2022 06/02/2022       JRJ
04651                                     2017 ANNUAL                      NEWLINE HOLDINGS LLC               170006876         310 12-11-121-031-1013   2-99 21COTD2784 V3 REALTY LLC                                        05/16/2022 06/02/2022       JRJ
04652                                     2017 ANNUAL                       NAR SOLUTIONS INC                 170004399         223 30-08-324-024-0000   2-02 21COTD3316 BW DEVELOPMENT LLC                                   05/13/2022 06/02/2022       JRJ
04653                                     2017 ANNUAL                    CORONA INVESTMENTS LLC               170006310         282 25-02-406-008-0000   2-02 21COTD2027 T.I.S.H. MANAGEMENT GROUP INC                        05/19/2022 06/02/2022       JRJ
04654 per 20cotd4267 void deed dtd        2016 ANNUAL                      WHEELER FINANCIAL INC              160003011         195 29-04-231-014-0000   2-03 20COTD4267 WHEELER FINANCIAL INC                                05/12/2022 06/02/2022       JRJ
04655                                     2017 ANNUAL                   GROSS & DUQUESNE 2019 LLC             170004821         243 24-12-226-004-0000   2-03 21COTD1485 RTA INVESTMENTS LLC                                  05/18/2022 06/02/2022       JRJ
04658                                     2017 ANNUAL                   GROSS & DUQUESNE 2019 LLC             170000753         023 28-01-317-018-0000   2-03 21COTD2636 PROPERTY JEDI LLC                                    05/18/2022 06/02/2022       JRJ
04659                                     2016 ANNUAL                     MTAG CUST MGD-ILL LLC               160005833         288 25-15-118-025-0000   2-11 20COTD4947 NSJ INVESTMENT PROPERTIES LLC                        05/16/2022 06/02/2022       JRJ
04662                                     2017 ANNUAL                      NEWLINE HOLDINGS LLC               170007922         420 20-09-309-011-0000   2-03 21COTD2419 ARLENNES FINANCIAL SERVICES LLC                      05/19/2022 06/02/2022       JRJ
04663                                     2016 ANNUAL                      NEWLINE HOLDINGS LLC               160008471         458 25-16-212-046-0000   2-02 20COTD1263 BLUE OCEAN 21- 1 LLC                                 05/03/2022 06/02/2022       RAA
04664                                     2016 ANNUAL                        RANDOLPH 18 LLC                  160000381         017 32-25-408-043-0000   2-02 20COTD4906 LEGACY SERVICES GROUP LLC                            05/18/2022 06/02/2022       RAA
04665                                     2016 ANNUAL                      NEWLINE HOLDINGS LLC               160003516         210 29-18-329-022-0000   2-02 20COTD1231 MANAGEMENT ASSET PRESERVATION SERVICES LLC           05/19/2022 06/02/2022       RAA
04666                                     2017 ANNUAL                        TITAN CAPITAL LLC                170005578         263 20-25-317-036-1010   2-99 21COTD1525 PARISE TOLBERT                                       05/17/2022 06/02/2022       RAA




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                    Deed Number            Sale Yr Sale Type               Buyer Name               Cert Number   Vol         PIN          Class Case Number Deed Name                                          Date Issued Date Processed Initials
04667                                      2015 ANNUAL              NEWLINE HOLDINGS LLC         150003367        204 29-11-409-057-0000   2-02 19COTD4428 RED PINE PROPERTIES LLC                             05/19/2022 06/02/2022       RAA
04668                                      2017 ANNUAL              NEWLINE HOLDINGS LLC         170004220        215 29-24-100-022-1147   2-99 21COTD1981 BLUE OCEAN 21- 1 LLC                                05/19/2022 06/02/2022       RAA
04669                                      2017 ANNUAL              NEWLINE HOLDINGS LLC         170004472        224 30-17-302-047-1011   2-99 21COTD2001 BLUE OCEAN 21- 1 LLC                                05/19/2022 06/02/2022       RAA
04670                                      2017 ANNUAL              NEWLINE HOLDINGS LLC         170005442        261 20-23-410-003-0000   2-03 21COTD1313 BLUE OCEAN 21- 1 LLC                                05/20/2022 06/02/2022       RAA
04671                                      2017 ANNUAL                    TLOA OF IL LLC         170011172        558 16-13-303-016-0000   2-12 21COTD844    BLUE OCEAN 21- 1 LLC                              05/20/2022 06/02/2022       RAA
04672                                      2017 ANNUAL              NEWLINE HOLDINGS LLC         170011417        565 16-16-214-137-0000   2-95 21COTD2445 BLUE OCEAN 21- 1 LLC                                05/19/2022 06/02/2022       RAA
04673                                      2017 ANNUAL                     BT LIENS LLC          170006191        277 21-31-326-048-0000   2-03 21COTD3020 JEM DEVELOPERS LLC                                  05/16/2022 06/02/2022       AA
04674                                      2017 ANNUAL                      INTAXX LLC           170003109        179 31-23-105-008-0000   2-03 21COTD2265 CORTEZZ, LLC                                        05/18/2022 06/02/2022       AA
04675                                      2017 ANNUAL                      INTAXX LLC           170002295        134 04-32-402-061-1129   2-99 21COTD2264 CORTEZZ, LLC                                        05/16/2022 06/02/2022       AA
04676                                      2016 ANNUAL                     BT LIENS LLC          160008732        467 25-21-210-019-0000   2-11 20COTD4142 AXERT, LLC-431P SERIES                              05/24/2022 06/02/2022       AA
04677                                      2016 ANNUAL            MADISON C/OSTONEFIELD          160004920        263 20-25-327-038-0000   3-18 20COTD3910 TL6 IL2, LLC                                        05/23/2022 06/02/2022       AA
04684                                      2016 ANNUAL             MTAG CUST MGD - ILL LLC       160005442        276 21-31-217-011-0000   2-02 20COTD4983 SZBNA LLC                                           04/26/2022 06/03/2022       RAA
04685                                      2017 ANNUAL              CORONA INVESTMENTS           170007938        420 20-09-423-082-0000   2-12 21COTD2019 CORONA INVESTMENTS LLC                              04/26/2022 06/06/2022       RAA
04686                                      2017 ANNUAL              CORONA INVESTMENTS           170011396        564 16-16-115-028-0000   2-03 21COTD2037 CORONA INVESTMENTS LLC                              04/26/2022 06/06/2022       RAA
04687                                      2016 ANNUAL              CORONA INVESTMENTS           160008789        468 25-21-401-022-0000   2-03 21COTD43     LUNA, LLC                                         05/19/2022 06/03/2022       AA
04693                                      2016 ANNUAL              NEWLINE HOLDINGS LLC         160003152        200 29-08-215-061-0000   2-03 20COTD1191 MARTEZ MALONE                                       05/24/2022 06/07/2022       RAA
04695                                      2016 ANNUAL           MIDWESTERN INVESTORS LLC        160008440        458 25-16-105-015-0000   2-03 20COTD4418 CHARTIECE WALKER                                    05/25/2022 06/07/2022       RAA
04700                                      2017 ANNUAL                 ICIB INVESTMENTS          170006450        287 25-12-217-006-0000   2-10 21COTD2881 AMERICAN TAX LIEN LLC                               05/27/2022 06/07/2022       RAA
04701                                      2017 ANNUAL                 ICIB INVESTMENTS          170008632        435 20-29-306-033-0000   2-03 21COTD2897 AMERICAN TAX LIEN LLC                               05/27/2022 06/07/2022       RAA
04702                                      2017 ANNUAL                 ICIB INVESTMENTS          170008764        439 20-31-204-008-0000   2-11 21COTD2899 AMERICAN TAX LIEN LLC                               05/27/2022 06/07/2022       RAA
04705                                      2017 ANNUAL                     BT LIENS LLC          170004797        242 24-10-226-066-1065   2-99 21COTD1253 GH & D DEVELOPMENT INC                              05/18/2022 06/06/2022       JRJ
04706                                      2017 ANNUAL              NEWLINE HOLDINGS LLC         170011283        560 16-14-302-045-0000   2-05 21COTD2444 BLUE OCEAN 21-1 LLC                                 05/24/2022 06/06/2022       JRJ
04708 void per 21cotd1248 dtd 03/22/2023   2017 ANNUAL                     BT LIENS LLC          170003935        204 29-11-418-012-0000   2-03 21COTD1248 GH & D DEVELOPMENT INC                              05/17/2022 06/07/2022       JRJ
04709                                      2017 ANNUAL                     BT LIENS LLC          170007076        346 13-20-322-036-0000   2-03 21COTD1257 MONALISA DEVELOPMENT INC                            05/18/2022 06/07/2022       JRJ
04710                                      2017 ANNUAL            CORONA INVESTMENTS LLC         170009613        469 25-28-111-011-0000   2-05 21COTD2551 KRYSTYNA KLIMA                                      05/18/2022 06/07/2022       JRJ
04711                                      2017 ANNUAL               ICIB INVESTMENTS INC        170009656        469 25-28-227-008-0000   2-03 21COTD2529 KLIMPOL CONSTRUCTION INC                            05/19/2022 06/07/2022       JRJ
04712                                      2017 ANNUAL                 ICIB INVESTMENTS          170003792        201 29-09-109-040-0000   2-34 21COTD2854 AMERICAN TAX LIEN, LLC                              05/31/2022 06/06/2022       AA
04713                                      2017 ANNUAL                   LIEN GROUP LLC          170006799        300 26-17-105-014-0000   2-03 21COTD3146 LIEN GROUP LLC                                      05/27/2022 06/06/2022       AA
04714                                      2017 ANNUAL                   LIEN GROUP LLC          170008403        430 20-20-415-007-0000   2-02 21COTD3044 LIEN GROUP LLC                                      05/27/2022 06/06/2022       AA
04715                                      2016 ANNUAL                WHEELER FINANCIAL          160007512        428 20-19-320-010-0000   2-03 20COTD3687 JORGE LUIS AVALOS OROZCO                            06/02/2022 06/07/2022       AA
04717                                      2017 ANNUAL                 TITAN CAPITAL LLC         170010907        548 16-08-420-042-0000   2-95 21COTD1138 KENNY EATON                                         05/25/2022 06/07/2022       AA
04718                                      2017 ANNUAL                 ICIB INVESTMENTS          170001065        033 28-25-117-027-1003   2-99 21COTD2535 17009 ALBANY TRUST, MONTY S. BOATRIGHT AS TRUSTEE   05/25/2022 06/07/2022       AA
04719                                      2017 ANNUAL                     BT LIENS LLC          170011578        571 16-23-418-039-0000   2-02 21COTD3037 GH & D DEVELOPMENT, INC.                            05/25/2022 06/07/2022       AA
04721                                      2016 ANNUAL              NEWLINE HOLDINGS LLC         160003067        196 29-04-428-040-0000   2-03 20COTD1206 ML TRUST NO 30821                                   03/30/2022 06/08/2022       RAA
04723                                      2017 ANNUAL              INTERCOASTAL EQUITY          170004820        243 24-12-226-003-0000   2-03 21COTD2825 INTERCOASTAL EQUITY LLC                             05/18/2022 06/08/2022       AA
04724                                      2017 ANNUAL              NEWLINE HOLDINGS LLC         170005903        270 20-35-218-030-0000   2-02 21COTD1315 ARTHINGTON PROPERTIES LLC                           05/25/2022 06/08/2022       AA
04725                                      2017 ANNUAL              INTERCOASTAL EQUITY          170010449        511 17-21-210-139-1121   2-99 21COTD3629 INTERCOASTAL EQUITY LLC                             05/23/2022 06/08/2022       AA
04730                                      2015 ANNUAL                     RDG LNS LLC           150005087        262 20-25-121-018-1010   2-99 19COTD4381 ROC FUND GRP LLC 50%&COTTAGEHILL PROP MGT LLC 50%   04/29/2022 06/10/2022       JRJ
04731                                      2017 ANNUAL                    TLOA OF IL LLC         170007445        386 19-12-216-027-0000   2-03 21COTD2766 SEEM GROUP LLC                                      05/24/2022 06/10/2022       JRJ
04732                                      2017 ANNUAL                    SMM-TAX INC            170009252        457 25-09-405-020-0000   2-03 21COTD3744 LION EYE INVESTMENTS LLC                            05/24/2022 06/10/2022       JRJ
04733                                      2017 ANNUAL         PINE VALLEY ONE REAL ESTATE LLC   170011377        563 16-15-413-033-0000   2-11 21COTD3082 ALMGS LLC                                           05/24/2022 06/10/2022       JRJ
04736                                      2015 ANNUAL                    ROYCE RE LLC           150007633        428 20-19-429-024-0000   2-02 19COTD1335 SEEM GROUP LLC                                      05/25/2022 06/10/2022       JRJ
04738                                      2017 ANNUAL                NAR SOLUTIONS INC          170006108        275 21-31-105-039-0000   2-03 21COTD3317 BLUE OCEAN 21-1 LLC                                 05/27/2022 06/10/2022       JRJ
04749                                      2017 ANNUAL                     BT LIENS LLC          170006095        275 21-30-417-052-1018   2-99 21COTD3019 7854 S SOUTH SHORE DRIVE 214 TRUST                  05/17/2022 06/10/2022       JRJ
04750                                      2015 ANNUAL                     RDG LNS LLC           150006408        335 13-13-303-038-1022   2-99 19COTD4284 DEAN UEDA                                           05/09/2022 06/13/2022       JRJ
04751                                      2015 ANNUAL                     RDG LNS LLC           150008194        449 25-05-115-006-0000   2-11 19COTD4273 RIZ HOLDINGS LLC                                    05/13/2022 06/13/2022       JRJ
04752                                      2015 ANNUAL                     RDG LNS LLC           150008408        457 25-09-429-012-0000   2-03 19COTD4266 DANIEL DABROWSKI                                    05/12/2022 06/13/2022       JRJ
04754                                      2017 ANNUAL              NEWLINE HOLDINGS LLC         170005278        257 20-15-401-030-1001   2-11 21COTD2407 BLUE OCEAN 21-1 LLC                                 05/27/2022 06/13/2022       RAA
04755                                      2017 ANNUAL              NEWLINE HOLDINGS LLC         170011176        558 16-13-304-019-0000   2-11 21COTD3927 BLUE OCEAN 21-1 LLC                                 05/25/2022 06/13/2022       RAA
04771                                      2017 ANNUAL                INTERCOAST EQUITY          170000470        017 32-24-400-071-0000   2-03 21COTD1145 CHARLES WILLIAMS                                    06/02/2022 06/15/2022       RAA
04772                                      2017 ANNUAL                    SMM-TAX INC            170004398        223 30-08-317-021-0000   2-03 21COTD4398 DARIUS BARANAUSKAS                                  06/06/2022 06/15/2022       RAA
04773                                      2017 ANNUAL                 TITAN CAPITAL LLC         170006012        274 21-30-110-036-0000   2-10 21COTD6012 RIZ HOLDINGS LLC                                    05/17/2022 06/15/2022       RAA




                                                                                                                                                                                                                                                      41
                    Deed Number                 Sale Yr Sale Type                Buyer Name              Cert Number   Vol         PIN          Class Case Number Deed Name                                          Date Issued Date Processed Initials
04774                                           2017 ANNUAL                  TITAN CAPITAL LLC        170007969        421 20-16-310-039-0000   2-11 21COTD1947 RIZ HOLDINGS LLC                                    05/18/2022 06/15/2022       RAA
04775                                           2017 ANNUAL                  TITAN CAPITAL LLC        170008893        441 20-32-417-024-0000   2-05 21COTD1130 RIZ HOLDINGS LLC                                    05/17/2022 06/15/2022       RAA
04801                                           2017 ANNUAL              NEWLINE HOLDINGS LLC         170008954        442 20-33-315-036-0000   2-05 21COTD2424 TISH MANAGEMENT GROUP INC                           05/19/2022 06/17/2022       JRJ
04802                                           2016 ANNUAL              WHEELER FINANCIAL INC        160000317        016 32-23-247-011-0000   2-02 20COTD4303 WHEELER FINANCIAL INC                               05/24/2022 06/17/2022       JRJ
04803                                           2015 ANNUAL                      RDG LNS LLC          150002888        188 19-06-214-046-0000   2-02 19COTD4312 ROC FUND GRP LLC 50%&COTTAGEHILL PROP MGT LLC 50%   05/17/2022 06/17/2022       JRJ
04804                                           2017 ANNUAL            SSC7 LLC BANK UNITED/ TR       170000854        025 28-04-400-040-1045   2-99 21COTD3342 BLUE OCEAN 21-1 LLC                                 05/27/2022 06/17/2022       JRJ
04805                                           2017 ANNUAL          WEST TOWN BUYERS GROUP LLC       170010663        532 14-31-137-047-1020   2-99 21COTD3766 HAMMERHEAD DEVELOPMENT LLC                          06/08/2022 06/17/2022       JRJ
04807                                           2016 ANNUAL              WHEELER FINANCIAL INC        160002651        180 31-35-208-031-0000   2-02 20COTD4338 WHEELER FINANCIAL INC                               05/27/2022 06/17/2022       JRJ
04809                                           2017 ANNUAL                  ICIB INVESTMENTS         170005339        258 20-22-220-005-0000   2-03 21COTD2865 AMERICAN TAX LIEN,LLC                               05/27/2022 06/17/2022       AA
04841                                           2017 ANNUAL                 INTERCOAST EQUITY         170009401        461 25-17-333-020-0000   2-02 21COTD3606 INTERCOASTAL EQUITY LLC                             06/01/2022 06/22/2022       RAA
04842                                           2014 ANNUAL              NEWLINE HOLDINGS LLC         140000459        017 32-25-318-012-0000   2-03 18COTD6095 MAPLE REAL ESTATE LLC                               06/14/2022 06/22/2022       RAA
04843                                           2015 ANNUAL            MTAG CUSTM ATCF II IL LLC      150002740        180 31-36-208-057-0000   2-07 19COTD4793 MMT SERVICES                                        06/03/2022 06/22/2022       RAA
04844                                           2017 ANNUAL               CORONA INVESTMENTS          170006849        304 26-31-418-049-0000   2-03 21COTD2549 HERIBERTA BRIBIESCA - ROSAS                         06/10/2022 06/22/2022       RAA
04856                                           2017 ANNUAL               ICIB INVESTMENTS INC        170004256        217 29-30-111-026-0000   2-03 21COTD2873 AMERICAN TAX LIEN LLC                               06/09/2022 06/23/2022       JRJ
04857                                           2017 ANNUAL               ICIB INVESTMENTS INC        170005684        265 20-26-413-003-0000   2-05 21COTD2877 AMERICAN TAX LIEN LLC                               06/09/2022 06/23/2022       JRJ
04858                                           2017 ANNUAL               ICIB INVESTMENTS INC        170006082        274 21-30-330-024-0000   2-05 21COTD2876 AMERICAN TAX LIEN LLC                               06/09/2022 06/23/2022       JRJ
04860                                           2017 ANNUAL         PINE VALLEY ONE REAL ESTATE LLC   170009625        469 25-28-122-030-0000   2-11 21COTD3059 JOSEPH KONNEY                                       06/09/2022 06/23/2022       JRJ
04861                                           2016 ANNUAL                   RANDOLPH 18 LLC         160008809        468 25-21-417-023-0000   2-02 20COTD5013 MARZAI PROPERTIES LLC                               06/09/2022 06/23/2022       RAA
04862                                           2017 ANNUAL              EMPATHY FINANCIAL LLC        170002932        175 15-33-206-013-0000   2-03 21COTD2795 EMPATHY FINANCIAL LLC                               06/13/2022 06/23/2022       RAA
04863                                           2017 ANNUAL               CORONA INVESTMENTS          170006783        298 26-08-119-052-0000   2-03 21COTD2030 ABF PROPERTIES LLC                                  06/09/2022 06/23/2022       RAA
04865                                           2017 ANNUAL           WEST TOWN BUYERS GRP LLC        170010514        512 17-22-303-031-1229   2-99 21COTD3764 COSMOS, LLC                                         06/10/2022 06/22/2022       AA
04866                                           2017 ANNUAL                 INTERCOAST EQUITY         170005539        262 20-25-130-035-1010   2-99 21COTD2830 EMPOWERMENT NFP, INC                                06/10/2022 06/22/2022       AA
04867                                           2017 ANNUAL                 INTERCOAST EQUITY         170008650        436 20-29-406-034-0000   2-03 21COTD3415 INTERCOASTAL EQUITY LLC                             06/13/2022 06/22/2022       AA
04871                                           2017 ANNUAL               RYH INVESTMENTS LLC         170004938        248 24-28-211-007-0000   2-34 21COTD2260 RYH INVESTMENTS LLC                                 06/09/2022 06/23/2022       JRJ
04877                                           2016 ANNUAL              MTAG CUST MGD-ILL LLC        160008177        448 25-04-114-003-0000   2-02 20COTD4957 RIZ HOLDINGS LLC                                    06/14/2022 06/27/2022       JRJ
04878                                           2017 ANNUAL              NEWLINE HOLDINGS LLC         170009683        470 25-28-333-006-0000   2-02 21COTD2772 DEVAGO ENTERPRISES LLC                              06/15/2022 06/27/2022       JRJ
04900                                           2017 ANNUAL                       INTAXX INC          170008422        430 20-20-429-033-0000   2-03 21COTD2963 CORTEZZ LLC                                         06/17/2022 06/29/2022       JRJ
04901                                           2017 ANNUAL                  INTERCOASTAL LLC         170005738        267 20-27-305-014-0000   2-03 21COTD2832 CATHEDRAL PROPERTIES INC                            06/21/2022 06/29/2022       JRJ
04913                                           2017 ANNUAL              NEWLINE HOLDINGS LLC         170011352        562 16-15-214-010-0000   2-11 21COTD4736 BLUE OCEAN 21-1, LLC                                06/13/2022 06/30/2022       AA
04914                                           2017 ANNUAL                  ICIB INVESTMENTS         170006345        283 25-03-222-017-0000   2-02 21COTD2874 AMERICAN TAX LIEN LLC                               06/22/2022 07/05/2022       RAA
04916                                           2017 ANNUAL                  ICIB INVESTMENTS         170008921        442 20-33-209-011-0000   2-03 21COTD2900 AMERICAN TAX LIEN LLC                               06/28/2022 07/05/2022       RAA
04917                                           2017 ANNUAL               RIPPLE CREEK INV CHIC       170008222        427 20-19-216-032-0000   2-11 21COTD451    RIPPLE CREEK INVESTORS OF CHICAGO LLC             03/18/2022 07/05/2022       RAA
04928                                           2017 ANNUAL             SSC7 LLC BANK UNITED/TR       170005846        269 20-34-312-016-0000   2-03 21COTD3355 SEEM GROUP LLC                                      06/27/2022 07/05/2022       JRJ
04929                                           2017 ANNUAL                     TLOA OF IL LLC        170005372        259 20-22-320-012-0000   2-03 21COTD2404 CLAUDIA PALOMARES                                   06/24/2022 07/05/2022       JRJ
04930                                           2017 ANNUAL            INTERCOASTAL EQUITY LLC        170006453        287 25-12-219-019-0000   2-10 21COTD2846 DELEON PROPERTIES LLC                               06/21/2022 07/05/2022       JRJ
04948                                           2017 ANNUAL           LONGSTREET CAPITAL FUNDIN       170000202        011 32-11-108-039-1017   2-99 21COTD1554 LONGSTREET CAPITAL FUNDING LLC                      06/28/2022 07/11/2022       RAA
04949                                           2017 ANNUAL                RYH INVESTMENTS LL         170004868        245 24-18-421-084-1010   2-99 21COTD2243 COOK COUNTY PROPERTY TAX LLC                        06/29/2022 07/11/2022       RAA
04953                                           2017 ANNUAL               CORONA INVESTMENTS          170006473        287 25-12-408-035-0000   2-10 21COTD981    MISMO HOLDINGS LLC                                06/28/2022 07/11/2022       RAA
04976                                           2017 ANNUAL              EMPATHY FINANCIAL LLC        170003553        194 29-03-405-017-0000   2-03 21COTD3291 MARCELLIE MILGRAM                                   06/21/2022 07/18/2022       AA
04977                                           2017 ANNUAL                    LIEN GROUP LLC         170009385        460 25-17-217-011-0000   2-02 21COTD4761 LIEN GROUP LLC                                      07/05/2022 07/18/2022       AA
04978                                           2017 ANNUAL                    LIEN GROUP LLC         170010848        545 16-04-409-024-0000   2-05 21COTD4794 LIEN GROUP LLC                                      07/05/2022 07/18/2022       AA
04979                                           2017 ANNUAL           WEST TOWN BUYERS GRP LLC        170010528        513 17-27-123-026-1078   2-99 21COTD3765 COSMOS, LLC                                         07/11/2022 07/18/2022       AA
04980                                           2017 ANNUAL                    LIEN GROUP LLC         170002970        178 31-03-201-056-0000   2-95 21COTD4760 LIEN GROUP LLC                                      07/11/2022 07/18/2022       AA
04981                                           2017 ANNUAL                    LIEN GROUP LLC         170009261        457 25-09-415-011-0000   2-03 21COTD4781 LIEN GROUP LLC                                      07/11/2022 07/18/2022       AA
04982                                           2016 ANNUAL                 WHEELER FINANCIAL         160007273        423 20-17-122-014-0000   2-03 20COTD3676 ABF PROPERTIES, LLC                                 06/14/2022 07/18/2022       AA
04983                                           2016 ANNUAL                 WHEELER FINANCIAL         160007839        435 20-29-221-042-0000   2-11 20COTD3704 GLORIA N. THOMAS                                    06/21/2022 07/18/2022       AA
04989                                           2017 ANNUAL          WEST TOWN BUYERS GROUP LLC       170009398        461 25-17-326-005-0000   2-02 21COTD3930 HAMMERHEAD DEVELOPMENT LLC                          06/27/2022 07/21/2022       JRJ
04991                                           2017 ANNUAL                FNA DZ LLC FBO WSFS        170006357        283 25-03-311-042-0000   2-10 21COTD0779 DP CAPITAL INC                                      07/05/2022 07/21/2022       JRJ
04993                                           2017 ANNUAL                FNA DZ LLC FBO WSFS        170010863        546 16-05-211-035-0000   2-01 21COTD0964 DP CAPITAL INC                                      07/06/2022 07/21/2022       JRJ
04995                                           2016 ANNUAL                FNA DZ LLC FBO WSFS        160008856        469 25-28-209-011-0000   2-03 20COTD4464 FIRST NATIONAL ACQUISITIONS LLC                     06/29/2022 07/21/2022       JRJ
04996                                           2014 ANNUAL              NEWLINE HOLDINGS LLC         140002235        080 18-09-407-003-1019   2-99 18COTD6135 BLUE OCEAN 21-1 LLC                                 06/21/2022 07/21/2022       JRJ
04997 per 20cotd1237 void deed dtd 09/20/2022   2016 ANNUAL              NEWLINE HOLDINGS LLC         160003569        212 29-19-411-068-0000   2-03 20COTD1237 BLUE OCEAN 21-1 LLC                                 06/21/2022 07/21/2022       JRJ




                                                                                                                                                                                                                                                           42
                    Deed Number             Sale Yr Sale Type                       Buyer Name                     Cert Number   Vol         PIN          Class Case Number Deed Name                                           Date Issued Date Processed Initials
04999                                       2017 ANNUAL                    INTERCOASTAL EQUITY LLC              170006074        274 21-30-323-005-0000   2-11 21COTD2834 CHICAGO ASSETS LLC                                   06/30/2022 07/21/2022       JRJ
05000                                       2017 ANNUAL                     NEWLINE HOLDINGS LLC                170008980        446 24-14-415-082-0000   2-02 21COTD3919 ARTHINGTON PROPERTIES LLC                            07/05/2022 07/21/2022       JRJ
05004                                       2017 ANNUAL                             BT LIENS LLC                170006026        274 21-30-114-029-1169   2-99 21COTD3018 DENISE WILLIAMS-BERGEMANN                            06/22/2022 07/20/2022       AA
05005                                       2017 ANNUAL                         ICIB INVESTMENTS                170000877        026 28-11-112-019-0000   2-03 21COTD4588 HOLLAND FINANCIAL, INC.                              07/13/2022 07/20/2021       AA
05017                                       2017 ANNUAL                        NAR SOLUTIONS INC.               170008069        424 20-17-310-012-0000   2-02 21COTD3322 SEEM GROUP, LLC                                      06/11/2022 07/21/2022       AA
05018                                       2017 ANNUAL                        PINE VALLEY ONE RE               170007934        420 20-09-417-029-0000   2-11 21COTD2808 DJW EQUITY LLC                                       07/11/2022 07/22/2022       AA
05019                                       2017 ANNUAL                          LIEN GROUP LLC                 170006030        274 21-30-114-029-1264   2-99 21COTD3039 COOK COUNTY PROPERY TAX LLC                          07/11/2022 07/22/2022       AA
05020                                       2017 ANNUAL                        PINE VALLEY ONE RE               170003986        206 29-14-145-006-0000   2-03 21COTD1553 JEDI HOLDINGS,LLC                                    07/11/2022 07/22/2022       AA
05021                                       2016 ANNUAL                             RDG LNS LLC                 160007067        418 20-08-104-014-0000   2-11 20COTD5195 CORONA INVESTMENTS LLC                               07/13/2022 07/22/2022       AA
05022                                       2017 ANNUAL                      CORONA INVESTMENTS                 170011066        552 16-11-127-003-0000   2-02 21COTD2552 CORONA INVESTMENTS LLC                               07/06/2022 07/22/2022       AA
05023                                       2017 ANNUAL                       ROC FUNDING GROUP                 170005843        269 20-34-303-064-0000   2-34 21COTD4751 MMT SERVICES                                         07/05/2022 07/22/2022       AA
05035                                       2017 ANNUAL                              INTAXX LLC                 170009639        469 25-28-206-016-0000   2-02 21COTD4022 CORTEZZ, LLC                                         07/11/2022 07/25/2022       AA
05036                                       2017 ANNUAL                              INTAXX LLC                 170008404        430 20-20-416-004-0000   2-11 21COTD4263 CORTEZZ, LLC                                         07/18/2022 07/25/2022       AA
05037                                       2017 ANNUAL                        INTERCOAST EQUITY                170006307        282 25-02-400-001-0000   2-03 21COTD2842 T.I.S.H. MANAGEMENT GROUP INC                        07/15/2022 07/25/2022       AA
05038                                       2017 ANNUAL                        RYH INVESTMENTS,LL               170006548        289 25-15-404-012-0000   2-10 21COTD4544 RYH INVESTMENTS, LLC                                 07/14/2022 07/25/2022       AA
05044                                       2016 ANNUAL                       FNA DZ LLC FBO WSFS               160008478        458 25-16-215-021-0000   2-02 20COTD2186 RADU DANIEL ALEXA                                    07/12/2022 07/26/2022       JRJ
05045                                       2015 ANNUAL                            SMM-TAX INC                  150008843        474 14-06-106-038-1002   2-99 19COTD0810 SMM-TAX INC C/O JAX ADVISORY                         06/14/2022 07/26/2022       JRJ
05048                                       2017 ANNUAL                  GROSS & DUQUESNE 2019 LLC              170003287        180 31-36-109-014-0000   2-03 21COTD1099 LIVE IT UP PAINTCLUB & MASTERMIND VENTURES INV LLC   07/11/2022 07/26/2022       JRJ
05054                                       2015 ANNUAL                     NEWLINE HOLDINGS LLC                150008309        455 25-08-307-060-0000   2-02 19COTD3709 BLUE OCEAN 21-1, LLC                                 06/24/2022 07/27/2022       AA
05055                                       2017 ANNUAL                    GROSS & DUQUESNE 2019                170002776        162 15-11-305-004-0000   2-05 21COTD1100 IRAM VIMAWALA                                        07/19/2022 07/27/2022       AA
05056                                       2017 ANNUAL                    GROSS & DUQUESNE 2019                170009356        459 25-16-422-032-0000   2-03 21COTD1863 KLM 1953 REAL ESTATE, LLC                            06/24/2022 07/27/2022       AA
05057                                       2017 ANNUAL                       FNA DZ LLC FBO WSFS               170008204        427 20-19-124-019-0000   2-02 21COTD3646 FIRST NATIONAL ACQUISITION LLC                       07/22/2022 07/27/2022       AA
05058                                       2015 ANNUAL                    FAIR DEAL OF ILLINOIS INC.           150004842        257 20-15-413-034-1001   2-99 19COTD3940 FIRST NATIONAL ACQUISITION LLC                       07/20/2022 07/27/2022       AA
05060                                       2017 ANNUAL                             FIG IL 18 LLC               170003883        202 29-10-419-013-0000   2-34 21COTD2563 OLD LINE 22, LLC                                     07/20/2022 07/28/2022       AA
05061                                       2017 ANNUAL                             FIG IL 18 LLC               170003221        180 31-33-301-003-0000   2-02 21COTD2616 OLD LINE 22, LLC                                     07/21/2022 07/28/2022       AA
05063                                       2016 ANNUAL                        WHEELER FINANCIAL                160007285        423 20-17-207-002-0000   2-02 20COTD3678 A&A INVESTMENT GROUP, LLC                            07/22/2022 07/28/2022       AA
05084                                       2016 ANNUAL                        WHEELER FINANCIAL                160003901        225 30-18-227-030-0000   2-03 20COTD4607 WHEELER FINANCIAL, INC                               07/14/2022 07/28/2022       AA
05086                                       2016 ANNUAL                        WHEELER FINANCIAL                160007694        432 20-21-328-007-0000   2-11 20COTD3694 WHEELER FINANCIAL, INC                               07/13/2022 07/28/2022       AA
05087                                       2016 ANNUAL                     NEWLINE HOLDINGS LLC                160003608        214 29-21-309-032-0000   2-03 20COTD1242 RAUL OROZCO AND PEDRO ESCALONA TEPETL                07/15/2022 07/28/2022       AA
05089                                       2017 ANNUAL                      CORONA INVESTMENTS                 170011003        551 16-10-104-001-0000   2-12 21COTD4364 CORONA INVESTMENTS, LLC                              07/07/2022 07/30/2022       AA
05091                                       2017 ANNUAL                        NAR SOLUTIONS INC                170008114        424 20-17-416-030-0000   2-11 21COTD3323 NATIONAL FAST OFFER, LLC                             07/11/2022 07/30/2022       AA
05112                                       2017 ANNUAL                    GROSS & DUQUESNE 2019                170008280        428 20-19-428-007-0000   2-02 21COTD1850 T.I.S.H MANAGEMENT GROUP INC                         07/11/2022 07/30/2022       AA
05113                                       2017 ANNUAL                    MUNICIPAL POINT CAPITAL              170010825        544 16-04-319-025-0000   2-05 21COTD4513 PENN PACIFIC PROPERTIES LP                           07/14/2022 07/30/2022       AA
05114                                       2017 ANNUAL                    MUNICIPAL POINT CAPITAL              170009194        455 25-08-426-043-0000   2-02 21COTD4507 PENN PACIFIC PROPERTIES LP                           07/12/2022 08/01/2022       AA
05115                                       2017 ANNUAL                    MUNICIPAL POINT CAPITAL              170006112        275 21-31-107-011-0000   2-03 21COTD4497 PENN PACIFIC PROPERTIES LP                           07/12/2022 08/01/2022       AA
05116                                       2017 ANNUAL                    MUNICIPAL POINT CAPITAL              170009154        454 25-08-111-021-0000   2-05 21COTD4505 PENN PACIFIC PROPERTIES LP                           07/12/2022 08/01/2022       AA
05119                                       2017 ANNUAL                           TLOA OF IL LLC                170006107        275 21-31-104-037-0000   2-02 21COTD2753 BLUE OCEAN 21-1 LLC                                  06/29/2022 08/01/2022       AA
05121                                       2017 ANNUAL                             FIG IL 18 LLC               170003899        203 29-11-124-055-0000   2-03 21COTD2471 OLD LINE 22 LLC                                      07/20/2022 08/02/2022       JRJ
05122                                       2017 ANNUAL                              INTAXX LLC                 170006524        289 25-15-218-148-0000   2-10 21COTD4019 CORTEZZ LLC                                          07/20/2022 08/02/2022       JRJ
05123                                       2017 ANNUAL                    CORONA INVESTMENTS LLC               170008515        433 20-28-224-035-0000   3-18 21COTD4350 CORONA INVESTMENTS LLC                               07/21/2022 08/02/2022       JRJ
05124 per 21cotd3062 void deed dtd 1/6/23   2017 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   170009733        471 25-33-116-069-0000   2-03 21COTD3062 NR DEED LLC                                          07/14/2022 08/02/2022       JRJ
05131                                       2016 ANNUAL                       ICIB INVESTMENT INC.              160010069        549 16-09-230-005-0000   2-02 20COTD4522 T-M CONSTRUCTION LLC                                 06/22/2022 08/02/2022       AA
5133                                        2015 ANNUAL                        FNA DZ LLC FBOWSFS               150007715        430 20-20-405-045-0000   2-03 19COTD1854 OLOW GRZEGORZ, INC.                                  07/13/2022 08/02/2022       AA
05134                                       2017 ANNUAL                              INTAXX LLC                 170009645        469 25-28-213-014-0000   2-11 21COTD4020 CORTEZZ, LLC                                         07/21/2022 08/02/2022       AA
05135                                       2017 ANNUAL                             FIG IL 18 LLC               170003932        204 29-11-413-057-0000   2-02 21COTD2567 OLD LINE 22, LLC                                     07/21/2022 08/02/2022       AA
05136                                       2016 ANNUAL                         RANDOLPH 18 LLC                 160003530        211 29-18-429-059-0000   2-02 20COTD4831 SITUS CULTIVATION, LLC                               07/18/2022 08/02/2022       AA
05137                                       2017 ANNUAL                    MUNICIPAL POINT CAPITAL              170001329        042 16-21-429-012-0000   2-11 21COTD4481 PENN PACIFIC PROPERTIES LP                           07/15/2022 08/02/2022       AA
05138                                       2017 ANNUAL                    MUNICIPAL POINT CAPITAL              170002482        149 02-21-200-012-0000   2-78 21COTD4485 PENN PACIFIC PROPERTIES LP                           07/12/2022 08/02/2022       AA
05149                                       2017 ANNUAL                           SMM-TAX INC.                  170006096        275 21-30-417-052-1027   2-99 21COTD2493 BASSAM ISSA                                          07/19/2022 08/03/2022       AA
05151                                       2015 ANNUAL                        FNA DZ LLC FBOWSFS               150006101        295 26-05-305-008-0000   2-12 19COTD1651 FIRST NATIONAL ACQUISITIONS LLC                      07/28/2022 08/03/2022       AA
05152                                       2017 ANNUAL                    GROSS & DUQUESNE 2019                170006923        319 13-03-202-049-0000   2-03 20COTD2640 RTA INVESTMENTS, LLC                                 07/29/2022 08/03/2022       AA
05153                                       2017 ANNUAL                        PINE VALLEY ONE RE.              170009618        469 25-28-117-009-0000   2-11 21COTD3057 RIZ HOLDINGS LLC                                     07/21/2022 08/03/2022       AA




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        Deed Number   Sale Yr Sale Type                Buyer Name              Cert Number   Vol         PIN          Class Case Number Deed Name                                          Date Issued Date Processed Initials
05156                 2017 ANNUAL           INTEGRITY INVESTMENTS FND       170004480        224 30-17-415-008-0000   2-03 21COTD1793 INTEGRITY INVESTMENT REO HOLDINGS, LLC              07/27/2022 08/05/2022       AA
05157                 2017 ANNUAL             GROSS & DUQUESNE 2019         170000947        030 28-14-204-012-0000   2-34 21COTD1867 SAM ZUMOT                                           07/11/2022 08/05/2022       AA
05159                 2017 ANNUAL                     SMM-TAX INC.          170006201        278 21-31-410-037-0000   2-02 21COTD2495 RIZ HOLDINGS LLC                                    08/01/2022 08/08/2022       AA
05160                 2017 ANNUAL                 SADOFF ENTERPRISES        170011422        565 16-16-219-046-0000   2-11 21COTD5320 SADOFF ENTERPRISES LLC                              08/01/2022 08/08/2022       AA
05161                 2017 ANNUAL                      BT LIENS LLC         170008027        423 20-17-122-039-0000   2-11 21COTD3030 NATIONAL FAST OFFER, LLC                            07/15/2022 08/08/2022       AA
05164                 2017 ANNUAL                      FIG IL 18 LLC        170003905        203 29-11-131-013-0000   2-03 21COTD2564 OLD LINE 22 LLC                                     07/29/2022 08/08/2022       JRJ
05165                 2017 ANNUAL                     SMM-TAX INC           170011696        578 16-27-102-041-0000   2-02 21COTD2521 ISIDRO MONDRAGON OLIVERES & ANGEL SUAREZ            07/27/2022 08/08/2022       JRJ
05166                 2017 ANNUAL                       INTAXX LLC          170008385        430 20-20-405-005-0000   2-11 21COTD2960 CORTEZZ LLC                                         07/27/2022 08/08/2022       JRJ
05167                 2017 ANNUAL            CORONA INVESTMENTS LLC         170005754        267 20-27-400-004-0000   2-12 21COTD4342 CORONA INVESTMENTS LLC                              07/21/2022 08/08/2022       JRJ
05173                 2017 ANNUAL               NEWLINE HOLDINGS LLC        170003925        203 29-11-310-026-1045   2-99 21COTD3348 BLUE OCEAN 21-1, LLC                                07/11/2022 08/09/2022       AA
05174                 2017 ANNUAL               NEWLINE HOLDINGS LLC        170004876        246 24-19-409-011-0000   2-03 21COTD3352 BLUE OCEAN 21-1, LLC                                06/22/2022 08/09/2022       AA
05175                 2017 ANNUAL               NEWLINE HOLDINGS LLC        170007879        419 20-08-401-015-0000   2-03 21COTD3356 BLUE OCEAN 21-1, LLC                                06/28/2022 08/09/2022       AA
05176                 2017 ANNUAL               NEWLINE HOLDINGS LLC        170011342        562 16-15-204-019-0000   2-05 21COTD2786 BLUE OCEAN 21-1, LLC                                06/28/2022 08/09/2022       AA
05177                 2017 ANNUAL              SSC7 LLC BANKUNITED/TR       170002940        178 31-01-109-028-0000   2-78 21COTD3347 BLUE OCEAN 21-1, LLC                                06/29/2022 08/09/2022       AA
05179                 2017 ANNUAL           GROSS & DUQUESNE 2019 LLC       170008186        426 20-18-427-016-0000   2-11 21COTD1847 F & S PROPERTIES LLC                                07/28/2022 08/10/2022       JRJ
05181                 2017 ANNUAL                ICIB INVESTMENTS INC       170003095        179 31-20-114-014-1039   2-99 21COTD2863 AMERICAN TAX LIEN LLC                               07/14/2022 08/10/2022       JRJ
05183                 2017 ANNUAL                       RTLF-IL LLC         170007049        341 13-16-412-014-0000   2-03 21COTD5403 RTLF-IL REO LLC                                     08/04/2022 08/10/2022       JRJ
05184                 2017 ANNUAL                        JICTB INC          170003457        191 19-31-410-012-0000   2-03 21COTD4284 JICTB INC                                           07/15/2022 08/10/2022       JRJ
05198                 2017 ANNUAL                      FIG IL 18 LLC        170004146        212 29-19-409-067-0000   2-34 21COTD2573 OLD LINE 22, LLC                                    07/25/2022 08/15/2022       AA
05200                 2017 ANNUAL                     SMM-TAX INC           170008349        430 20-20-308-024-0000   2-11 21COTD4041 R H BEACO LLC                                       07/29/2022 08/15/2022       AA
05202                 2017 ANNUAL               NEWLINE HOLDINGS LLC        170000591        019 32-29-423-007-0000   2-11 21COTD1980 BLUE OCEAN 21-1, LLC                                07/13/2022 08/15/2022       AA
05203                 2017 ANNUAL                       INTAXX LLC          170004219        215 29-24-100-022-1109   2-99 21COTD4017 CORTEZZ LLC                                         07/20/2022 08/18/2022       JRJ
05204                 2017 ANNUAL                     SMM-TAX INC           170000519        017 32-25-411-004-0000   2-03 21COTD0893 223 PROPERTIES LLC                                  08/05/2022 08/18/2022       JRJ
05205                 2016 ANNUAL                   RANDOLPH 18 LLC         160003177        200 29-08-321-001-0000   2-04 21COTD0024 ROCK MEEK LLC                                       07/26/2022 08/18/2022       JRJ
05206                 2017 ANNUAL                       RTLF-IL LLC         170001003        031 28-21-113-002-0000   2-41 21COTD5395 RTLF-IL REO LLC                                     08/09/2022 08/18/2022       JRJ
05210                 2017 ANNUAL          PHOENIX BOND & INDEMNITY CO      170002914        171 15-22-202-018-0000   2-05 21COTD4789 PHOENIX BOND & INDEMNITY CO                         08/04/2022 08/18/2022       JRJ
05211                 2017 ANNUAL               JES ASSET HOLDINGS LLC      170002185        121 10-22-428-007-0000   2-05 21COTD5100 MAXX INC                                            08/02/2022 08/18/2022       JRJ
05212                 2017 ANNUAL              SADOFF ENTERPRISES LLC       170005152        253 20-10-306-069-1020   2-99 21COTD5305 SADOFF ENTERPRISES LLC                              08/10/2022 08/18/2022       JRJ
05213                 2017 ANNUAL                     SMM-TAX INC           170009272        458 25-16-101-013-0000   2-02 21COTD3746 REMERGENCE LLC                                      08/02/2022 08/18/2022       JRJ
05214                 2017 ANNUAL         INTEGRITY INVESTMENT FUND LLC     170005786        267 20-27-431-002-0000   2-11 21COTD1821 MARQUETTE BANK LAND TRUST UTA #30903 DTD 08/04/22   08/09/2022 08/18/2022       JRJ
05226                 2017 ANNUAL                  WHEELER FINANCIAL        170006097        275 21-30-417-052-1031   2-99 21COTD4705 WHEELER FINANCIAL, INC                              08/04/2022 08/18/2022       AA
05227                 2017 ANNUAL                  WHEELER FINANCIAL        170004231        215 29-25-405-021-1003   2-99 21COTD4663 WHEELER FINANCIAL, INC                              08/04/2022 08/18/2022       AA
05229                 2017 ANNUAL         INTEGRITY INVESTMENT FUND LLC     170004723        236 24-01-313-010-0000   2-03 21COTD1796 INTEGRITY INVESTMENT REO HOLDINGS LLC               08/09/2022 08/18/2022       JRJ
05231                 2017 ANNUAL                       RTLF-IL LLC         170002184        121 10-22-428-006-0000   2-01 21COTD5407 MAXX INC                                            08/08/2022 08/22/2022       JRJ
05245                 2017 ANNUAL                 FNA DZ LLC FBO WSFS       170006324        282 25-03-128-009-0000   2-10 21COTD0781 SYLVA LLC                                           07/29/2022 08/24/2022       JRJ
05246                 2017 ANNUAL                  NAR SOLUTIONS INC        170005416        260 20-23-121-033-0000   2-11 21COTD5558 AXERT LLC - 5147 SERIES                             08/09/2022 08/24/2022       JRJ
05248                 2017 ANNUAL         PINE VALLEY ONE REAL ESTATE LLC   170003046        178 31-13-303-038-0000   2-11 21COTD3061 OLYMPIA FIELDS COUNTRY CLUB                         08/11/2022 08/24/2022       JRJ
05249                 2017 ANNUAL            CORONA INVESTMENTS LLC         170003886        203 29-11-110-007-0000   2-03 21COTD4945 SEEM GROUP LLC                                      08/10/2022 08/24/2022       JRJ
05250                 2017 ANNUAL                 SCRIBE FUNDING LLC        170011606        572 16-24-401-001-0000   2-12 21COTD5282 SUBS3 LLC                                           08/11/2022 08/24/2022       JRJ
05258                 2017 ANNUAL         INTEGRITY INVESTMENT FUND LLC     170005750        267 20-27-317-027-0000   2-03 21COTD5419 EQUITY TRUST CO CUSTODIAN FBO 200435091 ROTH IRA    08/08/2022 08/24/2022       JRJ
05260                 2017 ANNUAL              MIDWESTERN INVESTORS         170000115        009 32-03-302-007-0000   2-02 21COTD3851 SEEM GROUP, LLC                                     08/12/2022 08/25/2022       AA
05262                 2016 ANNUAL                   RANDOLPH 18 LLC         160005904        291 25-22-312-027-0000   2-02 20COTD2912 IDM CONSULTING, INC                                 08/10/2022 08/25/2022       AA
05272                 2016 ANNUAL             SUMMERSEAT CAPITAL LLC        160000891        035 28-34-116-019-0000   2-34 20COTD4026 PENN PACIFIC PROPERTIES LP                          08/10/2022 08/29/2022       JRJ
05273                 2017 ANNUAL                RYH INVESTMENTS LLC        170001068        033 28-25-117-029-1073   2-99 21COTD2242 ARCHIE 1929 INVESTMENTS INC                         08/29/2022 08/30/2022       JRJ
05275                 2017 ANNUAL                  NAR SOLUTIONS INC        170008397        430 20-20-412-027-0000   2-02 21COTD3324 COMMITTED CHRISTIAN HOUSING LLC                     08/09/2022 08/30/2022       JRJ
05276                 2017 ANNUAL                      FIG IL 18 LLC        170006644        293 25-34-102-006-0000   2-02 21COTD2481 OLD LINE 22 LLC                                     08/11/2022 08/30/2022       JRJ
05277                 2017 ANNUAL             INTERCOASTAL EQUITY LLC       170000481        017 32-25-109-055-0000   2-95 21COTD3618 C RELLA PROPERTIES LLC                              07/11/2022 08/30/2022       JRJ
05278                 2017 ANNUAL              EMPATHY FINANCIAL LLC        170006884        312 12-23-202-032-0000   2-02 21COTD2803 EMPATHY FINANCIAL LLC                               06/07/2022 08/30/2022       JRJ
05281                 2015 ANNUAL              SABRE INVESTMENTS LLC        150000754        047 16-32-402-011-0000   2-03 19COTD2441 SABRE INVESTMENTS LLC                               08/15/2022 08/30/2022       JRJ
05282                 2015 ANNUAL              SABRE INVESTMENTS LLC        150005907        287 25-12-439-007-0000   2-02 19COTD2651 SABRE INVESTMENTS LLC                               08/15/2022 08/30/2022       JRJ
05283                 2015 ANNUAL              SABRE INVESTMENTS LLC        150008393        457 25-09-415-016-0000   2-03 19COTD2653 SABRE INVESTMENTS LLC                               08/10/2022 08/30/2022       JRJ
05287                 2017 ANNUAL                    LIEN GROUP LLC         170002429        148 02-01-302-077-1058   2-99 21COTD4801 LIEN GROUP LLC                                      08/09/2022 09/07/2022       JRJ




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                  Deed Number            Sale Yr Sale Type                  Buyer Name                  Cert Number   Vol         PIN          Class Case Number Deed Name                              Date Issued Date Processed Initials
05288                                    2017 ANNUAL                   SCRIBE FUNDING LLC            170000204        011 32-11-204-004-0000   2-34 21COTD5188 SUBS3 LLC                               08/17/2022 09/07/2022       JRJ
05289                                    2017 ANNUAL                    NAR SOLUTIONS INC            170008487        433 20-28-104-026-0000   2-95 21COTD3325 RIZ HOLDINGS LLC                        08/17/2022 09/07/2022       JRJ
05290                                    2017 ANNUAL                   SCRIBE FUNDING LLC            170008998        448 25-04-112-036-0000   2-03 21COTD5221 SUBS3 LLC                               08/17/2022 09/07/2022       JRJ
05294                                    2017 ANNUAL                       SMM-TAX INC               170009564        468 25-21-312-009-0000   2-02 21COTD3753 BRICKSAVE174 LLC                        08/10/2022 09/07/2022       JRJ
05295                                    2017 ANNUAL             PINE VALLEY ONE REAL ESTATE LLC     170000509        017 32-25-316-017-0000   2-34 21COTD4952 JMAC INVESTMENTS LLC                    07/29/2022 09/07/2022       JRJ
05298                                    2017 ANNUAL                         INTAXX LLC              170004492        225 30-18-228-012-0000   2-03 21COTD4016 CORTEZZ LLC                             08/17/2022 09/07/2022       JRJ
05299                                    2017 ANNUAL               STONEFIELD MADISON TRUST          170005542        262 20-25-137-032-0000   2-10 21COTD4059 TL6 IL2 LLC                             08/15/2022 09/08/2022       JRJ
05300                                    2017 ANNUAL                   JEHM FINANCIAL LLP            170008324        429 20-20-223-009-0000   2-11 22COTD0185 ANCHOR INITIATIVES NFP                  08/17/2022 09/08/2022       JRJ
05303                                    2017 ANNUAL                         INTAXX LLC              170008231        427 20-19-224-031-0000   2-05 21COTD2935 CORTEZZ LLC                             08/19/2022 09/07/2022       RAA
05307                                    2017 ANNUAL                    JEHM FINANCIAL LP            170008035        423 20-17-210-034-0000   2-11 22COTD81     JEHM FINANCIAL LLC                    08/24/2022 09/07/2022       RAA
05308                                    2017 ANNUAL               PHOENIX BOND & INDEMNITY          170000121        009 32-03-308-005-0000   2-02 22COTD4774 EVA L GUTIERREZ                         08/17/2022 09/07/2022       RAA
05309                                    2017 ANNUAL                     FNA DZ FBO WSFS             170003786        200 29-08-410-021-0000   2-03 21COTD726    BRYANT ROGERS                         08/18/2022 09/07/2022       RAA
05310                                    2015 ANNUAL                 SABRE INVESTMENTS LLC           150008495        460 25-17-210-016-0000   2-03 19COTD2654 SABRE INVESTMENTS LLC                   08/22/2022 09/07/2022       RAA
05311                                    2015 ANNUAL                       ROYCE RE LLC              150007380        422 20-16-412-024-0000   2-02 19COTD1328 ED INVESTMENTS & CONSTRUCTION INC       08/19/2022 09/07/2022       RAA
05312                                    2017 ANNUAL                      SMM - TAX INC              170008393        430 20-20-411-036-0000   2-03 21COTD3734 MIROSLAW WOJTAK                         08/23/2022 09/07/2022       RAA
05319                                    2017 ANNUAL                        FIG IL 18 LLC            170050648        265 20-26-303-014-0000   2-11 21COTD2473 OLD LINE 22 LLC                         08/23/2022 09/08/2022       RAA
05334                                    2016 ANNUAL                  CORONA INVESTMENTS             160008482        458 25-16-216-053-0000   2-02 20COTD4544 UP MANAGEMENT LLC                       08/12/2022 09/08/2022       AA
05335                                    2017 ANNUAL                   SADOFF ENTERPRISES            170005969        272 20-36-225-047-0000   2-02 21COTD5303 TP INVESTMENT HOLDINGS LLC              08/15/2022 09/08/2022       AA
05336                                    2017 ANNUAL                   GROSS & DUQUESNE              170009500        466 25-20-417-035-0000   2-11 21COTD3669 GREENPOL ENTERPRISES INC                08/19/2022 09/08/2022       AA
05337                                    2017 ANNUAL               PHOENIX BOND & INDEMNITY          170002703        160 15-09-315-075-0000   2-03 21COTD1165 GARY BENNET                             06/24/2022 09/09/2022       AA
05341                                    2016 ANNUAL                 SABRE INVESTMENTS LLC           160003685        217 29-30-201-016-0000   2-02 20COTD3391 SABRE INVESTMENTS LLC                   08/25/2022 09/12/2022       AA
05342                                    2017 ANNUAL                   WHEELER FINANCIAL             170001352        044 16-28-215-028-0000   2-41 21COTD463    WHEELER FINANCIAL, INC                08/18/2022 09/12/2022       AA
05344                                    2017 ANNUAL                   WHEELER FINANCIAL             170011475        568 16-22-405-001-0000   2-41 21COTD555    WHEELER FINANCIAL, INC                08/18/2022 09/12/2022       AA
05345                                    2017 ANNUAL                        FIG IL 18 LLC            170008196        427 20-19-110-037-0000   2-02 21COTD2511 OLD LINE 22, LLC                        08/26/2022 09/12/2022       AA
05369                                    2017 ANNUAL                  CORONA INVESTMENTS             170006120        275 21-31-115-009-0000   2-11 21COTD4949 RIZ HOLDINGS LLC                        08/11/2022 09/13/2022       RAA
05370                                    2017 ANNUAL                      SMM - TAX INC              170008274        428 20-19-422-001-0000   2-12 21COTD4031 MCCAIN GENERAL CONTRACTORS LLC          08/19/2022 09/13/2022       RAA
05371                                    2017 ANNUAL                   WHEELER FINANCIAL             170008299        429 20-20-116-025-0000   2-03 21COTD3886 LUIS FLORES                             08/15/2022 09/13/2022       RAA
05372                                    2017 ANNUAL                   SADOFF ENTERPRISES            170011258        559 16-14-100-031-0000   2-11 21COTD5309 RIZ HOLDINGS LLC                        08/11/2022 09/13/2022       RAA
05373                                    2017 ANNUAL                        FIG IL18 LLC             170004415        223 30-08-406-015-0000   2-03 21COTD2650 OLD LINE 22 LLC                         08/23/2022 09/13/2022       RAA
05375                                    2017 ANNUAL                        FIG IL18 LLC             170009298        458 25-16-211-001-0000   2-02 21COTD2627 OLD LINE 22 LLC                         08/23/2022 09/13/2022       RAA
05376                                    2017 ANNUAL                        FIG IL18 LLC             170003728        199 29-07-425-012-0000   2-02 21COTD2686 OLD LINE 22 LLC                         08/24/2022 09/13/2022       RAA
05377                                    2017 ANNUAL                        FIG IL18 LLC             170004420        223 30-08-407-036-0000   2-11 21COTD2651 OLD LINE 22 LLC                         08/24/2022 09/13/2022       RAA
05378                                    2017 ANNUAL                        FIG IL18 LLC             170004425        223 30-08-413-029-0000   2-03 21COTD2654 OLD LINE 22 LLC                         08/24/2022 09/13/2022       RAA
05379                                    2017 ANNUAL                        FIG IL18 LLC             170004519        226 30-20-106-020-0000   2-11 21COTD2659 OLD LINE 22 LLC                         08/24/2022 09/13/2022       RAA
05380                                    2017 ANNUAL                        FIG IL18 LLC             170005054        424 20-17-300-033-0000   2-11 21COTD8054 OLD LINE 22 LLC                         08/24/2022 09/13/2022       RAA
05381                                    2017 ANNUAL                        FIG IL18 LLC             170002721        161 15-10-232-001-0000   2-12 21COTD2721 OLD LINE 22 LLC                         08/25/2022 09/13/2022       RAA
05382                                    2017 ANNUAL                        FIG IL18 LLC             170003712        198 29-07-328-006-0000   2-03 21COTD2461 OLD LINE 22 LLC                         08/25/2022 09/13/2022       RAA
05383                                    2017 ANNUAL                        FIG IL18 LLC             170003732        199 29-07-430-039-0000   2-03 21COTD2463 OLD LINE 22 LLC                         08/25/2022 09/13/2022       RAA
05384                                    2017 ANNUAL                        FIG IL18 LLC             170003778        200 29-08-320-012-0000   2-03 21COTD2467 OLD LINE 22 LLC                         08/25/2022 09/13/2022       RAA
05385                                    2017 ANNUAL                        FIG IL18 LLC             170003931        204 29-11-413-053-0000   2-02 21COTD2565 OLD LINE 22 LLC                         08/25/2022 09/13/2022       RAA
05388                                    2017 ANNUAL                        FIG IL18 LLC             170007897        419 20-08-419-017-0000   2-03 21CITD2484   OLD LINE 22 LLC                       08/24/2022 09/12/2022       AA
05390                                    2016 ANNUAL                 SABRE INVESTMENRS, LLC          160009539        510 17-10-400-043-1497   2-99 20COTD3290 SABRE INVESTMENRS, LLC                  08/26/2022 09/13/2022       AA
05392                                    2017 ANNUAL                         INTAXX LLC              170003008        178 31-10-200-089-1189   2-99 21COTD4013 CORTEZZ, LLC                            08/09/2022 09/13/2022       AA
05395                                    2017 ANNUAL                        FIG IL18 LLC             170004460        224 30-17-209-008-0000   2-02 21COTD2165 OLD LINE 22 LLC                         08/31/2022 09/14/2022       RAA
05403                                    2017 ANNUAL                   RYH INVESTMENTS LL            170003855        202 29-10-236-056-0000   2-34 21COTD2250 NEER DEVELOPERS, INC.                   08/11/2022 09/13/2022       AA
05404                                    2017 ANNUAL                        FIG IL18 LLC             170001214        037 25-30-419-012-0000   2-02 21COTD2455 OLD LINE 22 LLC                         08/29/2022 09/13/2022       AA
05405                                    2017 ANNUAL                        FIG IL18 LLC             170004217        215 29-24-100-022-1057   2-99 21COTD2646 OLD LINE 22 LLC                         08/29/2022 09/13/2022       AA
05406 PER CT.CASE 21COTD4869 VOID DEED   2017 ANNUAL               PHOENIX BOND & INDEMNITY          170005532        262 20-25-116-017-0000   2-11 21COTD4869 1752 E 73RD LLC                         08/30/2022 09/13/2022       AA
05415                                    2017 ANNUAL                       SMM-TAX INC               170009763        473 14-05-407-017-1547   2-99 21COTD2517 SMM-TAX INC                             07/28/2022 09/14/2022       JRJ
05416                                    2015 ANNUAL                 SABRE INVESTMENTS LLC           150006221        303 26-31-207-044-0000   2-01 19COTD2457 SABRE INVESTMENTS LLC                   08/17/2022 09/14/2022       JRJ
05420                                    2017 ANNUAL         RIPPLE CREEK INVESTORS OF CHICAGO LLC   170003060        179 31-15-402-004-0000   2-41 21COTD1817 RIPPLE CREEK INVESTORS OF CHICAGO LLC   08/23/2022 09/16/2022       JRJ
05422                                    2017 ANNUAL                        FIG IL I8 LLC            170000510        017 32-25-316-020-0000   2-34 21COTD2601 OLD LINE 22 LLC                         09/01/2022 09/16/2022       JRJ




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        Deed Number   Sale Yr Sale Type           Buyer Name           Cert Number   Vol         PIN          Class Case Number Deed Name                          Date Issued Date Processed Initials
05423                 2017 ANNUAL                  FIG IL I8 LLC    170003188        180 31-26-407-007-0000   2-34 21COTD2614 OLD LINE 22 LLC                     09/01/2022 09/16/2022       JRJ
05424                 2017 ANNUAL         INTERSTATE FUNDING CORP   170005184        255 20-11-402-041-1034   2-99 21COTD5161 GALAXY SITES LLC                    08/09/2022 09/16/2022       JRJ
05425                 2015 ANNUAL           WHEELER FINANCIAL INC   150008903        478 14-08-415-038-1001   2-99 19COTD3323 WHEELER FINANCIAL INC               08/25/2022 09/16/2022       JRJ
05428                 2016 ANNUAL           SABRE INVESTMENTS LLC   160004115        236 24-01-203-009-0000   2-03 20COTD3395 SABRE INVESTMENTS LLC               09/02/2022 09/16/2022       RAA
05429                 2016 ANNUAL           SABRE INVESTMENTS LLC   160005578        281 25-02-118-004-0000   2-02 20COTD3481 SABRE INVESTMENTS LLC               09/02/2022 09/16/2022       RAA
05430                 2017 ANNUAL           STONEFIELD MADISON T    170008904        442 20-33-105-039-0000   2-03 21COTD4162 TL6 IL1 LLC                         09/02/2022 09/16/2022       RAA
05441                 2017 ANNUAL            FNA DZ LLC FBO WSFS    170004404        223 30-08-329-004-0000   2-02 21COTD3574 FIRST NATIONAL ACQUISITIONS LLC     09/02/2022 09/19/2022       RAA
05447                 2017 ANNUAL                  FIG IL18 LLC     170003305        180 31-36-200-028-1112   2-99 21COTD2619 OLD LINE 22 LLC                     08/24/2022 09/19/2022       RAA
05448                 2017 ANNUAL          MIDWESTERN INVESTORS     170008357        430 20-20-311-044-0000   2-05 21COTD5502 SYLVA LLC                           09/06/2022 09/21/2022       RAA
05449                 2013 ANNUAL                 FNA ELM LLC       130008238        270 20-35-111-005-0000   2-11 18COTD163    FIRST NATIONAL ACQUISITIONS LLC   09/07/2022 09/21/2022       RAA
05452                 2017 ANNUAL             JEHM FINANCIAL LLC    170009540        467 25-21-214-005-0000   2-11 22COTD86     JEHM FINANCIAL LLC                09/07/2022 09/21/2022       RAA
05459                 2016 ANNUAL          SABRE INVESTMENTS, LLC   160001923        144 16-18-129-031-0000   2-05 20COTD3380 SABRE INVESTMENTS, LLC              09/06/2022 09/20/2022       AA
05460                 2016 ANNUAL          SABRE INVESTMENTS, LLC   160003690        217 29-30-220-001-0000   2-02 20COTD3392 SABRE INVESTMENTS, LLC              09/06/2022 09/20/2022       AA
05461                 2016 ANNUAL          SABRE INVESTMENTS, LLC   160006385        356 13-27-226-015-0000   2-03 20COTD3501 SABRE INVESTMENTS, LLC              09/07/2022 09/20/2022       AA
05462                 2016 ANNUAL          SABRE INVESTMENTS, LLC   160005792        287 25-12-413-068-0000   2-05 20COTD3517 SABRE INVESTMENTS, LLC              09/07/2022 09/20/2022       AA
05463                 2016 ANNUAL          SABRE INVESTMENTS, LLC   160000707        030 28-14-203-019-0000   2-34 20COTD3369 SABRE INVESTMENTS, LLC              09/07/2022 09/20/2022       AA
05464                 2017 ANNUAL          MIDWESTERN INVESTORS     170003511        193 29-02-331-018-0000   2-03 21COTD5472 SEEM GROUP, LLC                     09/06/2022 09/20/2022       AA
05465                 2017 ANNUAL                 FIG IL 18 LLC     170003264        180 31-35-213-032-0000   2-04 21COTD2617 OLD LINE 22, LLC                    09/01/2022 09/20/2022       AA
05466                 2016 ANNUAL          SABRE INVESTMENTS, LLC   160000704        029 28-13-107-024-0000   2-03 20COTD3366 SABRE INVESTMENTS, LLC              09/07/2022 09/20/2022       AA
05468                 2014 ANNUAL           NEWLINE HOLDINGS LLC    140000533        019 32-29-414-029-0000   2-03 18COTD6099 BLUE OCEAN 21-1 LLC                 08/30/2022 09/22/2022       JRJ
05469                 2017 ANNUAL                 FIG IL 18 LLC     170000574        019 32-29-215-005-0000   2-02 21COTD2603 OLD LINE 22 LLC                     09/02/2022 09/22/2022       JRJ
05471                 2016 ANNUAL              RANDOLPH 18 LLC      160000607        023 28-02-122-034-0000   2-03 20COTD4907 FUCHI LLC                           08/31/2022 09/22/2022       JRJ
05472                 2017 ANNUAL            RYH INVESTMENTS LLC    170007821        417 20-07-430-039-0000   2-11 21COTD5061 RYH INVESTMENTS LLC                 08/30/2022 09/22/2022       JRJ
05473                 2017 ANNUAL                 FIG IL 18 LLC     170000293        014 32-19-413-013-0000   2-03 21COTD2597 OLD LINE 22 LLC                     09/06/2022 09/23/2022       JRJ
05474                 2017 ANNUAL                 FIG IL 18 LLC     170000628        020 32-31-122-002-1050   2-99 21COTD3210 OLD LINE 22 LLC                     09/02/2022 09/23/2022       JRJ
05475                 2017 ANNUAL                 FIG IL 18 LLC     170004105        210 29-18-317-012-0000   2-02 21COTD2570 OLD LINE 22 LLC                     09/06/2022 09/23/2022       JRJ
05476                 2017 ANNUAL                 FIG IL 18 LLC     170004162        212 29-19-429-056-0000   2-34 21COTD2572 OLD LINE 22 LLC                     09/06/2022 09/23/2022       JRJ
05496                 2015 ANNUAL                 RDG LNS LLC       150000707        044 16-28-303-028-0000   2-05 19COTD4319 2936 S. 53RD LLC                    09/08/2022 09/22/2022       AA
05497                 2017 ANNUAL                 FIG IL 18 LLC     170000693        021 32-36-108-008-0000   2-02 21CITD2608   OLD LINE 22, LLC                  09/08/2022 09/22/2022       AA
05498                 2017 ANNUAL                 FIG IL 18 LLC     170003330        180 31-36-406-013-0000   2-02 21COTD2620 OLD LINE 22, LLC                    09/08/2022 09/22/2022       AA
05499                 2017 ANNUAL                 FIG IL 18 LLC     170003646        196 29-04-420-019-0000   2-05 21COTD2459 OLD LINE 22, LLC                    09/08/2022 09/22/2022       AA
05500                 2017 ANNUAL                 FIG IL 18 LLC     170004410        223 30-08-400-041-0000   2-11 21COTD2653 OLD LINE 22, LLC                    09/08/2022 09/22/2022       AA
05501                 2017 ANNUAL             SCRIBE FUNDING LLC    170011622        573 16-25-103-037-0000   2-11 21COTD5201 SEMPER FIDELIS LLC                  09/08/2022 09/22/2022       AA
05504                 2017 ANNUAL                 FIG IL 18 LLC     170004144        212 29-19-405-054-0000   2-03 21COTD2571 OLD LINE 22, LLC                    08/29/2022 09/22/2022       AA
05517                 2015 ANNUAL          SABRE INVESTMENTS, LLC   150010041        547 16-05-425-019-0000   2-11 19COTD2470 SABRE INVESTMENTS, LLC              09/08/2022 09/26/2022       AA
05531                 2016 ANNUAL                 RDG LNS LLC       160008438        458 25-16-103-029-0000   2-03 20COTD5218 FELDMAN CONSTRUCTION GROUP LLC      09/09/2022 09/27/2022       JRJ
05532                 2016 ANNUAL                 RDG LNS LLC       160008913        471 25-33-101-050-0000   2-03 20COTD5233 S & P RESTORATION INC               09/09/2022 09/27/2022       JRJ
05541                 2016 ANNUAL           SABRE INVESTMENTS LLC   160001303        060 06-13-200-012-1112   2-99 20COTD3375 SABRE INVESTMENTS LLC               09/04/2022 09/27/2022       RAA
05542                 2016 ANNUAL              RANDOLPH 18 LLC      160002679        180 31-36-200-025-1019   2-99 20COTD2224 AMGUN INVESTMENTS LLC               09/12/2022 09/27/2022       RAA
05543                 2016 ANNUAL           NEWLINE HOLDINGS LLC    160002681        180 31-36-200-025-1046   2-99 20COTD2886 AMGUN INVESTMENTS LLC               09/12/2022 09/27/2022       RAA
05544                 2016 ANNUAL           NEWLINE HOLDINGS LLC    160002684        180 31-36-200-025-1083   2-99 20COTD2887 AMGUN INVESTMENTS LLC               09/12/2022 09/27/2022       RAA
05545                 2016 ANNUAL           NEWLINE HOLDINGS LLC    160002685        180 31-36-200-025-1092   2-99 20COTD2888 AMGUN INVESTMENTS LLC               09/12/2022 09/27/2022       RAA
05546                 2016 ANNUAL           NEWLINE HOLDINGS LLC    160002691        180 31-36-200-025-1157   2-99 20COTD2756 AMGUN INVESTMENTS LLC               09/12/2022 09/27/2022       RAA
05547                 2017 ANNUAL             NAR SOLUTIONS INC     170000824        024 28-02-422-017-0000   2-03 21COTD4646 GREYMORR REAL ESTATE LLC            09/08/2022 09/27/2022       RAA
05548                 2017 ANNUAL             NAR SOLUTIONS INC     170001263        039 25-33-319-020-0000   2-11 21COTD4648 GREYMORR REAL ESTATE LLC            09/08/2022 09/27/2022       RAA
05549                 2017 ANNUAL             NAR SOLUTIONS INC     170002715        160 15-10-123-015-0000   2-02 21COTD4650 GREYMORR REAL ESTATE LLC            09/08/2022 09/27/2022       RAA
05550                 2017 ANNUAL             NAR SOLUTIONS INC     170003636        196 29-07-406-011-0000   2-03 21COTD4825 GREYMORR REAL ESTATE LLC            08/29/2022 09/27/2022       RAA
05551                 2017 ANNUAL             NAR SOLUTIONS INC     170008128        425 20-18-112-024-0000   2-05 21COTD4711 GREYMORR REAL ESTATE LLC            09/07/2022 09/27/2022       RAA
05552                 2017 ANNUAL             NAR SOLUTIONS INC     170008165        425 20-18-230-001-0000   2-05 21COTD4712 GREYMORR REAL ESTATE LLC            09/07/2022 09/27/2022       RAA
05554                 2015 ANNUAL               PINE VALLEY ONE     150003914        224 30-17-102-006-0000   2-02 19COTD4520 AMGUN INVESTMENTS, LLC              09/13/2022 09/27/2022       AA
05555                 2015 ANNUAL             WHEELER FINANCIAL     150008367        457 25-09-322-025-0000   2-05 19COTD3736 AF PROPERTIES & CONSTRUCTION, LLC   09/07/2022 09/27/2022       AA
05559                 2017 ANNUAL                 FIG IL 18 LLC     170001246        030 25-32-216-048-0000   2-02 21COTD3307 OLD LINE 22. LLC                    09/13/2022 09/27/2022       AA




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        Deed Number   Sale Yr Sale Type                     Buyer Name                       Cert Number   Vol         PIN          Class Case Number Deed Name                         Date Issued Date Processed Initials
05560                 2017 ANNUAL                           FIG IL 18 LLC                 170003266        180 31-35-213-049-0000   2-03 21COTD3215 OLD LINE 22. LLC                   09/13/2022 09/27/2022       AA
05561                 2017 ANNUAL                           FIG IL 18 LLC                 170004172        212 29-20-123-074-0000   2-34 21COTD2621 OLD LINE 22. LLC                   09/13/2022 09/28/2022       AA
05562                 2017 ANNUAL                           FIG IL 18 LLC                 170004485        225 30-18-208-030-0000   2-11 21COTD2656 OLD LINE 22. LLC                   09/13/2022 09/28/2022       AA
05562                 2017 ANNUAL                           FIG IL 18 LLC                 170004486        225 30-18-208-031-0000   2-11 21COTD2656 OLD LINE 22. LLC                   09/13/2022 09/28/2022       AA
05563                 2017 ANNUAL                       JEHM FINANCIAL LLP                170009588        468 25-21-406-005-0000   2-05 22COTD98     JEHM FINANCIAL LLC               09/12/2022 09/28/2022       AA
05575                 2016 ANNUAL                         RANDOLPH 18 LLC                 1600002680       180 31-36-200-025-1023   2-99 20COTD2225 AMGUN INVESTMENTS LLC              09/12/2022 09/30/2022       RAA
05576                 2017 ANNUAL                      NAR SOLUTIONS INC.                 170009492        466 25-20-404-090-0000   2-95 21COTD4850 UNION HILL HOLDINGS,LLC            08/29/2022 09/29/2022       AA
05577                 2017 ANNUAL                      NAR SOLUTIONS INC.                 170007987        422 20-16-317-012-0000   2-11 21COTD4728 GREYMORR REAL ESTATE, LLC          08/30/2022 09/30/2022       AA
05578                 2017 ANNUAL                      NAR SOLUTIONS INC.                 170008313        429 20-20-212-027-0000   2-11 21COTD4715 GREYMORR REAL ESTATE, LLC          08/30/2022 09/30/2022       AA
05579                 2017 ANNUAL                      NAR SOLUTIONS INC.                 170008912        442 20-33-110-063-0000   2-10 21COTD4718 GREYMORR REAL ESTATE, LLC          08/30/2022 09/30/2022       AA
05580                 2017 ANNUAL                      NAR SOLUTIONS INC.                 170009628        469 25-28-125-015-0000   2-03 21COTD4726 GREYMORR REAL ESTATE, LLC          08/30/2022 09/30/2022       AA
05581                 2017 ANNUAL                     STONEFIELD MADISON T                170005798        268 20-34-117-031-0000   2-02 21COTD4158 TL6 IL1 LLC                        09/02/2022 09/30/2022       AA
05582                 2016 ANNUAL                     WHEELER FINANCIAL INC               160004999        265 20-26-311-029-0000   2-01 20COTD4588 WHEELER FINANCIAL INC              08/15/2022 10/03/2022       JRJ
05583                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150005937        288 25-15-121-035-0000   2-07 19COTD3153 SBS PROPERTIES LLC                 08/30/2022 10/03/2022       JRJ
05584                 2016 ANNUAL                     WHEELER FINANCIAL INC               160003011        195 29-04-231-014-0000   2-03 20COTD4267 WHEELER FINANCIAL INC              05/12/2022 10/03/2022       JRJ
05585                 2016 ANNUAL                     NEWLINE HOLDINGS LLC                160003569        212 29-19-411-068-0000   2-03 20COTD1237 BLUE OCEAN 21-1 LLC                09/20/2022 10/03/2022       JRJ
05592                 2017 ANNUAL                        TITAN CAPITAL LLC                170003175        180 31-26-314-021-0000   2-95 21COTD3115 BLUE OCEAN 21-1 LLC                09/12/2022 10/03/2022       JRJ
05593                 2017 ANNUAL                      FNA DZ LLC FBO WSFS                170004552        227 30-29-110-023-0000   2-02 21COTD3575 BURNHAM LAND TRUST 17357           09/07/2022 10/03/2022       JRJ
05594                 2017 ANNUAL                       NAR SOLUTIONS INC                 170001255        039 25-33-316-012-1035   2-99 21COTD4836 GREYMORR REAL ESTATE LLC           09/01/2022 10/03/2022       JRJ
05595                 2017 ANNUAL                   MIDWESTERN INVESTORS LLC              170006287        281 25-02-209-022-0000   2-10 21COTD3870 MIDWESTERN INVESTORS LLC           09/07/2022 10/04/2022       JRJ
05596                 2017 ANNUAL                      FNA DZ LLC FBO WSFS                170006480        287 25-12-420-020-0000   2-02 21COTD0789 ETHOS DEVELOPMENT LLC              09/02/2022 10/04/2022       JRJ
05597                 2015 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   150007563        427 20-19-125-028-0000   2-02 19COTD3785 SBS PROPERTIES LLC                 09/09/2022 10/04/2022       JRJ
05603                 2016 ANNUAL                           RDG LNS LLC                   160010264        557 16-13-205-022-0000   2-41 20COTD5257 M&O PARTNER HOLDINGS LLC           09/09/2022 10/05/2022       JRJ
05604                 2016 ANNUAL                           RDG LNS LLC                   160002395        171 15-22-119-008-0000   2-05 20COTD5139 FELDMAN CONSTRUCTION GROUP LLC     09/13/2022 10/05/2022       JRJ
05605                 2017 ANNUAL                       NAR SOLUTIONS INC                 170008911        442 20-33-110-062-0000   2-10 21COTD4716 GREYMORR REAL ESTATE LLC           08/30/2022 10/05/2022       JRJ
05606                 2016 ANNUAL                     NEWLINE HOLDINGS LLC                160002687        180 31-36-200-025-1146   2-99 20COTD2889 AMGUN INVESTMENTS LLC              09/14/2022 10/05/2022       JRJ
05607                 2016 ANNUAL                     NEWLINE HOLDINGS LLC                160002689        180 31-36-200-025-1149   2-99 20COTD2891 AMGUN INVESTMENTS LLC              09/14/2022 10/05/2022       JRJ
05608                 2016 ANNUAL                        RANDOLPH 18 LLC                  160002690        180 31-36-200-025-1152   2-99 20COTD2227 AMGUN INVESTMENTS LLC              09/14/2022 10/05/2022       JRJ
05609                 2016 ANNUAL                        RANDOLPH 18 LLC                  160002692        180 31-36-200-025-1158   2-99 20COTD2228 AMGUN INVESTMENTS LLC              09/14/2022 10/05/2022       JRJ
05612                 2017 ANNUAL                           FIG IL 18 LLC                 170000341        015 32-20-401-025-0000   2-03 21COTD2588 OLD LINE 22 LLC                    09/02/2022 10/12/2022       JRJ
05613                 2017 ANNUAL                           FIG IL 18 LLC                 170004259        217 29-30-121-025-0000   2-05 21COTD2647 OLD LINE 22 LLC                    09/13/2022 10/12/2022       JRJ
05613                 2017 ANNUAL                           FIG IL 18 LLC                 170004260        217 29-30-121-026-0000   2-05 21COTD2647 OLD LINE 22 LLC                    09/13/2022 10/12/2022       JRJ
05614                 2017 ANNUAL                       SCRIBE FUNDING LLC                170008682        436 20-30-117-021-0000   2-03 21COTD5271 CHICAGO ASSETS LLC                 09/15/2022 10/12/2022       JRJ
05615                 2016 ANNUAL                           RDG LNS LLC                   160008423        457 25-09-422-002-0000   2-03 20COTD5219 FELDMAN CONSTRUCTION GROUP LLC     09/13/2022 10/12/2022       JRJ
05616                 2016 ANNUAL                        RANDOLPH 18 LLC                  160002682        180 31-36-200-025-1070   2-99 20COTD2226 AMGUN INVESTMENTS LLC              09/12/2022 10/12/2022       RAA
05617                 2017 ANNUAL                       WHEELER FINANCIAL                 170009432        464 25-19-207-026-0000   2-02 21COTD3778 WHEELER FINANCIAL INC              09/15/2022 10/12/2022       RAA
06518                 2017 ANNUAL                       WHEELER FINANCIAL                 170004024        208 29-16-129-076-0000   2-03 21COTD4678 WHEELER FINANCIAL INC              09/02/2022 10/12/2022       RAA
05619                 2017 ANNUAL                       WHEELER FINANCIAL                 170007991        422 20-16-323-007-0000   2-05 21COTD3861 WHEELER FINANCIAL INC              09/02/2022 10/12/2022       RAA
05620                 2017 ANNUAL                       WHEELER FINANCIAL                 170008146        425 20-18-213-017-0000   2-02 21COTD3878 WHEELER FINANCIAL INC              09/02/2022 10/12/2022       RAA
05621                 2017 ANNUAL                       WHEELER FINANCIAL                 170008148        425 20-18-215-003-0000   2-03 21COTD3880 WHEELER FINANCIAL INC              09/06/2022 10/12/2022       RAA
05622                 2017 ANNUAL                       WHEELER FINANCIAL                 170003929        204 29-11-409-055-0000   2-02 21COTD4667 WHEELER FINANCIAL INC              09/06/2022 10/12/2022       RAA
05623                 2017 ANNUAL                       WHEELER FINANCIAL                 170007898        419 20-08-421-026-0000   2-02 21COTD3896 WHEELER FINANCIAL INC              09/02/2022 10/12/2022       RAA
05624                 2017 ANNUAL                           FIG IL18 LLC                  170004441        224 30-17-116-008-0000   2-34 21COTD3218 OLD LINE 22 LLC                    09/16/2022 10/12/2022       RAA
05625                 2017 ANNUAL                           RTLF - IL LLC                 170010320        510 17-10-318-086-1004   2-99 21COTD5498 RTLF - IL REO LLC                  07/28/2022 10/12/2022       RAA
05639                 2017 ANNUAL                           FIG IL 18 LLC                 170004545        226 30-20-408-037-0000   2-03 21COTD3219 OLD LINE 22 LLC                    09/19/2022 10/14/2022       JRJ
05640                 2017 ANNUAL                     WHEELER FINANCIAL INC               170004062        209 29-17-313-009-0000   2-02 21COTD4676 WHEELER FINANCIAL INC              09/19/2022 10/14/2022       JRJ
05642                 2015 ANNUAL                    FAIR DEAL OF ILLINOIS INC            150002081        160 15-10-114-001-0000   2-03 19COTD1339 FIRST NATIONAL ACQUISITIONS LLC    09/21/2022 10/17/2022       JRJ
05644                 2016 ANNUAL                           RDG LNS LLC                   160007302        423 20-17-221-004-0000   2-11 20COTD5200 SEPERGHAN REAL ESSTATE LLC         09/21/2022 10/17/2022       JRJ
05627                 2017 ANNUAL                       NAR SOLUTIONS INC                 170003526        194 29-03-102-012-0000   2-03 21COTD4846 GREYMORR REAL ESTATE LLC           08/29/2022 10/13/2022       AA
05650                 2016 ANNUAL                           RDG LNS LLC                   160004754        259 20-22-409-001-0000   2-11 20COTD5106 CHICAGO ASSETS LLC                 09/13/2022 10/17/2022       JRJ
05652                 2016 ANNUAL                           RDG LNS LLC                   160006983        414 20-04-414-023-0000   2-41 21COTD5186 CORONA INVESTMENTS LLC             09/16/2022 10/17/2022       JRJ
05653                 2016 ANNUAL                           RDG LNS LLC                   160008460        458 25-16-207-022-0000   2-03 20COTD5225 ED INVESTMENT & CONSTRUCTION INC   09/14/2022 10/17/2022       JRJ




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                    Deed Number          Sale Yr Sale Type             Buyer Name              Cert Number    Vol         PIN          Class Case Number Deed Name                                         Date Issued Date Processed Initials
05654                                    2017 ANNUAL              FNA DZ LLC FBO WSFS       170000520         017 32-25-411-030-0000   2-02 21COTD3563 SYLVA LLC                                          09/19/2022 10/17/2022       JRJ
05655                                    2017 ANNUAL              FNA DZ LLC FBO WSFS       170000724         022 33-30-306-013-0000   2-03 21COTD3566 SYLVA LLC                                          09/19/2022 10/17/2022       JRJ
05656                                    2017 ANNUAL              FNA DZ LLC FBO WSFS       170001026         032 28-23-301-016-0000   2-03 21COTD3568 SYLVA LLC                                          09/19/2022 10/17/2022       JRJ
05657                                    2017 ANNUAL              FNA DZ LLC FBO WSFS       170006705         296 26-06-218-038-0000   2-11 21COTD3648 SYLVA LLC                                          09/19/2022 10/17/2022       JRJ
05658                                    2017 ANNUAL               WHEELER FINANCIAL        170003525         194 29-03-102-010-0000   2-03 21COTD4621 WHEELER FINANCIAL INC                              09/20/2022 10/19/2022       RAA
05659                                    2017 ANNUAL               WHEELER FINANCIAL        170003743         199 29-08-128-055-0000   2-03 21COTD4630 WHEELER FINANCIAL INC                              09/23/2022 10/19/2022       RAA
05660                                    2017 ANNUAL               WHEELER FINANCIAL        170003674         197 29-07-425-004-0000   2-02 21COTD4627 WHEELER FINANCIAL INC                              09/20/2022 10/19/2022       RAA
05661                                    2017 ANNUAL               WHEELER FINANCIAL        170003847         202 29-10-223-038-0000   2-02 21COTD3847 WHEELER FINANCIAL INC                              09/23/2022 10/19/2022       RAA
05672                                    2017 ANNUAL              FNA DZ LLC FBO WSFS       170004173         212 29-20-123-076-0000   2-02 21COTD744    KAMICA THURMOND                                  09/16/2022 10/18/2022       AA
05673                                    2016 ANNUAL           US BANK CF TOWER DB V111     160002604         180 31-26-420-009-0000   2-34 20COTD5185 ARTHINGTON PROPERTIES LLC                          09/23/2022 10/18/2022       AA
05675                                    2016 ANNUAL              FNA DZ LLC FBO WSFS       160007144         420 20-09-100-014-0000   2-97 20COTD2062 COOK COUNTY PROPERTIES INC                         09/14/2022 10/20/2022       RAA
05685                                    2017 ANNUAL         PHOENIX BOND & INDEMNITY CO    170004803         242 24-10-419-046-1005   2-99 21COTD4812 PHOENIX BOND & INDEMNITY CO                        10/13/2022 10/20/202        JRJ
05686                                    2015 ANNUAL             NEWLINE HOLDINGS LLC       150010114         550 16-09-312-050-0000   2-05 19COTD3633 BLUE OCEAN 21-1 LLC                                09/23/2022 10/20/202        JRJ
05696                                    2017 ANNUAL                   FIG IL 18 LLC        170003321         180 31-36-314-017-0000   2-03 21COTD3217 OLD LINE 22 LLC                                    09/22/2022 10/20/202        JRJ
05697                                    2016 ANNUAL             WHEELER FINANCIAL INC      160007255         423 20-17-115-019-0000   2-02 20COTD3671 NSJ INVESTMENT PROPERTIES LLC                      09/23/2022 10/20/202        JRJ
05698                                    2017 ANNUAL               JEHM FINANCIAL LLC       170009574         468 25-21-325-028-0000   2-03 22COTD0095 JEHM FINANCIAL LLC                                 09/16/2022 10/20/202        JRJ
05702                                    2017 ANNUAL               JEHM FINANCIAL LLP       170008326         429 20-20-223-017-0000   2-11 22COTD155    JEHM FINANCIAL LLC                               09/26/2022 10/21/2022       AA
05703                                    2017 ANNUAL                    INTAXX LLC          170008795         440 20-32-109-023-0000   2-03 21COTD3232 CORTEZZ, LLC                                       09/23/2022 10/21/2022       AA
05704                                    2017 ANNUAL             STONEFIELD MADISON T       170009132         452 25-07-122-022-0000   2-05 21COTD4072 TL6 IL3 LLC                                        08/26/2022 10/26/2022       RAA
05705                                    2016 ANNUAL            5 HOLE ACQUISITIONS INC     160003038         197 29-04-325-021-0000   2-02 20COTD3988 KIMBROUGH INVESTMENTS INC                          10/03/2022 10/26/2022       RAA
05709                                    2017 ANNUAL                 LIEN GROUP LLC         170011453         567 16-22-208-021-0000   2-11 21COTD4780 ALMGS LLC                                          10/04/2022 10/26/2022       RAA
05710                                    2017 ANNUAL                    INTAXX LLC          170008294         429 20-20-114-009-0000   2-03 21COTD3224 CORTEZZ LLC                                        09/28/2022 10/26/2022       RAA
05711                                    2017 ANNUAL                    INTAXX LLC          170009729         471 25-33-113-020-0000   2-03 21COTD4537 CORTEZZ LLC                                        09/27/2022 10/26/2022       RAA
05712                                    2017 ANNUAL               PINE VALLEY ONE RE       170009305         458 25-16-217-078-0000   2-34 21COTD3091 ODIN HAUS LLC                                      09/09/2022 10/26/2022       RAA
05713                                    2017 ANNUAL                ICIB INVESTMENTS        170009307         458 25-16-218-012-0000   2-03 21COTD2905 AYLEEN PROPERTIES LLC                              09/07/2022 10/26/2022       RAA
05716                                    2017 ANNUAL            MIDWESTERN INVESTORS        170004275         217 29-30-223-042-0000   2-03 21COTD3411 SITUS CULTIVATION LLC                              10/03/2022 10/26/2022       RAA
05726                                    2015 ANNUAL                   RDG LNS LLC          150009505         511 17-16-238-028-1531   2-99 19COTD4223 4400 WENTWORTH LLC                                 09/21/2022 10/27/2022       JRJ
05730                                    2017 ANNUAL               JEHM FINANCIAL LLC       170009541-D1856   467 25-21-215-022-0000   2-11 22COTD0090 JEHM FINANCIAL LLC                                 09/29/2022 10/28/2022       JRJ
05731                                    2017 ANNUAL           CORONA INVESTMENTS LLC       170005405         260 20-23-112-012-0000   2-12 21COTD4948 6500 MARYLAND LLC                                  09/28/2022 10/28/2022       JRJ
05732                                    2016 ANNUAL             MTAG CUST MGD-ILL LLC      160009078         484 14-20-214-043-1194   2-99 20COTD4979 LONGSTREET CAPITAL FUNDING LLC                     09/28/2022 10/28/2022       JRJ
05733                                    2017 ANNUAL           INTERSTATE FUNDING CORP      170002963         178 31-02-320-021-0000   2-03 21COTD5160 GALAXY SITES LLC                                   09/23/2022 10/28/2022       JRJ
05735                                    2017 ANNUAL            GROSS & DUQUESNE 2019       170008063         424 20-17-307-026-0000   2-02 21COTD2774 GREENPOL ENTERPRISES INC                           10/04/2022 10/28/2022       RAA
05737                                    2017 ANNUAL              FNA DZ LLC FBO WSFS       170006792         299 26-08-328-042-0000   2-03 21COTD6792 CHICAGO TITLE LAND TRUST 8002381520 DATED 8-8-19   10/05/2022 10/28/2022       RAA
05738                                    2017 ANNUAL                    INTAXX LLC          170008449         432 20-21-303-023-0000   2-11 21COTD3227 CORTEZZ LLC                                        10/04/2022 10/28/2022       RAA
05744                                    2017 ANNUAL               NAR SOLUTIONS INC        170000504         017 32-25-314-001-0000   2-03 21COTD4666 GREYMORR REAL ESTATE LLC                           10/06/2022 10/31/2022       RAA
05745                                    2017 ANNUAL               NAR SOLUTIONS INC        170000632         020 32-32-107-073-0000   2-02 21COTD4643 GREYMORR REAL ESTATE LLC                           10/06/2022 10/31/2022       RAA
05746                                    2017 ANNUAL               NAR SOLUTIONS INC        170003894         203 29-11-118-033-0000   2-02 21COTD4659 GREYMORR REAL ESTATE LLC                           10/06/2022 10/31/2022       RAA
05747                                    2017 ANNUAL               NAR SOLUTIONS INC        170004113         211 29-18-422-012-0000   2-03 21COTD4654 GREYMORR REAL ESTATE LLC                           10/06/2022 10/31/2022       RAA
05748                                    2017 ANNUAL               NAR SOLUTIONS INC        170005620         264 20-26-202-002-0000   2-02 21COTD4658 GREYMORR REAL ESTATE LLC                           10/06/2022 10/31/2022       RAA
05749                                    2017 ANNUAL               NAR SOLUTIONS INC        170008044         423 20-17-220-014-0000   2-11 21COTD4709 GREYMORR REAL ESTATE LLC                           10/06/2022 10/31/2022       RAA
05772                                    2017 ANNUAL                   FIG IL 18 LLC        170000694         021 32-36-111-006-0000   2-03 21COTD2607 OLD LINE 22 LLC                                    10/07/2022 11/02/2022       JRJ
05773                                    2017 ANNUAL                    RTLF-IL LLC         170002889         167 15-16-120-060-0000   2-10 21COTD5411 RTLF-IL REO LLC                                    10/07/2022 11/02/2022       JRJ
05774                                    2017 ANNUAL          GROSS & DUQUESNE 2019 LLC     170008609         435 20-29-217-019-0000   2-02 21COTD3510 BRICKSAVE 167 LLC                                  10/04/2022 11/02/2022       JRJ
05775                                    2017 ANNUAL                    INTAXX LLC          170008354         430 20-20-310-009-0000   2-02 21COTD3512 CORTEZZ LLC                                        10/06/2022 11/02/2022       JRJ
05776                                    2017 ANNUAL               NAR SOLUTIONS INC        170008170         426 20-18-403-004-0000   2-02 21COTD4713 GREYMORR REAL ESTATE LLC                           10/07/2022 11/02/2022       JRJ
05777                                    2016 ANNUAL              FNA DZ LLC FBO WSFS       160008089         442 20-33-202-003-0000   2-12 20COTD2239 FIRST NATIONAL ACQUISITIONS LLC                    10/11/2022 11/02/2022       JRJ
05778                                    2016 ANNUAL          MIDWESTERN INVESTORS LLC      160005925         293 25-27-118-041-0000   2-03 20COTD1674 MIDWESTERN INVESTORS LLC                           09/13/2022 10/27/2022       AA
05791                                    2017 ANNUAL                    FIG IL18 LLC        170000395         015 32-21-408-019-0000   2-11 21COTD2600 OLD LINE 22 LLC                                    10/12/2022 11/02/2022       RAA
05792                                    2017 ANNUAL            ATCF II IL TAX SERVE CUST   170009817         433 20-28-225-004-0000   2-11 22COTD151    ATCF REO HOLDINGS LLC                            10/12/2022 11/02/2022       RAA
05793                                    2017 ANNUAL               GROSS & DUQUESNE         170011533         570 16-23-304-002-0000   2-11 21COTD4038 HARI BUTZ LLC                                      10/05/2022 11/02/2022       RAA
05808 void per 21cotd2252 dtd 02/07/23   2017 ANNUAL              RYH INVESTMENTS LLC       170004333         219 29-36-410-003-1050   2-99 21COTD2252 ROBERT STARNES                                     10/03/2022 11/07/2022       JRJ
05810                                    2017 ANNUAL            ATCF II IL TAXSERVE CUST    170001266         039 25-33-326-007-0000   2-03 22COTD0109 ATCF REO HOLDINGS LLC                              10/11/2022 11/07/2022       JRJ




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        Deed Number   Sale Yr Sale Type           Buyer Name             Cert Number    Vol         PIN          Class Case Number Deed Name                                           Date Issued Date Processed Initials
05814                 2017 ANNUAL         GROSS & DUQUESNE 2019 LLC   170003694         198 29-07-307-027-0000   2-03 21COTD2146 NIRVANA PROPERTY INVESTORS LLC                       10/11/2022 11/08/2022       JRJ
05814                 2017 ANNUAL         GROSS & DUQUESNE 2019 LLC   170003695         198 29-07-307-028-0000   2-03 21COTD2146 NIRVANA PROPERTY INVESTORS LLC                       10/11/2022 11/08/2022       JRJ
05815                 2017 ANNUAL         STONEFIELD MADISON TRUST    170004592-D1855   230 30-32-200-043-0000   2-02 21COTD4069 TL6 IL1 LLC                                          10/11/2022 11/10/2022       JRJ
05816                 2017 ANNUAL           NEWLINE HOLDINGS LLC      170006500         288 25-15-108-030-0000   2-12 21COTD0799 RJP ENTERPRISE                                       10/11/2022 11/08/2022       JRJ
05817                 2017 ANNUAL         GROSS & DUQUESNE 2019 LLC   170008413         430 20-20-424-004-0000   2-12 21COTD1849 KT LEARNING ACADEMY LLC                              10/13/2022 11/08/2022       JRJ
05820                 2017 ANNUAL                  INTAXX LLC         170008526         433 20-28-305-022-0000   2-11 21COTD4025 CORTEZZ, LLC                                         10/18/2022 11/07/2022       AA
05821                 2016 ANNUAL             PINE VALLEY ONE RE      160000949         036 25-29-403-008-0000   2-03 20COTD4231 BLUE OCEAN 21-1 LLC                                  10/18/2022 11/07/2022       AA
05826                 2017 ANNUAL                  INTAXX LLC         170006292         281 25-02-301-026-0000   2-02 21COTD3222 CORTEZZ LLC                                          10/13/2022 11/08/2022       RAA
05827                 2017 ANNUAL                  INTAXX LLC         170009370         459 25-16-430-002-0000   2-03 21COTD4535 CORTEZZ LLC                                          10/12/2022 11/08/2022       RAA
05828                 2017 ANNUAL                  INTAXX LLC         170010011         498 17-04-200-100-1037   2-99 21COTD2593 CORTEZZ LLC                                          10/13/2022 11/08/2022       RAA
05844                 2017 ANNUAL         GROSS & DUQUESNE 2019 LLC   170008262         428 20-19-402-021-0000   2-03 21COTD4935 SYLVA LLC                                            10/19/2022 11/14/2022       JRJ
05847                 2017 ANNUAL         GROSS & DUQUESNE 2019 LLC   170006412         285 25-10-323-051-0000   2-03 21COTD3993 CYNTHIA STAINE                                       10/21/2022 11/15/2022       JRJ
05848                 2017 ANNUAL                  INTAXX LLC         170011437         566 16-17-412-004-0000   2-11 21COTD3237 CORTEZZ LLC                                          09/28/2022 11/16/2022       RAA
05849                 2017 ANNUAL          GROSS & DUQUESNE 2019      170000931         028 28-12-425-042-0000   2-03 21COTD1868 NEER DEVELOPERS LLC                                  10/13/2022 11/17/2022       RAA
05850                 2017 ANNUAL           EMPATHY FINANCIAL LLC     170009713         471 25-32-208-058-0000   2-02 21COTD9713 JV CAPITAL LLC                                       09/19/2022 11/17/2022       RAA
05859                 2017 ANNUAL                 BT LIENS LLC        170000523         017 32-25-416-002-0000   2-02 21COTD3011 EVA L GUTIERREZ                                      10/04/2022 11/21/2022       JRJ
05863                 2017 ANNUAL           WHEELER FINANCIAL INC     170005451         261 20-24-302-021-1003   2-99 21COTD3813 WHEELER FINANCIAL INC                                10/11/2022 11/21/2022       JRJ
05864                 2017 ANNUAL           WHEELER FINANCIAL INC     170005911         270 20-35-231-010-0000   2-03 21COTD3833 WHEELER FINANCIAL INC                                10/11/2022 11/21/2022       JRJ
05865                 2017 ANNUAL           WHEELER FINANCIAL INC     170006224         278 21-32-207-006-0000   2-11 21COTD3846 WHEELER FINANCIAL INC                                10/11/2022 11/21/2022       JRJ
05866                 2017 ANNUAL           WHEELER FINANCIAL INC     170009620         469 25-28-118-030-0000   2-05 21COTD3786 WHEELER FINANCIAL INC                                10/11/2022 11/21/2022       JRJ
05867                 2017 ANNUAL           WHEELER FINANCIAL INC     170009653         469 25-28-219-007-0000   2-03 21COTD3788 WHEELER FINANCIAL INC                                10/11/2022 11/21/2022       JRJ
05871                 2017 ANNUAL                  INTAXX LLC         170006572         290 25-22-115-040-0000   2-11 21COTD3509 CORTEZZ LLC                                          10/20/2022 11/21/2022       JRJ
05872                 2017 ANNUAL                  INTAXX LLC         170008322         429 20-20-218-016-0000   2-34 21COTD3508 CORTEZZ LLC                                          10/20/2022 11/21/2022       JRJ
05873                 2017 ANNUAL                  INTAXX LLC         170009723         471 25-33-102-036-0000   2-02 21COTD3527 CORTEZZ LLC                                          10/20/2022 11/21/2022       JRJ
05875                 2017 ANNUAL           MIDWESTERN INVESTORS      170010809         543 16-04-209-039-0000   2-03 21COTD5505 MIDWESTERN INVESTORS, LLC                            09/23/2022 11/21/2022       AA
05876                 2014 ANNUAL           NEWLINE HOLDINGS LLC      140001083         033 28-24-421-023-0000   2-03 18COTD6116 BLUE OCEAN 21-1, LLC                                 10/06/2022 11/21/2022       AA
05881                 2017 ANNUAL            FNA DZ LLC FBO WSFS      170010198         504 10-36-307-012-0000   2-03 21COTD5279 FIRST NATIONAL ACQUISITIONS LLC                      10/31/2022 11/22/2022       RAA
05882                 2017 ANNUAL                  INTAXX LLC         170008905         442 20-33-108-041-0000   2-95 21COTD4023 CORTEZZ LLC                                          11/01/2022 11/22/2022       RAA
05885                 2017 ANNUAL                  INTAXX LLC         170001090         033 28-26-307-037-0000   2-02 21COTD4525 CORTEZZ LLC                                          11/04/2022 11/22/2022       RAA
05886                 2017 ANNUAL                  INTAXX LLC         170006075         274 21-30-323-006-0000   2-02 21COTD4529 CORTEZZ LLC                                          11/04/2022 11/22/2022       RAA
05889                 2017 ANNUAL             WHEELER FINANCIAL       170004298         218 29-31-403-021-0000   2-03 21COTD4677 WHEELER FINANCIAL INC                                10/27/2022 11/22/2022       RAA
05895                 2017 ANNUAL               LIEN GROUP LLC        170006300         281 25-02-312-011-0000   2-02 21COTD4378 LIEN GROUP LLC                                       11/07/2022 11/23/2022       AA
05896                 2017 ANNUAL           MIDWESTERN INVESTORS      170009294         458 25-16-206-090-0000   2-02 21COTD5506 MIDWESTERN INVESTORS,LLC                             10/26/2022 11/23/2022       AA
05897                 2017 ANNUAL           MIDWESTERN INVESTORS      170011846         591 17-17-206-014-1067   2-99 21COTD5511 MIDWESTERN INVESTORS,LLC                             10/27/2022 11/23/2022       AA
05898                 2016 ANNUAL           NEWLINE HOLDINGS, LLC     160002668         180 31-36-103-019-0000   2-03 20COTD1271 BLUE OCEAN 21-1, LLC                                 11/07/2022 11/23/2022       AA
05900                 2017 ANNUAL             JEHM FINANCIAL LLP      170008325         429 20-20-223-014-0000   2-11 22COTD85     JEHM FINANCIAL LLC                                 11/09/2022 11/28/2022       RAA
05903                 2017 ANNUAL                  INTAXX LLC         170009921         486 14-28-202-031-1154   2-99 21COTD2272 CORTEZZ LLC                                          11/10/2022 11/28/2022       RAA
05904                 2017 ANNUAL               TLOA OF ILL LLC       170005642         264 20-26-226-018-0000   2-03 21COTD1314 BLUE OCEAN 21-1 LLC                                  11/09/2022 11/28/2022       RAA
05905                 2017 ANNUAL           SABRE INVESTMENTS LLC     170004271         217 29-30-213-004-0000   2-07 21COTD4236 SABRE INVESTMENTS LLC                                11/10/2022 11/28/2022       RAA
05906                 2017 ANNUAL                  INTAXX LLC         170000600         019 32-30-107-068-0000   2-02 21COTD4256 CORTEZZ LLC                                          11/01/2022 11/28/2022       RAA
05908                 2017 ANNUAL          GROSS & DUQUESNE 2019      170004156         212 29-19-424-054-0000   2-03 21COTD4269 CHICAGO TITLE LAND TRUST NO. MDL018-082 DATED JULY   11/10/2022 11/28/2022       RAA
05909                 2017 ANNUAL            RYH INVESTMENTS LL       170001812         074 18-03-117-044-0000   2-02 21COTD5727 RYH INVESTMENTS LLC                                  11/15/2022 11/28/2022       RAA
05910                 2017 ANNUAL         PHOENIX BOND & INDEMNITY    170005532         262 20-25-116-017-0000   2-11 21cotd4869   1752 E 73RD ST LLC                                 10/25/2022 11/28/2022       AA
05911                 2017 ANNUAL              FNA LLC FBO WSFS       17COTD5205        418 20-08-108-019-0000   2-12 21COTD5205 HCI REAL ESTATE LLC                                  11/16/2022 11/28/2022       RAA
05912                 2017 ANNUAL           NEWLINE HOLDINGS, LLC     170003679         197 29-07-122-065-0000   2-34 21COTD2067 BROWNING BUILDERS, INC                               11/10/2022 11/28/2022       AA
05913                 2017 ANNUAL            FNA DZ LLC FBO WSFS      170007912         420 20-09-211-045-0000   2-11 21COTD816    OPRADELLIA GROUP, LLC                              11/14/2022 11/28/2022       AA
05914                 2017 ANNUAL         INTEGRITY INVESTMENT FND    170004919         247 24-26-304-034-1013   2-99 21COTD1898 FRONTLINE PROPERTIES, LLC                            11/16/2022 11/28/2022       AA
05924                 2017 ANNUAL                  INTAXX LLC         170004435-D1867   224 30-17-111-017-0000   2-04 21COTD4015 CORTEZZ LLC                                          08/29/2022 12/01/2022       JRJ
05925                 2016 ANNUAL            ICIB INVESTMENT INC      160003676         217 29-30-121-036-0000   2-03 20COTD4484 AMERICAN TAX LIEN LLC                                09/29/2022 12/01/2022       JRJ
05927                 2017 ANNUAL         GROSS & DUQUESNE 2019 LLC   170006620         293 25-27-100-007-0000   2-11 21COTD4528 EXCLUSIVE DESIGNS FIRST INC                          11/21/2022 12/01/2022       JRJ
05928                 2017 ANNUAL                 BT LIENS LLC        170004674         233 03-25-310-027-0000   2-78 21COTD1250 ROM CONSTRUCTION INVESTMENT INC                      11/14/2022 12/01/2022       JRJ
05929                 2017 ANNUAL                  INTAXX LLC         170003369         187 07-12-200-009-1207   2-99 21COTD2591 CORTEZZ LLC                                          11/21/2022 12/01/2022       JRJ




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                  Deed Number   Sale Yr Sale Type                      Buyer Name                   Cert Number    Vol         PIN          Class Case Number Deed Name                       Date Issued Date Processed Initials
05930                           2017 ANNUAL                             INTAXX LLC               170010020         498 17-04-204-057-1045   2-99 21COTD2274 CORTEZZ LLC                      11/21/2022 12/01/2022       JRJ
05931                           2017 ANNUAL                             INTAXX LLC               170010428         510 17-15-306-036-1088   2-99 21COTD2291 CORTEZZ LLC                      11/21/2022 12/01/2022       JRJ
05932                           2017 ANNUAL                               RE3 LLC                170002740         162 15-10-400-029-0000   2-02 21COTD4429 RE3 LLC                          11/17/2022 12/01/2022       JRJ
05933                           2017 ANNUAL                  STONEFIELD MADISON TRUST            170008914         442 20-33-117-011-0000   2-02 21COTD4083 TL6 IL1 LLC                      11/18/2022 12/01/2022       JRJ
05934                           2017 ANNUAL                        NAR SOLUTIONS INC             170009648         469 25-28-214-001-0000   2-03 21COTD4851 GREYMORR REAL ESTATE LLC         11/18/2022 12/01/2022       JRJ
05939                           2017 ANNUAL                 GROSS & DUSQUESNE 2019 LLC           170004037         209 29-17-108-020-0000   2-03 21COTD2149 ITS KING SERVICES LLC            11/23/2022 12/05/2022       JRJ
05940                           2017 ANNUAL                 GROSS & DUSQUESNE 2019 LLC           170008117         424 20-17-420-003-0000   2-11 21COTD3516 FERRIS WHEEL CAPITAL III LLC     11/18/2022 12/05/2022       JRJ
05948                           2017 ANNUAL                     INTERCOAST EQUITY, INC           170005619         264 20-26-125-002-0000   2-02 21COTD3398 BROWNING BUILDERS, INC.          11/14/2022 12/05/2022       AA
05949                           2017 ANNUAL                        GROSS & DUQUESNE              170004031         208 29-16-307-013-0000   2-02 21COTD1091 OLUWATOSIN OYENUGA               11/23/2022 12/05/2022       AA
05955                           2016 ANNUAL                            RDG LNS LLC               160008072         441 20-32-425-022-0000   2-03 20COTD5215 FELDMAN CONSTRUCTION GROUP LLC   10/11/2022 12/08/2022       JRJ
05956                           2015 ANNUAL                     SABRE INVESTMENTS LLC            150004675         253 20-10-225-017-1007   2-99 19COTD2645 OMAR MORENO ENTERPRISES INC      11/22/2022 12/08/2022       JRJ
05960                           2017 ANNUAL                             INTAXX LLC               170001182         036 25-29-322-051-0000   2-02 21COTD4258 CORTEZZ LLC                      12/05/2022 12/13/2022       RA
05965                           2017 ANNUAL                    MIDWESTERN INVESTORS              170006369         284 25-03-406-016-0000   2-03 21COTD4587 MIDWESTERN INVESTORS LLC         10/11/2022 12/15/2022       RA
05966                           2016 ANNUAL                         RANDOLPH 18 LLC              160003589         212 29-20-123-073-0000   2-02 20COTD5356 TRUNINA INC                      11/14/2022 12/15/2022       RA
05967                           2017 ANNUAL                             INTAXX LLC               170002977         178 31-03-202-182-0000   2-95 21COTD4012 CORTEZZ, LLC                     12/07/2022 12/14/2022       AA
05968                           2017 ANNUAL                             INTAXX LLC               170008175         426 20-18-406-029-0000   2-02 21COTD2934 CORTEZZ, LLC                     12/09/2022 12/14/2022       AA
05973                           2017 ANNUAL                  STONEFIELD MADISON TRUST            170001189         036 25-29-405-068-0000   2-05 21COTD4143 TL6 IL2 LLC                      12/12/2022 12/19/2022       JRJ
05974                           2017 ANNUAL                  MIDWESTERN INVESTORS LLC            170009816         478 14-17-204-005-1040   2-99 21COTD3875 MIDWESTERN INVESTORS LLC         12/13/2022 12/19/2022       JRJ
05978                           2017 ANNUAL                        SCRIBE FUNDING LLC            170001811         074 18-03-117-043-0000   2-02 21COTD5195 RYH INVESTMENTS, LLC             11/18/2022 12/22/2022       AA
05979                           2017 ANNUAL                    MIDWESTERN INVESTORS              170010305         510 17-10-309-015-1345   2-99 21COTD3876 MIDWESTERN INVESTORS, LLC        11/03/2022 12/22/2022       AA
05980                           2017 ANNUAL                        GROSS & DUQUESNE              170008076         424 20-17-318-022-0000   2-02 21COTD3150 CARILLION HOLDINGS               11/30/2022 12/22/2022       AA
05981                           2017 ANNUAL                      STONEFIELD MADISON T            170006355         283 25-03-307-047-0000   2-05 21COTD4079 TL6 IL3 LLC                      12/19/2022 12/22/2022       RA
05984                           2017 ANNUAL                     SABRE INVESTMENTS LLC            170000948         030 28-14-204-013-0000   2-03 21COTD4221 SABRE INVESTMENTS LLC            12/21/2022 12/23/2022       JRJ
05985                           2017 ANNUAL                     SABRE INVESTMENTS LLC            170004612         231 03-03-307-060-1034   2-99 21COTD4240 SABRE INVESTMENTS LLC            12/21/2022 12/23/2022       JRJ
05987                           2017 ANNUAL                        NAR SOLUTIONS INC             170009299         458 25-16-211-041-0000   2-02 21COTD4722 GREYMORR REAL ESTATE LLC         12/21/2022 12/28/2022       RA
05988                           2017 ANNUAL                            BT LIENS LLC              170007503         389 19-13-431-023-0000   2-12 21COTD3026 OPRADELLIA GROUP LLC             12/15/2022 12/28/2022       RA
05989                           2017 ANNUAL                     SABRE INVESTMENTS LLC            170007188         359 13-28-312-020-0000   2-02 21COTD4562 SABRE INVESTMENTS LLC            12/23/2022 01/03/2023       RA
05995                           2017 ANNUAL                   INTERSTATE FUNDING CORP            170008857         441 20-32-323-004-0000   3-18 21COTD4465 GALAXY SITES, LLC                12/13/2022 01/03/2023       AA
05996                           2017 ANNUAL                            FIG IL 18 LLC             170009433         464 25-19-209-023-0000   2-03 21COTD2635 OLD LINE 22, LLC                 12/21/2022 01/03/2023       AA
05998                           2017 ANNUAL                      NEWLINE HOLDINGS LLC            170000897-D1857   027 28-12-126-012-0000   2-02 21COTD3929 TLH TD ILLINOIS PROPERTIES LLC   12/05/2022 01/04/2023       JRJ
06005                           2017 ANNUAL                  STONEFIELD MADISON TRUST            170004565         228 30-30-221-049-1009   2-99 21COTD4151 TL6 IL2 LLC                      01/03/2023 01/10/2023       JP
06008                           2017 ANNUAL                        NAR SOLUTIONS INC             170005936         271 20-35-413-004-0000   2-03 21COTD4824 GREYMORR REAL ESTATE LLC         01/03/2023 01/11/2023       JP
06010                           2017 ANNUAL                     WHEELER FINANCIAL INC            170002812         164 15-14-134-011-0000   2-05 21COTD1408 WHEELER FINANCIAL INC            12/22/2022 01/12/2023       JP
06011                           2017 ANNUAL                     WHEELER FINANCIAL INC            170002828         165 15-14-322-026-0000   2-03 21COTD1412 WHEELER FINANCIAL INC            12/23/2022 01/12/2023       JP
06012                           2017 ANNUAL                     WHEELER FINANCIAL INC            170003189         180 31-26-407-015-0000   2-34 21COTD1426 WHEELER FINANCIAL INC            12/23/2022 01/12/2023       JP
06013                           2017 ANNUAL                     WHEELER FINANCIAL INC            170003256         180 31-35-204-027-0000   2-02 21COTD1432 WHEELER FINANCIAL INC            12/23/2022 01/13/2023       JP
06015                           2017 ANNUAL                    MIDWESTERN INVESTORS              170000944         030 28-14-203-007-0000   2-03 21COTD5473 INFINITY EQUITY HOLDINGS LLC     11/18/2022 01/13/2023       RA
06016                           2017 ANNUAL                        WHEELER FINANCIAL             170000282         014 32-19-318-036-0000   2-02 21COTD1325 WHEELER FINANCIAL INC            12/22/2022 01/12/2023       AA
06017                           2017 ANNUAL                        WHEELER FINANCIAL             170000375         015 32-21-301-037-0000   2-05 21COTD1330 WHEELER FINANCIAL INC            12/22/2022 01/12/2023       AA
06018                           2017 ANNUAL                        WHEELER FINANCIAL             170000617         019 32-30-209-020-0000   2-03 21COTD1338 WHEELER FINANCIAL INC            12/22/2022 01/12/2023       AA
06019                           2017 ANNUAL                        WHEELER FINANCIAL             170000822         024 28-02-420-026-0000   2-95 21COTD1352 WHEELER FINANCIAL INC            12/22/2022 01/12/2023       AA
06020                           2017 ANNUAL                        WHEELER FINANCIAL             170001347         043 16-28-127-013-0000   2-12 21COTD1367 WHEELER FINANCIAL INC            12/22/2022 01/12/2023       AA
06021 VOID PER 21COTD1366       2017 ANNUAL                        WHEELER FINANCIAL             170003280         180 31-36-103-006-0000   2-05 21COTD1366 WHEELER FINANCIAL INC            12/22/2022 01/12/2023       AA
06022                           2017 ANNUAL                        WHEELER FINANCIAL             170003316         180 31-36-306-018-0000   2-03 21COTD1383 WHEELER FINANCIAL INC            12/22/2022 01/12/2023       AA
06023                           2017 ANNUAL                        WHEELER FINANCIAL             170003323         180 31-36-316-017-0000   2-02 21COTD1387 WHEELER FINANCIAL INC            12/22/2022 01/12/2023       AA
06024                           2017 ANNUAL                     WHEELER FINANCIAL INC            170005374         259 20-22-324-009-0000   2-11 21COTD4704 WHEELER FINANCIAL INC            12/22/2022 01/13/2023       JP
06026                           2017 ANNUAL                       FNA DZ LLC FBO WSFS            170004083         210 29-18-207-024-0000   2-02 21COTD736    TSKI PROPERTIES,LLC            12/22/2022 01/13/2023       AA
06030                           2017 ANNUAL         CHRISTIANA TRUST CUSTODIAN FOR GSRAN-Z LLC   170007500         389 19-13-427-041-0000   2-03 21COTD3058 VENTURE FOUR LLC                 12/21/2022 01/18/2023       JRJ
06031                           2017 ANNUAL                             INTAXX LLC               170002528-D1866   151 23-01-422-001-0000   2-11 21COTD4011 CORTEZZ LLC                      08/29/2022 01/18/2023       JRJ
06033                           2017 ANNUAL                   INTERSTATE FUNDING CORP            170008122         424 20-17-425-043-0000   2-11 21COTD4464 3211 W. OHIO LLC                 12/16/2022 01/20/2023       AA
06038                           2017 ANNUAL                  MIDWESTERN INVESTORS LLC            170006363         283 25-03-317-003-0000   2-03 21COTD5488 MIDWESTERN INVESTORS LLC         01/12/2023 01/23/2023       JP
06039                           2017 ANNUAL                     SABRE INVESTMENTS LLC            170009255         457 25-09-411-019-0000   2-04 21COTD4568 SABRE INVESTMENTS LLC            01/19/2023 01/24/2023       JP




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                  Deed Number    Sale Yr Sale Type                      Buyer Name                      Cert Number   Vol         PIN          Class Case Number Deed Name                                             Date Issued Date Processed Initials
06040                            2017 ANNUAL                        NAR SOLUTIONS INC                170008938        442 20-33-308-013-0000   2-03 21COTD4720 GREYMORR REAL ESTATE LLC                               01/19/2023 01/24/2023       JP
06059                            2017 ANNUAL                    INTERSTATE FUNDING CORP              170007478        389 19-13-317-012-0000   2-11 21COTD4467 GALAXY SITES LLC                                       01/24/2023 02/03/2023       RA
06067                            2017 ANNUAL                     SADOFF ENTERPRISES LLC              170011457        567 16-22-211-013-0000   3-15 21COTD5722 JEM CAP LLC                                            10/12/2022 02/02/2023       JRJ
06078                            2017 ANNUAL                  GROSS & DUQUESNE 2019 LLC              170007432        375 13-35-409-046-1058   2-99 21COTD2738 RTA INVESTMENTS LLC                                    01/25/2023 02/03/2023       JP
06093                            2017 ANNUAL         CHRISTIANA TRUST AS CUSTODIAN FOR GSRAN-Z LLC   170009733        471 25-33-116-069-0000   2-03 21COTD3062 VENTURE FOUR LLC                                       08/31/2022 02/08/2023       JRJ
06094                            2017 ANNUAL                      WHEELER FINANCIAL INC              170003338        180 31-36-416-004-0000   2-03 21COTD1389 WHEELER FINANCIAL INC                                  12/22/2022 02/08/2023       JP
06095                            2017 ANNUAL                           SMM-TAX INC                   170007657        406 19-27-401-038-1276   2-99 21COTD4070 HILDA M. ZMORA                                         01/20/2023 02/17/2023       JP
06097                            2017 ANNUAL                        WHEELER FINANCIAL                170001158        035 28-36-101-017-1056   2-99 21COTD1364 WHEELER FINANCIAL, INC.                                01/20/2023 02/15/2023       AA
06112                            2017 ANNUAL                       FNA DZ LLC FBO WSFS               170007887        419 20-08-413-015-0000   2-02 21COTD812    MARICRUZ CASTELLANOS MARTINEZ AND GUADALUPE VERONI   01/12/2023 02/17/2023       RA
06118                            2017 ANNUAL                   MIDWESTERN INVESTORS LLC              170007883        419 20-08-408-036-0000   2-02 17COTD7883 MIDWESTERN INVESTORS LLC                               01/27/2023 02/21/2023       RA
06132                            2017 ANNUAL                       FNA DZ LLC FBO WSFS               170011758        585 17-06-406-044-1012   2-99 21COTD5364 FIRST NATIONAL ACQUISTIONS LLC                         02/08/2023 02/21/2023       JP
06136                            2017 ANNUAL                      EMPATHY FINANCIAL LLC              170008518        433 20-28-225-005-0000   2-11 21COTD2797 ACEKA LLC                                              01/20/2023 02/23/2023       RA
06139                            2013 ANNUAL                         SCRIBE FUNDING                  130003911        166 15-15-400-031-0000   2-03 18COTD205    CHICAGO ASSETS LLC                                   02/16/2023 02/23/2023       RA
06157                            2017 ANNUAL                     GROSS & DUQUESNE 2019               170008622        435 20-29-223-023-0000   2-02 21COTD1854 CARILLION HOLDINGS                                     02/03/2023 02/27/2023       RA
06170                            2017 ANNUAL                     MIDWESTERN INVESTORS                170006024        274 21-30-114-029-1136   2-99 21COTD5485 SUNDAY HOLDINGS, LLC                                   02/17/2023 02/27/2023       JP
06175                            2017 ANNUAL                        WHEELER FINANCIAL                170001531        058 11-19-221-016-1038   2-99 21COTD1371 WHEELER FINANCIAL, INC.                                01/20/2023 02/27/2023       AA
06176                            2017 ANNUAL                        WHEELER FINANCIAL                170003265        180 31-35-213-045-0000   2-03 21COTD1350 WHEELER FINANCIAL, INC.                                01/27/2023 02/27/2023       AA
06178                            2017 ANNUAL                      SABRE INVESTMENTS LLC              170009448        464 25-19-403-013-0000   2-41 21COTD3964 SABRE INVESTMENTS LLC                                  02/21/2023 02/27/2023       JRJ
06189                            2017 ANNUAL                        NAR SOLUTIONS INC                170005504        261 20-24-420-029-1004   2-99 21COTD4822 GREYMORR REAL ESTATE LLC                               02/22/2023 03/01/2023       JP
06195                            2016 ANNUAL                        WHEELER FINANCIAL                160001415        065 12-21-104-081-0000   2-41 20COTD4655 JOHN A. ATKIN, L.C.S.W., INC                           02/18/2023 03/02/2023       JP
06201                            2015 ANNUAL                  US BNK CST PC6 STERLING NAT            150001081        064 12-16-415-004-0000   2-03 19COTD2874 WHEELER FINANCIAL INC                                  02/07/2023 03/03/2023       JRJ
06203                            2017 ANNUAL                      WHEELER FINANCIAL INC              170003502        193 29-02-324-056-0000   2-03 21COTD1399 WHEELER FINANCIAL INC                                  02/15/2023 03/03/2023       JRJ
06204                            2017 ANNUAL                      SABRE INVESTMENTS LLC              170006394        284 25-10-102-019-0000   2-02 21COTD4253 KNK INVESTMENTS LLC                                    02/08/2023 03/03/2023       JRJ
06209                            2017 ANNUAL                      WHEELER FINANCIAL INC              170004523        226 30-20-112-054-0000   2-02 21COTD4701 WHEELER FINANCIAL INC                                  02/24/2023 03/07/2023       JP
06210                            2017 ANNUAL                   MIDWESTERN INVESTORS LLC              170004000        207 29-14-407-008-0000   2-03 21COTD3860 MIDWESTERN INVESTORS LLC                               02/17/2023 03/07/2023       JP
06212                            2017 ANNUAL                   STONEFIELD MADISON TRUST              170004327        219 29-36-203-030-0000   2-02 21COTD4150 TL6 IL2, LLC                                           03/01/2023 03/07/2023       JP
06213                            2017 ANNUAL                       FNA DZ LLC FBO WSFS               170005329        258 20-22-216-025-0000   2-03 21COTD3637 GH&D DEVELOPMENT INC                                   02/28/2023 03/07/2023       JP
06214                            2017 ANNUAL                      WHEELER FINANCIAL INC              170000321        014 32-20-212-002-0000   2-03 21COTD1326 WHEELER FINANCIAL INC                                  02/24/2023 03/07/2023       JP
06216                            2017 ANNUAL                        NAR SOLUTIONS INC                170008042        423 20-17-219-022-0000   2-11 21COTD4727 GREYMORR REAL ESTATE LLC                               02/28/2023 03/08/2023       JRJ
06219                            2017 ANNUAL                       FNA DZ LLC FBO WSFS               170006209        278 21-31-422-012-0000   2-03 21COTD3630 GH & D DEVELOPMENT INC                                 03/07/2023 03/13/2023       RA
06227                            2017 ANNUAL                    CORONA INVESTMENTS LLC               170005538        262 20-25-127-011-0000   2-05 21COTD4329 CORONA INVESTMENTS LLC                                 03/07/2023 03/13/2023       JRJ
06255                            2013 ANNUAL                           FNA ELM LLC                   130012197        440 20-32-112-020-0000   2-03 18COTD179    FIRST NATIONAL ACQUISITIONS LLC                      03/09/2023 03/15/2023       JP
06261                            2017 ANNUAL                      STONEFIELD MADISON T               170003178        180 31-26-315-053-0000   2-95 21COTD4065 TL6 IL LLC                                             03/07/2023 03/15/2023       AA
06274                            2017 ANNUAL                        NAR SOLUTIONS INC                170009027        449 25-04-410-053-0000   2-02 21COTD5571 BRICKSAVE 223 LLC                                      03/14/2023 03/16/2023       AA
06276                            2017 ANNUAL                      STONEFIELD MADISON T               170001192        036 25-29-406-056-0000   2-03 21COTD4144 TL6 IL LLC                                             03/07/2023 03/17/2023       AA
06277                            2017 ANNUAL                      EMPATHY FINANCIAL LLC              170009623        469 25-28-121-021-0000   2-03 21COTD5248 NATIONAL FAST OFFER LLC                                03/09/2023 03/17/2023       AA
06278                            2017 ANNUAL                      SABRE INVESTMENT LLC               170006111        275 21-31-106-039-0000   2-11 21COTD4252 NATIONAL FAST OFFER LLC                                03/08/2023 03/17/2023       AA
06296                            2017 ANNUAL                       FNA DZ LLC FBO WSFS               170008610        435 20-29-217-024-0000   2-03 21COTD5210 DP CAPITAL INC                                         03/09/2023 03/22/2023       JRJ
06303 PER 21COTD4843 VOID DEED   2017 ANNUAL                        NAR SOLUTIONS INC.               170002763        162 15-11-125-003-0000   2-12 21COTD4843 GREYMORR REAL ESTATE LLC                               03/17/2023 03/22/2023       AA
06307                            2016 ANNUAL                          KOKOLAND, LLC                  160002275        162 15-11-137-021-1019   2-99 20COTD3342 KOKOLAND, LLC                                          03/14/2023 03/23/2023       AA
06314                            2017 ANNUAL                       FNA DZ LLC FBO WSFS               170003785        200 29-09-405-017-0000   2-02 21COTD722    TSKI PROPERTIES LLC                                  03/16/2023 03/24/2023       RA
06315                            2017 ANNUAL                       FNA DZ LLC FBO WSFS               170003764        200 29-08-302-035-0000   2-02 21COTD721    TSKI PROPERTIES LLC                                  03/20/2023 03/24/2023       RA
06317                            2017 ANNUAL                       FNA DZ LLC FBO WSFS               170010534        513 17-27-310-093-1411   2-99 21COTD5338 DP CAPITAL INC                                         03/15/2023 03/27/2023       RA
06318                            2017 ANNUAL                     MUNICIPAL POINT CAPITAL             170004859        245 24-19-409-033-0000   2-03 21COTD4494 PENN PACIFIC PROPERTIES LP                             03/21/2023 03/27/2023       AA
06322                            2017 ANNUAL                       FNA DZ LLC FBO WSFS               170003640        196 29-04-410-012-0000   2-02 21COTD711    TSKI PROPERTIES, LLC                                 03/15/2023 03/29/2023       AA
06324                            2017 ANNUAL                     MIDWESTERN INVESTORS                170005613        264 20-26-121-013-0000   2-03 21COTD5480 TISH MANAGEMENT CAPITAL INC                            03/27/2023 03/30/2023       RA
06325                            2017 ANNUAL                  GROSS & DUQUESNE 2019 LLC              170010181        501 17-10-222-007-1852   2-99 21COTD3995 RTA INVESTMENTS LLC                                    03/29/2023 03/31/2023       JRJ
06326                            2018 ANNUAL                       FOLAMI MONISOLA O                 180005074        593 17-18-101-065-1066   2-99 22COTD1096 MONISOLA O. FOLAMI                                     03/20/2023 04/03/2023       AA
06328                            2017 ANNUAL                   STONEFIELD MADISON TRUST              170008920        442 20-33-208-067-0000   2-95 21COTD4163 TL6 IL3, LLC                                           03/29/2023 04/04/2023       JP
06339                            2017 ANNUAL                            FIG IL 18 LLC                170006684        295 26-06-104-037-0000   2-11 21COTD4989 JV DEVELOPMENT LLC                                     03/29/2023 04/13/2023       JP
06340                            2017 ANNUAL                        WHEELER FINANCIAL                170008220        427 20-19-215-003-0000   2-02 21COTD3882 WHEELER FINANCIAL INC                                  04/12/2023 04/17/2023       AA
06341                            2016 ANNUAL                         RANDOLPH 18 LLC                 160010221        554 16-12-109-021-0000   2-02 20COTD2673 GOODLAND INC                                           04/14/2023 04/18/2023       RA




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        Deed Number   Sale Yr Sale Type                  Buyer Name              Cert Number    Vol         PIN          Class Case Number Deed Name                              Date Issued Date Processed Initials
06342                 2017 ANNUAL                        RTLF-IL, LLC         170004442         224 30-17-116-040-0000   2-03 21COTD5398 SEEM GROUP LLC                          04/12/2023 04/18/2023       JP
06349                 2017 ANNUAL           PINE VALLEY ONE REAL ESTATE LLC   170004164         212 29-20-101-059-0000   2-03 21COTD3076 OAKWOOD REAL ESTATE LLC                 04/20/2023 04/24/2023       JRJ
06350                 2017 ANNUAL                  RYH INVESTMENTS LLC        170010035         498 17-04-220-098-1171   2-99 21COTD5058 RYH INVESTMENTS LLC                     04/20/2023 04/24/2023       JRJ
06354                 2017 ANNUAL              CORONA INVESTMENTS LLC         170008810         440 20-32-124-017-0000   2-12 21COTD4950 CORONA INVESTMENTS LLC                  04/07/2023 04/27/2023       JP
06358                 2016 ANNUAL               SSC6 LLC BANK UNITED/TR       160005865-D1902   289 25-15-412-003-0000   2-11 20COTD3080 RED PINE PROPERTIES LLC                 03/27/2023 04/28/2023       JP
06360                 2018 ANNUAL                     GT ALTERNATIVES         180002475         261 20-23-416-028-1010   2-99 22COTD1027 STONEDRY LLC                            04/17/2023 04/28/2023       RA
06361                 2015 ANNUAL                 CLARK & RANDOLPH LLC        150010665         571 16-23-413-036-0000   2-10 19COTD4402 RTA INVESTMENTS LLC                     03/31/2023 04/28/2023       RA
06365                 2016 ANNUAL              SSC6 LLC BANK UNITED /TR       160008594-D1903   464 25-19-205-009-0000   2-12 20COTD3095 BLUE OCEAN 21-1 LLC                     04/17/2023 04/28/2023       RA
06383                 2016 ANNUAL                        BT LIENS LLC         160007601         430 20-20-308-035-0000   2-12 20COTD4131 GOODLAND INC                            04/26/2023 05/03/2023       RA
06386                 2017 ANNUAL                SADOFF ENTERPRISES LLC       170007744         414 20-04-440-016-0000   2-03 21COTD5307 RZ HSP HOLDINGS LLC                     04/23/2023 05/03/2023       JRJ
06393                 2017 ANNUAL                EMPATHY FINANCIAL LLC        170010513         512 17-22-303-031-1225   2-99 21COTD5258 CHICAGO PROPERTY LOGISTICS LLC          04/27/2023 05/08/2023       JP
06394                 2018 ANNUAL                      LANDEX TAX LLC         180002393         257 20-15-416-010-0000   2-01 22COTD1031 LANDEX LAND LLC                         04/21/2023 05/08/2023       JP
06396                 2017 ANNUAL                EMPATHY FINANCIAL LLC        170006502         288 25-15-110-009-0000   2-02 21COTD5255 RIZ HOLDINGS LLC                        05/02/2023 05/08/2023       RA
06397                 2017 ANNUAL                EMPATHY FINANCIAL LLC        170011295         560 16-14-319-009-0000   2-11 21COTD5247 IW CAPITAL LLC                          05/04/2023 05/08/2023       RA
06400                 2017 ANNUAL                   WHEELER FINANCIAL         170004712         236 24-01-108-081-1022   2-99 21COTD3793 WHEELER FINANCIAL, INC.                 04/27/2023 05/08/2023       AA
06400                 2017 ANNUAL                   WHEELER FINANCIAL         170004713         236 24-01-108-081-1023   2-99 21COTD3793 WHEELER FINANCIAL, INC.                 04/27/2023 05/08/2023       AA
06401                 2017 ANNUAL                   WHEELER FINANCIAL         170006905         316 13-01-208-038-1010   2-99 21COTD3836 WHEELER FINANCIAL, INC.                 04/26/2023 05/08/2023       AA
06422                 2018 ANNUAL                  GT ALTERNATIVES LLC        180002470         261 20-23-406-036-1025   2-99 22COTD2470 EDIFICE GENERAL CONSTRUCTION LLC        04/26/2023 05/12/2023       JP
06425                 2017 ANNUAL                WHEELER FINANCIAL INC        170004222         215 29-24-100-022-1332   2-99 21COTD4649 WHEELER FINANCIAL INC                   04/27/2023 05/15/2023       JRJ
06426                 2017 ANNUAL                WHEELER FINANCIAL INC        170004774         240 24-08-128-033-0000   2-01 21COTD4703 WHEELER FINANCIAL INC                   04/27/2023 05/15/2023       JRJ
06432                 2017 ANNUAL                  RYH INVESTMENTS LL         170006023         274 21-30-114-029-1121   2-99 21COTD5050 SUNDAY HOLDINGS LLC                     05/11/2023 05/16/2023       RA
06434                 2017 ANNUAL                  INTERCOSTAL EQUITY         170004443         224 30-17-116-041-0000   2-03 21COTD2736 SEEM GROUP LLC                          03/27/2023 05/17/2023       JP
06440                 2018 ANNUAL                      LANDEX TAX LLC         180002460         260 20-23-122-008-0000   2-11 22COTD1033 LANDEX LAND LLC                         04/27/2023 05/23/2023       RA
06462                 2016 ANNUAL           INTEGRITY INVESTMENT FUND LLC     160000947         036 25-29-401-043-0000   2-03 20COTD3541 INTEGRITY INVESTMENT REO HOLDINGS LLC   03/02/2023 05/30/2023       JRJ
06476                 2016 ANNUAL                 NEWLINE HOLDINGS LLC        160010047         549 16-09-203-020-0000   2-03 20COTD1471 BLUE OCEAN 21-1 LLC                     05/11/2023 06/02/2023       JP
06478                 2017 ANNUAL                 NEWLINE HOLDINGS LLC        170001512         055 10-24-419-005-0000   2-03 21COTD3898 BLUE OCEAN 21-1 LLC                     05/16/2023 06/05/2023       AA
06479                 2017 ANNUAL                  FNA DZ LLC FBO WSFS        170000941         029 28-13-202-034-0000   2-02 21COTD666    F & S PROPERTIES LLC                  05/31/2023 06/07/2023       RA
06502                 2017 ANNUAL                  FNA DZ LLC FBO WSFS        170007823         417 20-07-431-029-0000   2-12 21COTD0790 F & S PROPERTIES LLC                    03/14/2023 06/09/2023       JRJ
06503                 2017 ANNUAL              CORONA INVESTMENTS LLC         170001513         055 10-24-419-006-0000   2-03 21COTD4339 CORONA INVESTMENTS LLC                  06/05/2023 06/09/2023       JRJ
06526                 2017 ANNUAL                  RHY INVESTMENTS LLC        170005167         254 20-11-105-069-0000   2-95 22COTD0124 EXQUISITE DREAMS LLC                    05/19/2023 06/16/2023       JRJ
06527                 2016 ANNUAL                  RDIA INVESTMENTS LL        160009238         498 17-04-224-043-1047   2-99 20COTD1951 RDIA INVESTMENTS LLC                    06/08/2023 06/16/2023       AA
06632                 2018 ANNUAL                  ROC FUNDING GROUP          180003397         417 20-07-431-030-0000   2-41 22COTD1519 MAHARAJA LLC SERIES 7                   06/22/2023 07/11/2023       JP
06762                 2015 ANNUAL                   WHEELER FINANCIAL         150002089         160 15-10-125-026-0000   2-04 19COTD2887 WHEELER FINANCIAL, INC.                 07/11/2023 08/01/2023       AA
06802                 2017 ANNUAL                        FIG IL 18 LLC        170008361         430 20-20-314-034-0000   2-02 21COTD3305 ZOBAR ROM CONSTRUCTION INC.             08/04/2023 08/08/2023       AA
06920                 2015 ANNUAL                  FNA DZ LLC FBO WSFS        150005204         266 20-27-114-032-0000   2-03 19COTD3947 ANTARP REALTY LLC                       07/20/2023 08/30/2023       JRJ
07006                 2017 ANNUAL                    ICIB INVESTMENTS         170002950         178 31-02-200-026-1006   2-99 21COTD2859 AMERICAN TAX LIEN, LLC                  07/13/2023 09/15/2023       JP
07012                 2017 ANNUAL                       KOKOLAND LLC          170002706         160 15-09-321-148-1005   2-99 21COTD4879 KOKOLAND LLC                            09/08/2023 09/15/2023       JRJ
07022                 2017 ANNUAL                        RTLF - IL, LLC       170004060         209 29-17-312-048-0000   2-03 21COTD5397 CHICAGO ASSETS, LLC                     08/31/2023 09/19/2023       RA
07106                 2017 ANNUAL                  FNA DX LLC FBO WSFS        170008450         432 20-21-305-019-0000   2-06 21COTD993    FIRST NATIONAL ACQUISITIONS LLC       09/28/2023 10/06/2023       JP
07107                 2017 ANNUAL                       KOKOLAND LLC          170002765         162 15-11-137-021-1010   2-99 21COTD4878 KOKOLAND LLC                            10/03/2023 10/06/2023       AA
07109                 2019 ANNUAL                    G T ALTERNATIVES         190002535         262 20-25-221-024-0000   3-90 22COTD1684 EDIFICE GENERAL CONSTRUCTION LLC        09/26/2023 10/06/2023       JRJ
07114                 2018 ANNUAL             COMMUNITY INITIATIVES, INC      180002492         261 20-24-411-004-0000   3-15 22COTD1366 COMMUNITY INITIATIVES, INC              10/03/2023 10/11/2023       JP
07115                 2014 ANNUAL               CHRISITIAN CUSTODIAN TR       140007674         274 21-30-202-015-1014   2-99 18COTD8192 NR DEED LLC                             09/27/2023 10/12/2023       JRJ
07147                 2017 ANNUAL                 NEWLINE HOLDINGS LLC        170004585         229 30-31-323-043-1001   2-99 21COTD2070 WHITE CEDAR PROPERTIES, LLC             10/23/2023 10/27/2023       JP
07152                 2014 ANNUAL                FAIR DEAL OF ILLINOIS IN     140014659         550 16-09-423-032-0000   2-11 18COTD7607 FIRST NATIONAL ACQUISITIONS LLC         10/23/2023 10/27/2023       JRJ
07174                 2017 ANNUAL                   WHEELER FINANCIAL         170 11427         565 16-16-221-083-0000   2-12 21COTD3812 WHEELER FINANCIAL INC                   10/19/2023 11/01/2023       RA
07175                 2016 ANNUAL              NEBRASKA ALLIANCE REALTY       160006038         297 26-07-103-065-0000   2-10 20COTD3417 GREYMORR REAL ESTATE LLC                10/25/2023 11/01/2023       JP
07178                 2017 ANNUAL                   SCRIBE FUNDING LLC        170007393         460 25-17-101-021-0000   2-10 21COTD5217 SUBCRIBE LLC                            10/24/2023 11/03/2023       RA
07192                 2016 ANNUAL                   ATCF II TAX SER CUST      160005101         267 20-27-410-037-0000   2-03 21COTD11     ARTHINGTON PROPERTIES LLC             10/31/2023 11/13/2023       RA
07194                 2017 ANNUAL NAR SOLUTIONS INC.                          170002763         162 15-11-135-003-0000   2-12 21COTD4843 GREYMORR REAL ESTATE LLC                03/17/2023 11/13/2023       AA
07204                 2017 ANNUAL NAR SOLUTIONS INC.                          170006050         274 21-30-122-053-1005   2-99 21COTD4827 GREYMORR REAL ESTATE LLC                11/06/2023 11/21/2023       AA
07213                 2016 ANNUAL NEWLINE HOLDINGS LLC                        160003359         205 29-12-322-034-1010   2-99 20COTD1288 WHITE CEDAR PROPERTIES LLC              11/09/2023 11/30/2023       JRJ




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        Deed Number   Sale Yr Sale Type                  Buyer Name      Cert Number    Vol         PIN          Class Case Number Deed Name                        Date Issued Date Processed Initials
07224                 2015 ANNUAL GAN C LLC                           150005290         268 20-34-101-029-0000   2-02 19COTD3099 CORTEZZ LLC                       11/30/2023 12/04/2023       RA
07290                 2017 ANNUAL JES ASSET HOLDINGS LLC              170007063         343 13-19-107-040-0000   2-02 21COTD5106 ROC FUNDING GROUP LLC             12/08/2023 01/08/2024       JP
07312                 2014 ANNUAL NEWLINE HOLDINGS LLC                18COTD6248        195 29-04-329-023-0000   2-02 18COTD6248 WHITE CEDAR PROPERTIES LLC        01/10/2024 01/12/2024       RA
07205                 2017 ANNUAL WHEELER FINANCIAL INC               170002823         165 15-14-301-032-0000   2-03 21COTD1411 WHEELER FINANCIAL INC             11/15/2023 11/21/2023       JP
07212                 2017 ANNUAL NAR SOLUTIONS INC                   170002016         089 09-18-402-008-0000   2-05 21COTD4842 GREYMORR REAL ESTATE LLC          11/15/2023 11/29/2023       JRJ
07211                 2016 ANNUAL NEWLINE HOLDINGS LLC                160008574         462 25-18-108-020-0000   2-11 20COTD1457 WHITE CEDAR PROPERTIES LLC        10/16/2023 11/29/2023       JRJ
07313                 2015 ANNUAL FAIR DEAL OF ILLINOIS INC           150001992         154 15-03-313-001-0000   2-04 19COTD1299 FIRST NATIONAL ACQUISITIONS LLC   01/04/2024 01/12/2024       JP
07360                 2014 ANNUAL MTAG CUST MDG - ILL LLC             140015009 - D1745 561 16-15-110-022-0000   2-11 19COTD0133 ATKIN REAL ESTATE LLC             01/02/2024 01/23/2024       RA
07375                 2017    ANNUAL GROSS & DUQUESNE 2019 LLC        170000046         002 16-19-231-043-0000   2-12 21COTD912    GROSS & DUQUESNE 2019 LLC       01/04/2024 01/25/2024       JP
07433                 2017    ANNUAL NAR SOLUTIONS INC                170001734         069 12-28-416-001-0000   2-03 21COTD4841 GREYMORR REAL ESTATE LLC          01/10/2024 02/08/2024       JRJ
07434                 2016    ANNUAL SSC6 LLC BANK UNITED/TR          160007244         423 20-17-101-005-0000   2-11 20COTD3086 RED PINE PROPERTIES LLC           02/01/2024 02/08/2024       JRJ




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07445 2019 ANNUAL JORITZ DONNA                  190004160 447 24-23-215-087-0000 2-14 23COTD0183 DONNA JORITZ                              02/13/2024 02/16/2024 RA 02/16/2024 2019 1
                                                                                                                                                                                       TIME TOLLED UNTIL 8-30-
07770 2014 ANNUAL   RDG - FUND - 5 LNS LLC      140011657 441 20-32-409-035-0000 2.34 18COTD8749 AVENUE ONE CAPITAL PARTNERS LLC           06/20/2024 07/15/2024 RA 07/15/2024 2014 1 24
07827 2018 ANNUAL   CORONA INVESTMENTS          180002963 293 25-34-309-011-0000 2-02 23COTD0990 CORONA INVESTMENTS LLC                    08/12/2024 08/13/2024 JRJ 08/13/2024 2018 1
                                                                                                                                                                                       TOLL TIME UNTIL
07566 2016 ANNUAL   NEWLINE HOLDINGS LLC        160003878 224 30-17-311-017-0000 2-03 20COTD1261 RED CHERRY PROPERTIES LLC                 04/01/2024 04/11/2024 JRJ 04/15/2024 2016 1 08/29/2024
                                                                                                                                                                                       TIME TOLLED UNTIL 2-25-
07740 2017 ANNUAL   CORONA INVESTMENTS          170002841 165 15-15-207-009-0000 2-11 21COTD1997 CORONA INVESTMENTS LLC                    05/07/2024 06/26/2024 RA 06/26/2024 2017 1 25
07828 2018 ANNUAL   CORONA INVESTMENTS          180003435 419 20-08-419-035-0000 2-11 23COTD0992 CORONA INVESTMENTS LLC                    08/09/2024 08/13/2024 JRJ 08/13/2024 2018 1
07697 2017 ANNUAL   NEWLINE HOLDINGS LLC        170003476 192 19-33-303-051-0000 2-34 21COTD3907 RED CHERRY PROPERTIES LLC                 05/17/2024 06/03/2024 JRJ 06/03/2024 2017 1
                                                                                                                                                                                       TOLL TIME UNTIL
07822 2016 ANNUAL   NEBRASKA ALLIANCE REALTY    160009738 526 17-34-309-071-0000 2-41 20COTD4818 ANTHONY MARSHALL                          07/22/2024 08/08/2024 JRJ 08/08/2024 2016 1 09/20/2024
07830 2018 ANNUAL   CORONA INVESTMENTS          180003258 391 19-14-307-046-0000 2-41 23COTD1001 M&O PARTNER HOLDINGS LLC                  08/13/2024 08/19/2024 JRJ 08/19/2024 2018 1
                                                                                                                                                                                       TIME TOLLED UNTIL 8-5-
07764 2017 ANNUAL   LONGSTREET CAPITAL FUNDIN   170004751 239 24-05-213-051-0000 2-78 21COTD2053 LONGSTREET CAPITAL FUNDING LLC            06/12/2024 07/10/2024 RA 07/10/2024 2017 1 24
07838 2018 ANNUAL   NEWLINE HOLDINGS LLC        180004023 464 25-19-403-041-0000 2-95 24COTD0335 RED CHERRY PROPERTIES LLC                 08/16/2024 08/20/2024 JRJ 08/21/2024 2018 1
                                                                                                                                                                                       SA WT 62456/2 INS. 33 &
07702 2018 ANNUAL   INTERSTATE FUNDING CORP     180004397 510 17-10-400-031-1321   2-99 23COTD0469 GALAXY SITES LLC                        04/30/2024 06/07/2024 RA 06/07/2024 2018 1 34
07823 2018 ANNUAL   LANDEX TAX LLC              180002603 270 20-35-104-039-1016   2-99 23COTD0641 AMERICAN TAX LIEN LLC                   08/01/2024 08/09/2024 JRJ 08/09/2024 2018 1
07824 2018 ANNUAL   ROC FUNDING GROUP           180001579 187 07-23-103-012-1018   2-99 24COTD0396 BURCORP PC                              08/02/2024 08/09/2024 JRJ 08/09/2024 2018 1
07829 2018 ANNUAL   LANDEX TAX LLC              180004456 511 17-16-402-063-1268   2-99 23COTD0649 AMERICAN TAX LIEN LLC                   08/01/2024 08/14/2024 JRJ 08/14/2024 2018 1
07834 2018 ANNUAL   TITAN CAPITAL LLC           180000637 025 28-04-301-019-1226   2-99 23COTD0672 OAK STREET PROPERTIES LLC               08/07/2024 08/19/2024 JRJ 08/19/2024 2018 1
07450 2018 ANNUAL   COMMUNITY INITIATIVES INC   180002578 267 20-27-415-022-0000   3-18 23COTD0359 BlaQ LLC                                02/02/2024 02/22/2024 JRJ 02/22/2024 2018 1
07683 2018 ANNUAL   CORONA INVESTMENTS          180003703 433 20-28-322-016-0000   3-18 23COTD0375 ICON BROADWAY PARTNERS LLC SERIES 424   04/09/2024 05/29/2024 RA 05/29/2024 2018 1
